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          HIGHLY CONFIDENTIAL (TECHNICAL) -

                     IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF DELAWARE

   CYTIVA SWEDEN AB and GLOBAL LIFE     )
   SCIENCES SOLUTIONS USA LLC,          )
                                        )
                                        )
                                        ) C.A. No. 18-1899-CFC
               Plaintiffs,              ) Consolidated
                                        )
     v.                                 ) Redacted: Public Version
                                        )
   BIO-RAD LABORATORIES, INC.,          )
                                        )
               Defendant.               )



                   DECLARATION OF STEVEN WERELEY, PH.D.




                                        i
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                   a.                                                                           ............35

                   b.                      ...................................................................38

                   c.                                                                                      .44

                   d.     three or more fluid handling units arranged as
                                                                                                     .......50

                   e.                                                     ...................................62

                   f.                                 -                          ............................69

                   g.                                                                                    e
                         interchangeable modular component with the system bus,
                               ..............................................................................72

                   h.
                         section from the non-                                    ..........................77

                   i.    wherein the housing comprises a liquid handling panel
                         with at least four component receiving positions arranged
                         in a two dimensional array and adapted to receive said
                         interchangeable modular components such that, when
                         inserted, the fluidics section is external to the housing
                         and the non-fluidics section is internal to the housing ...84

                   j.    wherein each component receiving position includes a
                         complementary connector for connecting the bus
                         connector of the interchangeable modular component
                         inserted therein to said system bus ................................89

                   k.    wherein each interchangeable modular component
                         includes a dedicated CPU unit allowing the
                         interchangeable modular component to independently
                         perform operations in response to instructions over the
                         system bus; ...................................................................93
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                   l.    wherein the master control unit is arranged to
                         automatically identify interchangeable modular
                         components; ................................................................ 104

                   m.    wherein said housing is adapted to accommodate at least
                         one pump, at least one sensor unit and at least two fluid
                         control valves of different configurations, of which at
                         least three of the pump, the sensor unit, and the fluid
                         control valves are interchangeable modular components;
                         and .............................................................................. 107

                   n.    wherein the system is capable of performing automated
                         liquid chromatography ................................................ 123

        B.              ...................................................................................... 124

              1.         Claim 1 .......................................................................124

                   a.
                         comprising: .................................................................124

                   b.                                     ................................................... 127

                   c.                                                                       ................ 133

                   d.
                         of the housing unit a plurality of receiving positions, each
                         receiving position adapted to receive the modular fluid
                         handling units therein such that a fluid handling section
                         thereof is on the external side of the housing unit, the
                         receiving positions being arranged in a two dimensional
                         array,...........................................................................146

                   e.
                         for insertion into the receiving positions of the housing
                               ............................................................................ 159

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                   f.
                         interchangeable amongst similarly sized and shaped
                         receiving positions of the housing unit, such that
                         positioning of the modular fluid handling unit with
                         respect to other modular fluid handling units permits a
                         fluid flow path to be readily modified, wherein the fluid
                         flow path is formed by fluidic connections between the
                                                            .............................. 160

                   g.
                         CPU for independently performing fluid control
                         operations in response to instructions over a system
                                .........................................................................168

        C.              ...................................................................................... 178

              1.         Claim 9 .......................................................................178

                   a.    179

                         (i)       An automated liquid chromatography system
                                   comprising: .......................................................179

                         (ii)      a housing; .........................................................179

                         (iii)     a master control unit connected to a system bus;
                                   and .................................................................... 179

                         (iv)      two or more fluid handling units arranged as
                                   interchangeable modular components comprising
                                   .......................................................................... 180

                         (v)       (i) an external fluidics section, .......................... 180

                         (vi)      (ii) an internal non-fluidics section....................180



                                                 v
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                         (vii) including a bus connector for directly connecting
                               the interchangeable modular component with the
                               system bus, and .................................................180

                         (viii) (iii) a panel member arranged to separate the
                                fluidics section from the non-fluidics section, ...180

                         (ix)    wherein the housing comprises a liquid handling
                                 panel with two or more component receiving
                                 positions adapted to receive said interchangeable
                                 modular components such that, when inserted, the
                                 fluidics section is external to the housing and the
                                 non-fluidics section is internal to the housing, .. 180

                         (x)     wherein each component receiving position
                                 includes a complementary connector for
                                 connecting the bus connector of the
                                 interchangeable modular component inserted
                                 therein to said system bus, ................................ 181

                         (xi)    wherein each interchangeable modular component
                                 includes a dedicated CPU unit allowing the
                                 interchangeable modular component to
                                 independently perform operations in response to
                                 instructions over the system bus, .......................181

                         (xii) wherein the master control unit is arranged to
                               automatically identify interchangeable modular
                               components, ...................................................... 181

                         (xiii) wherein said housing is adapted to accommodate
                                at least one pump, at least one sensor unit and at
                                least two fluid control valves of different
                                configurations, of which at least two of the pump,
                                the sensor unit, and the fluid control valves are
                                interchangeable modular components, and ........ 181

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                         (xiv) wherein the system is capable of performing
                               automated liquid chromatography. .................... 181

                   b.    Claim 9 .......................................................................182

              2.         Claim 14 .....................................................................182

                   a.    Claim 13 .....................................................................183

                   b.    Claim 14 .....................................................................186

        D.              ...................................................................................... 191

              1.         Claim 16 .....................................................................191

                   a.    A liquid chromatography system arranged to provide a
                         controlled fluid flow through a chromatography column,
                         the system comprising.................................................191

                   b.    a housing and .............................................................. 193

                   c.    two or more interchangeable fluid handling units,.......193

                   d.    the housing comprising a liquid handling panel including
                         two or more component positions for receiving said
                         interchangeable units, .................................................193

                   e.    wherein said units are arranged as interchangeable
                         modular components, and include: .............................. 197

                   f.    a fluidics section; ........................................................ 198

                   g.    a non fluidics section in turn comprising electronics or
                         electrical components or control means; and ...............198

                   h.    a panel member arranged to separate the fluidics section
                         from the non fluidics section and for attachment of the

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                                 modular component to a component position of the liquid
                                 handling panel, and .....................................................198

                         i.      wherein the liquid handling panel of the housing and the
                                 panel members are arranged such that the fluidics
                                 sections are external to the housing and ...................... 200

                         j.      respective non fluidics sections are internal to the
                                 housing. ...................................................................... 203

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  I.    INTRODUCTION

        1.      The following is a brief summary of my background and qualifications,

  which are more fully set forth in my curriculum vitae, attached as Exhibit A.

        2.      I have two Bachelor degrees, a Bachelor of Arts in Physics from

  Lawrence University, awarded in 1990, and a Bachelor of Science in Mechanical

  Engineering from Washington University in St. Louis, also awarded in 1990. The

  two degrees were awarded in the same year because I pursued a cooperative program

  where the classes from each university satisfied the requirements of the other

  university. I received my Master of Science in 1992 and Doctor of Philosophy in

  1997, both from the Northwestern University Department of Mechanical

  Engineering. While pursuing my MS and PhD, I specialized in fluid mechanics, the

  study of how fluids move. After completing these degrees, I performed a post-

  doctoral research appointment at the University of California Santa Barbara in the

  Department of Mechanical and Environmental Engineering from 1997 until 1999.

  During my time at the University of California Santa Barbara I specialized in the

  study of microfluidics   the study of how fluids move in very small systems.

        3.      I am currently and have been an employee of the Purdue University

  School of Mechanical Engineering since August 1999. I was hired as an Assistant
                                           1
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  Professor, promoted to Associate Professor in 2006 and subsequently to Professor

  in 2010. I have been invited to serve as a visiting professor at three different

  universities, Technische Universität Darmstadt (Darmstadt, Germany), Universität

  der Bundeswehr (Munich, Germany) and Royal Melbourne Institute of Technology

  (Melbourne, Australia). These visits were partially paid for by the hosting

  universities. I hold the rank of Fellow in both the American Society of Mechanical

  Engineers (ASME) and the American Physical Society (APS). Fellow status in the

  American Physical Society is an honor that is bestowed upon only 0.5% of APS

  membership.

        4.      I have engaged in many research projects in the field of fluid

  mechanics, resulting a long list of publications featuring two co-authored textbooks,

  14 book chapters, 83 peer-reviewed journal articles, nearly 200 conference papers

  and presentations and nine co-authored patents. I have delivered invited lectures all

  over the world. Some of these invited lectures have been at large international

  scientific meetings such as The Gordon Research Conference on Plasmonics and

  Nanophotonics (2016, Newry, ME), the Chinese Society for Micro and Nano

  Technologies (2016, Beijing, China), International Society for Photonics and

  Electronics (2015, San Diego, CA), World Conference on Experimental Heat

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  Transfer, Fluid Mechanics and Thermodynamics (2015, Lisbon, Portugal),

  International Conference on Nanochannels, Microchannels, and Minichannels

  (2012, Puerto Rico, USA), International Conference on Fluid Mechanics and Fluid

  Power (2006, Mumbai, India), among many others.

        5.      Much of my research throughout my career has been in the field of

  automated fluid handling systems. Topics include using light and electric fields to

  control fluid and particle motion (e.g.       -actuated electrothermal microfluidic

  flow for micro-                published in Journal of Micromechanics and

  Microengineering, 2018), using arrays of valves to move fluid samples through

                             -                                   Analyst, 2015), and



                Applied Physics Letters, 2008). All the way back to my PhD work in

  1997, I was building automated fluid handling systems. In the case of my PhD work,

  I designed a system with pumps and valves for the purpose of evaluating rotating

  filtration systems of the type used for separating cellular components from whole

  blood. Many of my patents are in the automated fluid handling area. These include



                          -chip concentration, manipulation, sorting and sensing of

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                                                          Patent 8,376,317 (2013);

  among others.

        6.      From approximately 2009 I co-founded the company Microfluidics

  Innovations, LLC. Microfluidics Innovations specialized in designing and

  manufacturing automated liquid handling systems. The company was founded based

  on intellectual property developed during research from approximately the 5 years

  predating its founding. As a co-founder of the company my role was primarily that

  of scientific advisor in the fluid handling area. As such I was involved in many

  projects adap

  II.   ASSIGNMENT

        7.      Counsel for Cytiva Sweden AB and Global Life Sciences Solutions

  USA LLC

  I have been compensated at a rate of $600 per hour for my consulting work. My

  compensation is not contingent upon the outcome of this case. I am submitting this

  declaration at the request of Cytiva.




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         8.      In formulating the opinions contained in this declaration, I have

  considered my training, knowledge, fundamental engineering principles, scientific

  principles, and experience in the relevant scientific disciplines, as well as the

  materials cited herein. In addition to the conclusions and opinions set forth in this

  declaration, my testimony may include responses to facts, arguments, allegations, or

  references raised by Defendants or their experts relating to this litigation.

         9.      If asked, I will be prepared to present a basic tutorial to explain the

  terms and concepts related to the opinions set forth in my declaration, as well as to

  provide further background on liquid chromatography, the state of the art, the level

  of skill in the art, and the patents at issue. That tutorial may include demonstrative

  exhibits and exemplary liquid chromatography systems. In addition to the opinions

  and bases set forth in this declaration.

  III.   RELEVANT LEGAL PRINCIPALS

         10.     Although I am not an attorney and will not offer legal opinions, in

  preparation for forming the opinions set forth in this declaration I have been

  informed regarding the relevant legal principles. I have used my understanding of

  those principles in forming the opinions set forth herein. My understanding of those

  principles is summarized below.

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         A.       Burden Of Proof

         11.      I understand that Cytiva has the burden of proving infringement by a



  evid

  the light of all the facts, shows that the allegations of infringement are more likely

  true than not

         B.       Infringement

                  1.    Direct Infringement

         12.      As set forth above, I understand that the infringement analysis

  comprises two steps, and that the first step is determining the proper construction of

  the Asserted Claims. I understand that the second step of the infringement analysis

  is determining whether an accused product contains or practices each claim

  element/limitation or its equivalent.

         13.



         14.      I understand that, in order for a patent claim to be literally infringed,

  each and every element/limitation of the claim must be present, as claimed, in the

  accused product. In order for a method patent claim to be literally infringed, someone


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  must perform each step, as claimed. It is also my understanding that the failure to

  meet even a single claim element or limitation is sufficient to show that the accused

  product does not literally infringe the asserted claim.

        15.    I understand that one cannot avoid infringement merely by adding

  elements if each element or limitation recited in the claims is found in the accused

  product or method.

        16.    I understand that a claim in dependent form includes all the limitations

  of the claim(s) from which it depends.

        17.    I have been informed that Cytiva is not asserting infringement under

  the doctrine of equivalents, so I will not discuss it.

               2.      Indirect Infringement

        18.    I understand that one can be held liable for active inducement of patent

  infringement by inducing the completion of all steps or elements of a patent claim

  with knowledge that such acts constitute patent infringement. I further understand

  that one can also be held liable for offering to sell or selling within the United States

  or importing into the United States a component of a patented machine, manufacture,

  combination or composition, or a material or apparatus for use in practicing a

  patented process, constituting a material part of the invention, knowing the same to

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  be especially made or especially adapted for use in an infringement of such patent,

  and not a staple article or commodity of commerce suitable for substantial non-

  infringing use.

  IV.   THE PATENTS IN SUIT

        19.    This litigation involves United States Patent Nos.

  P        (Ex. 32), 9,709,590                         (Ex. 33),                  t     591

  P        (Ex. 34),              t                 (Ex. 35)                          e 124

           (Ex. 36)                                         . In this declaration, will



        20.    The Asserted Patents disclose and claim novel automated liquid

  chromatography embodiments. The Asserted Patents each state that:

               The present invention relates to the art of fluid handling
               system systems, and in particular to an automated fluid
               handling system that is highly flexible and configurable.
               The fluid handling system may e.g. be a liquid
               chromatography system, a filtration system, a chemical
               synthesis system or the like.

           Patent, 1:22-27.1 The Asserted Patents also state:

               The object of the invention is to provide a new fluid
               handling system, which system overcomes one or more

  1
   Unless I state otherwise, all citations to the Asserted Patents are from the
  Patent.
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                  drawbacks of the prior art. This is achieved by the fluid
                  handling system as defined in the independent claims.

                  One advantage with such a fluid handling systems is that
                  the system may easily be upgraded without need for add-
                  on equipment, and that the flow path may be easily
                  optimized for new experimental setups.

  Id., 1:50-59.

        21.        The Asserted Patents state that one embodiment of the invention as

  follows:

                  FIG. 1 shows one embodiment of an automated fluid
                  handling system modular in the form of a liquid
                  chromatography system, with a plurality of
                  interchangeable modular components arranged in a liquid
                  handling panel wherein the reference numbers denotes:

                  1. Injection valve

                  2. Column valve with integrated pressure sensors

                  3. Conductivity monitor

                  4. UV monitor

                  5. Quaternary valve

                  6. Inlet valve B with integrated air sensor

                  7. System pump

                  8. Pressure monitor, system pump

                  9. Inlet valve A with integrated air sensor
                                               9
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              10. System pump

              11. Pressure monitor, sample pump

              12. Sample pump

              13. Rinsing system

              14. Mixer with online filter

              15. Sample inlet valve with integrated air sensor

              16. Flow restrictor

              17. pH valve

              18. Outlet valve

  Id., 2:50-3:5. For convenience, Fig. 1 is reproduced below, where placement of the

  above-identified modules are arranged in a liquid handling panel of the system:




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        22.

                                                                     column valve 2,

  UV monitor 4, system pumps 7 and 10, inlet valve 6 and 9, sample inlet valve, pH

  valve 17, and outlet valve 18.

        23.                                   is a schematic illustration of a housing

  20 with a liquid handling panel 22 of the fluid handling system in the form of a



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  modular liquid chromatography system 100 of FIG. 1.            Id., 5:38-41. I have

  reproduced Fig. 2 below:




        24.    Liquid handling panel 22 is located on one side of housing 20, and



  various modules are inserted into these locations. The specification further states:


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                  In the disclosed configuration, as disclosed in detail
                  above, the modular liquid chromatography system 100
                  comprises a plurality of fluid control valves in the form
                  of: Injection valve 1, Column valve 2, Quaternary valve
                  5, Inlet valve B 6, Inlet valve A 9, Sample inlet valve 15,
                  pH valve 17, and Outlet valve 18. The chromatography
                  system 100 further comprises UV monitor 4, System
                  pump B 7, System pump A 10, Sample pump 12, Mixer
                  14, and three Dummy modules 24.

  Id., 5:41-50.

        25.       Another discussion the Asserted Patents have regarding modules is in

  the context of Fig. 4:

                  FIGS. 4a to 4d are schematic illustrations of examples of
                  fluid handling units in the form of modular component of
                  the fluid handling system removed. FIG. 4a shows a
                  standard interchangeable modular component 26, e.g. a
                  fluid control valve or the like. The standard component
                  module 26 comprises a panel member 28, an external
                  fluidics section 30 and an internal non-fluidics section
                  32. According to one embodiment, the panel member 28
                  essentially separates the fluidics in the external fluidics
                  section 30 from electronics and control means in the
                  internal non-fluidics section 32.

  Id., 6:4-13. I have reproduced Figs. 4a-4d below:




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        26.   E                                                   ach of the modules

  depicted in Figs. 4a-4b and 4d are made up of several members, or sections. A first

  is panel member 28. A second is non-fluidics section 32 and a third is fluidics

  section 30. Of course, a                                                    would

  understand that there could more sections than just these. Indeed, the Asserted

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  Patents refer to various sensors that are externally located, e.g., pH electrodes. Such

  sensors are electrochemical in nature and are located outside of the interior of the

  modules and housing.

        27.    The Asserted Patents call out certain features that a POSITA would

  have realized were important advancements in liquid chromatography technology.

  One important advancement was providing users with the ability to easily modify

  their systems so that they could optimize the fluid flow paths of liquid

  chromatography runs:

               To fulfill a desired purpose, with the disclosed liquid
               chromatography system it is possible to adapt and extend
               the flow path in a simple and a flexible way.

  Id., 4:65-67. The Asserted Patents further stress this advancement:

               According to one embodiment, all liquid handling
               components and sensors arranged at the liquid handling
               panel 22 are designed to be readily interchangeable. The
               interchangeability provides improved service and
               upgrade possibilities and also a possibility to customize
               the positions of the respective liquid handling
               components, such as the fluid control valves, e.g. in order
               to optimize the fluid path for a specific experimental
               setup.

  Id., 5:50-57.   The Asserted Patents provide further discussion regarding this

  important advancement in the context of Fig. 10:

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              FIG. 10 is a schematic illustration of one embodiment of
              a fluidic interconnection arrangement between the
              modular components of the liquid handling panel. Taking
              into account the complexity of the disclosed
              interconnection arrangement, the benefit of optimizing
              the fluid paths in alternative configurations of the system
              becomes evident. The task of optimizing the fluid paths
              may e.g. be performed to reduce the total length/volume
              of the fluid paths/tubing arranged to interconnect the
              different component modules in the system. Alternatively
              the optimization may be performed to minimize the
              length/volume of one or more specific fluid paths, such
              as the sample output path from the column to the fraction
              collector, in order to minimize dispersion of the
              fractionized sample.

  Id., 8:61-9:7. I have reproduced Fig. 10 below:




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        28.    Another important aspect of the inventions in the Asserted Patents is

  the separation of a fluidics section of the modules from the electronics in an internal

  non-fluidics section:

               FIGS. 4a to 4d are schematic illustrations of examples of
               fluid handling units in the form of modular component of
               the fluid handling system removed. FIG. 4a shows a
               standard interchangeable modular component 26, e.g. a
               fluid control valve or the like. The standard component
               module 26 comprises a panel member 28, an external
               fluidics section 30 and an internal non-fluidics section
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                  32. According to one embodiment, the panel member 28
                  essentially separates the fluidics in the external fluidics
                  section 30 from electronics and control means in the
                  internal non-fluidics section 32.

  Id., 6:4-13. The Asserted Patents essentially repeat this important advancement,

  when stating:

                  As is disclosed in FIGS. 4a to 4d, the interchangeable
                  modular components 26 comprises a panel member
                  arranged to separate the fluidics section from the non
                  fluidics section and for attachment to a component
                  position in the liquid handling panel. Said panel
                  attachment member may be arranged so that all fluid
                  connections of said modular component are arranged on
                  a wet side of the panel attachment member separating
                  them from electrical components that are arranged on a
                  dry side thereof, hence providing a high degree of liquid
                  resistance at the external part of the fluid handling panel,
                  and so that the liquid resistance requirements for the
                  internal sections may be somewhat lightened.

  Id., 6:23-35.

        29.       I will discuss this in more detail below when addressing Bio-

  infringement of the Asserted Claims. However, I note initially that the specification

  discloses multiple examples of modules that have electrical components in locations

  other than the non-fluidics sections of the modules.

        30.       For example, above, I quoted a list of modules the Asserted Patents

  specifically identify, and a POSITA would understand that many of these can have
                                               18
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  electrical components located in areas outside any non-fluidics section.      Such

  modules could include:

               2. Column valve with integrated pressure sensors

               3. Conductivity monitor

               4. UV monitor

               6. Inlet valve B with integrated air sensor

               9. Inlet valve A with integrated air sensor

               15. Sample inlet valve with integrated air sensor

               17. pH valve

         31.   The Asserted Patents further disclose having each module have its own

  CPU:

               In one embodiment, each modular component is provided
               with a dedicated CPU unit allowing the component to
               independently perform operations in response to
               instructions over the BUS 42.

  8:9-12.

         32.   Cytiva uses the inventions claimed in the Asserted Patents in its ÄKTA

  avant and ÄKTA pure automated liquid chromatography systems.




                                           19
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        A.

        33.                                                      as a Continuation of

  U.S. patent application Ser. No. 15/165,876 filed May 26, 2016 which is a

  Continuation of U.S. patent application No. 14/463,039 filed Aug. 19, 2014 (now

  U.S. Pat. No. 9,404,902) which is a Continuation of U.S. patent application No.

  13/376,929 (now U.S. Pat. No. 8,821,718) filed Dec. 8, 2011 which was a National

  Phase of the PCT application I mentioned above. It also claims priority to the

  Swedish patent application, filed Jun. 9, 2009, I discussed above.

        B.

        34.                                                    a Continuation of U.S.

  patent application No. 14/463,039 filed Aug. 19, 2014 which is a Continuation of

  U.S. patent application No. 13/376,929 (now U.S. Pat. No. 8,821,718) filed Dec. 8,

  2011 which was a National Phase of the PCT application I mentioned above. It also

  claims priority to the Swedish patent application, filed Jun. 9, 2009, I discussed

  above.

        C.     The     1 Patent

        35.                    was filed on July 8, 2016 as a Divisional of U.S. patent

  application No. 15/165,876, filed May 26, 2016 which is a Continuation of U.S.


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  patent application No. 14/463,039 filed Aug. 19, 2014 which is a Continuation of

  U.S. patent application No. 13/376,929 (now U.S. Pat. No. 8,821,718) filed Dec. 8,

  2011 which was a National Phase of the PCT application I mentioned above. It also

  claims priority to the Swedish patent application, filed Jun. 9, 2009, I discussed

  above.

        D.     The 124 Patent

        36.    The 124 Patent is a reissued version of U.S. Patent No. 8,821,718 (the

                                                                   1 (and assigned U.S.

  patent application No. 13/376,929, which was a National Phase of the PCT

  application I mentioned above. It also claims priority to the Swedish patent

  application, filed Jun. 9, 2009, I discussed above.

  V.    THE PERSON OF ORDINARY SKILL IN THE ART

        37.

                                                                                      -

  in-suit were directed, as of the relevant priority dates

        38.    For purposes of this declaration, I have been asked to assume that the

  priority date for each of the Asserted Patents is June 9, 2009, which is the date the

  Swedish priority application was filed.         I note that my opinion regarding the

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  definition of a POSITA would not change should the Court or other decision maker

  determine that that priority date is June 4, 2010, the filing date of the PCT application

  I mentioned above.

        39.    I have been informed that factors for determining ordinary skill in the

  art may include one or more of the following: (1) the educational level of the

  inventors; (2) the type of problems encountered in the art; (3) prior art solutions to

  those problems; (4) the rapidity with which innovations are made; (5) the

  sophistication of the relevant technology; and (6) the educational level of workers

  active in the field. I have considered these factors in my analysis.

        40.    For example, I note that one of the inventors of the Asserted Patents,

  Mats Lundkvist, has a                           in Mechanical Engineering. Lundkvist

  10/22/2014 Tr. 42:15-44:8.

        41.    In my opinion, a POSITA would have a scientific or technical

  background with at least 5 years of experience in the design, service, operation,

  and/or use of automated fluid handling systems, which would include liquid

  chromatography systems, filtration systems, chemical synthesis systems or the like.




                                             22
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               question was about, can you have, do you have to have
               electronic components in the fluidics section, because I
               think it's clear that the written description allows for
               there to be non-fluidic components external to the non-
               fluidics section. They just, and I think this is a key, they
               just can't be in the fluidics section.

  Markman Tr. 97:16-25. See also:

               So I'm not able to accept GE's position that on one hand a
               non-fluidic section can contain fluidics. On the other
               hand, a fluidics section cannot contain non-fluidics. On
               the other hand, the patent uses the indefinite article, so it
               contemplates one or more sections, and the Federal
               Circuit has said, understandably, that the indefinite article
               does not mean all. So that is what I find problematic
               about Bio-Rad's construction, is they want to say all the
               fluidic components.

  Id, at 100:14-23. Finally, see also:

               That does not, however, preclude the possibility that
               there are other sections that are in the invention, and
               that's important because that is consistent with the use of
               the indefinite article, which is inconsistent with Bio-
               Rad's insistence that "all," either fluidic or non-fluidic
               components, are in the respective handling unit.

  Id. 103:8-13.

        46.                                                             Asserted Patents,

  which, as I discussed, teach multiple different modules where electronics are located

  in locations other than their respective non-fluidics sections. See Paragraphs 29-30.


                                            26
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  VII. BACKGROUND

        47.    Chromatography is a method for separating chemical components.

  There are many different kinds of chromatography. Common to many types

  chromatography is that chemical components (called the mobile phase) are separated

  by flowing them over a stationary material (called the stationary phase) for which

  those chemical components have varying degrees of affinity, i.e. they are attracted

  to greater or lesser degrees to the stationary phase. These differing degrees of

  affinity allow some of the chemical components to move faster than others,

  separating the originally mixed chemical compounds into discrete bands. When

  performed with liquid chemical compounds, this process is called liquid

  chromatography. Modern day liquid chromatography is a very complicated process,

  used for either diagnostics   analyzing the chemical components of a fluid or

  production   separating some desired chemical component from a fluid for the

  purpose of collecting that component or components for subsequent use. Both

  applications of liquid chromatography are very complicated, requiring many

  different fluid operations to be performed precisely in succession in order for the

  chromatography to succeed. Automated fluid handling is a critical part of modern




                                          27
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              Quest

              Scout

              Discover

              Discover Pro

        55.   The following table, from an internal Bio-Rad document, demonstrates

  the differences between the models as well as the sub-models for each:




  See BRGEDEL000070409.

        56.   As can be seen, the Quest model comprises, among other items, a base

  frame, two system pump modules, two blank modules, a sample inject valve module,

  a UV detector module, and a mixer module. The Quest 10 includes two F10 system
                                          33
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  pumps while the Quest 100 includes two F100 pumps, with the main difference

  between the two being the flow rate of each (0.001-10 ml/min for the F10 versus

  0.010-100 ml/min for the F100). Ex. 5, p. 30. Both the Quest 10 and Quest 100 are

  available as the Quest 10+ and the Quest 1

  the non-                                                          -wavelength UV

  detectors.

        57.     As can also be seen, the Scout model comprises, among other items, a

  base frame, two system pump modules, two blank modules, a sample inject valve

  module, a UV detector module, a buffer blending valve module, a pH valve module,

  and a mixer module. The Scout 10 includes two F10 system pumps while the Scout

  100 includes two F100 pumps. As discussed, the main difference between the F10

  and F100 systems pumps is the flow rate of each (0.001-10 ml/min for the F10 versus

  0.010-100 ml/min for the F100). Ex. 5, p. 30. Both the Scout 10 and Scout 100 are



  the non-                                                          -wavelength UV

  detectors.

        58.     As can also be seen, the Discover model comprises, among other items,

  a base frame, an expansion frame (i.e., housing), two system pump modules, a

                                           34
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  sample pump module, two inlet valve modules, a sample inject valve module, a

  multi-wavelength UV detector module, a buffer blending valve module, a pH valve

  module, a column switch module, and a mixer module. As with the Quest and Scout,

  the Discover 10 includes two F10 system pumps while the Discover 100 includes

  two F100 pumps.

        59.     Finally, the Discover Pro model comprises, among other items, a base

  frame, two expansion frames (i.e., housings), two system pump modules, a sample

  pump module, three blank modules, three inlet valve modules, a sample inject valve

  module, a multi-wavelength UV detector module, a buffer blending valve module, a

  pH valve module, a column switch module, an outlet valve module, and a mixer

  module. As with the Quest and Scout, the Discover Pro 10 includes two F10 system

  pumps while the Discover Pro100 includes two F100 pumps.

        A.

                1.     Claim 1

                       a.    An automated liquid chromatography system

        60.     Bio-

  system.     First, there can really be no dispute that Bio-



  such. One example is in the NGC Instrument Guide:
                                           35
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                                     8206
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                    b.     a housing

        65.   The NGC system plainly has a housing unit. The following two figures,

  which are annotated to show the housing, come from Bio-




                                         38
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  Ex. 5, p. 22, 24-26.

        66.    The           is annotated in red. Note that the front view appears to

  depict a Discover Pro system, as it shows two expansion housings placed on top of

  the main enclosure. The remaining views appear to show a Discover system since

  they each show the NGC system with a single expansion housing stacked on the

  main housing.

        67.    Exhibit 21, a Bio-Rad marketing document, shows a good view of the

  Quest and Scout systems. A portion is reprinted them below, with an annotation

  pointing to the housing:

                                         39
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                                     8209




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  Ex. 21, p. 3.

        68.

  Bates No. BRGEDEL1541-1565 provides additional information:




                                        40
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                                     8210




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  Ex. 24 BRGEDEL000001591.

        69.   Exhibit 12 is the Technical Specification for the Next Generation

  Chromatography System.



                                                                 BRGEDEL401625.

        70.   Mr. Iovanni testified that

                                            . Iovanni Tr. 216:20-217:3. Exhibit 12

  contains the following entry as a specification for the NGC:




                                           41
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        77.   The single board computer is also described in Exhibit 30.

        78.   Cytiva also took this photograph from the NGC it has:




                                         46
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        79.   All of Bio-

  CPUs (discussed below) on each of those modules communicate via




  Ex. 19 (BRGEDEL000282555) (                      )




  Ex. 13 (BRGE0096083) (                                    )




  Ex. 14 (BRGEDEL000450748) (                  )




  Ex. 20 (BRGEDEL000281533) (                                       ).




  Ex. 25 (BRGEDEL000451791) (                          )

                                        47
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        81.    The external PC, which everyone will recognize contains a processing

  device (generally an Intel microprocessor, which will have several CPUs), also

  communicates via a system bus. See, e.g., Ex. 5:




  Ex. 5, p. 24. See also:



                                         49
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  Ex. 5, p. 28.

        88.       Bio-                            the sample inject valve module:




                                        52
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  Ex. 5, p. 37.

        89.       First, these modules, like all the NGC modules, can be inserted into and

  removed from positions in the housing.




                                              53
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  Id., p. 19. The Technical Specification for NGC indicates that

                                                                            :




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  Ex. 5                                                             -

          -




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  Ex. 5, pp. 236-238 (p. 236 not reproduced).

        92.   The pump modules are double-wide modules while the sample inject

  valve is a single-wide module. This plainly demonstrates that these modules have a

                                    For example, just as Bio-Rad instructs in the

  Instrument Guide, an NGC user could, for example, remove a sample inject valve

                                          60
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  module and insert into the single-wide bay another module, e.g., a pH valve module.

  Likewise, an NGC user could remove a pump module and insert into the double-

  wide bay, e.g., a sample pump or a UV detector. Similarly, an NGC user could

  convert the double-wide bay into a single-wide bay and insert a sample inject valve

  module an into one of the two resulting single-wide bays.

        93.   Finally, by having these standard sized

  [for the fluid handling unit] to be exchanged with another component.       -

  Instrument Guide makes that clear, as it indicates that a person can replace or

  reposition modules:




                                          61
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  Ex. 14 (BRGEDEL000450753) (                      ).

        98.    Mr. Chapman testified that these specifications were met for the pump

  modules (Chapman Tr. 529:12-530:17) and sample inject valve module (Chapman

  Tr. 528:16-529:10).

        99.                                                           strates that the

                                               e.g., the two system pump modules and

                                  include[] fluidics components

  claim construction requires.

        100. The fluidics section for the system pump modules used in the NGC

  system is as follows:




                                          63
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                                     8233




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  Ex. 5, pp. 28-29. Note that this figure annotated to show hidden portions of the

  fluidics section, i.e., a simplified illustration of the flow path within the fluidics

  section.

        101. Note that the NGC Instrument Guide illustrates the F10 pump module,

  but the F100 pump module is essentially identical for purposes of this infringement

  analysis, meaning that the structure corresponding to the recited fluidics section is

  the same.

        102. Note also that this portion of the Instrument Guide does not illustrate

  the priming ports that can be on the system pump modules. These can be seen in the




                                           64
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  assembly drawings, which is annotated to show the fluidics section, to show a

  simplified illustration of flow path within the fluidics section:




  Ex. 23 (BRGEDEL1507) (F10 pump module). See also:




                                            65
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  Ex. 28, (BRGEDEL972) (F100 pump module)

        103. The fluidics section for the sample inject valve module used in the NGC

  system is as follows:




                                         66
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          HIGHLY CONFIDENTIAL (TECHNICAL) -




  Ex. 5, pp 37-38. This particular illustration does not show the complete fluid flow

  path, as the fluid flow paths of the fluidics section are not shown. However, this can

  be seen in, for example, the following figure from Bio-




                                           67
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  Ex. 5, p. 40.

        104. As is seen, the fluidics section of each of these modules include fluidic

  components in the flow path like tubing inputs and outputs, sensors, flow cells and

  valve components.

        105.                                                                       not

  include non-fluidics components       None of the fluidics portions I have identified

  above contain non-fluidics components. They all are involved in transmission of

  fluids, e.g., tubing, flow cells, tubing inputs and outputs, etc.
                                             68
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        112. The assembly drawings for these modules demonstrate that these

  modules have a non-fluidics section that include electronic components but not

  fluidics components

               F10 System pump module: Ex. 23.

               F100 System pump module: Ex. 28.

               Sample inject valve module: Ex. 29.

        113. The NGC Service Manual (Ex. 16) further demonstrates that there is a

  non-fluidics section that is internal to the housing.

        114. System pump modules:




  Ex. 16 (BRGEDEL317444, BRGEDEL317555).

        115. Sample inject module:



                                             71
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  Ex. 16 (BRGEDEL317453-317454, BRGEDEL317564).

          116.

   non-                                         e.g., the two system pump modules

  and                                 include[] electrical components and does not

  include fluidics components

                    g.     including a bus connector for directly connecting the
                          interchangeable modular component with the system
                          bus, and

          117.      three or more fluid handling units arranged as interchangeable

  modular components                                    bus connector for directly

  connecting the interchangeable modular component with the system bus




                                        72
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        120. Each module has a bus connector that mates with a complementary

  connector on the backplane. Below are photographs Cytiva took showing the

  connector on a valve module that is annotated to show the connector:




  Certain of the pins on each connector will connect to the NGC system bus.

        121. I was able to perform a video inspection of the NGC system that Cytiva

  has and confirmed that connectors like those in the above photographs are present

  on each module.

        122. In addition, these bus conn                                 each of the

  modules with the system bus

  Cytiva, the backplane in the NGC system has connectors that receive and mate with

  the bus connectors on each module:



                                          74
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                                     8244




           HIGHLY CONFIDENTIAL (TECHNICAL) -




        123. Bio-                                   the following:




  Ex. 5, p. 235.

        124. The alignment pin on each module ensures that the connector on the

  module and the connector on the NGC backplane mate properly.

                                        75
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           HIGHLY CONFIDENTIAL (TECHNICAL) -

        125. As discussed above, the system bus is                 . Each module

  contains a bus controller. I confirmed this with Cytiva, who took the following

  photographs of an NGC module they have, and they were able to determine that the

  module has a Linear Technology LTC4300A Hot Swappable 2-wire bus buffer,

  further establishing that there is a bus:




        126. The connection between                on the module and           on

  the backplane is direct because the electrical signals pass directly between the

  module and the backplane.

        127. Thus, this claim element is present in each of Bio-




                                              76
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           HIGHLY CONFIDENTIAL (TECHNICAL) -

                     h.      (iii) a panel member arranged to separate the
                           fluidics section from the non-fluidics section;

        128.         three or more fluid handling units arranged as interchangeable

  modular components                                       panel member arranged to

  separate the fluidics section from the non-fluidics section

  member is a third section that makes up a module. The structures that correspond to



        129. The panel member for the two system pump modules is identified

  below:




  Ex. 5, p. 28.

                                           77
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                                     8247




           HIGHLY CONFIDENTIAL (TECHNICAL) -

         130. Note that the panel member for the F100 pump module is, for purposes

  of the infringement analysis, is the same as for the F10 pump module shown above.

         131. The panel member for the sample inject valve module is identified

  below:




  Ex. 5, p. 37.

         132. Further evidence that these modules have a panel member is seen in

  Bio-




                                         78
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                                     8248




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  Ex. 28 (BRGEDEL000000972) (100 mL Pump Module)




  Ex. 23 (BRGEDEL000001507) (10 mL Pump Module)




                                        79
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                                     8249




           HIGHLY CONFIDENTIAL (TECHNICAL) -




  Ex. 29 (BRGEDEL000001261) (Inject Valve Module)

        133.                                               separate the fluidics

  section from the non-fluidics section                     Indeed, the are each

  interposed between the fluidics section and the non-fluidics section, just as

  illustrated in the Asserted Patents:




                                          80
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                                     8250
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                                     8251
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                                     8252
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           HIGHLY CONFIDENTIAL (TECHNICAL) -

                    i.       wherein the housing comprises a liquid handling
                             panel with at least four component receiving positions
                             arranged in a two dimensional array and adapted to
                             receive said interchangeable modular components
                             such that, when inserted, the fluidics section is
                             external to the housing and the non-fluidics section is
                             internal to the housing

         138. Each of Bio-

  Bio-                          shows this is present:




                                            84
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                                     8254




           HIGHLY CONFIDENTIAL (TECHNICAL) -

  Ex. 5, p. 22. As can be seen in the above illustration from Bio-

  the liquid handling panel                                          Note that a portion of

  the liquid handling panel is hidden by the panel members of the modules. The

  following illustration from Bio-

  of the NGC liquid handling panel:




  Ex. 5, p. 237. Another view is as follows:




                                            85
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                                     8255




          HIGHLY CONFIDENTIAL (TECHNICAL) -




  Ex. 5, p. 234. The below illustration shows how to convert a single-wide bay to a

  double-wide bay:




                                         86
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                                     8256




           HIGHLY CONFIDENTIAL (TECHNICAL) -




  Ex. 5, p. 238.

        139. The housing used in all models can accommodate up to ten modules

                                                           ,

  least four requirement. As I discussed above, the size of Bio-Rad

  changed to be single-wide or double-wide bays, meaning depending on Bio-

  customer choice, the housing can accommodate as many as 10 modules (i.e., without
                                         87
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                                     8257




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  using any double wide modules). In the Quest and Scout standard configurations,

  the following four positions in the below annotated version of figures from Bio-

                                                             :




  See Ex. 5, p. 90.

        140. These four receiving positions are plainly arranged in a two

  dimensional array, just as the claim requires. The same is true for the receiving

  positions of the housing in the Discover and Discover Pro models.

        141. Note the claim language only requires that the receiving positions be

   adapted to receive said interchangeable modular components



  to receive the interchangeable modular components.

        142. As seen above, Bio-                       modules, sample inject valve

                                                                      when inserted,



                                         88
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                                     8258




            HIGHLY CONFIDENTIAL (TECHNICAL) -

  the fluidics section is external to the housing and the non-fluidics section is internal

  to the housing

        143. Thus, this claim element is plainly present in all models of the NGC

  system.

                      j.     wherein each component receiving position includes a
                             complementary connector for connecting the bus
                             connector of the interchangeable modular component
                             inserted therein to said system bus

        144.                                        -R

   complementary connector for connecting the bus connector of the interchangeable

  modular component inserted therein to said system bus              As seen below in

  photograph taken by Cytiva, the backplane in the NGC system has connectors that

  receive and mate with the bus connectors on each module:




                                            89
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                                     8259




          HIGHLY CONFIDENTIAL (TECHNICAL) -




        145. Another photograph taken by Cytiva provides a closer view of one of

  the complementary connectors on the backplane of the NGC system:




                                        90
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                                     8260




            HIGHLY CONFIDENTIAL (TECHNICAL) -




          146.                                  e                 n a module is

  installed, the connector on the module is inserted into the connector on the

                                                                      ementary



  made.

          147. Bio-




  Ex. 5, p. 235.

                                        91
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                                     8261
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                                     8262




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                       k.    wherein each interchangeable modular component
                             includes a dedicated CPU unit allowing the
                             interchangeable modular component to independently
                             perform operations in response to instructions over
                             the system bus;

         150.          three or more fluid handling units arranged as interchangeable

   modular components                                       dedicated CPU unit      As



                                                        or. The specifications for each

   demonstrate this:




   Ex. 14 (BRGEDEL000450746) (                      )




   Ex. 13 (BRGE0096081) (                                         )


                                           93
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                                     8263
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                                     8264




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         154. In the photo, you can see the markings for this part is for an ADC7060.

   The datasheet for this component confirms that it has a CPU:




                                          95
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                                     8265




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   Ex. 18 (GEHCDEL129737, at GEHCDEL129796).

         155. Bio-




   Ex. 17 (BRGEDEL98274)

         156. The portions of specifications I excerpted above also demonstrate that

                               on each module allows the interchangeable modular

   component to independently perform operations in response to instructions over the

   system bus    As discussed, the Bio-Rad specifications each state that

                                          96
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                                     8266
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                                     8269
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                                     8270
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                                     8272
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                                     8273




            HIGHLY CONFIDENTIAL (TECHNICAL) -

         163. In sum, this claim element is present in all models of the NGC system.

                        l.    wherein the master control unit is arranged to
                              automatically identify interchangeable modular
                              components;

         164. All models of the NGC system have a master control unit that

                    identif[ies] interchangeable modular components

   Instrument Guide states:




   Ex. 5, p. 19. This August 5, 2010 specification also demonstrates that this claim

   limitation is met:

                                           104
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                                     8274
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                                     8275
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                                     8276




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   Bland Tr. 194:4-196:12.

         166. I have also reviewed the Vukicevic declaration, where he shows this

   feature is present in Bio-                                    with all of Bio-

   documentation and testimony. See Vukicevic, Paragraph 9.

         167. In sum, this claim element is present in all models of the NGC system.

                      m.     wherein said housing is adapted to accommodate at
                             least one pump, at least one sensor unit and at least
                             two fluid control valves of different configurations, of
                             which at least three of the pump, the sensor unit, and
                             the fluid control valves are interchangeable modular
                             components; and

         168. This claim element is present in all models of the NGC system.

         169. The claim lan                                   housing is adapted to

   accommodate



   language only requires that the housing have the ability to have the listed items. In

   other words, for infringement to take place, the claim language does not require the

   listed items be present, but only that it is possible that the housing can accommodate

   them. Each model can plainly have the listed items:




                                            107
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                                     8277




           HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, p. 87-88.

         170.

   For example, even the Quest, which, for example, does not come standard with a pH

   valve module, can accommodate one. Thus, a customer could purchase a Quest and

   decide to purchase a pH valve as well. Likewise, all NGC models can accommodate

   a column switch valve and an inlet valve. Any of these valve modules, along with
                                         108
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                                     8278




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   the sample inject valve that comes standard with the Quest (and all other models)

   comprise fluid control valves of different configurations. Thus, all NGC models can

                        at least two fluid control valves of different configurations

         171. All models come standard with system pumps, meaning that all models

        accommodate least one pump

         172.                                                    at least one sensor unit

   In the context of the Asserted Patents, UV module 4 is a sensor unit:

                  As is illustrated in FIG. 2, there are three large
                  component positions e.g. for pump modules, one UV-
                  sensor position and 9 standard component positions, e.g.
                  for fluid control valves or the like.

   5:57-61.      All of Bio-

   wavelength UV detector module or a multi-wavelength UV detector module. Thus,

   all of Bio-                           accommodate        at least one sensor unit.

         173.                                             at least three of the pump, the

   sensor unit, and the fluid control valves are interchangeable modular components

         174. As discussed, the two system pump modules and the sample inject

                                                                        at least three of the

   pump, the sensor unit, and the fluid control valves are interchangeable modular

   components
                                              109
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                                     8279
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                                     8280
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                                     8281
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                                     8282




            HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 12 (BRGEDEL401629).

         178. Each of the modules have a standardized shape and size. In particular,

                                                                     , as I discussed

   above.   In a section of Bio-

   Repositioni                                         -Rad shows the following:




                                         113
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                                     8283




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   Ex. 5                                                             -

           -




                                        114
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                                     8284




           HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, pp. 236-238 (p. 236 not reproduced).

         179. The UV detector modules are double-wide modules. This plainly



         180. Finally, by having these standard sized bays, the NGC system allows

   the module to be exchanged with another component.          -

                                          115
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                                     8285
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   Ex. 20 (BRGEDEL000281538) (                                           )




   Ex. 19 (BRGEDEL000282560) (                                 ).

         182. Mr. Chapman testified that these specifications were met for the single

   wavelength detector module (Chapman Tr. 532:4-533:13), and the multi-wavelength

   UV detector (Chapman Tr. 533:15-534:17).

         183. The fluidics section for the single wavelength UV detector module used

   in the NGC system is as follows:




                                          117
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                                     8287




            HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, p. 67, 205.

         184. The fluid handling section for the multi-wavelength UV detector

   module used in the NGC system is as follows:




                                         118
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                                     8288




            HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, p. 66, 69, 205.

         185. As is seen, the fluidics section of each of these modules include fluidic

   components like tubing, tubing inputs and outputs, as well as a flow cell.

         186.                                                          d handling section

    not include non-fluidics components

   identified above contain non-fluidics components.          They are all involved in

   transmission of fluids, e.g., tubing, flow cells, tubing inputs and outputs, etc.

         187. Any non-fluidics components located externally are not a part of the

   claimed fluidics section. Indeed, as discussed, the Court explicitly stated at the claim
                                             119
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                                     8289




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   construction hearing that there can be electronics external to the housing but not in

   the fluid handling section. Markman Tr. 97:16-25. Likewise, the Court also said

   each module can have more than just a fluid handling section and a non-fluidics

   section. See e.g., id, at 100:14-23 and 103:8-13.

         188. The fluidics section of the single wavelength UV detector module is as

   follows:




   Ex. 16 (BRGEDEL317456, BRGEDEL317558).

         189. The fluidics section of the multi-wavelength UV detector module is as

   follows:




                                           120
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                                     8290




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   Ex. 16 (BRGEDEL317458-BRGEDEL317459, BRGEDEL317559).

         190. Finally, both the single and multi-wavelength UV monitor module have

   panel members:




   Ex. 5, p. 66.




                                         121
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                                     8291




            HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, p. 66.

         191. Finally, each UV monitor module has a CPU.




   Ex. 20 (BRGEDEL000281532) (                                      )




                                        122
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                                     8292




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   Ex. 19 (BRGEDEL000282542) (                                    )

         192. Thus, the element is met, and all models of the NGC system infringe

   claim 1.

                          n.      wherein the system is capable of performing
                                  automated liquid chromatography

         193. All models of Bio-                                 capable of performing

   automated     liquid        chromatography



   liquid chromatography:




                                                123
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                                     8293




           HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, p. 11. As this Bio-Rad document (Instrument Guide), the NGC system



   understand that the NGC system is an automated liquid chromatography system.

         194. In sum, all Bio-                                                    .

         B.

               1.    Claim 1

                     a.                  d liquid chromatography system
                           comprising:

         195. Bio-

   system. First, there can really be no dispute that Bio-

                                                                             g as

   such. One example is in the NGC Instrument Guide:

                                         124
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                                     8294




           HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, p. 11. Note that this document not only states that the NGC system is a liquid



   purification of biomolecules. Thus, a POSITA would understand that the NGC

   system is an automated liquid chromatography system.

         196. At her deposition, Dr. Mavandadi



                                                                                 Ex. 6

   (BRGE00065119). When asked about this at her deposition, Dr. Mavandadi testified




                                           125
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                                     8295




           HIGHLY CONFIDENTIAL (TECHNICAL) -




   Mavandadi Tr. 106:5-15.

         197. This is plainly the case with the NGC system. Indeed, according this



   document of Exhibit 6. Thus, the NGC system i



         198. Moreover, automated liquid chromatography systems must have certain

   components to perform liquid chromatography, including at least an injection valve,

   a suitable pump, an inline detector that can measure the relevant characteristics of

   the liquid exiting the chromatography column, and control software for processing,

   displaying, and/or storing the results, which operate without manual intervention.

         199. There is no dispute that Bio-                            ach of these. I

   will discuss these in more detail below, but as will be seen, all Bio-Rad NGC models

   come standard with a sample inject valve module (Ex. 5, pp. 28, 87), two system

   pump modules (Ex. 5, pp. 28, 87), and a UV monitor module (Ex. 5, pp. 65-70, 87).
                                           126
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                                     8296




           HIGHLY CONFIDENTIAL (TECHNICAL) -

                     b.

         200. The NGC system plainly has a housing unit. The following two figures,

   which are annotated to show the housing, come from Bio-




                                         127
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                                     8297




            HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, p. 22, 24-26.

         201. The             is annotated in red. Note that the front view appears to

   depict a Discover Pro system, as it shows two expansion housings placed on top of

   the main enclosure. The remaining views appear to show a Discover system since

   they each show the NGC system with a single expansion housing stacked on the

   main housing.

         202. Exhibit 21, a Bio-Rad marketing document, shows a good view of the

   Quest and Scout systems. A portion is reprinted below and points to the housing:



                                          128
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                                     8298




            HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 21, p. 3.

         203.

   Bates No. BRGEDEL1541-1565 provides additional information:




                                        129
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                                     8299




           HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 24 (BRGEDEL000001591).

         204. Exhibit 12 is the Technical Specification for the Next Generation

   Chromatography System.



                                                                  BRGEDEL401625.

         205. Mr. Iovanni testified that

                                                 . Iovanni Tr. 216:20-217:3. Ex. 12

   contains the following entry as a specification for the NGC:




                                           130
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                                     8300




           HIGHLY CONFIDENTIAL (TECHNICAL) -




   BRGEDEL401628. This document further demonstrates that the NGC system has

   a housing:




   BRGEDEL401629. Mr. Bland testified that this entry refers to the housing of the

   NGC:




                                         131
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                                     8301




             HIGHLY CONFIDENTIAL (TECHNICAL) -




   Bland Tr. 86:2-86:17.

         206.

   (Ex. 11




   Ex. 11 (BRGEDEL445194). Mr. Chapman testified that this document reflects a

   housing as well:




                                        132
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                                     8302




             HIGHLY CONFIDENTIAL (TECHNICAL) -




   Chapman Tr. 541:6-541:22.

         207. In sum, this claim element is plainly present in all NGC models.

                     c.                                            units

         208.                                                                 units

         209.                                                              units

   a fluid handling unit that has a standardized size and shape that allows it to be

   exchanged with another fluid handling unit

         210. As discussed above, each NGC model can include the following

   modules:

                      Quest           Scout          Discover        Discover Pro
         1        System Pump     System Pump     System Pump       System Pump
         2        System Pump     System Pump     System Pump       System Pump
         3        Sample Inject   Sample Inject   Sample Inject     Sample Inject
                  Valve           Valve           Valve             Valve
                                          133
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                                     8303




              HIGHLY CONFIDENTIAL (TECHNICAL) -


                       Quest         Scout           Discover     Discover Pro
         4         UV Detector   UV Detector      UV Detector    UV Detector
         5                       pH Valve         pH Valve       pH Valve
         6                                        Column Switch Column Switch
                                                  Valve         Valve
         7                                        Sample Pump    Sample Pump
         8                                        Buffer Inlet   Buffer Inlet
                                                  Valve          Valve
         9                                                       Sample Inlet
                                                                 Valve
         10                                                      Outlet Valve



         211. At a minimum, each of the two system pump modules, sample inject

   valve module and UV monitor modules are modular fluid handling units

         212. Bio-




                                        134
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                                     8304




            HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, p. 28.

         213. Bio-                                                           e:




                                        135
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                                     8305




            HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, p. 37.

         214. Bio-

   single wavelength and multi-wavelength detectors are illustrated as follows:




                                           136
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                                     8306




            HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, p. 66.

         215. These modules, like all the NGC modules, can be inserted and removed,

   functionality required for them to have the ability to be exchanged with another

   fluid handling unit                                      :




                                         137
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                                     8307




           HIGHLY CONFIDENTIAL (TECHNICAL) -




   Id., p. 19. The Technical Specification for NGC indicates that

                                                                             :




                                        138
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                                     8308




           HIGHLY CONFIDENTIAL (TECHNICAL) -

   Ex. 12 (BRGEDEL401642). This plainly indicates that all modules, including pump

   modules, sample inject valve modules, UV detector modules, and pH valve modules,

    can be inserted into and removed from positions in the housing      exchanged

   with another component

   testified as follows regarding this requirement:




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   Bland Tr. 98:13-101:1.

         216.

   module:




   Ex. 12 (BRGEDEL401629).

         217. Each of the modules have a standardized shape and size. In particular,



   in the excerpt from NGC Instrument Guide (Ex. 5) I pasted above (p. 19). This same

   document illustrates this in more detail. In a section of the Instrument Guide entitled

                                                                          -Rad shows the

   following:

                                            141
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   Ex. 5                                                             -

           -




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                                     8313




           HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, pp. 236-238 (p. 236 not reproduced).

         218. The pump modules and the UV detector modules are double-wide

   modules while the sample inject valve and pH valve are single-wide modules. This



   example, just as Bio-Rad instructs in the Instrument Guide, an NGC user could, for

                                          144
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   example, remove a sample inject valve module and insert into the single-wide bay a

   pH valve module. Likewise, an NGC user could remove a pump module and insert

   into the double-wide bay a UV detector. Similarly, an NGC user could convert the

   double-wide bay into a single-wide bay and insert one or both of the sample inject

   valve module and/or the pH valve module into the two single-wide bays.

          219. Finally, by havin

   [for the modular fluid handling unit] to be exchanged with another component.

   Bio-

   or reposition modules:




                                          145
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                                     8315




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   See Ex. 5, p. 233. See also Id. at 234-239.

         220. Thus, this claim element is met by all NGC models.

                      d.       wherein the housing unit comprises on one external
                             side of the housing unit a plurality of receiving
                             positions, each receiving position adapted to receive
                             the modular fluid handling units therein such that a
                             fluid handling section thereof is on the external side of
                             the housing unit, the receiving positions being
                             arranged in a two dimensional array,

         221.

   receiving positions.    Several drawings from Bio-                              are

   annotated below to show this:




                                           146
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                                     8316




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   See Ex. 5, pp. 90-91. As can be seen in the above illustrations from Bio-

   documentation, the NGC housing                                              the Quest

   and Scout models, no expansion housings are stacked on top of the main housing.

   Thus, the collection of receiving positions are boxed in red, as this will comprise the



         222. The Quest and Scout housing can accommodate up to ten modules and


                                            147
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                                     8317




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                                                                 -

   changed to be single-wide or double-wide bays, meaning depending on Bio-

   customer choice, the Quest and Scout can accommodate as many as 10 modules (i.e.,

   without using any double wide modules).          In the Quest and Scout standard

   configurations, the following four positions in the below annotated version of figures

   from Bio-




   See Ex. 5, p. 90.

         223. These four receiving positions are plainly arranged in a two

   dimensional array, just as the claim requires.

         224. Note the claim language only requires that the receiving positions be

    adapted to receive said interchangeable modular components



   to receive the interchangeable modular components.



                                            148
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         225. As seen above, Bio-

                                                                         fluid handling

   section thereof is on the external side of the housing unit

   section for these modules is as follows:

         226. The specifications for each of the system pump, sample inject valve and

                                                                 fluid handling section




   Ex. 13 (BRGE0096090) (                                    dule)




   Ex. 14 (BRGEDEL000450753)


                                              149
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                                     8319




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   Ex. 20 (BRGEDEL000281538) (                                         )




   Ex. 25 (BRGEDEL000451797) (                         )




   Ex. 19 (BRGEDEL000282560) (                               ).

         227. Mr. Chapman testified that these specifications were met for the pump

   modules (Chapman Tr. 529:12-530:17), sample inject valve module (Chapman Tr.

   528:16-529:10), single wavelength detector module (Chapman Tr. 532:4-533:13),

   and the multi-wavelength UV detector (Chapman Tr. 533:15-534:17).


                                         150
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                                     8320




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         228.                                                                that the

                                               e.g., the two system pump modules, the

   sample inject valve module, and the single wavelength detector module, the multi-

                                   include[] fluidics components



         229. Portions of the NGC Instrument Guide are annotated to show where the



         230. The fluid handling section for the system pump modules used in the

   NGC system is as follows:




                                         151
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   Ex. 5, pp. 28-29. Note this figure is annotated to show hidden portions of the fluidics

   section, i.e., a simplified illustration of the flow path within the fluidics section.

         231. Note that the NGC Instrument Guide illustrates the F10 pump module,

   but the F100 pump module is essentially identical for purposes of this infringement

   analysis, meaning that the structure corresponding to the recited fluidics section is

   the same.

         232. Note also that the section of the Instrument Guide does not illustrate the

   priming ports that can be on the system pump modules. These can be seen in the

   assembly drawings, which are annotated to show the fluidics section, as I did above,

   to show a simplified illustration of flow path within the fluidics section:




                                              152
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                                     8322




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   Ex. 23 (BRGEDEL1507) (F10 pump module). See also:




                                        153
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                                     8323




           HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 28, (BRGEDEL972) (F100 pump module)

         233. The fluid handling section for the sample inject valve module used in

   the NGC system is as follows:




                                         154
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                                     8324




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   Ex. 5, pp. 37-38. This particular illustration does not show the complete fluid flow

   path, as the fluid flow paths of the fluidics section are not shown. However, this can

   be seen in, for example, the following figure from Bio-




                                            155
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                                     8325




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   Ex. 5, p. 40.

         234. The fluid handling section for the single wavelength UV detector

   module used in the NGC system is as follows:




                                         156
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                                     8326




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   Ex. 5, p. 67, 205.

         235. The fluid handling section for the multi-wavelength UV detector

   module used in the NGC system is as follows:




                                         157
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                                     8327




              HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, p. 66, 69, 205.

         236. As is seen, the fluid handling section of each of these modules include

   fluidic components like tubing inputs and outputs, valve components, pump

   components, flow cells, and other components through which fluid passes.

         237.                                                                 section

    not include non-fluidics components

   identified above contain non-fluidics components. All they do is receive tubing

   inputs and outputs, and pass fluids through them. A POSITA would understand that

   these Th
                                          158
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                                     8328




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         238. Any non-fluidics components located externally are not a part of the

   claimed fluidics section. Indeed, as discussed, the Court explicitly stated at the claim

   construction hearing that there can be electronics external to the housing but not in

   the fluid handling section. Markman Tr. 97:16-25. Likewise, the Court also said

   each module can have more than just a fluid handling section and a non-fluidics

   section. See e.g., id, at 100:14-23 and 103:8-13.

         239. No non-fluidics components are in the fluid handling section I identify

   above.

         240. In sum, each model of Bio-

   section, just as claimed.

         241. Thus, this claim element is plainly present in all models of the NGC

   system.

                       e.       wherein each modular fluid handling unit is
                               configured for insertion into the receiving positions of
                               the housing unit

         242. Each of t

                                                       See paragraphs 215-218.




                                             159
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                                     8329




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                        f.    wherein each modular fluid handling unit is
                             readily interchangeable amongst similarly sized and
                             shaped receiving positions of the housing unit, such
                             that positioning of the modular fluid handling unit
                             with respect to other modular fluid handling units
                             permits a fluid flow path to be readily modified,
                             wherein the fluid flow path is formed by fluidic
                             connections between the modular fluid handling units,


         243.

   interchangeable amongst similarly sized and shaped receiving positions of the

   housing unit. Bio-        Instrument Guide establishes this:




                                            160
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                                     8330




            HIGHLY CONFIDENTIAL (TECHNICAL) -

   Ex. 5, p. 19.

         244. Bio-

   person can easily move modules from a first bay to a second bay:




   See Ex. 5, p. 233. See also Id. at 234-239. This process would be easy for a user of

   the NGC to perform, meaning that               Bio-



         245. Likewise, as I have discussed, Bio-

   sizes, and they fit in correspondingly sized bays (single-wide or double-wide):


                                           161
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                                     8331




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           246.

                                                     -Rad shows the following:




   Ex. 5                                                             -

            -wid




                                        162
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                                     8332




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                                        163
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                                     8333




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   Ex. 5, pp. 236-238 (p. 236 not reproduced).

         247.

   to other modular fluid handling units permits a fluid flow path to be readily

                                ee Ex. 5, p. 19, excerpted above. See also:



                                          164
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                                     8334




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   NGC Chromatography Systems - Comprehensive Solutions For Protein Purification

   (Ex. 21 (BRGEDEL293539). This same document refers to Bio-




   Ex. 21, p. BRGEDEL293542.
                                        165
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         248. Also, Exhibit 22, entitled NGC Chromatography Systems -

   Multidimensional (Multi-D) Plumbing Guide, further indicates that modules can be

   placed in different receiving positions:




   Ex. 22                                              -tier + 2 CSV for tandem



   standard Quest and Scout configurations:




                                              166
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                                     8336




            HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 22, p. 3.

         249. Further, as discussed, Mr. Bland testified that this feature was present:




                                           167
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                                     8337




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   Bland Tr. 100:8-101:1.

         250. Finally, all Bio-Rad NGC models form a fluid flow path

                                                              As discussed, the fluid

   handling section of the modules I identified have tubing inputs and outputs. Tubing



   claimed.

         251. In sum, all NGC models fall within the scope of this claim element.

                      g.
                            includes a CPU for independently performing fluid
                            control operations in response to instructions over a


         252.




   specifications for each demonstrate the presence of a CPU on each module required

   by the claim:


                                          168
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                                     8338




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   Ex. 14 (BRGEDEL000450746)                    )




   Ex. 20 (BRGEDEL000281532) (                                      )




   Ex. 13 (BRGE0096081) (




                                        169
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                                     8339




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   Ex. 19 (BRGEDEL000282542)

         253. As can be seen from the above excerpts, each of these Bio-Rad module




         254. First, it is well known that microcontrollers include CPUs. Mr. Bland




                                         170
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                                     8340




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   Bland Tr. 105:2-105:17.

         255. Cytiva photographed the circuit board inside one of the modules of the

   NGC it has, which confirms that each module has a CPU:




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         256. In the photo, you can see the markings for this part is for an ADC7060.

   The datasheet for this component confirms that it has a CPU:




   Ex. 18 (GEHCDEL129737, at GEHCDEL129796).

         257. Bio-




   Ex. 17 (BRGEDEL98274).

         258. The portions of specifications I excerpted above also demonstrate that

   the integral microcontroller on each module allows the interchangeable modular

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   component to independently perform operations in response to instructions over the

   system bus                            -Rad specifications each state that




                         -



         259.                                                                          the

   interchangeable modular component to independently perform operations in

   response to instructions over the system bus




   operations of other modules installed in the system. This is further supported by the

                                                                               in response

   to instructions over the system bus

   the CPU operates in conjunction with other processing devices in the system, and

   plainly does not mean that the in-module CPUs must operate completely by

   themselves. Such a reading of the claim would ignore the claim language and defy

   common engineering principles. Indeed, the fact that the specification describes use

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           HIGHLY CONFIDENTIAL (TECHNICAL) -




   devices are involved.

         260. At his deposition, Mr. Iovanni testified regarding the meaning of the

                                               arding Exhibit 4:




   Iovanni Tr. 105:9-105:22. Mr. Bland testified that

                                                             (in the context of Exhibit

   47, the system pump specification):




                                         174
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   Bland Tr. 105:18-108:13. When questioned regarding the column switch valve

   module (Exhibit 50), Mr. Bland further testified that




                                            176
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                                     8346




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   Bland Tr. 129:2-130:16.

                                        177
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                                     8347




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         261. In addition, I have reviewed the declaration provided by Nenad

   Vukicevic, who reviewed portions of Bio-

   and this confirms the documentation and testimony that Bio-        modular fluid

   handling units independently perform operations in response to instructions over

   the system bus                         5-8, 10.

         262. In sum, this claim element is present in all models of the NGC system.

         263. Thus, all Bio-Rad NGC models infringe this claim.

         C.

                1.    Claim 9

         264. Claim 9 depends on claim 1. Thus, I first analyze claim 1. I note that



   differences are demonstrated in this redline:




                                            178
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                                     8348




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                      a.




         265. As can be seen, the difference between these two claims is that claim 1



   arranged as interchangeable modular components, and these two need not be

   arranged in a two dimensional array. For completeness, I address this claim here.

                            (i)     An automated liquid chromatography system
                                    comprising:
         266. See Section VIII.A.1.a.

                            (ii)    a housing;
         267. See Section VIII.A.1.b.

                            (iii)   a master control unit connected to a system bus;
                                    and
         268. See Section VIII.A.1.c.
                                           179
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                            (iv)   two or more fluid handling units arranged as
                                   interchangeable modular components
                                   comprising
         269. See Section VIII.A.1.d. Note that this claim element is broader than



   interchangeable modular components. The infringement analysis is thus the same.

                            (v)    (i) an external fluidics section,
         270. See Section VIII.A.1.e.

                            (vi)   (ii) an internal non-fluidics section
         271. See Section VIII.A.1.f.

                            (vii) including a bus connector for directly
                                  connecting the interchangeable modular
                                  component with the system bus, and
         272. See Section VIII.A.1.g.

                            (viii) (iii) a panel member arranged to separate the
                                   fluidics section from the non-fluidics section,
         273. See Section VIII.A.1.h.

                            (ix)   wherein the housing comprises a liquid
                                   handling panel with two or more component
                                   receiving positions adapted to receive said
                                   interchangeable modular components such that,
                                   when inserted, the fluidics section is external to
                                   the housing and the non-fluidics section is
                                   internal to the housing,
         274. See Section VIII.A.1.i.        Note this claim element, unlike the

                                                       t, does not require that the two

   component receiving positions be arranged in a two dimensional array. Because this
                                           180
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   element is thus broader, the infringement analysis is essentially the same, except

   there is no need to show this particular limitation.

                             (x)    wherein each component receiving position
                                    includes a complementary connector for
                                    connecting the bus connector of the
                                    interchangeable modular component inserted
                                    therein to said system bus,
         275. See Section VIII.A.1.j.

                             (xi)   wherein each interchangeable modular
                                    component includes a dedicated CPU unit
                                    allowing the interchangeable modular
                                    component to independently perform
                                    operations in response to instructions over the
                                    system bus,
         276. See Section VIII.A.1.k.

                             (xii) wherein the master control unit is arranged to
                                   automatically identify interchangeable modular
                                   components,
         277. See Section VIII.A.1.l.

                             (xiii) wherein said housing is adapted to
                                    accommodate at least one pump, at least one
                                    sensor unit and at least two fluid control valves
                                    of different configurations, of which at least two
                                    of the pump, the sensor unit, and the fluid
                                    control valves are interchangeable modular
                                    components, and
         278. See SectionVIII.A.1.m.

                             (xiv) wherein the system is capable of performing
                                   automated liquid chromatography.
         279. See Section VIII.A.1.n.


                                             181
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                       b.   Claim 9

         280.                         the system include[] at least two fluid pumps

   Each of Bio-




   See BRGEDEL000070409. As seen, all NGC models come standard with either

   two F10 pump modules or two F100 modules. Thus, this claim is infringed.

                  2.   Claim 14

         281. Claim 14 depends on claim 13, which in turn depends on claim 1. Thus,

   to demonstrate Bio-                                                    how claim

   13 is infringed.


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                      a.    Claim 13

         282.



   connectors for connecting the fluid handling unit to a liquid chromatography fluid



         283. Each NGC model has this feature.

   member is the external portion.

         284. As seen in Section VIII.A.1.e                 idics section of each

   interchangeable modular component comprises one or more fluid connectors for

   connecting the fluid handling unit to a liquid chromatography fluid path. For

   convenience, I reproduce the annotated drawings I placed in that Section, where it




         285. System pump modules:




                                          183
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                                     8353




           HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, pp. 28-29. As discussed, Bio-               module will look the same

   and have the same fluidics section.

         286. Below is another view of Bio-

   showing the priming port:




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   Ex. 23 (BRGEDEL1507) (F10 pump module). See also:




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                                     8355




           HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 28, (BRGEDEL972) (F100 pump module)

         287. This claim element further requires that all the recited fluid connectors

       on an external side of the panel member                                  -

   modules demonstrates that this is the case.

         288. Thus, this claim element is present in all Bio-Rad NGC models.

                      b.     Claim 14

         289.                            the liquid chromatography fluid path [of the

   system recited in claim 13] is reconfigurable by moving the interchangeable modular


                                           186
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   components freely between the component receiving positions.

   all NGC models.

         290.                                                        -

                                 by moving the interchangeable modular components

   freely between the component receiving positions        -

   explicitly says this functionality is possible:




   Ex. 5, p. 19.



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         291. Bio-

   person can easily move modules from a first bay to a second bay:




   See Ex. 5, p. 233. See also Id. at 234-239.

         292. Bio-Rad also markets this feature, as seen in its marketing collateral.

   Here is one example:




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           HIGHLY CONFIDENTIAL (TECHNICAL) -




   NGC Chromatography Systems - Comprehensive Solutions For Protein Purification

   (Ex. 21 (BRGEDEL293539). This same document refers to Bio-




   Ex. 21, p. BRGEDEL293542.
                                        189
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            HIGHLY CONFIDENTIAL (TECHNICAL) -

         293. Also, Exhibit 22, entitled NGC Chromatography Systems -

   Multidimensional (Multi-D) Plumbing Guide, further indicates that modules can be

   placed in different locations:




   Ex. 22                                              -tier + 2 CSV for tandem



   standard Quest and Scout configurations:




                                          190
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            HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 22, p. 3.

         294. In sum, all NGC models fall within the scope of this claim element.

         D.

                   1.   Claim 16

                        a.   A liquid chromatography system arranged to provide
                             a controlled fluid flow through a chromatography
                             column, the system comprising

         295. Bio-                                                           graphy

   system: Bio-

   example is in the NGC Instrument Guide:
                                         191
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           HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, p. 11. Likewise, all of Bio-

   controlled fluid flow through a                          When interconnecting the

   fluid inputs and outputs on the NGC modules, fluid will pass through the system and

   is thus being controlled. Moreover, the fluids will pass through a chromatography

   column. Exemplary evidence showing this is as follows:




                                          192
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            HIGHLY CONFIDENTIAL (TECHNICAL) -

         296. See Exhibit 5, p. 22 and Exhibit 21, p. BRGEDEL293539.

                       b.     a housing and

         297. See e.g., Section VIII.A.1.b

                       c.     two or more interchangeable fluid handling units,

         298. See e.g., Section VIII.A.1.d. Note that Section VIII.A.1.d           ee



   Because claim 16 recites the need for only two of such interchangeable fluid

   handling units, it is broader

   that they be arranged interchangeable modular components, a requirement recited in

   a later element of claim 16) , and all of Bio-

   of this claim element for the same reason as discussed in Section VIII.A.1.d.

                       d.     the housing comprising a liquid handling panel
                              including two or more component positions for
                              receiving said interchangeable units,

         299. Each of Bio-

   Below is an annotated a figure from Bio-




                                             193
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            HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, p. 22. As can be seen in the above illustration from Bio-

   the liquid handling panel       two or more component positions for receiving said

   interchangeable units    Note that a portion of the liquid handling panel is hidden by

   the panel members of the modules. The following illustration from Bio-

   Instrument Guide provides a view of a portion of the NGC liquid handling panel:


                                            194
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           HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, p. 237. Another view is as follows:




   Ex. 5, p. 234. The below illustration shows how to convert a single-wide bay to a

   double-wide bay:




                                           195
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            HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, p. 238.

         300. The housing used in all models can accommodate up to ten modules



                                                             -

   changed to be single-wide or double-wide bays, meaning depending on Bio-

   customer choice, the housing can accommodate as many as 10 receiving positions
                                        196
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           HIGHLY CONFIDENTIAL (TECHNICAL) -

   (i.e., without using any double wide modules).   Regardless, the below annotated

   version of figures from Bio-                        shows two positions:




   See Ex. 5, p. 90-91.

         301. Thus, all NGC models meet this claim limitation.

                      e.    wherein said units are arranged as interchangeable
                            modular components, and include:

         302. See e.g., Section VIII.A.1.d. Note that Section VIII.A.1.d



                                          197
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           HIGHLY CONFIDENTIAL (TECHNICAL) -

   Because claim 16 recites the need for only two interchangeable modular

   components, it is broader, and all of Bio-

   this claim element for the same reason as discussed in Section VIII.A.1.d.

                      f.     a fluidics section;

         303. See Section VIII.A.1.e.

                      g.     a non fluidics section in turn comprising electronics
                             or electrical components or control means; and

         304. See Section VIII.A.1.f.

                      h.     a panel member arranged to separate the fluidics
                             section from the non fluidics section and for
                             attachment of the modular component to a
                             component position of the liquid handling panel, and

         305. See Section VIII.A.1.h.       Further, the panel member of Bio-

   interchangeable modular components, e.g., the two system pump modules that are

                                                   d



   panel members for Bio-        s modules comprises, among other things, what Bio-



   external side of the system. Bland Tr. 151:4:-155:21. Mr. Chapman testified as

   follows regarding the purpose of the faceplate and overlay:



                                            198
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   Chapman Tr. 386:13-387:1

   to Bio-                            ers for inserting modules:




                                        199
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              HIGHLY CONFIDENTIAL (TECHNICAL) -




   Exhibit 5, p. 235.

         306. In sum, all NGC models fall within the scope of this element.

                        i.   wherein the liquid handling panel of the housing and
                             the panel members are arranged such that the fluidics
                             sections are external to the housing and

         307. All Bio-Rad NGC models fall within the scope of this element. As seen

   in the below from Bio-

   interchangeable modular components, e.g, system pump modules, are external to the

   housing;




                                          200
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                                     8370




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   Ex. 5, p. 22.

         308. Bio-



   to the housing

   below:


                                        201
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           HIGHLY CONFIDENTIAL (TECHNICAL) -




   Ex. 5, pp. 28-29.

         309. Note that this figure is annotated to show hidden portions of the fluidics

   section, i.e., a simplified illustration of the flow path within the fluidics section.

   Indeed, the specification for Bio-




   Ex. 13 (BRGE0096090) (                                          )

                                            202
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                                     8372




           HIGHLY CONFIDENTIAL (TECHNICAL) -

         310. Mr. Chapman testified that this specification was met for the pump

   modules (Chapman Tr. 529:12-530:17).

         311. Thus, each NGC model falls within the scope of this claim element.

                     j.     respective non fluidics sections are internal to the
                            housing.

         312. Likewise, as discussed, the specification for system pump modules

                               -




   Ex. 13 (BRGE0096090) (

         313. As discussed, Mr. Chapman testified that this specification was met.

   See Chapman Tr. 529:12-530:17.
                                          203
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            HIGHLY CONFIDENTIAL (TECHNICAL) -

         314. The NGC Service Manual further demonstrates that there is a non-

   fluidics section that is internal to the housing.




   Ex. 16 (BRGEDEL317444, BRGEDEL317555).

         315. Thus, all Bio-Rad NGC models infringe this claim.




                                              204
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                               EXHIBIT A
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    Research Interests
    Micro and Nanoscale fluid mechanics (microfluidics), MEMS, bio-MEMS, biological flows at the cellular level,
    micro-scale laminar mixing, physiological sensors, electrical and optical manipulation of particles and fluids,
    development of microfluidic diagnostic techniques.

    Education
    Ph.D. Mechanical Engineering, Northwestern University, Evanston IL, 1997. Dissertation Topic: An
    investigation of the physics underlying rotating filtration using particle image velocimetry (PIV), computational
    particle tracking, and analytical methods.
    M.S. Mechanical Engineering, Northwestern University, Evanston, IL, 1992. Thesis Topic: A laser Doppler
    velocimetry (LDV) investigation of the velocity profiles developed in the annulus between differentially rotating
    cylinders.
    B.S. Mechanical Engineering, Washington University, St. Louis, MO, 1990. Concentration in fluid
    mechanics: incompressible flow, compressible flow, and computational fluid dynamics.
    B.A. Physics, Lawrence University, Appleton, WI, 1990. Physics curriculum (mechanics, electricity and
    magnetism, electronics, optics, quantum mechanics, experimental methods) combined in equal parts with liberal
    arts courses.


    Work Experience
    Professor, School of Mechanical Engineering, Purdue University (2010-Present). Taught Mechanical
    Engineering courses at the graduate and undergraduate levels and instructed graduate students in a lab setting.
    Alexander von Humboldt Fellow, Universität der Bundeswehr, Munich, Germany, Sept.-Oct, 2014.
    Associate Professor, School of Mechanical Engineering, Purdue University (2005-2010). Taught Mechanical
    Engineering courses at the graduate and undergraduate levels and instructed graduate students in a laboratory
    environment.
    Alexander von Humboldt Fellow, Universität der Bundeswehr, Munich, Germany, June-July 2009.
    Alexander von Humboldt Fellow, Technische Universität Darmstadt, Darmstadt, Germany, Mar.-Aug., 2007.
    Assistant Professor, School of Mechanical Engineering, Purdue University (1999-2005). Taught Mechanical
    Engineering courses at the graduate and undergraduate levels and instructed graduate students in a laboratory
    environment.
    Post Doctoral Research Scientist, Mechanical and Environmental Engineering Dept., University of California
    Santa Barbara (1997-1999). Designed and constructed microfluidics experiments and developed custom particle
    image velocimetry algorithms specifically tailored to microfluidics applications.

    Currently Active Consulting Areas
    Fluid mechanics measurements using particle image velocimetry (PIV) and other techniques
    Fluid mechanics measurements in Microelectromechanical Systems (MEMS), bio-MEMS, and microscopic
    biological systems using micro-particle image velocimetry ( PIV) and related techniques
    Oil spills, oil flows, other fluid spills; Custom-written PIV software and routines
    Expert witness services for fluid mechanics, microfluidics, bio fluid mechanics, MEMS, bio-MEMS, and oil spill
    issues


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    148. ST Wereley (Invited), “A Multiscale Suite of Particle and Droplet Manipulation Technologies,”
         ASME/IMECE, IMECE2012-85373, Houston, TX, Nov 2012.
    147. JS Kwon and ST Wereley, “A new dimensionless variable for electrothermal microfluidic flow,”
         ASME/IMECE, IMECE2012-94082, Houston, TX, Nov 2012.
    146. JP Kim, JS Kwon and ST Wereley, “Experimental Results of Electrothermal Vortex in Parallel ITO-
         glass with High Conductivity Medium and AC electric field and Laser,” ASME/IMECE, IMECE2012-
         94075, Houston, TX, Nov 2012.
    145. C Park and ST Wereley, “Twin Vortex Flow Generation under a Non-Uniform Alternating Electric Field
         and Optical Illumination,” IMECE2012-93989, ASME/IMECE, Houston, TX, Nov 2012. Best poster,
         Fluids Engineering Division, Micro Nano Forum.
    144. C Park and ST Wereley, “AC electrokinetic flow generation with various types of electrodes,”
         ASME/IMECE, IMECE2012-87858, Houston, TX, Nov 2012.
    143. ST Wereley (Invited), “Lab on a Chip Applications of Optoelectric Particle and Droplet Manipulation,”
         ICNMM2012-73268, 10th International Conference on Nanochannels, Microchannels, and Minichannels,
         July 2012, Puerto Rico.
    142. JS Kwon and ST Wereley, “                                                        ex driven by opto-
         electrokinetic methods,” Abstract D18.05, Amer. Phys. Soc./Div. Fluid Dyn. Annual Meeting (Baltimore,
         MD, Nov. 2011).
    141. ST Wereley, “Random uncertainty estimates of PIV measurements using correlation statistics,” Abstract
         H26.02, Amer. Phys. Soc./Div. Fluid Dyn. Annual Meeting (Baltimore, MD, Nov. 2011).
    140. JS Kwon and ST Wereley, “INVESTIGATION FOR TOROIDAL MICROFLUIDIC VORTICES
         GENERATED BY A LASER ILLUMINATION APPLICATION IN AN UNIFORM ELECTRIC FIELD,”
         IMECE/ASME, IMECE2011-62743, Denver, CO, Nov. 2011.



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         FORMATION USING PIV METHOD,” IMECE/ASME, IMECE2011-63231, Denver, CO, Nov. 2011.
    138. SJ Williams, JS Kwon, SP Ravindranath, J Irudayaraj, and ST Wereley, “Rapid concentration and
         manipulation of colloids and microorganisms through double layer polarization electrokinetics,” poster
         T32A, 15th International Conference on Miniaturized Systems for Chemistry and Life Sciences (Micro-
         TAS, Seattle, WA, Oct 2011).
    137. ST Wereley (invited), “Software Programmable Lab-on-a-Chip Applications and Optimization,” Lab-on-
         a-Chip World Congress (San Francisco, CA, Sep 2011).
    136. R Thakur, SJ Williams, R Cohn, J Rathfon, JF Berret, M Yan, ST Wereley, “Patterning of non-
         spherical particles onto electrode surface: Study of orientation behavior under viscous fluid and AC
         electrokinetic forces,” Amer. Phys. Soc./Div. Fluid Dyn. Annual Meeting (Long Beach, CA, Nov. 2010).
    135. C Snoeyink and ST Wereley, “A Novel 3 Dimension 3 Component Micro-PIV System,” Pres. #
         RW.00007, Amer. Phys. Soc./Div. Fluid Dyn. Annual Meeting (Long Beach, CA, Nov. 2010).
    134. C Park and ST Wereley, “Using TEM For the Nano-scale Particle Image Velocimetry,” IMECE/ASME,
         IMECE2010-38835, Vancouver, CA, Nov. 12-18, 2010.
    133. JS Kwon, S Ravindranath, A Kumar, J Irudayaraj, and ST Wereley, Application of an optically
         induced electrokinetic manipulation technique on live bacteria,” IMECE/ASME, IMECE2010-39324,
         Vancouver, CA, Nov. 12-18, 2010.
    132. R Thakur and ST Wereley, “Optically Induced Rapid Electrokinetic patterning of Non-spherical
         particles- Study of The Colloidal Phase Transition,” IMECE/ASME, IMECE2010-39665, Vancouver, CA,
         Nov. 12-18, 2010.
    131. SJ Williams and ST Wereley, “Experiments and simulation of a dielectrophoretically oscillating
         microparticle,” Paper 1598, Proceedings of the 15th International Symposium on the Application of Laser
         Techniques to Fluid Mechanics, (Lisbon, Portugal), July 5-8, 2010.
    130. JS Kwon, A Kumar, SJ Williams and ST Wereley, “A study for opto-electrokinetic forces of colloidal
         particles on an electrode surface using Voronoi and Delaunay tessellation,” Paper 1775, Proceedings of the
         15th International Symposium on the Application of Laser Techniques to Fluid Mechanics, (Lisbon,
         Portugal), July 5-8, 2010.
    129. A Kumar, C Cierpka, SJ Williams, C J Kahler and ST Wereley, “3D3C velocimetry measurements of
         an electrothermal microvortex using wavefront deformation PTV and a single camera,” Paper 1594,
         Proceedings of the 15th International Symposium on the Application of Laser Techniques to Fluid
         Mechanics, (Lisbon, Portugal), July 5-8, 2010.
    128. ST Wereley (invited), “Microscale Velocity and Temperature Measurement Techniques,” American
         Institute of Aeronautics and Astronautics 40th Fluid Dynamics Conference (June 28-July 1, 2010, Chicago,
         IL).
    127. Smith, C.T., Thakur, R., Chuang, H.S., Kumar, A., Wereley, S.T., “A hybrid optoelectric device for
         multi-scale particle and droplet manipulation,” Proceedings of SPIE, Vol.7762, pp.68, June, 2010.
    126. HS Chuang, A Kumar, CT Smith, and ST Wereley, “Rapid and dynamic multiscale manipulation based
         on a hybrid optoelectric device,” Trends in Optical Micromanipulation II, Innsbruck, Austria, April 11-16,
         2010.
    125. ST Wereley, SJ Williams, A Kumar, CH Chuang, JS Kwon and CT Smith (invited), “Opto-electric
         Manipulation of Droplets and Colloids for Material Assembly,” Materials Research Society Spring
         Meeting (San Francisco, CA April 6-8, 2010).
    124. HS Chuang and ST Wereley (invited), “Microfluidic gas purge valves,” MNHMT/ASME,
         MNHMT2009-18534, Shanghai, China, Dec. 18-21, 2009.
    123. A Kumar, SJ Williams, and ST Wereley “Micro and nano particle manipulation using optically
         modulated electrokinetic flows” ASME 2009 Micro/Nanoscale Heat and Mass Transfer International
         Conference, MNHMT2009-18493 Shanghai, China, Dec. 18-21, 2009. (Awarded “Excellent Paper”
         distinction—3 given among 340 submissions)
    122. HS Chuang, A Kumar, and ST Wereley, “Light-Enabled Droplet Manipulations,” Gallery of Fluid
         Motion, APS/DFD 62nd Annual Meeting, Minneapolis, MN, USA, Nov. 22-24, 2009. (APS highlighted
         video)
    121. HS Chuang, ST Wereley, and SC Jacobson, “An automated cyclic particle extractor,” IMECE/ASME,
         IMECE2009-10422, Lake Buena Vista, FL, USA, Nov. 13-19, 2009.
    120. A Kumar, SJ Williams, JS Kwon, NG Green, NK Yip, and ST Wereley, “Optically induced rapid
         electrokinetic patterning: a study of the operational regimes and dominant forces” Proc. ASME/IMECE,
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         induced AC electrokinetics” 2009 AIChE Annual Meeting, Annual Meeting of the American
         Electrophoresis Society, Nashville, TN, Nov. 8-13, 2009.
    118. ST Wereley, (invited), “Massively parallel opto/electric manipulation of colloidal particles,” Laser Science
         XXV (Oct. 11-15, 2009, San Jose, CA).
    117. ST Wereley (invited), “
         Image Velocimetry in Aerodynamics (Sept. 23-25, 2009, Göttingen, Germany).
    116. A Kumar, SJ Williams, and ST Wereley, “A novel optically driven electrokinetic technique for
         manipulating nanoparticles” SPIE Symposium on SPIE Nanoscience + Engineering, Vol. *7400*, paper
         74000V, (San Diego, CA, Aug. 2-6, 2009).
    115. SJ Williams, A Kumar, and ST Wereley, “Optically induced electrohydrodynamics and electrokinetic
         colloidal aggregation” Proc. ASME/FEDSM, Paper#2009-78121 (Vail, CO), Aug. 2-6, 2009.
    114. SJ Williams and ST Wereley, “Hydrodynamic investigations of a dielectrophoretically trapped and
         agitated microparticle” Proc. ASME/FEDSM, Paper#2009-78068 (Vail, CO), Aug. 2-6, 2009.
    113. ST Wereley, E Judokusumo, A Kumar, and SJ Williams (invited), “Velocity Fields in Electrooptically-
         Induced Fluid Flows,” Proc. Seventh Int. ASME Conf. on Nanochannels, Microchannels and Minichannels
         (June 22-24, 2009, Pohang, South Korea).
    112. A Kumar, SJ Williams and ST Wereley, “Optically Modulated Rapid Electrokinetic Patterning For
         Micro and Nano Particles,” Proc. European Conferences on Biomedical Optics, Vol. *7371*, paper
         737110 (14-18 June 2009, Munich, Germany).
    111. ST Wereley, SJ Williams, and A Kumar (invited), “Optoelectric Micro/Nano Particle Manipulation for
         Biological Applications,” presented at the LifeChips 2009 Symposium (UC-Irvine, Jan. 2009).
    110. ST Wereley (invited), “Flow Diagnostics for Micro/Nano Device Characterization,” presented at the
         International Conference on Fascinating Advancement in Mechanical Engineering 2009 (Mepco-Schlenk
         Engineering College, Sivakasi, TN, India, Dec. 2008).
    109. SJ Williams, SD Peterson, A Kumar, and ST Wereley, “Three dimensional transport of an optically
         induced electrothermal microvortex,” Pres. # LN.00003, Amer. Phys. Soc./Div. Fluid Dyn. Annual
         Meeting (San Antonio, TX, Nov. 2008).
    108. E Judokusumo, A Kumar, SJ Williams, and ST Wereley, “Analysis of Optically Induced Fluid Flows in
         Electric Fields,” Proc. ASME/IMECE 2008-66935 (October 31-November 6, 2008 Boston, 2008, Boston).
    107. HS Chuang, A Amin, M Thodentoddi, T Vijaykumar, S Jacobson, and ST Wereley,
         “POLYDIMETHYLSILOXANES (PDMS) PERISTALTIC PUMP CHARACTERIZATION FOR
         PROGRAMMABLE LAB-ON-A-CHIP APPLICATIONS”, Proc. 12th International Conference on
         Miniaturized Systems for Chemistry and Life Sciences (µTAS2008), San Diego, USA, Oct 12-16, 2008.
    106. A Kumar, SJ Williams, and ST Wereley, “Rapid electrokinetic patterning of colloids using optical
         landscapes” Proc. 12th International Conference on Miniaturized Systems for Chemistry and Life Sciences
         (µTAS2008), San Diego, USA, Oct 12-16, 2008.
    105. SJ Williams, P Chamarthy and ST Wereley, “Laser-Induced Fluorescence Thermometry for Joule
         Heating in AC Electrokinetic Chips,” Proc. ASME-FED paper # 55175 (Jacksonville, FL, Aug. 10-14),
         2008.
    104. SJ Williams, A Kumar and ST Wereley, “Rapid colloidal assembly with optically induced electrokinetic
         forces,” presented at University Government Industry Micro/nano Symposium, Louisville, KY, July 13-16,
         2008.
    103. R Nasarek, ST Wereley, P Stephan, “Flow field measurements near a moving meniscus of a capillary
         flow with micro Particle Image Velocimetry (µPIV), Proc. of the Sixth International Conference on
         Nanochannels, Microchannels, and Minichannels, Darmstadt, Germany, June 23-25, 2008.
    102. AM Amin, M Thottethodi, TN Vijaykumar, ST Wereley and SC Jacobson, “Automatic Volume
         Management for Programmable Microfluidics,” Programming Language Design and Implementation
         Conference (Tucson, AZ), paper #13, June 7-13, 2008.
    101. Z Huang, HS Chuang, ST Wereley and MK Banks, “Effect of biofilm surface roughness on thickness of
         hydrodynamic boundary layer and coefficient of friction,” Paper Coll-476, American Chemical Society
         Spring Meeting (New Orleans, LA), Apr. 6-10, 2008.
    100. A Kumar, NK Yip and ST Wereley, “Particle transport on periodic potential landscapes,” Pres. #
         EA.00004, Amer. Phys. Soc./Div. Fluid Dyn. Annual Meeting (Salt Lake City, UT, Nov. 2007).
    99. P Chamarthy, ST Wereley and SV Garimella, “Microscale laser-induced fluorescence method for non-
         intrusive temperature measurement,” Proc. ASME/IMECE, Paper #2007-41935 (Seattle, WA), Nov. 11-
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        using Second-order SPE micro-PIV,” Proc. ASME/IMECE, Paper #2007-41171 (Seattle, WA), Nov. 11-
        15, 2007.
    97. R. Muddu and S.T. Wereley, “Numerical Simulation of Optical Trap systems,” Proc. ASME/IMECE,
        Paper #2007-42411 (Seattle, WA), Nov. 11-15, 2007.
    96. S.J. Williams, S.T. Wereley, “Field Flow Analysis of Dielectrophoretically Suspended Particles,” Proc.
        ASME/IMECE, Paper #2007-41252 (Seattle, WA), Nov. 11-15, 2007.
    95. A.M. Amin, M. Thottethodi, T.N. Vijaykumar, S.T. Wereley and S.C. Jacobson, “Aquacore: A
        General-Purpose Architecture for Programmable Microfluidics,” paper T33C, µYAS (Paris, France), Oct.
        7-11, 2007.
    94. H.S. Chuang and S.T. Wereley, “Nanometer-resolution and second-order accurate SPE micro-PIV,” 7th
        International Symposium on Particle Image Velocimetry (Rome, Italy), Sept. 11-14, 2007.
    93. A.M. Amin, M. Thottethodi, T.N.Vijaykumar, S.Wereley and S.C. Jacobson, “AquaCore: A
        programmable Architecture for Microfluidics,” Proc. 34th Annual International Symposium on Computer
        Architecture (ISCA) (San Diego, CA), pages 254-265, June 10-13, 2007.
    92. S.T. Wereley (invited), “Interesting Problems in Microflows,” Schloß Dagstuhl-Seminar 07121:
        Experimental Fluid Mechanics, Computer Vision & Pattern Recognition (International Conference and
        Research Center for Computer Science, Wadern, Germany), March 18 – 23, 2007.
    91. A.H. Ewing, S. Kim; S.T. Wereley, “Mediating Fluidic Self- Assembly with optical traps,” Proc. AICHE
        Annual Meeting, paper 35E, (San Francisco, CA) Nov. 12-17, 2006.
    90. S.T. Wereley (keynote), “Micro and Nanoscale Flow Measurement,” 33rd National and 3rd International
        Conference on Fluid Mechanics and Fluid Power (Mumbai, India), Dec. 7-9, 2006.
    89. A. Kumar, V. Gorti, S.T. Wereley, “Biological Agent Detection Using Optical Diffusometry Methods,”
        Proc. ASME/IMECE, Paper #2006-13267 (Chicago, IL), Nov. 5-10, 2006.
    88. H.K. Dhavaleswarapu, P. Chamarthy, S.V. Garimella, J.Y. Murthy, and S.T. Wereley, “Experimental
        Investigation of Thermocapillary Convection near an Evaporating Meniscus,” Proc. ASME/IMECE, Paper
        #2006-13901 (Chicago, IL), Nov. 5-10, 2006.
    87. P. Chamarthy, S.T. Wereley and S.V. Garimella, “Simultaneous Measurement of Temperature and
        Velocity Using µPIV,” Proc. ASME/IMECE, Paper #2006-14079 (Chicago, IL), Nov. 5-10, 2006.
    86. H.-S. Chuang, S. T. Wereley, “Study of Single Pixel Evaluation for Experimental Measurements in a
        Microchannel,” Proc. ASME/IMECE, Paper #2006-14517 (Chicago, IL), Nov. 5-10, 2006.
    85. C. Park, S.T. Wereley, O. Campanella, D.E. Nivens, K.M. Little, H. Sumali, “Measurements of
        Mechanical Properties of Human Red Blood Cells,” Proc. ASME/IMECE, Paper #2006-15175 (Chicago,
        IL), Nov. 5-10, 2006.
    84. S.T. Wereley (invited), “Micro and Nanoscale Flow Measurement and Visualization,” Proceedings of the
        12th International Symposium on Flow Visualization (Göttingen, Germany), Sept. 10-14, 2006.
    83. P. Chamarthy, H.K. Dhavaleswarapu, S.V. Garimella, J.Y. Murthy and S.T. Wereley, “Visualization
        of convection patterns near an evaporating meniscus using µPIV,” Proceedings of the 12th International
        Symposium on Flow Visualization (Göttingen, Germany), Sept. 10-14, 2006.
    82. H.-S. Chuang, S. T. Wereley, C. D. Meinhart, D. Tretheway, “Single pixel evaluation PIV for nano-
        resolution flow measurements,” paper number 32.4, Proceedings of the 13th International Symposium on
        the Application of Laser Techniques to Fluid Mechanics, (Lisbon, Portugal), June 26-29, 2006.
    81. P. Chamarthy, S.T. Wereley and S.V. Garimella, “Simultaneous Measurement of Temperature and
                                                                                             th
        Velocity using Cross-                                                                   International
        Symposium on the Application of Laser Techniques to Fluid Mechanics, (Lisbon, Portugal), June 26-29,
        2006.
    80. A.R. De Carlo, M. Rokkam, A. ul Haque, S.T. Wereley, P.P. Irazoqui, H.W. Wells, W.T. McLamb,
        S.J. Roux, D.M. Porterfield, “Development of a Microfluidic Ion Sensor Array (MISA) to Monitor
        Gravity-Dependent Calcium Fluxes in Ceratopteris Spores,” Abstract #56, Annual Meeting of the
        American Society for Gravitational and Space Biology (Reno, NV, November 1-4, 2005).
    79. M. Rokkam, P. P. Irazoqui, A. ul Haque, A. R. De Carlo, S. T. Wereley, H.W. Wells, W.T. McLamb,
        D.M. Porterfield, “Development and testing of an amplifier array for interfacing multichannel digital data
        acquisition and in silico cell physiology MEMS sensor devices,” Institute of Biological Engineering
        Annual Meeting (Tucson, AZ, March 8-12, 2006).
    78. A. ul Haque, A. R. De Carlo, M. Rokkam, S.T. Wereley, H.W. Wells, W.T. McLamb, S.J. Roux, D.M.
        Porterfield. Design, fabrication and characterization of an in silico cell physiology lab for measuring
        cellular responses to microgravity, Institute of Biological Engineering Annual Meeting. March 8-12, 2006


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        cellular responses to microgravity. International MEMS conference. Singapore, May 9-12, 2006
    76. J. Cao and S.T. Wereley, “Shear-induced migration of dilute Brownian suspensions,” Pres. # EC.00007,
        Amer. Phys. Soc./Div. Fluid Dyn. Annual Meeting (Chicago, IL, Nov. 2005).
    75. P. Chamarthy and S.T. Wereley, “Temperature Measurement using Brownian Motion in the Presence of
        a Velocity Gradient,” Pres. # BB.00008, Amer. Phys. Soc./Div. Fluid Dyn. Annual Meeting (Chicago, IL,
        Nov. 2005).
    74. S.T. Wereley and C.D. Meinhart, “Spatial Resolution and Errors of Single Pixel Interrogation,” Proc.
        ASME/IMECE, Paper #2005-83065, (Orlando, FL, Nov. 2005).
    73. P. Chamarthy, S. Wereley, S. V. Garimella, “Assessment of Alternate Approaches for Temperature
        Measurement using Brownian Motion,” 6th International Symposium on Particle Image Velocimetry
        (Pasadena, CA, Sept. 21-23, 2005).
    72. J. Cao, S. T. Wereley, “PIV Measurement in Capillary Tube Flow and Measurement Error Due to Multi-
        pixel Window Correlation,” 6th International Symposium on Particle Image Velocimetry (Pasadena, CA,
        Sept. 21-23, 2005).
    71. S.T. Wereley, C.D. Meinhart, D. Tretheway, L. Gui, A. Sud, “Bias and Random Errors in Single Pixel
        Interrogation,” 6th International Symposium on Particle Image Velocimetry (Pasadena, CA, Sept. 21-23,
        2005).
    70. S.T. Wereley, “Optical Diagnostics for Nanoscale Flow Problems?” First International Nanofluidics
        Workshop (Boekelo, The Netherlands, April 18-20 2005).
    69. S.T. Wereley (keynote), “Progress and Current Developments in Micro-PIV,” Joint International PIVNET
        II / ERCOFTAC Workshop on Micro PIV and Applications in Microsystems (Delft, The Netherlands,
        April 7-8, 2005).
    68. L. Karp-Boss, P.A. Jumars, P. Grant, S.T. Wereley, and E.H. Klingler, “Motion of diatoms in steady
        and unsteady shear flows,” ASLO 2005 Aquatic Sciences Meeting (Salt Lake City, Utah, February 20-25,
        2005).
    67. J. Cao and S.T. Wereley, “Brownian particle distribution in tube flows,” Proc. ASME/IMECE, Paper
        #2004-61899, (Anaheim, CA, Nov. 2004).
    66. S.Y. Lee, J. Jang, and S.T. Wereley, “Entrance length of Low Reynolds number flow in microchannel,”
        Proc. ASME/IMECE, Paper #2004-61908, (Anaheim, CA, Nov. 2004).
    65. P. Chamarthy and S.T. Wereley, “Mixing Characteristics in a 2D Serpentine Micro-Channel ,” Proc.
        ASME/IMECE, Paper #2004-61902, (Anaheim, CA, Nov. 2004).
    64. S.T. Wereley and I. Whitacre, “Particle Dynamics in a Dielectrophoretic Microdevice,” paper 3.2,
        Proceedings of the 12th International Symposium on the Application of Laser Techniques to Fluid
        Mechanics, (Lisbon, Portugal), July 12-15, 2004.
    63. D. Liu, S.V. Garimella, and S.T. Wereley, “Infrared Micro-Particle Image Velocimetry of Fluid Flow in
        Silicon-Based Microdevices,” ASME Heat Transfer/Fluids Engineering Summer Conference (Charlotte,
        NC), paper number: HT-FED2004-56385, July 2004.
    62. H.A. Diefes-Dux, P.K. Imbrie, K. Haghighi, G.U. Lee, S.T. Wereley, and P. Wankat, “Nanotechnology
        Exposure in a First-Year Engineering Program,” International Conference on Engineering Education and
        Research (Olomouc and Bouzov Castle, Czech Republic, June 27-30, 2004).
    61. S.T. Wereley, “Microfluidic Diagnostics applied to Cold Gas Thruster Design and Analysis,” ESA 4th
        International Spacecraft Propulsion Conference (Cagliari, Italy, June 2-4, 2004).
    60. S.T. Wereley, I. Whitacre, R. Bashir and H.B. Li, “DEP Particle Dynamics and the Steady Drag
        Assumption,” Nanotech 2004 (Boston, March 7-11, 2004).
    59. J. Jang and S. T. Wereley, “A Capacitive Micro Gas Flow Sensor Based on Slip Flow,” IEEE-MEMS
        2004 (Maastrict, The Netherlands, January 25-29, 2004).
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        Assumption,” Amer. Phys. Soc./Div. Fluid Dyn. Annual Meeting, (East Rutherford, NJ, Nov. 2003).
    57. J. Cao and S.T. Wereley, “The role of Brownian motion in fluid/particulate experiments,” Proc.
        ASME/IMECE, Paper #2003-43360, (Washington, DC, Nov. 2003).
    56. S.Y. Lee and S.T. Wereley, “Pressure Measurement in the Microchannel using Air Compression,” Proc.
        ASME/IMECE, Paper #2003-41163, (Washington, DC, Nov. 2003).
    55. J. Jang and S.T. Wereley, “Slip Flow Analyses of Capacitive Pressure-Based Micro Flow Sensor,” Proc.
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        Institute of Chemical Engineers Annual Meeting (San Francisco, CA), Nov. 16-21, 2003.
    53. S. Stone, C. D. Meinhart and S. T. Wereley, “Out of plane spatial resolution of volume illumination PIV
        using a compound lens system,” 5th International Symposium on Particle Image Velocimetry, (Pusan,
        Korea, Sept. 2003).
    52. Y. H. Kim, S. T. Wereley and C. H. Chun, “Flow field produced by a vibrating cantilever plate in
        various geometries,” 5th International Symposium on Particle Image Velocimetry, (Pusan, Korea, Sept.
        2003).
    51. M.W. Eckerle, C.E. Nyquist, R.L. Schlipf, K. Haghighi, S.T. Wereley, “Finite Element Modeling of a
        Micro-Scale Resonant Fan for Microfluidic Transport,” ASAE Annual International Meeting, Paper
        033098 (Las Vegas, NV, July 2003).
    50. J.Jang, Y. Zhao, and S.T. Wereley, “Pressure Distributions and TMAC Measurements in Near-Unity
        Aspect Ratio, Anodically Bonded Microchannels,” MEMS 2003, (Kyoto, Japan, Jan. 2003).
    49. S.T. Wereley and I. Whitacre (invited), “Velocity Averaging from Out of Plane Gradients in micro-PIV,”
        Paper 2003-0782, American Institute of Aeronautics and Astronautics Annual Meeting, Reno, NV, Jan.
        2003.
    48. C.H. Chung and S.T. Wereley, “Numerical Simulation of Low- Speed Gas Flows in Microchannels,”
        Paper 2003-0860, American Institute of Aeronautics and Astronautics Annual Meeting, Reno, NV, Jan.
        2003.
    47. C.H. Chung and S.T. Wereley, “Analysis of Gas Flows in Microchannels with Small Pressure
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    46. S.T. Wereley, S.Y. Lee, and L.C. Gui, “Entrance Length and Turbulence Transition in Microchannels,”
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    42. S.Y. Lee, S.T. Wereley, L.C. Gui, W.L. Qu, and I. Mudawar, “Microchannel Flow Measurement using
        Micro Particle Image Velocimetry,” Proc. ASME/IMECE, Paper #2002-33682, (New Orleans, LA, Nov.
        2002).
    41. S.T. Wereley and G.U. Lee, “Teaching Nanotechnology/Nanoscience Across Disciplines,” American
        Institute of Chemical Engineers Annual Meeting (Indianapolis, IN), Nov. 3-8, 2002.
    40. Eric Tkaczyk, Vandna Handa, Sangwoo Lee, Helen McNally, Lichuan Gui, Steve Wereley, Rashid
        Bashir, “Determination Of The Charge Attached To Micro-Scale Devices Used In Fluidic Self-Assembly
        Processes”, MRS Fall Meeting (Boston, MA) 2002.
    39. S.T. Wereley (invited), “Microfluidic manipulation of particles, cells, viruses, and molecules,” BioMEMS
        and biomedical nanotechnology WORLD 2002, (Columbus, OH), Sept. 6-8, 2002.
    38. C.D. Meinhart, S. Stone, D. Tretheway, S.T. Wereley, “Spatial Resolution Limits of Micron Resolution
        Particle Image Velocimetry,” Proceeding of the Seiken Symposium on Particle Image Velocimetry (Tokyo,
        Japan), p. 57-71, August 23, 2002.
    37. S.T. Wereley and V.P. Hohreiter, “Simultaneous, Spatially-Resolved Temperature and Velocity
        Measurements Using Cross-Correlation PIV,” paper 15.1, Proceedings of the 11th International Symposium
        on the Application of Laser Techniques to Fluid Mechanics, (Lisbon, Portugal), July 8-11, 2002.
    36. L. Gui, S.T. Wereley and S.Y. Lee, “Digital Filters for Reducing Background Noise in Micro PIV
        Measurements,” paper 12.4, Proceedings of the 11th International Symposium on the Application of Laser
        Techniques to Fluid Mechanics, (Lisbon, Portugal), July 8-11, 2002.
    35. S.T. Wereley, V. Hohreiter, J. Chung, “Simultaneous, spatially-resolved temperature and velocity
        measurements in microchannel flows,” THERMES 2002: Thermal Challenges in Next Generation
        Electronic Systems, (Santa Fe, NM), January 13-16, 2002.
    34. Y.H. Kim, S.T. Wereley, C.H. Chun, “Experimental study on the flow field around a vibrating cantilever
        plate,” Amer. Phys. Soc./Div. Fluid Dyn. Annual Meeting, San Diego, CA, Nov. 2001.
    33. S.T. Wereley, V. Hohreiter, J.N. Chung, “Simultaneous Temperature and Velocity Measurement,”
        Amer. Phys. Soc./Div. Fluid Dyn. Annual Meeting, San Diego, CA, Nov. 2001.



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    32. S. Stone, C.D. Meinhart, S.T. Wereley, “Using Particle Image Velocimetry to Probe Wall Shapes with
        Nanoscope Resolution,” Amer. Phys. Soc./Div. Fluid Dyn. Annual Meeting, San Diego, CA, Nov. 2001.
    31. S.T. Wereley, C.D. Meinhart, S. Stone, V. Hohreiter, and J. Chung, Proc. SPIE Int. Soc. Opt. Eng., Vol.
        4558, pp. 124-132 (San Francisco, Oct. 2001).
    30. V. Hohreiter, S.T. Wereley, J.N. Chung, M.G. Olsen, “Cross-correlation analysis for temperature
        measurement,” 4th International Symposium on Particle Image Velocimetry, Paper 1145, Göttingen,
        Germany, Sept. 2001.
    29. S.T. Wereley and L.C. Gui, “PIV measurement in a four-roll-mill flow with a central difference image
        correction (CDIC) method,” 4th International Symposium on Particle Image Velocimetry, Paper 1027,
        Göttingen, Germany, Sept. 2001.
    28. S. Stone, C.D. Meinhart, S.T. Wereley, “Using µ-PIV to Probe Wall Shapes with Nanoscope
        Resolution,” 4th International Symposium on Particle Image Velocimetry, Paper 1143, Göttingen,
        Germany, Sept. 2001.
    27. S.T. Wereley, C.D. Meinhart, S. Stone, V. Hohreiter, J. Chung, “A Microfluidic MEMS
        Characterization Toolbox,” International MEMS Workshop 2001, pp. 244-253, Singapore, July 2001.
    26. S.T. Wereley, “Experiments and Simulations in Micro/Nano Domains,” ASME Information Storage and
        Processing Systems Conference, Santa Clara, CA, June 2001.
    25. S.T. Wereley, L.C. Gui, and C.D. Meinhart (invited), “Flow Measurement Techniques for the
        Microfrontier,” Paper 2001-0243, American Institute of Aeronautics and Astronautics Annual Meeting,
        Reno, NV, Jan. 2001.
    24. C.D. Meinhart and S.T. Wereley (invited), “Fluid Mechanics Issues at the Microscale,” Paper 2001-0720,
        American Institute of Aeronautics and Astronautics Annual Meeting, Reno, NV, Jan. 2001.
    23. S.T. Wereley, H. Apple, R. Gomez, R. Bashir, “Microfluidic Biomedical Device Characterization,”
        Amer. Phys. Soc./Div. Fluid Dyn. Annual Meeting, Washington, DC, Nov. 2000.
    22. C.D. Meinhart, S.W. Stone, and S.T. Wereley, “A microfluidic-based nanoscope,” ICTAM 2000
        (Chicago, IL), paper GV-13, Aug. 2000.
    21. S.T. Wereley and C.D. Meinhart, “Accuracy Improvements in Particle Image Velocimetry Algorithms,”
        paper 13.4, Proceedings of the 10th International Symposium on the Application of Laser Techniques to
        Fluid Mechanics, (Lisbon, Portugal), July 10-13, 2000.
    20. C.D. Meinhart, S. Stone, and S.T. Wereley, “A Microfluidic-based Nanoscope,” Proc. µTAS2000, pp.
        83-86, Enschede, The Netherlands, May 2000.
    19. S.T. Wereley, C.D. Meinhart, and M.H.B. Gray, “Depth Effects in Volume Illuminated PIV,” Amer.
        Phys. Soc./Div. Fluid Dyn. Annual Meeting, New Orleans, LA, Nov. 1999.
    18. S.T. Wereley, C.D. Meinhart, M.H.B. Gray, “Depth Effects in Volume Illuminated Particle Image
        Velocimetry,” pp. 545-550, The Third International Workshop on Particle Image Velocimetry, Santa
        Barbara, CA, Sept. 1999.
    17. C.D. Meinhart, S.T. Wereley, and J.G. Santiago, “A PIV Algorithm for Estimating Time-Averaged
        Velocity Fields,” presented at the Symposium on Optical Methods and Image Processing in Fluid Flow
        ASME/JSME Fluids Engineering Conference, San Francisco, CA, July 18-23, 1999.
    16. Meinhart CD, Gray MHB, Wereley ST “PIV Measurements of High-speed flows in Silicon-
        micromachined nozzles,” (AIAA/ASME/SAE/ASEE 35th Joint Propulsion Conference and Exhibit, Los
        Angeles, CA, June 20-24, 1999) AIAA 99-3756.
    15. R.M. Lueptow and S.T. Wereley, “Particle Distribution in Rotating Filtration,” Proc. Amer. Filtration
        Soc., (Advances in Filtration and Separation Technology, Boston), Vol. 13, 252-259, 1999
    14. S.T. Wereley, C.D. Meinhart, J.G. Santiago, and R.J. Adrian, “Velocimetry for MEMS Applications,”
        Proc. ASME/DSC, Vol. 66, 453-459, (Micro-fluidics Symposium, Anaheim, CA, Nov. 1998).
    13. S.T. Wereley, C.D. Meinhart, and J.G. Santiago, “Microfluidic PIV: Algorithms and Experiments,”
        Amer. Phys. Soc./Div. Fluid Dyn. Annual Meeting, Philadelphia, PA, Nov. 1998.
    12. J.G. Santiago, S.T. Wereley, C.D. Meinhart, D.J. Beebe, and R.J. Adrian, “A Micron-Resolution
        Particle Image Velocimetry System for Microfluidics,” 8th International Symposium on Flow Visualization
        (Sorrento, Italy), Aug. 1998.
    11. C.D. Meinhart, J.G. Santiago, S.T. Wereley, and R.J. Adrian, “Diagnostic techniques for microfluids
        research,” Proceedings of the 9th International Symposium on the Application of Laser Techniques to Fluid
        Mechanics, (Lisbon, Portugal) paper 6.4 (1998).
    10. J.G. Santiago, C.D. Meinhart, D.J. Beebe, S.T. Wereley, and R.J. Adrian, “Velocimetry for
        Microfluidics,” Solid State Sensor and Actuator Workshop (Hilton Head, SC), June 1998.



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    9.   S.T. Wereley, J.G. Santiago, R. Chiu, C.D. Meinhart, and R.J. Adrian, “Micro-resolution particle
         image velocimetry,” Proc. SPIE, Vol. 3258, pp. 122-133 (Micro- and Nano-Fabricated Structures and
         Devices for Biomedical Environmental Applications, San Jose, CA, Jan. 1998).
    8.   S.T. Wereley and R.M. Lueptow, “Particle Motion in a Taylor-Couette Filter Device,” Amer. Phys.
         Soc./Div. Fluid Dyn. Annual Meeting, San Francisco, CA, Nov. 1997.
    7.   S.T. Wereley and R.M. Lueptow, “Particle motion in Taylor Couette flow,” Proc. ASME/OED Intnl.
         Cong. Sym., Vol 1, pp. 73-80, 1997.
    6.   S.T. Wereley and R.M. Lueptow, “Velocity Field in Wavy Circular Couette Flow,” Proc. 10th Int.
         Couette-Taylor Workshop, July 1997.
    5.   S.T. Wereley and R.M. Lueptow, “Mixing in Wavy Taylor Vortex Flow,” Amer. Phys. Soc./Div. Fluid
         Dyn. Annual Meeting, Nov.1996.
    4.   S.T. Wereley and R.M. Lueptow, “Velocity Field in Wavy Vortex Flow,” Amer. Phys. Soc./Div. Fluid
         Dyn. Annual Meeting, Nov. 1995.
    3.   S.T. Wereley, S.A. Labhsetwar, and R.M. Lueptow, “Wavy Taylor Vortex Flow: Experimental Velocity
         Vectors,” Gallery of Fluid Motion at the 48th Annual Meeting of the APS/DFD, Nov. 1995.
    2.   S.T. Wereley and R.M. Lueptow, “Measurements of Velocity Fields with Application to Two-Phase
         Flow in a Taylor-Couette Separator,” Proc. 9th Int. Couette-Taylor Workshop, Boulder, CO, Aug. 1995.
    1.   S.T. Wereley, R.M. Lueptow, and K. Min, “An LDV Investigation of the Taylor Vortex Phenomenon,”
         Amer. Phys. Soc./Div. Fluid Dyn. Annual Meeting, Tallahassee, FL, Nov. 1992.

         University/Corporate Invited Seminars
    67. Optoelectric Micro/Nano Particle and Droplet Manipulation, presented at Northwestern University, Nov
        8, 2012.
    66. PIV Overview, Graduatekolleg GRK1114 seminar days, Kleinwalsertal, Austria, Jun 18-20, 2012.
    65. Analyzing Disaster: How big was the Deepwater Horizon disaster?, presented at the Culver Academies,
        May 24, 2012.
    64. Optoelectric Micro/Nano Particle and Droplet Manipulation, presented at Purdue Calumet, Water
        Institute, Sep 20, 2011.
    63. What can we learn about PIV Uncertainty from the correlation shape?, presented at the PIV
        Uncertainty Workshop, Las Vegas, NV, May 11-13, 2011.
    62. Optoelectric Micro/Nano Particle and Droplet Manipulation, presented at Virginia Tech, Apr 27, 2011.
    61. Using HUBzero to Distribute and Enable Analysis of Deepwater Horizon Oil Spill Videos, Hubzero
        Workshop, IUPUI, Apr 5 2011.
    60. Optoelectric Micro/Nano Particle and Droplet Manipulation, presented at Stanford University, Oct 26,
        2010.
    59. Assessing Disaster: How much oil flowed from BP’s Macondo well? presented at Stanford University,
        Oct 27, 2010.
    58. Temperature and Particle Sizing using Brownian Motion, presented at International Symposium on
        Micro/Nano Flow Measurement Techniques, Tokyo, Sept 2010.
    57. Optoelectric Micro/Nano Particle and Droplet Manipulation, presented at The Ohio State University,
        Feb 26, 2010.
    56. Opto-Electro Particle Manipulation and Diagnostics, presented at the Danish Technical University,
        Copenhagen, Denmark, Sept. 22, 2009.
    55. Opto-Electro Particle Manipulation and Diagnostics, presented at the University of Alberta, Edmonton,
        Alberta, Canada, Sept. 13, 2009.
    54. Flow Diagnostics and Optoelectric Micro/Nano Particle Manipulation, presented at the DFG Priority
        Program SPP 1164 Nano- & Microfluidics, Bad Honnef, Germany, July 30, 2009.
    53. Flow Diagnostics and Optoelectric Micro/Nano Particle Manipulation, presented at Deutsche Zentrum
        für Luft- und Raumfahrt (DLR), Cologne, Germany, July 29, 2009.
    52. Flow Diagnostics and Optoelectric Micro/Nano Particle Manipulation, presented at Technische
        Universität Braunschweig, Braunschweig, Germany, July 13, 2009.
    51. Flow Diagnostics and Optoelectric Micro/Nano Particle Manipulation, presented at Universität des
        Saarlandes, Saarbrücken, Germany, July 7, 2009.
    50. Flow Diagnostics and Optoelectric Micro/Nano Particle Manipulation, presented at Yonsei University,
        Seoul, Korea, June 26, 2009.
    49. Flow Diagnostics and Optoelectric Micro/Nano Particle Manipulation, presented at Korea Institute of
        Science and Technology (KIST), Seoul, Korea, June 25, 2009.


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    48. Flow Diagnostics and Optoelectric Micro/Nano Particle Manipulation, presented at Chung-Ang
        University, Seoul, Korea, June 25, 2009.
    47. Flow Diagnostics and Optoelectric Micro/Nano Particle Manipulation, presented at NYU-Poly, New
        York, NY, on Feb. 27, 2009.
    46. Flow Diagnostics and Optoelectric Micro/Nano Particle Manipulation, presented at Columbia
        University, New York, NY, on Feb. 26, 2009.
    45. Flow Diagnostics and Optoelectric Micro/Nano Particle Manipulation, presented at Stevens Institute of
        Technology, Hoboken, NJ, on Feb. 25, 2009.
    44. Optoelectric Micro/Nano Particle Manipulation, presented at Indian Institute of Technology Madras,
        India, on Dec. 10, 2008.
    43. Optoelectric Micro/Nano Particle Manipulation, presented at University of Southampton, Southampton
        UK, on Oct. 30, 2008.
    42. Optoelectric Micro/Nano Particle Manipulation, presented at Rutgers University, New Brunswick, NJ,
        on Oct. 22, 2008.
    41. Flow Diagnostics for Micro/Nano Device Characterization, presented at Technische Universität
        Braunschweig, Braunschweig, Germany, on Aug. 14, 2007.
    40. Flow Diagnostics for Micro/Nano Device Characterization, presented at Universität Heidelberg,
        Heidelberg, Germany, on July 18, 2007.
    39. Flow Diagnostics for Micro/Nano Device Characterization, presented at Universität Rostock, Rostock,
        Germany, on June 29, 2007.
    38. Microfluidics and suitable diagnostic techniques, presented at Deutsche Zentrum für Luft- und Raumfahrt
        (DLR), Göttingen, Germany, on June 8, 2007.
    37. What Can We Learn From Diffusion in Microfluidics?, presented at Johns Hopkins University,
        Baltimore, MD, Jan. 26, 2007.
    36. Manipulation and detection of nanoparticles using light, Tools for Nano Engineering (ARO Workshop),
        Purdue University, Oct. 2-4, 2006.
    35. What is “Nanofluidics”? or The Nano-izing of Fluid Mechanics, NCN nano-tutorial seminar series, Purdue
        University, Feb. 20, 2006.
    34. Micro/Nano Fluidics: fundamentals and devices, presented in S.C. Johnson and Sons Science and
        Engineering Council, Racine, WI, Feb. 15, 2006.
    33. Introduction to Microfluidics, presented at the CAMD / CBM2 2005 Summer Workshop, Louisiana State
        University, Baton Rouge, LA, July 25, 2005.
    32. Micro and Nanoscale Flow Diagnostics, presented at University of Karlsruhe, Karlsruhe, Germany, April
        12, 2005.
    31. Micro and Nanoscale Flow Diagnostics, presented at Alberts-Ludwig University, Freiburg, Germany,
        April 13, 2005.
    30. Micro and Nanoscale Flow Diagnostics, presented at Technical University of Darmstadt, Darmstadt,
        Germany, April 14, 2005.
    29. Experimental Microfluidics, presented at Samsung Advanced Institute of Technology, Suwon, South
        Korea, Sept. 17, 2003.
    28. Experimental Microfluidics, presented at POSTECH University, Pohang, South Korea, Sept. 18, 2003.
    27. Experimental Diagnostics for Microscale Sensor and Actuator Evaluation, presented at AFRL
        Microfluidics Workshop, Los Angeles, CA, May 12, 2003.
    26. Microfluidics of Biomedical Microdevices, presented at Baxter Healthcare, Round Lake, IL, April 25,
        2003.
    25. Algorithm Improvements for Micro-PIV, presented at TSI, Inc., Minneapolis, MN, April 7, 2003.
    24. Fluid Mechanics in Micro and Nano Domains, presented at ARO Nanotechnology Workshop, Chicago,
        IL, Nov. 14, 2002.
    23. Fluid Mechanics and Heat Transfer Research at Purdue, presented at Schlumberger Mechanical Eureka
        Community: Mechanical Systems, Dynamics & Design Seminar, Paris, Oct. 1-3 2002.
    22. Experimental Microfluidic Diagnostics and Educating Students and Professionals About
        Microfluidics, AIAA Microfluidics Panel Discussion, AIAA Conference, St. Louis, MO, June 26, 2002.
    21. Characterization of Thermo-fluid Processes at MEMS level and the potential use of x-rays, presented
        at Argonne National Laboratory, Chicago, IL, March 1, 2002.
    20. Physics Choices, presented in Dept. of Physics Undergrad Lecture Series, Purdue University, Jan. 22, 2002.
    19. Microfluidic Diagnostic Techniques, presented in the Civil Engineering Dept., Purdue University, October
        2001.


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    18. Experiments and Simulations in Micro/Nano Domains, Data Storage Institute, Singapore, July 2001.
    17. Experiments and Simulations in Micro/Nano Domains, Seagate Corp., Singapore, July 2001.
    16. Microfluidic Diagnostic Techniques, presented in the Mechanical Engineering Dept., Nanyang
        Technological University, Singapore, July 2001.
    15. Experiments and Simulations in Micro/Nano Domains, National Storage Industry Consortium Annual
        Meeting, Monterrey, CA, June 2001.
    14. Fluid Measurements in Micro/Nano Domains, presented at The Colorado Center for Information
        Storage/Denver Section of the IEEE Magnetics Society seminar series, Boulder, CO, Jan. 2001.
    13. Microfluidic Diagnostic Techniques, presented in the Mechanical Engineering Dept., Indiana University
        and Purdue University at Indianapolis (IUPUI), Indianapolis, IN, Nov. 2000.
    12. Microfluidic Diagnostic Techniques, presented in the Materials Engineering Dept., Purdue University,
        West Lafayette, IN, Sept. 2000.
    11. Microfluidic Diagnostic Techniques, presented at the Purdue University Nanotechnology Seminar Series,
        Purdue University, West Lafayette, IN, Sept. 2000.
    10. Microfluidics: Theory and Experiment, presented in the “All-Day MEMS overview,” University of
        Illinois, Chicago, IL, Aug. 2000.
    9. Microfluidic Diagnostic Techniques, presented at Daimler-Chrysler, Ulm, Germany, July, 2000.
    8. Microfluidic Diagnostic Techniques, presented at the Paul-Scherrer Institut Laboratory for Micro- and
        Nanotechnology, Villigen, Switzerland, July, 2000.
    7. Microfluidic Diagnostic Techniques, presented at 3M, Minneapolis, MN, June, 2000.
    6. MEMS: A brief introduction, presented in the Monticello Business Forum seminar titled “Technologies of
        the 21st Century and How to Incorporate Them,” Monticello, IN, May, 2000.
    5. Fluid Flow in Microscale Domains-Experiments and Analysis, presented in the Applied Math Seminar
        Series, Math Department, Purdue University, West Lafayette, IN, Apr. 2000.
    4. Enhanced Micro-PIV, presented in the Turbulence and Complex Flow Seminar Series, Theoretical and
        Applied Mechanics Department, University of Illinois, Urbana-Champaign, Feb. 2000.
    3. Microfluidic Diagnostic Techniques, presented in the Mechanical Engineering Department Lecture Series
        at the University of Florida, Gainesville, FL, Dec. 1999.
    2. Microfluidic Diagnostic Techniques, presented in the Society for the Advancement of Material and
        Process Engineering (SAMPE) Micro-Nano Scale Science and Technology Seminar Series, Purdue
        University, W. Lafayette, IN, Oct. 1999.
    1. Shear Field and Velocity Field in Taylor Vortex Flow, presented at Baxter HealthCare, Fenwal Division,
        Round Lake, IL, Oct. 1996.

    Funding History
    Hummingbird, Inc., Environmental Cells for Transmission Electron Microscopy (TEM), Two years
    (2010-2011), $225,000.
    NSF:ERC for Compact and Efficient Fluid Power, Two (2) years (2006-2008), $5,000,000, $80,076
    Cummins, Inc.:Proposal for Characterizing Fuel Contaminant Size and Type Two (2) years (2007-2009)
    $223,666.
    NSF:Experiments and Modeling of Advanced Optical Trap Systems for Manipulating and Sorting Micro
    and Nano Particles, Three (3) years (2007-2010), $212,453
    NSF:Collaborative Research: Architecture and Prototype for a Programmable Lab-on-a-Chip, Three (3)
    years (2007-2009), $315,000, $142,893
    DARPA: Micro/Nano Fluidics Fundamentals Focus Center (UCI/MF3), Three (3) years (2007-2010),
    $150,919
    AudioPixels, Inc.:Proposal for micro-PIV measurements to Audiopixels, One (1) year (2009-2010), $34,607
    National Aeronautics and Space Administration (Bionetics Corp./NASA), “Microfluidic Ion Sensor Array,”
    2/7/2005 to 9/30/2006, Total award: $140k, my portion: $70k.
    Air Force Office of Scientific Research, “STTR: High-resolution evanescent PIV for near-wall microfluidics,”
    9/15/2004 to 6/30/2005, Total award: $75k, my portion: $42k.
    National Science Foundation, “Scaling down mechanically driven fluidic self-assembly,” 8/15/2004 to
    1/31/2006, Total award: $50k.
    Cooling Technologies Research Center (NSF/Industry consortium), “Heat transport in Microchannels,”
    1/1/2004 to 12/31/2006, Total award: $115k, my portion: $57k.
    Lilly retention initiatives, “Nanofact/Nanofiction honors class,” 1/1/2004 to 5/31/2004, Total award: $10k, my
    portion: $5k.


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    21st Century Research and Technology Fund—“Novel MEMS-Based Microscale Cooling System for the
    Thermal Management of Integrated Microelectronics,” 2004 to 2006, Total award: $1922k, my portion $39k.
    National Science Foundation, DMI Materials Processing/Manufacturing, “GOALI: Improvements spray
    drying manufacturing through control of drop size distributions,” 9/15/2003 to 8/31/2006, Total award: $389k,
    my portion: $130k.
    TSI, Inc., “PIV algorithm improvements for TSI’s Insight,” 2003 to 2004, Total award: $10k.
    National Science Foundation, Nanoscale Undergraduate Education, “NUE: New Learning and Discovery
    Experiences in Nanoscale Engineering Undergraduate Education,” 2003 to 2004, Total award: $100k, my
    portion: $19k.
    Purdue Research Foundation—“Interplay of Randomness and Determinism in Micro/Nanoflows,” 2003 to
    2005, Total award: $13k.
    National Science Foundation, “SGER: Development of a multiscale manufacturing teaching laboratory,” 2003
    to 2004, Total award: $100k, my portion: $17k.
    National Science Foundation, Nanoscale Science and Engineering, Nanoscale Exploratory Research—
    “Explorations in Biomedical Microdevices: Brownian Motion and Education,” 2002 to 2003, Total award:
    $100k, my portion $89k.
    National Science Foundation, Biological Oceanograpy—“Form and Function of Phytoplankton in unsteady,
    low Reynolds-Number Flows,” 9/1/2002 to 8/31/2006, Total award: $970k, my portion $208k.
    Showalter Trust, “Towards the prevention and control of atherosclerosis: endothelial and smooth muscle cell
    response to pulsatile flow in stenotic blood vessels,” 2001 to 2002, Total award: $83k, my portion: $16.6k.
    Naval Surface Warfare Center Crane Division (Purdue University Center for Sensing Science and
    Technology)—“Integrated Detection of Hazardous Materials,” 2001 to 2003, Total award: $4000k, my portion
    $70k.
    21st Century Research and Technology Fund—“Center for Nanoscale Electronics/Biological Devices,” 2000
    to 2002, Total award: $1480k, my portion $49k.
    21st Century Research and Technology Fund—“Intelligent MEMS-based Flow Sensors and Controllers,”
    2000 to 2002, Total award: $816k, my portion $271k.
    Purdue Research Foundation—“Experimental Investigation of Prototypical MEMS Pumps,” 2000 to 2002,
    Total award: $13k.
    3M Nontenured Faculty Award—support for untenured faculty in the pursuit of basic research in the physical
    and/or biological sciences, 2/24/2000, Total award: $39k.
    ATC, Inc., unrestricted gift funding in support of research on micro-scale mass flow transducers, 12/30/1999,
    Total award: $27K.

         Short Courses
    Principles and Applications of Micro and Nanofluidics, Center for Smart Interfaces, Darmstadt, Germany;
         offered twice—Mar 22-24, 2010 and Dec 14-16, 2011.
    Microfluidics, April 26-28, 2004, Los Angeles, CA. ASME sponsored 3 day short course in which I taught one
    half day on the theory of flows at small length scales.
    Fundamentals and Applications of Microfluidics, half day short course offered at ESA’s Space Propulsion
    2004, Cagliari, Italy, June 2-9, 2004.
    Microfluidics, April 26-28, 2004, Los Angeles, CA. ASME sponsored 3 day short course in which I taught one
    half day on the theory of flows at small length scales.
    Fundamentals and Applications of Micro/Nanofluidics, 3 hour short course offered at Nanotech 2004, in
    Boson, March 7-11, 2004.
    Fundamentals and Applications of Micro/Nanofluidics, 3 hour short course presented at the Nanotech 2003,
    in San Francisco, Feb. 23-27, 2003. Topics addressed: theoretical background of micro/nano-scale fluid
    mechanics, modeling methods, practicalities of small-scale flows, experimental characterization techniques.
    Microfluidics, half-day short course presented at the International MEMS Workshop 2001, in Singapore, July 4-
    6, 2001. Co-taught with Dr. Nam-Trung Nguyen, Nanyang Technical University, Singapore. Topics addressed:
    theoretical background of micro-scale fluid mechanics, experimental characterization techniques for microflows,
    fabrication technologies of microfluidic devices, and typical microfluidic applications.

    Awards and Memberships
    2nd Place, Gold Division, Burton D. Morgan Business Plan Competition, company name PathVis, now
    OmniVis, 2017.
    Purdue Innovator Hall of Fame inductee (2016)

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    United States Geological Survey Director’s Award for meritorious service to the nation during the Deepwater
    Horizon oil spill (2010).
    3rd Prize, ASME-IMECE Society-Wide Micro/Nano Technology Forum Best Poster Competition, HS
    Chuang, A Kumar, and ST Wereley, “Rapid Electrokinetic Patterning Of Colloidal Particles With Optical
    Landscapes”, Lake Buena Vista, Florida, 2009
    Alexander von Humboldt Fellow (3/2007-8/2007; 6/2008-7/2008; 6/2009-7/2009)
    1st Place, Gold Division, Burton D. Morgan Business Plan Competition. Ahmed M. Amin, S.C. Jacobson, M.
    Thottethodi, T.N. Vijaykumar and S.T. Wereley. “Microfluidic Innovations.” Purdue University, West Lafayette,
    IN, February 2009.
    2nd Place, Gold Division, Burton D. Morgan Business Plan Competition. SJ Williams, H.-S. Chuang and A
    Kumar. Liquid Qinetics. Purdue University, West Lafayette, IN, Feb. 24, 2009.
    1st Place Poster, Engineering Sciences, SJ Williams, A Kumar, and ST Wereley, “Rapid electrokinetic
    patterning of colloids using optical landscapes”, 2009 Graduate Student Poster Competition sponsored by Sigma
    Xi, Purdue University, West Lafayette, IN, Feb. 2009.
    3rd Place, 2008 Ecological Science and Engineering Poster Competition. H.-S. Chuang and Steven T.
    Wereley. “Open Optolelectrowetting Droplet Actuation for Lab-on-a-Chip Applications.” Dec. 5, 2008.
    Outstanding Video, Gallery of Fluid Motion at Amer. Phys. Soc./Div. Fluid Dyn. Annual Meeting, SJ
    Williams, A Kumar, and ST Wereley, “Optically induced electrokinetic pattering and manipulation of particles,”
    San Antonio, TX, Nov. 2008. Note: Most downloaded video from eCommons@Cornell for the month of
    December, 2008. (http://hdl.handle.net/1813/11399)
    “2008 Highlight” distinction conferred by the journal Measurement Science and Technology to the article
    “Three-dimensional particle tracking using micro-particle image velocimetry hardware” by Peterson, Chuang,
    and Wereley.
    Young Researcher Poster Award Winner at Proc. 12th International Conference on Miniaturized Systems for
    Chemistry and Life Sciences (µTAS 2008), A Kumar, SJ Williams and ST Wereley, “Rapid electrokinetic
    patterning of colloids using optical landscapes”, San Diego, USA, Oct 12-16, 2008.
    Best Poster Award at the 2nd Annual Birck Nanotechnology Research Review, S. Williams, A. Kumar, and
    S.T. Wereley, “Rapid electrokinetic patterning of colloidal particles with optical landscapes,” April 14, 2008.
    21st Annual Purdue University Burton Morgan Business Plan Competition, 4th place, A. Amin, H.S.
    Chuang, T.N. Vijaykumar, T. Thodentoddi, S.T. Wereley, and S. Jacobson, developed a business plan for
    commercializing programmable Lab-on-a-Chip devices.
    Seeds for Success Award (1/2007)—awarded for proposals funded in excess of one million dollars
    3M Nontenured Faculty Award (3/2000, 3/2001, 3/2002)—support for untenured faculty in the pursuit of basic
    research in the physical and/or biological sciences.
    Walter Murphy Fellowship (9/1990)—support for outstanding graduate students
    Pi Tau Sigma Mechanical Engineering Honor Society: student member (4/89); faculty advisor (4/99-present)
    American Physical Society (APS)
    American Society of Mechanical Engineers (ASME)
    American Institute of Aeronautics and Astronautics (AIAA)

    Guest Class Lectures
    Microscale Heat and Fluid Flow Diagnostics, ME 605, Convection of Heat and Mass, Professor Jayathi
    Murthy, Dec. 2003.
    Fundamentals of Microfluidics, EE 595B, Fundamentals of MEMS and Micro-Integrated Systems, Professor
    Rashid Bashir, Oct., 2003.
    An Introduction to Nanotechnology, ENGL373, Science Fiction and Fantasy, Prof. Kristina Bross, Feb. 2003.
    Fundamentals of Microfluidics, EE 595B, Fundamentals of MEMS and Micro-Integrated Systems, Professor
    Rashid Bashir, Oct., 2002.
    The Benefits of a Physics Education in Mechanical Engineering, PHYS 290A, Seminar in Careers in
    Physics, Professor Andrew Hirsch, Jan. 2002.
    Microscale Heat and Fluid Flow Diagnostics, ME 605, Convection of Heat and Mass, Professor Suresh
    Garimella, Apr. 2001.
    Fundamentals of Microfluidics, EE 595B, Fundamentals of MEMS and Micro-Integrated Systems, Professor
    Rashid Bashir, Feb., 2001.
    Microscale Fluid Flow Diagnostics, ME 509, Intermediate Fluid Dynamics, Professor Steve Frankel, Dec.
    2000.
    Microscale Fluidic Actuation, ME 610, Boundary Layer Theory, Professor Mike Plesniak, Apr., 2000.


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    Microscale Pumping Schemes, EE 595B, Fundamentals of MEMS and Micro-Integrated Systems, Professor
    Rashid Bashir, Apr., 2000.
    Math and Science in Tom Stoppard’s Arcadia, ENGL 201, The Nature of Literary Study, Professor Kristina
    Bross, Apr., 2000.
    Fundamentals of Microfluidics, EE 595B, Fundamentals of MEMS and Micro-Integrated Systems, Professor
    Rashid Bashir, Feb., 2000.
    Some thoughts on the science in Tom Stoppard’s Arcadia, THTR 570, Dramatic Structure and Literature,
    Professor Anne Fliotsos, Feb., 2000.
    Microscale Fluid Flow Diagnostics, ME 509, Intermediate Fluid Dynamics, Professor Carl Wassgren, Dec.
    1999.

         Conference Sessions Chaired current through 2002
    Biomedical Flows: 11th International Symposium on the Application of Laser Techniques to Fluid Mechanics,
    (Lisbon, Portugal), July 8-11, 2002.
    Challenges in Micro and Nanoscale Transport: THERMES 2002: Thermal Challenges in Next Generation
    Electronic Systems, (Santa Fe, NM), January 13-16, 2002.
    BioMEMS & Microfludic & MEMS/MST Sensor Applications: International MEMS Workshop,
    (Singapore), July 4-6, 2001.
    Micro-Fluid Dynamics II: American Physical Society/Division of Fluid Dynamics Annual Meeting,
    (Washington, D.C.), Nov.19-21, 2000.
    Aerodynamic Flows – 2: 10th International Symposium on the Application of Laser Techniques to Fluid
    Mechanics, (Lisbon, Portugal), July 10-13, 2000.
    Interrogation Algorithms, The Third International Workshop on Particle Image Velocimetry (Santa Barbara,
    CA), Sept. 12-14, 1999.

         Journal Reviews
          AIAA Journal, AIChE Journal, J. Fluids Engineering, J. Micromechanics and Microengineering,
          Physics of Fluids, Experiments in Fluids, J. Fluid Mechanics, …

         Courses Taught
    ME697W: Micro/Nano Fluid Mechanics: Fa05, Fa08
    ENGR195N: Special Topics in Nanotechnology Research Experiences: Sp04 (team taught with Freshman
    Eng.)
    HONR199C: Nanofact/Nanofiction: Sp04 (co-taught with K. Bross, ENGL)
    ME263: Introduction to Mechanical Engineering Design: Sp01
    ME309: Introduction to Fluid Mechanics: Fa99, Sp00 (Lead), Fa00, Fa04 (2 sections)
           ME509: Intermediate Fluid Mechanics: Fa01, Fa02, Fa06
    ME595W: Fundamentals of Particle Image Velocimetry: Sp02, Sp05
    ME/ChE517: Micro/Nanoscale Physical Processes: Sp01*, Sp02*, Sp03*, Sp04*, Sp06, Sp08*, Sp09
    ME610: Theory of Boundary Layer Flows: Fa03
    *co-taught with Gil Lee, CHE

         School/College/University Service
    Fluid Mechanics Area Chair (5/2008-Present)
    ME Leadership Team (5/2008-Present)
    Fluid Mechanics Seminar Series Organizer (1/2000-5/2006)
    Faculty Advisor to Pi Tau Sigma, the Mechanical Engineering Honor Society (4/2000-Present)
    College of Engineering Academic Grievance Committee (8/2000-5/2004)
    ME Head’s Advisory Council (8/2003-5/2006)
    ME Research Committee (8/2001-8/2003)
    Heat Transfer Faculty Search Committee (8/2001-5/2002)
    Computational Thermal Sciences Faculty Search Committee (12/2000-7/2001)
    Laboratory Committee (3/2001-8/2001)
    Graduate Committee (8/1999-8/2001)




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                                                                                                Page 1
                          IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE


              GE HEALTHCARE BIO-SCIENCES AB,
              and GLOBAL LIFE SCIENCES
              SOLUTIONS USA, LLC,
                                   Plaintiffs,                              C.A. No. 18-
                   v.                                                       1899-CFC
                                                                            CONSOLIDATED
              BIO-RAD LABORATORIES, INC.


                                   Defendant.
              _______________________________)


                   HIGHLY CONFIDENTIAL -- ATTORNEYS' EYES ONLY
                            CONFIDENTIAL BUSINESS INFORMATION
                                 DEPOSITION OF ROBERT IOVANNI
                                        APPEARING REMOTELY


                                              June 11, 2020
                                          9:02 a.m. Pacific


              Reported by:            Lori J. Goodin, RPR, CLR, CRR,
                                      RSA, California CSR #13959
              ____________________________________________________
                                          DIGITAL EVIDENCE GROUP
                                   1730 M Street, NW, Suite 812
                                          Washington, D.C. 20036
                                               (202) 232-0646


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                                                                                               Page 2
        1     REMOTE APPEARANCES:
        2        FOR GE HEALTHCARE BIO-SCIENCES AB:
        3             JEFFREY A. MILLER, ESQUIRE
                      JOSEPH PALMIERI, ESQUIRE
        4             ARNOLD & PORTER KAYE SCHOLER LLP
                      300 El Camino Real
        5             Five Palo Alto Squire
                      Suite 500
        6             Palo Alto, California 94306
                      415-356-3000
        7             jeffrey.miller@arnoldporter.com
        8
        9          FOR BIO-RAD LABORATORIES:
       10               FELIPE CORREDOR, ESQUIRE
                        QUINN EMANUEL URQUHART & SULLIVAN, LLP
       11               50 California Street
                        22nd Floor
       12               San Francisco, CA 94111
                        415-875-6448
       13               felipecorredor@quinnemanuel.com
       14
       15     AND COCOUNSEL:
                      JOHN CASSINGHAM, ESQUIRE
       16             BIO-RAD LABORATORIES, INC.
                      2754 Compass Drive
       17             Suite 300
                      Grand Junction, Colorado 81506
       18             510-724-7000
       19
       20     ALSO PRESENT:
       21             Glen Fortner, videographer
       22             James Beall, document technician


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       11                            Thursday, June 11, 2020
       12                     Lori J. Goodin, RPR, CLR, CRR,
       13                       RSA, California CSR #13959
       14

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       15

       16                            (All exhibits were provided.
       17                       electronically to the reporter.)
       18

       19

       20

       21

       22




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                                                                                               Page 7
        1             REPORTED REMOTELY FROM WASHINGTON, D.C.
        2                  THURSDAY, JUNE 11, 2020, 9:00 a.m.
        3                                         *    *     *
        4

        5                                     PROCEEDINGS
        6                            THE VIDEOGRAPHER:                This is Tape
        7           Number 1 of the videotaped deposition of
        8           Robert Iovanni taken by counsel for the
        9           plaintiff In the Matter of GE Healthcare
       10           Bio-Sciences AB, et al. v. Bio-Rad
       11           Laboratories, Inc., in the United States
       12           District Court for the District of Delaware.
       13           Case Number 18-1899 CFC.
       14                            This deposition is being conducted
       15           on Zoom and being recorded at Tyson's Corner
       16           Virginia, on June 11, 2020.
       17                            The time on the video screen is 9:02
       18           Pacific time.
       19                            My name is Glen Fortner.                     I am the
       20           legal videographer, from Digital Evidence
       21           Group.
       22                            The court reporter is Lori Goodin,



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                                                                                               Page 8
        1           in association with Digital Evidence Group.
        2                            Will counsel please introduce
        3           themselves for the record.
        4                            MR. MILLER:           My name is Jeffrey
        5           Miller from Arnold & Porter.                           And with me is
        6           Joseph Palmieri, also from Arnold and Porter.
        7                            MR. CORREDOR:            Good morning, Felipe
        8           Corredor from Quinn Emanuel on behalf of
        9           Bio-Rad, and with me is John Cassingham from
       10           Bio-Rad.
       11                            THE VIDEOGRAPHER:                Will the court
       12           reporter please swear in the witness.
       13                            THE REPORTER:            Counsel, before
       14           swearing in the witness, I have a short
       15           statement to put on the record.
       16                            The attorneys participating in this
       17           deposition acknowledge that due to the
       18           severity of COVID-19 and following the
       19           practice of social distancing, I am not
       20           physically [resent in the deposition room and
       21           that I will be swearing in the witness and
       22           reporting this deposition remotely.



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                                                                                               Page 9
        1                            All parties stipulate to the
        2           validity of this remote swearing and remote
        3           reporting via video conference and that it
        4           will be admissible in the courtroom as if it
        5           had been taken following Rule 30 and other
        6           rules of the Federal Rules of Civil Procedure.
        7                                         *    *     *
        8                                    ROBERT IOVANNI
        9                            THE REPORTER:               Do you solemnly state
       10           that the testimony you are about to give in
       11           the cause now pending will be the truth, the
       12           whole truth, and nothing but the truth, so
       13           help you God.
       14                            THE WITNESS:            I do.
       15                                         *    *     *
       16                                     EXAMINATION
       17     BY MR. MILLER:
       18                Q.          Good morning.               Can you please state
       19     your full name for the record.
       20                A.          Sure.      Robert Alan Iovanni.
       21                Q.          We will get into your education in a
       22     little bit, but do you have a Ph.D. or no?



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                                                                                             Page 63
        1     initials PP.            Do you have an understanding as to
        2     what PP stands for?
        3                A.          Protein purification.
        4                Q.          And in the portion there you see, it
        5     says,




        8                            Do you see that?
        9                A.          Yes.
       10                Q.          You mentioned earlier that the
       11     DuoFlow was an existing product for Bio-Rad when
       12     you came into this portion of Bio-Rad.
       13                            Do you remember that?
       14                A.          Yes.
       15                Q.          In 2008, did you have an
       16     understanding as to




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        7




       17




       21                Q.          If we could go to the BRGE 6284 of
       22     the document.            And then towards the bottom third



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                                                                                             Page 65
        1     of the page there is a section entitled




        9                            Do you see that?
       10                A.          Yes.
       11                            MR. CORREDOR:            Objection to the
       12           form.
       13     BY MR. MILLER:
       14                Q.          Was the DuoFlow system that Bio-Rad
       15     had on the market at the time, was it a modular
       16     system?
       17                A.          Yes.
       18                Q.          And what was it about the DuoFlow
       19     system that made it modular?
       20                A.          We offered different types of
       21     components that the user could use depending on
       22     what type of chromatography they were looking to



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                                                                                             Page 104
        1     Page 14 of the document, Exhibit 4.
        2




       13                            Do you see that?
       14                A.          Yes.
       15                Q.          Do you know what the ÄKTA purifier
       16     was?
       17                A.          It was one of the competitive
       18     machines.
       19                Q.          And that was from GE, right?
       20                A.          Yes.
       21                Q.




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                                                                                             Page 106
        1                            MR. MILLER:           Why don't we mark as
        2           the next exhibit and get it to the Share
        3           folder, the Bates Number bearing BRGE65053
        4           through BRGE65075.
        5                                   (Exhibit Number 5
        6                                    marked for identification.)
        7     BY MR. MILLER:
        8                Q.          Let me ask you a quick question
        9     about the previous document?
       10                A.          Uh-huh.
       11                Q.          Is that a document that you reviewed
       12     in preparation for your deposition today?
       13                A.          Yes.
       14                Q.          All right.          Let's move to the next
       15     exhibit which I believe is Exhibit 5 which we
       16     have just marked.
       17                            Can you take a look at it and tell
       18     me if you can identify it?
       19                A.          It looks like the presentation for
       20     the day of that meeting.
       21                Q.          If I ever meet Ms. Mavandadi I have
       22     to apologize because it appears she has a Ph.D.?



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                                                                                             Page 170
        1           page.
        2                            MR. MILLER:           Okay.
        3                            THE WITNESS:            There we go.
        4     BY MR. MILLER:
        5                Q.          Okay.




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                                                                                             Page 200
        1                            MR. CORREDOR:            Objection.
        2           Mischaracterizes the document.
        3                            MR. MILLER:           I'm not trying to
        4           mischaracterize anything.                       So, make sure that
        5           I'm not mischaracterizing, Mr. Iovanni.
        6                            THE WITNESS:




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                                                                                             Page 203
        1     BY MR. MILLER:
        2                Q.          In the NGC system that was
        3     eventually released, were users able to easily
        4     add, replace or reposition the modules?
        5                            MR. CORREDOR:            Objection, form.
        6                            THE WITNESS:            Yes.      I think
        7           relatively speaking, yes.
        8     BY MR. MILLER:
        9                Q.          And why would users want to add a
       10     module?
       11                            MR. CORREDOR:            Objection, calls for
       12           speculation.
       13     BY MR. MILLER:
       14                Q.          Let me ask you this:                  Do you know
       15     why users would add modules to their NGC systems
       16     as they were eventually sold?
       17                A.




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        8                            MR. CORREDOR:            Objection, vague.
        9                            MR. MILLER:           Let's mark as
       10           Exhibit 29 a document bearing the Bates
       11           Number BRGEDEL401625 through BRGE 401658.
       12                                  (Exhibit Number 29
       13                                    marked for identification.)
       14     BY MR. MILLER:
       15                Q.          Once that shows up, if you can
       16     identify Exhibit 29 for us.
       17                A.          So, this is 29.              Okay.
       18                Q.          Can you identify Exhibit 29 for us,
       19     please?
       20                A.          It is a technical specification for
       21     the system.
       22                Q.



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        4                            MR. MILLER:           Mark the next exhibit
        5           bearing the Bates number BRGEDEL14644 through
        6           14657.
        7                                  (Exhibit Number 30
        8                                    marked for identification.)
        9     BY MR. MILLER:
       10                Q.          When it is in the Share if you can
       11     identify that document, that would be great.
       12                A.          This will be Number 30?
       13                Q.          Yes, Exhibit 30.               I will give you a
       14     chance to review Exhibit 30.
       15                A.          It hasn't come in yet.                   Here it is.
       16     All right.          Okay.
       17                Q.          Can you identify Exhibit 30 for us,
       18     please?
       19                A.




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        1                     CERTIFICATE OF COURT REPORTER
        2     UNITED STATES OF AMERICA )
        3     DISTRICT OF COLUMBIA                       )
        4                  I, LORI J. GOODIN, a Certified Shorthand
              Reporter do hereby certify:
        5                  That prior to being examined, the witness
              in the foregoing proceedings was by me duly sworn
        6     to testify to the truth, the whole truth, and
              nothing but the truth.
        7                  That said proceedings were taken remotely
              before me at the time and places therein set
        8     forth and were taken down by me in shorthand and
              thereafter transcribed into typewriting under my
        9     direction and supervision;
       10                  I further certify that I am neither
              counsel for, nor related to, any party to said
       11     proceedings, not in any wise interested in the
              outcome thereof.
       12                  In witness whereof, I have hereunto
              subscribed my name.
       13     Dated:       June 11, 2020
       14
       15

       16

       17

       18                                  ___________________________
       19                                  Lori J. Goodin, RPR, CLR, CRR,
       20                                  RSA, California CSR #13959
       21     My Commission expires:                   May 14, 2021
       22




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                                                                                                 Page 310
                                    UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF DELAWARE

              CYTIVA SWEDEN AB, et al., )
                                        )
                          Plaintiff,    )
                 v.                     )                             Case No. 1:18-CV-
                                        )                                     01899-CFC
              BIO-RAD LABORATORIES,     )
              INCORPORATED,             )
                                        )
                          Defendants.   )
              __________________________)

              HIGHLY CONFIDENTIAL TECHNICAL ATTORNEYS EYES ONLY
                        PURSUANT TO PROTECTIVE ORDER

                            DEPOSITION OF PHILIP CHAPMAN, MSc
                         30(b)6 and Personal Capacity, Volume II

                                           APPEARING REMOTELY

                                                July 24, 2020
                                                  12:11 P.M.

              Reported by:  Lori J. Goodin, RPR, CLR, CRR,
                            RSA, California CSR #13959
              ____________________________________________________
                              DIGITAL EVIDENCE GROUP
                          1730 M Street, NW, Suite 812
                              Washington, D.C. 20036
                                 (202) 232-0646


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        2                                  REMOTE APPEARANCES:
        3

        4             FOR PLAINTIFF:
                              ARNOLD & PORTER KAYE SCHOLER LLP
        5                     JEFFREY A. MILLER, ESQUIRE
                              3000 El Camino Real Five Palo Alto
        6                     Square, Suite 500
                              Palo Alto, CA              94306-3807
        7                     650.319.4538
        8                     Jeffrey.Miller@arnoldporter.com
        9

       10             FOR DEFENDANT:
                              QUINN EMANUEL URQUHART & SULLIVAN, LLP
       11                     FELIPE CORREDOR, ESQUIRE
                              50 California Street
       12                     22nd Floor
                              San Francisco, California                        94111
       13                     415-875-6600
       14                     Felipecorredor@quinnemanuel.com
       15

       16     ALSO PRESENT:
       17                     Sarah Howard, videographer
       18                     James Beall, document technician
       19

       20

       21

       22




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       15                           RSA, California CSR #13959
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                                       ChromLab Software Instrument
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       17

       18                           (All exhibits were provided
       19                  electronically to the court reporter.)
       20

       21

       22




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                                                                                                 Page 318
        1                    FRIDAY, JULY 24, 2020, 12:11 P.M.
        2                                         PROCEEDINGS
        3                                             *    *    *
        4                              THE VIDEOGRAPHER:                 This is Volume II
        5              of the videotaped deposition of Dr. Philip
        6              Chapman in the matter of Cytiva Sweden AB,
        7              et al. versus Bio-Rad Laboratories,
        8              Incorporated, in the United States District
        9              Court for the District of Delaware, Case
       10              Number 1:18-cv-01899-CFC.
       11                              This deposition is being held remote
       12              by Zoom video conference physical reporting
       13              on July 24, 2020.                  The time on the video
       14              screen is 12:11 p.m.
       15                              My name is Sarah Howard.                       I am the
       16              legal videographer for Digital Evidence
       17              Group.         The court reporter today is Lori
       18              Goodin in association with Digital Evidence
       19              Group.
       20                              All parties to this deposition are
       21              appearing remotely and have agreed to have
       22              the witness sworn in remotely.                            Due to the



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                                                                                                 Page 319
        1              nature of remote reporting, please pause
        2              briefly before speaking to ensure all parties
        3              are heard completely.
        4                              Counsel will be identified on the
        5              stenographic record for appearances.                                The
        6              witness has been previously sworn in, so
        7              please proceed.
        8                                             *    *    *
        9                                  PHILIP CHAPMAN, MSc,
       10     a witness called for continued examination,
       11     having been previously duly sworn, was examined
       12     and testified further as follows:
       13                                             *    *    *
       14                                         EXAMINATION
       15     BY MR. MILLER:
       16                    Q.        Good morning, Mr. Chapman.                        My name
       17     is Jeffrey Miller.                    I will be taking the second
       18     day of your deposition.                        And I understand that
       19     you went yesterday, so you probably know the
       20     rules of the road; is that correct?
       21                    A.        Yes, correct.
       22                    Q.        And you understand that the oath you



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                                                                                                 Page 385
        1     valve.          Correct?
        2                    A.        That's correct.
        3                    Q.        What is the purpose of a sample
        4     inject valve in the NGC system?
        5                              MR. CORREDOR:              Object to form.
        6                              THE WITNESS:             So, the purpose of an
        7              inject valve in any liquid chromatography
        8              system is to enable the scientist to inject
        9              their biological sample of interest, to have
       10              it then be introduced onto the chromatography
       11              column.
       12     BY MR. MILLER:
       13                    Q.        And the sample inject valve is
       14     included on all versions of the NGC.                                  Correct?
       15                    A.        Yes.
       16                    Q.        So, there are various portions of
       17     the sample inject valve that are shown in an
       18     exploded view on Page 37.                         Do you see that?
       19                    A.        I do, yes.
       20                    Q.        So, first, we have -- let's try to
       21     get some terminology consistent here.
       22                              First, there is the big rectangle



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                                                                                                 Page 386
        1     that incorporates the circular portion.                                    Do you
        2     see that?
        3                    A.        Yes.
        4                    Q.        Does Bio-Rad have a naming
        5     convention for that rectangular item?
        6                    A.        It is called the face plate or the
        7     overlay, interchangeably.
        8                              It is actually the overlay.                         It is
        9     the colored portion.
       10                    Q.        So, I see that there is sort of a --
       11     there is the colored portion -- let me start
       12     again.
       13                              Is the colored portion that we see
       14     on Page 37 of the instrument guide, is that the
       15     overlay?
       16                    A.        Yes.
       17                    Q.        And, it appears to be incorporated
       18     by some other portion of the module.
       19                              Do you see that?
       20                    A.        The surrounding part, that is the
       21     face plate.              That is the front metal panel to the
       22     housing.



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                                                                                                 Page 387
        1                    Q.        And do all of the modules that
        2     Bio-Rad makes available with the NGC system
        3     include a face plate and an overlay?
        4                    A.        Yes.
        5




       11




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        2     BY MR. MILLER:
        3                    Q.




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                                                                                                 Page 489
        1                              MR. CORREDOR:              Object to the form.
        2                              THE WITNESS:




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                                                                                                 Page 490
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       12




       18                              (Whereupon, previously marked
       19                                Exhibit 46, first referral.)
       20     BY MR. MILLER:
       21                    Q.        I have a few brief questions for you
       22     of a document that has previously been marked as



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                                                                                                 Page 491
        1     Exhibit 46.
        2                              When that gets into the share, let
        3     us know.
        4                    A.        I will, thank you.                  Exhibit 46?
        5     Correct?
        6                    Q.        Yes.
        7                    A.        Okay, I'm looking at that now.
        8     Okay.          I have that in front of me now.
        9                    Q.        Have you ever seen this document
       10     before?
       11                    A.        I wasn't listed as a signatory on
       12     it, but I quite probably have seen it or the
       13     information contained within.
       14                    Q.        So, can you identify Exhibit 46 for
       15     us, please.
       16                    A.




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                                                                                                 Page 527
        1     Bates number BRGEDEL 450747.
        2                    A.        Okay.
        3                    Q.        And I'm sorry.               I read the wrong
        4     number.
        5                              BRGEDEL 450746, the previous page.
        6                    A.        746.       Okay.
        7                    Q.




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                                                                                                 Page 528
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        2                    Q.        If you could go to BRGEDEL 450753,
        3     please, of Exhibit 56.                       Are you there?
        4                    A.        Sorry, I closed it.                    I need to
        5     reopen it quickly.                    And it was Exhibit 56, you
        6     said?
        7                    Q.        Yes.



        9                              Do you see that?
       10                    A.        One moment, please.                    Sorry.
       11     Juggling between screens.
       12                              Which page did you say it was?                            Can
       13     you give me that stamp again?
       14                    Q.        450753.
       15                    A.        753, yes.           Thank you.
       16                    Q.        And we are looking at Row D, or the
       17     D row.
       18




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        5                    Q.        Was this specification met for the
        6     inject valve module that Bio-Rad sells with its
        7     NGC system?
        8                              MR. CORREDOR:              Object to the form.
        9                              THE WITNESS:             My opinion would be
       10              yes.
       11     BY MR. MILLER:
       12                    Q.        Is the same thing true for the pump
       13     modules?
       14                              MR. CORREDOR:              Object to the form.
       15                              THE WITNESS:             I -- we would need to
       16              go and see if that was listed as a
       17              requirement and --
       18     BY MR. MILLER:
       19                    Q.        Sure, let's go to Exhibit 47,
       20     please.           And let's go to BRGE 96090.
       21




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        6                              Do you see that?
        7                    A.        I do see that.
        8                    Q.        Was this specification met by the
        9     pump -- NGC pump module sold with the NGC system?
       10                    A.

                                    , I would say yes.
       12                    Q.




       15                              MR. CORREDOR:              Object to the form.
       16                              THE WITNESS:             For the pump, yes, I
       17              would say yes.
       18     BY MR. MILLER:
       19                    Q.        Thank you.            Let's go to Exhibit 50.
       20     Exhibit 50 you may recall is the specification
       21     for the column switching valve.
       22                    A.        Yes.



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                                                                                                 Page 531
        1                    Q.        And if we could go to
        2     BRGEDEL 450606.
        3                    A.        606.       Okay.
        4                    Q.        Again, the specification for the NGC
        5     column switching valve module states,




       11                              Do you see that?
       12                    A.        I do see that, yes.
       13                    Q.        Was this specification met by the
       14     column switching valve module that Bio-Rad sells
       15     for its NGC system?
       16                              MR. CORREDOR:              Object to the form.
       17                              THE WITNESS:

                                                                              yes.
       19     BY MR. MILLER:
       20                    Q.

                                                                         That
       22     specification was met as well, correct?



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                                                                                                 Page 532
        1                              MR. CORREDOR:              Object to the form.
        2                              THE WITNESS:             For the column
        3              switching valve, yes.
        4     BY MR. MILLER:
        5                    Q.        Pull up Exhibit 52, please.
        6




        8                    A.        Correct.
        9                    Q.        If you could go to BRGEDEL 282561.
       10                    A.        561, yes.
       11                    Q.        I'm sorry.            I keep doing this to
       12     you.
       13                              560.
       14                    A.        560, okay.
       15                    Q.        And the specification here for the
       16     single-wavelength detector module states,




       22                              Do you see that?



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                                                                                                 Page 533
        1                    A.        I do see that, yes.
        2                    Q.        And, are was this specification met
        3     for the single-wavelength detector module for the
        4     NGC system?
        5                              MR. CORREDOR:              Object to the form.
        6                              THE WITNESS:

                                                             yes.
        8     BY MR. MILLER:
        9                    Q.




       12                              MR. CORREDOR:              Object to the form.
       13                              THE WITNESS:             For the detector, yes.
       14     BY MR. MILLER:
       15                    Q.        Let's pull up Exhibit 54, please.
       16     Exhibit 54, as you might remember, is the
       17

                                                                              right?
       19                    A.        Correct.
       20                    Q.        If we could go to the page with the
       21     Bates number BRGEDEL 281538.
       22                    A.        1538, yes.



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                                                                                                 Page 534
        1                    Q.        We have the same specification here
        2     which states the design -- this is in Item D.
        3                    A.        Yes.       I'm looking at it, yes.
        4                    Q.        It states, the specification states,
        5




       10                              Do you see that?
       11                    A.        Yes.
       12                    Q.        Does the multi-wavelength detector
       13     module that Bio-Rad sells for its NGC system meet
       14     this specification?
       15                              MR. CORREDOR:              Object to the form.
       16                              THE WITNESS:

                                                                               yes.
       18                              (Whereupon, previously marked
       19                                Exhibit 57, first referral.)
       20     BY MR. MILLER:
       21                    Q.        Can we provide the witness with
       22     Exhibit 57.



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                                                                                                 Page 535
        1                    A.        I have Exhibit 57 in front of me.
        2                    Q.        Thank you.            Can you identify
        3     Exhibit 57 for us, please.
        4                    A.        So, according to the title on the
        5     first page, this is the




       15                              (Whereupon, previously marked
       16                                Exhibit 58, first referral.)
       17                              MR. MILLER:             Why don't we provide
       18              the witness with what has been marked as
       19              Exhibit 58, previously.
       20                              THE WITNESS:             May I close 57 or will
       21              we go back to that one?
       22     BY MR. MILLER:



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                                                                                                 Page 540
        1                    A.        I will.          Okay, thank you.                I'm
        2     looking at the document now.
        3                    Q.        Can you identify Exhibit 59 for us,
        4     please?
        5                    A.        Again, this is




       14                                      (Exhibit Number 217
       15                                       marked for identification.)
       16                              MR. MILLER:             Why don't we mark as
       17              the next exhibit in order the document
       18              bearing the Bates number BRGEDEL 445191
       19              through BRGEDEL 445203.
       20                              DOCUMENT TECHNICIAN:                    That has been
       21              marked as Exhibit 217.
       22                              MR. MILLER:             Thank you.



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                                                                                                 Page 541
        1                              THE WITNESS:             Thank you.
        2     BY MR. MILLER:
        3                    Q.        Let me know when Exhibit 217 gets to
        4     your location.
        5                    A.        Okay.        I'm looking at it now.
        6                    Q.        Can you identify Exhibit 217 for us,
        7     please.
        8                    A.




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        1                    Q.        If you go to the lower portion --
        2     let me back up.
        3                              Let's go to page with the Bates
        4     number BRGEDEL 445194.
        5                    A.        Okay.
        6                    Q.        There is a functional specification
        7     table.          It starts about halfway down the page.
        8     Do you see that?
        9                    A.        Yes.
       10                    Q.        And then under the general
       11     requirements for the enclosure for the design,
       12     the specification states,




       16                              Do you see that?
       17                    A.        I do see that.
       18                    Q.        Does the NGC system that Bio-Rad
       19     sells meet this specification?
       20                              MR. CORREDOR:              Object to the form.
       21                              THE WITNESS:




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                                                                                                 Page 657
        1                         CERTIFICATE OF COURT REPORTER
        2                     I, LORI J. GOODIN, RPR, CLR, CRR,
              CA CSR # 13959 the reporter before whom the
        3     foregoing deposition was taken, do hereby certify
              that the witness whose testimony appears in the
        4     foregoing deposition was sworn by me; that the
              testimony of said witness was taken by me in
        5     machine shorthand and thereafter transcribed by
              computer-aided transcription; that said
        6     deposition is a true record of the testimony
              given by said witness; that I am neither counsel
        7     for, related to, nor employed by any of the
              parties to the action in which this deposition was
        8     taken; and, further, that I am not a relative or
              employee of any attorney or counsel employed by
        9     the parties hereto, or financially or otherwise
              interested in the outcome of this action.
       10

       11

       12

       13

       14

       15                                      _____________________________
       16                                      LORI J. GOODIN, RPR, CLR, CRR
       17                                      Notary Public in and for:
       18

       19     My Commission expires:                       May 12, 2024
       20     STATE OF CALIFORNIA, CA CSR# 13959
       21     My Commission expires:                       February 22, 2021
       22




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            NGC Chromatography Systems
            and ChromLab Software
            Instrument Guide

            Version 6.0
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                      ß«¬±³¿¬» ³«´¬·°´» ­¿³°´» ·²¶»½¬·±²­ «­·²¹ »·¬¸»® ¬¸» ­¿³°´» ·²´»¬ ª¿´ª» ¿²¼
                      ¬¸» ­¿³°´» °«³° ±® ¬¸» Ýóçê ¿«¬±­¿³°´»®

                      Û¨°¿²¼ ­¿³°´» ³±²·¬±®·²¹ «­·²¹ ¬¸» ­·¹²¿´ ·³°±®¬ ³±¼«´» øÍ×Ó÷ ¬± »¨°±®¬
                      ¼·¹·¬¿´ ­·¹²¿´­ ¬±ô ¿²¼ ·³°±®¬ ¼·¹·¬¿´ ­·¹²¿´­ º®±³ô »¨¬»®²¿´ ¼»¬»½¬±®­

                      Ý±´´»½¬ ´¿®¹»óª±´«³» º®¿½¬·±²­ «­·²¹ ³«´¬·°´» ±«¬´»¬ ª¿´ª»­ ©¸·´» ¿´­±
                      ½±´´»½¬·²¹ ­³¿´´óª±´«³» º®¿½¬·±²­ «­·²¹ ¬¸» Þ·±Ú®¿½ º®¿½¬·±² ½±´´»½¬±® ±®
                      ÒÙÝ Ú®¿½¬·±² Ý±´´»½¬±®

                      ß«¬±³¿¬·½¿´´§ °®»°¿®» ¾«ºº»®­ «­·²¹ °®»°®±¹®¿³³»¼ ¾«ºº»® ¾´»²¼·²¹
                      °®±¬±½±´­

                      ß²¿´§¦» °«®·º·½¿¬·±² ®»­«´¬­ ¬¸®±«¹¸ ïó½´·½µ °»¿µ ·²¬»¹®¿¬·±²ô ¼»¬»®³·²»
                      °®±¬»·² ½±²½»²¬®¿¬·±²ô ¿²¼ ½¿´½«´¿¬» ½±´«³² °»®º±®³¿²½»

                      ß«¬±³¿¬» °«®·º·½¿¬·±² °®±¬±½±´ ±°¬·³·¦¿¬·±² «­·²¹ ¬¸» ­½±«¬·²¹ ©·¦¿®¼

                      Û¿­·´§ ´±½¿¬» º®¿½¬·±²­ ½±²¬¿·²·²¹ °»¿µ­ ±º ·²¬»®»­¬ ¿²¼ ª·»© ¬¸» °®±¬»·²
                      ½±²½»²¬®¿¬·±² ©·¬¸·² »¿½¸ º®¿½¬·±²


                                                                                ×²­¬®«³»²¬ Ù«·¼»    ¤   ïí
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 313 of 1041 PageID #:
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          ï   ¤   ×²¬®±¼«½¬·±²


                                 Û¨¬»²¼ ¬¸» °®»½±²º·¹«®»¼ ­§­¬»³­ ©·¬¸ ¿¼¼·¬·±²¿´ ª¿´ª»­ º±® ¾«ºº»®­ô
                                 ­¿³°´»­ô ¿²¼ ½±´«³²­

                                 Ñ®¹¿²·¦» ¬¸» ´±½¿¬·±² ±º ¬¸» ³±¼«´»­ ¬± ±°¬·³·¦» ­»°¿®¿¬·±² °»®º±®³¿²½»
                                 ¾¿­»¼ ±² ³»¬¸±¼ ­½¿´» ¿²¼ ½±³°´»¨·¬§ô ¿²¼ ¬± ³·²·³·¦» ¬¸» ­§­¬»³ ­©»°¬
                                 ª±´«³»

                                 Ó·²·³·¦» »®®±®­ ©¸»² ½±²²»½¬·²¹ ¬«¾·²¹ «­·²¹ ¬¸» Ð±·²¬ó¬±óÐ´«³¾ º»¿¬«®»
                                 ·² Ý¸®±³Ô¿¾ ­±º¬©¿®»


          Site Requirements

                         Power Considerations
                         Note: Ì¸» °±©»® ­«°°´§ ¬± ¬¸» ÒÙÝ ­§­¬»³ ³«­¬ ¾» ­¬¿¾´» ¿²¼ ©·¬¸·²
                         ­°»½·º·½¿¬·±²­ ¿¬ ¿´´ ¬·³»­ ¬± »²­«®» ±°¬·³¿´ ±°»®¿¬·±²ò Ì¸» °±©»® ½¿¾´»
                         ½±²²»½¬»¼ ¬± ¬¸» °±©»® ·²´»¬ °±®¬ ³«­¬ ¾» ®¿¬»¼ º±® é ¿³°­ ±® ³±®»ò

                         Ì¿¾´» ïò Ð±©»® ®»¯«·®»³»²¬­ º±® ¬¸» ÒÙÝ ­§­¬»³ ¿²¼ Ý¸®±³Ô¿¾
                          Ð¿®¿³»¬»®                            Î»¯«·®»³»²¬
                          Ó¿·²­ ·²°«¬ ª±´¬¿¹»                  ßÝ ïððîìð Êå ëðêð Ø¦
                          ÒÙÝ ³¿¨·³«³ °±©»® «­¿¹»              îððìðð ©¿¬¬­ô ¼»°»²¼»²¬ ±² ­§­¬»³
                                                               ½±²º·¹«®¿¬·±²
                          Ò«³¾»® ±º °±©»® ­±½µ»¬­              Ó·²·³«³ ±º ¬¸®»» °±©»® ­±½µ»¬­æ
                                                                  Ñ²» ­±½µ»¬ º±® ¬¸» ÒÙÝ ·²­¬®«³»²¬
                                                                  Ñ²» ­±½µ»¬ º±® ¬¸» ½±³°«¬»® ®«²²·²¹
                                                                  Ý¸®±³Ô¿¾
                                                                  Ñ²» ­±½µ»¬ º±® »¿½¸ º®¿½¬·±² ½±´´»½¬±® ·²
                                                                  «­»
                                                                   ß ­±½µ»¬ º±® ¿²§ ­«°°±®¬»¼ °»®·°¸»®¿´
                                                                  ·²­¬®«³»²¬ ¬¸¿¬ §±« ¿¬¬¿½¸ øº±® »¨¿³°´»ô
                                                                  ¬¸» Ýóçê ¿«¬±­¿³°´»® ±® ¿ ­»½±²¼
                                                                  Þ·±óÎ¿¼ º®¿½¬·±² ½±´´»½¬±®÷
                                                               Tip: Ì¸» ¬±«½¸ ­½®»»² ¼±»­ ²±¬
                                                               ®»¯«·®» ¿ ­»°¿®¿¬» °±©»® ­«°°´§ò
                          Ì§°» ±º °±©»® ­±½µ»¬­                ×ÛÝ ¬§°» ½±²²»½¬·±²­ô ¹®±«²¼»¼ ­±½µ»¬­



          ïì ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 314 of 1041 PageID #:
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                   î Ì¸» ÒÙÝ ×²­¬®«³»²¬

                  Ì¸» ÒÙÝ ·²­¬®«³»²¬ ­¸·°­ °®»¿­­»³¾´»¼ ©·¬¸ ¬¸» ½±³°±²»²¬­ ²»½»­­¿®§ ¬±
                  °»®º±®³ ¹®¿¼·»²¬ ­»°¿®¿¬·±²­ò Ì¸» ³±¼«´¿® ½±³°±²»²¬­ ­´·¼» ·²¬± ­´±¬­ ·² ¬¸»
                  ­§­¬»³ µ²±©² ¿­ ¾¿§­ò Í±³» ³±¼«´»­ º·¬ ·²¬± ­·²¹´»ó©·¼» ¾¿§­ ©¸·´» ±¬¸»®­ ®»¯«·®»
                  ¼±«¾´»ó©·¼» ¾¿§­ò Þ¿§­ ½¿² ¾» ½±²ª»®¬»¼ º®±³ ±²» ­·¦» ¬± ¬¸» ±¬¸»® ¾§ ¿¼¼·²¹ ±®
                  ®»³±ª·²¹ ¿ ½»²¬»® ¼·ª·¼»®ò

                  Û¿½¸ ³±¼«´» ¸¿­ ¿ «²·¯«» »´»½¬®±²·½ ×Ü ¬¸¿¬ »²¿¾´»­ ¬¸» ­§­¬»³ ¬± ®»½±¹²·¦» ·¬­
                  º«²½¬·±² ©¸»² ¬¸» ³±¼«´» ·­ °´¿½»¼ ·²¬± ¿ ¾¿§ò Ú±® »¨¿³°´»ô ¬¸» ­§­¬»³ ½¿²
                  ¼·­¬·²¹«·­¸ ¾»¬©»»² ¿ ­¿³°´» ·²¶»½¬ ª¿´ª» ³±¼«´» ¿²¼ ¿ ­¿³°´» ·²´»¬ ª¿´ª» ³±¼«´»
                  »ª»² ¬¸±«¹¸ ¬¸»§ »¿½¸ ±½½«°§ ¿ ­·²¹´»ó©·¼» ­´±¬ò

                  Ì¸» °±­·¬·±² ±º ¬¸» ³±¼«´» ±² ¬¸» ­§­¬»³ ½¿² ¾» ½¸¿²¹»¼ ¬± ±°¬·³·¦» ¬¸»
                  °´¿½»³»²¬ ¿²¼ ³·²·³·¦» ¬¸» ´»²¹¬¸ ±º ¬«¾·²¹ô ®»¼«½·²¹ ¬¸» ­§­¬»³ ­©»°¬ ª±´«³»ò
                  Ì¸» °¸§­·½¿´ ´±½¿¬·±² ±º ¿ ³±¼«´» ½¿² ¾» »¿­·´§ ·¼»²¬·º·»¼ ·² ¬¸» ±ª»®¿´´ º´±© ­½¸»³»
                  ®»¯«·®»¼ ¬± ®«² ¬¸» ¿°°´·½¿¬·±² ¬¸®±«¹¸ ¬¸» Ý¸®±³Ô¿¾ ­±º¬©¿®»ò Ð®·±® ¬± ­¬¿®¬·²¹ ¿
                  ®«²ô Ý¸®±³Ô¿¾ °»®º±®³­ ¿ ­§­¬»³ ½¸»½µ ¬± »²­«®» ¬¸¿¬ ¿´´ ¬¸» ®»¯«·®»¼ ³±¼«´»­ ¿®»
                  °¸§­·½¿´´§ °®»­»²¬ ±² ¬¸» ·²­¬®«³»²¬ò

                  Ì¸·­ ½¸¿°¬»® »¨°´¿·²­ ·² ¼»¬¿·´ ¬¸» ³±¼«´»­ ¬¸¿¬ ³¿µ» «° ¬¸» ÒÙÝ ·²­¬®«³»²¬ò




                                                                                 ×²­¬®«³»²¬ Ù«·¼»   ¤   ïç
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 315 of 1041 PageID #:
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          î   ¤   Ì¸» ÒÙÝ ×²­¬®«³»²¬


          The NGC Instrument Illustrated
                        Ì¸» ·´´«­¬®¿¬·±²­ ·² ¬¸·­ ­»½¬·±² ¼·­°´¿§ ¬¸» ³¿·² ½±³°±²»²¬­ ±º ¬¸»
                        ÒÙÝ Ü·­½±ª»® Ð®± ½¸®±³¿¬±¹®¿°¸§ ­§­¬»³æ

                            Ú®±²¬ Ê·»©

                            Þ¿½µ Ê·»©

                            Î·¹¸¬ Í·¼» Ê·»©

                            Ô»º¬ Í·¼» Ê·»©

                        Note: Ç±«® ­§­¬»³ ³·¹¸¬ ²±¬ ·²½´«¼» ¿´´ ¬¸» ³±¼«´»­ ­¸±©² ·² ¬¸»­»
                        ·´´«­¬®¿¬·±²­ò Ú±® ¿ ´·­¬ ±º ³±¼«´»­ ±² ¬¸» ÒÙÝ Ï«»­¬ô ÒÙÝ Í½±«¬ô ¿²¼
                        ÒÙÝ Ü·­½±ª»® ½¸®±³¿¬±¹®¿°¸§ ­§­¬»³­ô ­»» Ì¿¾´» ç ±² °¿¹» èéò




          îð ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 316 of 1041 PageID #:
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          î   ¤   Ì¸» ÒÙÝ ×²­¬®«³»²¬


                        Front View




          îî ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 317 of 1041 PageID #:
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                                                                        Ì¸» ÒÙÝ ×²­¬®«³»²¬ ×´´«­¬®¿¬»¼



                  ÔÛÙÛÒÜ
                  ï    Ì±«½¸ ­½®»»² ³±²·¬±®               î    Í¿³°´» °«³°
                  í    Í¿³°´» ·²´»¬ ª¿´ª»                 ì    Þ«ºº»® ¬®¿§
                  ë    Û³°¬§ ¾¿§ô ½±ª»®»¼                 ê    ÔÛÜ ¼·­°´¿§
                  é    Ó«´¬·ó©¿ª»´»²¹¬¸ ËÊñÊ·­ ¼»¬»½¬±®   è    Ý±²¼«½¬·ª·¬§ ³±²·¬±®
                  ç    Ñ«¬´»¬ ª¿´ª»                       ïð   °Ø ¼»¬»½¬±®
                  ïï   Ý±´«³² ¿²¼ °»®·°¸»®¿´ ³±«²¬        ïî   Ý±´«³²­
                  ïí   Ý±´«³² ¹®·°                        ïì   Ý±´«³²ó­©·¬½¸·²¹ ª¿´ª»
                  ïë   Þ«ºº»® ·²´»¬ Þ                     ïê   Ð»®·°¸»®¿´ °±®¬­
                  ïé   ËÍÞ °±®¬­ ¿²¼ ­±º¬ °±©»® ­©·¬½¸    ïè   Í§­¬»³ °«³° Þ
                  ïç   Ü®·° ¬®¿§                          îð   Ó·¨»®
                  îï   Þ«ºº»® ¾´»²¼·²¹ ª¿´ª»              îî   Í§­¬»³ °«³° ß
                  îí   Þ«ºº»® ·²´»¬ ß                     îì   ×²¶»½¬ ª¿´ª»
                  îë   Ì±«½¸ ­½®»»² ³±«²¬·²¹ ¿®³




                                                                              ×²­¬®«³»²¬ Ù«·¼»   ¤   îí
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 318 of 1041 PageID #:
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          î   ¤   Ì¸» ÒÙÝ ×²­¬®«³»²¬


                        Back View




                        ÔÛÙÛÒÜ
                         ï    Ý¿¾´» ½±²²»½¬±® °±®¬ñ¸¿²¼ ¹®·°   î     Ý¿¾´» ½±²²»½¬±® °±®¬
                         í    Ì±«½¸ ­½®»»² ¿®³                 ì     Ì±«½¸ ­½®»»² ½±²²»½¬±® ½¿¾´»
                         ë    Ý¿¾´» ½±²²»½¬±® °±®¬ñ¸¿²¼ ¹®·°   ê     ×²­¬®«³»²¬­ ­»®·¿´ ²«³¾»® ´¿¾»´
                         é    Ì±«½¸ ­½®»»² ½±²²»½¬±® °±®¬      è     Û¬¸»®²»¬ ½±²²»½¬±® °±®¬
                         ç    Ð±©»® ±«¬´»¬ °±®¬­               ïð    Ð±©»® ·²´»¬ °±®¬
                         ïï   Ú«­» ½±ª»®                       ïî    Ð±©»® ±²ñ±ºº ­©·¬½¸


          îì ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 319 of 1041 PageID #:
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                                                                     Ì¸» ÒÙÝ ×²­¬®«³»²¬ ×´´«­¬®¿¬»¼



                  Right Side View




                  ÔÛÙÛÒÜ
                  ï    Ü®¿·² ¸±´»                    î   Ð»®·°¸»®¿´ °±®¬
                  í    Ð»®·°¸»®¿´ °±®¬­              ì   ËÍÞ °±®¬­
                  ë    Í±º¬ °±©»® ­©·¬½¸             ê   Ü®·° ¬®¿§
                  é    Ì±«½¸ ­½®»»² ½¿¾´» ½±ª»®      è   ß·® ­»²­±® ³±¼«´»
                  ç    Ý±´«³² ¿²¼ °»®·°¸»®¿´ ³±«²¬




                                                                           ×²­¬®«³»²¬ Ù«·¼»   ¤   îë
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 320 of 1041 PageID #:
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          î   ¤   Ì¸» ÒÙÝ ×²­¬®«³»²¬


                        Left Side View




                        ÔÛÙÛÒÜ
                         ï    Þ«ºº»® ¬®¿§                     î      Ü®¿·² ¸±´»
                         í    Ì±«½¸ ­½®»»² ½¿¾´» ½±ª»®        ì      ËÍÞ °±®¬­
                         ë    Ð»®·°¸»®¿´ °±®¬                 ê      Ð»®·°¸»®¿´ °±®¬­
                         é    Ê»²¬­




          îê ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 321 of 1041 PageID #:
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                                                                            Ì¸» ÒÙÝ ×²­¬®«³»²¬ ×´´«­¬®¿¬»¼



                  Liquid Flow Path of the NGC Discover Pro System
                  ß¬ ­¬¿®¬«°ô Ý¸®±³Ô¿¾ ¼·­°´¿§­ ¿ ¼»º¿«´¬ º´«·¼·½ ­½¸»³» ·² ¬¸» Í§­¬»³ Ý±²¬®±´ ¬¿¾
                  ø¿­ ©»´´ ¿­ ·² ¬¸» Ó»¬¸±¼ Û¼·¬±® ¬¿¾ ¿²¼ ±² ¬¸» ¬±«½¸ ­½®»»²÷ò Ì¸» º´«·¼·½ ­½¸»³»
                  ¼»°·½¬­ ¬¸» °´«³¾·²¹ º´±© º±® ¬¸» ³±¼«´»­ò Ì¸» ·³¿¹» ¬¸¿¬ º±´´±©­ ¼·­°´¿§­ ¬¸»
                  °´«³¾·²¹ º´±© ±º ¬¸» ³±¼«´»­ ·² ¬¸» ÒÙÝ Ü·­½±ª»® Ð®± ­§­¬»³ ¼«®·²¹ ¿ ­¿³°´» ®«²ò
                  Ì¸» ³±¼«´»­ ·² ¬¸» º´«·¼·½ ­½¸»³» ¿®» ¼»­½®·¾»¼ ·² ¼»¬¿·´ ·² ¬¸» ­»½¬·±²­ ¬¸¿¬ º±´´±©ò

                  To view or modify module parameters during a manual run
                       Ý´·½µ ¬¸» ³±¼«´» ¬± ¿½½»­­ ·¬­ ¼·¿´±¹ ¾±¨ò

                  ß´¬»®²¿¬·ª»´§ô ­»´»½¬ ¬¸» ³±¼«´» ±² ¬¸» ¬±«½¸ ­½®»»² ¬± ¿½½»­­ ·¬­ ¼·¿´±¹ ¾±¨ò

                  Tip: Ú±® ³±®» ·²º±®³¿¬·±² ¿¾±«¬ «­·²¹ Ý¸®±³Ô¿¾ô ­»» ¬¸» ÒÙÝ
                  Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®» Ë­»® Ù«·¼»ò




                  ÔÛÙÛÒÜ
                  ï     Í§­¬»³ °«³°­ ß ¿²¼ Þ               î    Þ«ºº»® ·²´»¬ ª¿´ª»­ ß ¿²¼ Þ

                  í     Þ«ºº»® ¾´»²¼·²¹ ª¿´ª»              ì    Í¿³°´» °«³° ©·¬¸ °®»­­«®» ­»²­±®

                  ë     Í¿³°´» ·²´»¬ ª¿´ª»                 ê    Ó¿²«¿´ ·²¶»½¬ ­§®·²¹»

                  é     Í¿³°´» ·²¶»½¬ ª¿´ª»                è    É¿­¬» ø²±¬ °®±ª·¼»¼÷

                  ç     Í¿³°´» ´±±°                        ïð   Ý±´«³² ­©·¬½¸·²¹ ª¿´ª»

                  ïï    Ý±´«³² ø²±¬ °®±ª·¼»¼÷              ïî   Ó«´¬·ó©¿ª»´»²¹¬¸ ËÊñÊ·­ ¼»¬»½¬±®

                  ïí    Ý±²¼«½¬·ª·¬§ ³±²·¬±®               ïì   °Ø ª¿´ª»

                  ïë    Ñ«¬´»¬ ª¿´ª»                       ïê   Ú®¿½¬·±² ½±´´»½¬±® ø­»°¿®¿¬» ·²­¬®«³»²¬÷

                  ïé    É¿­¬» ø²±¬ °®±ª·¼»¼÷


                                                                                  ×²­¬®«³»²¬ Ù«·¼»    ¤    îé
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 322 of 1041 PageID #:
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          î   ¤   Ì¸» ÒÙÝ ×²­¬®«³»²¬


          Pumps
                        Ì¸» ÒÙÝ ­§­¬»³­ ½¿² ¸¿ª» «° ¬± ¬¸®»» ¸·¹¸ó°®»½·­·±² °«³°­æ ¬©± ­§­¬»³ ø±®
                        ¹®¿¼·»²¬÷ °«³°­ ø°«³° ß ¿²¼ °«³° Þ÷ ¿²¼ ±²» ­¿³°´» °«³°ò Ì¸» ­§­¬»³ °«³°­
                        ½¿² ½®»¿¬» ·­±½®¿¬·½ ±® ´·²»¿® ¹®¿¼·»²¬­ ¿¬ ¿ ®¿²¹» ±º °®»½·­»´§ ½±²¬®±´´»¼ º´±© ®¿¬»­
                        ¿²¼ °®»­­«®»­ò Ì¸» ­¿³°´» °«³° ½¿² ´±¿¼ ´¿®¹» ­¿³°´» ª±´«³»­ ±²¬± ¿ ½±´«³² ±®
                        º·´´ ´¿®¹» ­¿³°´» ´±±°­ò Ú´±© ®¿¬»­ ±² ¿´´ °«³°­ ½¿² ¾» ½±²¬®±´´»¼ ¬± ¿ª±·¼
                        ±ª»®°®»­­«®»ò




          îè ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 323 of 1041 PageID #:
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                                                                                                    Ð«³°­



                  System Pumps
                  Ì¸» ­§­¬»³ °«³°­ °»®º±®³ ·­±½®¿¬·½ ±® ¹®¿¼·»²¬ »´«¬·±² ¿¬ ¬¸» ­°»½·º·»¼ º´±© ®¿¬»­ò




                  ÔÛÙÛÒÜ
                  ï     Ð«³° º´±© ­¬¿¬«­ ÔÛÜ                î     Ð®·³·²¹ °±®¬
                  í     Ó±¼«´» ²¿³»                         ì     ÔÛÜ ­½®»»²
                  ë     Ð«®¹»ñ°¿«­» ¾«¬¬±²­                 ê     Ð«³° ±«¬´»¬ °±®¬
                  é     Ð«³° ¸»¿¼                           è     Ð«³° ·²´»¬ °±®¬




                                                                                 ×²­¬®«³»²¬ Ù«·¼»    ¤   îç
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 324 of 1041 PageID #:
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          î   ¤   Ì¸» ÒÙÝ ×²­¬®«³»²¬


                        Detailed Attributes
                        Ì¸» ÒÙÝ ­§­¬»³­ ·²½´«¼» ¬©± ­§­¬»³ °«³°­æ °«³° ß ø¬¸» ´»º¬ °«³°÷ ¿²¼ °«³° Þ
                        ø¬¸» ®·¹¸¬ °«³°÷ò Ì¸» ­§­¬»³ °«³°­ ¿®» ¿ª¿·´¿¾´» ·² ¬©± º´±© ®¿¬»­æ ïð ³´ñ³·² ø¬¸»
                        Úïð °«³°­÷ ¿²¼ ïðð ³´ñ³·² ø¬¸» Úïðð °«³°­÷ò

                        F10 Pump
                            Ú´±© ®¿¬» ¼»´·ª»®§æ ðòððïïð ³´ñ³·² ­°»½·º·»¼

                            Ñ°»®¿¬·²¹ °®»­­«®» ®¿²¹»æ ðíôêëð °­· øðîëòî ÓÐ¿÷

                            Ñ°»®¿¬·²¹ ª·­½±­·¬§ ®¿²¹»æ ðòíëïð ½Ð

                        F100 Pump
                            Ú´±© ®¿¬» ¼»´·ª»®§æ ðòðïïðð ³´ñ³·² ­°»½·º·»¼

                            Ñ°»®¿¬·²¹ °®»­­«®» ®¿²¹»æ ðïôìëð °­· øðïð ÓÐ¿÷

                            Ñ°»®¿¬·²¹ ª·­½±­·¬§ ®¿²¹»æ ðòíëïð ½Ð



                        System Pump LEDs
                        Û¿½¸ ­§­¬»³ °«³° ³±¼«´» ·­ º·¬¬»¼ ©·¬¸ ÔÛÜ­ò

                            Ù®»»² ÔÛÜ­ ·²¼·½¿¬» ¬¸» °«³° ·­ ·² «­»ò



                        How the System Pumps Function
                        Û¿½¸ ÒÙÝ ­§­¬»³ ­¸·°­ ©·¬¸ »·¬¸»® ¬©± Úïð °«³°­ ±® ¬©± Úïðð °«³°­ò Ì¸»
                        ®»½·°®±½¿¬·²¹ °·­¬±²­ ·² »¿½¸ °«³° ­§²½¸®±²·¦» ¬± ¼»´·ª»® ½±²¬·²«±«­ º´±© ©·¬¸ ´±©
                        °«´­¿¬·±²ò Ñ² ¬¸» ÒÙÝ Ï«»­¬ ­§­¬»³ ø©·¬¸±«¬ ¿ ¾«ºº»® ¾´»²¼·²¹ ª¿´ª»÷ô ¬¸» ­§­¬»³
                        °«³°­ ±°»®¿¬» ­«½¸ ¬¸¿¬ ¬¸» ­«³ ±º ¬¸» º´±© ®¿¬»­ ±º °«³° ß ¿²¼ °«³° Þ ·­ »¯«¿´
                        ¬± ¬¸» ³¿¨·³«³ ¼»´·ª»®§ ®¿¬»ò Ú±® »¨¿³°´»ô ·º ¬¸» º´±© ±º ¿² Úïð °«³° ß »¯«¿´­ ïð
                        ³´ñ³·²ô ¬¸»² ¬¸» ®¿¬» º±® ¬¸» Úïð °«³° Þ ³«­¬ »¯«¿´ ð ³´ñ³·²ò ×º ¬¸» ­§­¬»³ ·­ ­»¬ ¬±
                        ¼»´·ª»® ë ³´ñ³·² ©·¬¸ ¿ ¹®¿¼·»²¬ ³·¨¬«®» ±º ëðû Þô °«³° ß ¿²¼ °«³° Þ »¿½¸ ®«² ¿¬
                        îòë ³´ñ³·²ò



          íð ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
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                                                                                                     Ð«³°­



                  Û¿½¸ ­§­¬»³ °«³° ³±¼«´» ¸¿­ ¿² »³»®¹»²½§ Ð¿«­» ¾«¬¬±² ¿²¼ ¿ Ð«®¹» ¾«¬¬±²ò

                      Ð®»­­·²¹ ¬¸» »³»®¹»²½§ Ð¿«­» ¾«¬¬±² ±² »·¬¸»® ­§­¬»³ °«³° ­¬±°­ ¾±¬¸
                      °«³°­ò ×º ¿ ®«² ·­ ·² °®±¹®»­­ ©¸»² §±« °®»­­ Ð¿«­» ±² »·¬¸»® ­§­¬»³
                      °«³°ô ¾±¬¸ ­§­¬»³ °«³°­ ­¬±° ¿²¼ ¬¸» ®«² °¿«­»­ò

                      Ç±« ½¿² ®»­«³» ±® ½¿²½»´ ¬¸» ®«² ¬¸®±«¹¸ Ý¸®±³Ô¿¾ò ×º §±« ½¸±±­» ¬± ½¿²½»´
                      ¬¸» ®«²ô §±« ½¿² ­¿ª» ¬¸» ®«² ¼¿¬¿ «° ¬± ¬¸¿¬ °±·²¬ò

                      Ð®»­­·²¹ Ð«®¹» ±² ¿ ­§­¬»³ °«³° ®«²­ ¬¸¿¬ °«³° ¿¬ º«´´ ­°»»¼ô ®»°´¿½·²¹
                      ¿²§ ¿·® ·² ¬¸» ´·²»­ ©·¬¸ ¾«ºº»®ò Ð«®¹» ¿½¬·ª¿¬»­ °«®¹·²¹ º±® ¬¸» ¬«¾·²¹ ´·²»­
                      ¬¸¿¬ ¾»´±²¹ ¬± ¬¸¿¬ ­°»½·º·½ °«³°ò Ú±® ·²­¬¿²½»ô ©¸»² §±« °®»­­ Ð«®¹» ±²
                      ­§­¬»³ °«³° ßô °«³° ß ®«²­ ¿¬ ³¿¨·³«³ º´±© ®¿¬» ©¸·´» °«³° Þ
                      ¾»½±³»­ ·¼´»ò ×º §±« °®»­­ Ð«®¹» ±² °«³° Þ ©¸·´» °«³° ß ·­ °«®¹·²¹ô ¬¸»
                      °«®¹» ±² °«³° ß ­¬±°­ ¿²¼ ¬¸» °«®¹» ±² °«³° Þ ­¬¿®¬­ò Ì¸» Ð«®¹» ¾«¬¬±²
                      ·­ ¿ ¬±¹¹´»ò Ì± ­¬±° ¬¸» °«®¹»ô °®»­­ Ð«®¹» ±² ¬¸¿¬ ­§­¬»³ °«³° ¿¹¿·²ò

                      Note: Ì¸» Ð«®¹» ¾«¬¬±² ·­ ¼»¿½¬·ª¿¬»¼ ©¸»²æ

                           ß ®«² ·­ ·² °®±¹®»­­

                           ß²§ ±º ¬¸» ³±¼«´»­ ¿®» ·² ½¿´·¾®¿¬·±² ³±¼»

                           Ì¸» ¾«ºº»® ¾´»²¼·²¹ ª¿´ª» ·­ ·²½´«¼»¼ ·² ¬¸» º´«·¼·½ ­½¸»³»

                      Caution: Ì± ¿ª±·¼ ¼¿³¿¹·²¹ ¬¸» ½±´«³²ô ¿´©¿§­ »²­«®» ¬¸¿¬ ·¬ ·­ ±ºº´·²»
                      ©¸»² °«®¹·²¹ ¬¸» ­§­¬»³ò Í»¬ ¬¸» ·²¶»½¬ ª¿´ª» ¬± ©¿­¬»ô ±® ®»³±ª» ¬¸»
                      ½±´«³² º®±³ ¬¸» ­§­¬»³ ¿²¼ ®»°´¿½» ©·¬¸ ¿ «²·±² º·¬¬·²¹ò

                  Tip: Ç±« ½¿² °¿«­» ¬¸» ­§­¬»³ ¬¸®±«¹¸ Ý¸®±³Ô¿¾ «­·²¹ »·¬¸»® ¬¸» ¬±«½¸
                  ­½®»»² ±® ¬¸» ½±³°«¬»® ®«²²·²¹ Ý¸®±³Ô¿¾ øµ²±©² ·² ¬¸·­ ¼±½«³»²¬ ¿­ ¬¸»
                  Ý¸®±³Ô¿¾ ½±³°«¬»®÷ò Ç±« ½¿² ¿´­± ­»¬ ¬·³»¼ °«®¹·²¹ ±º ¾±¬¸ °«³°­ ¬¸®±«¹¸
                  Ý¸®±³Ô¿¾ô ©¸·½¸ ©·´´ ­»¬ ¬¸» ·²¶»½¬ ª¿´ª» ¬± É¿­¬» º±® ¿ ­»¬ ¿³±«²¬ ±º ¬·³»ò Ú±®
                  ³±®» ·²º±®³¿¬·±²ô ­»» ¬¸» ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾
                  Í±º¬©¿®» Ë­»® Ù«·¼»ò

                  Pump Priming Port
                  Ì¸» °«³° °®·³·²¹ °±®¬ ·²¬®±¼«½»­ º´«·¼ ·²¬±ô ¿²¼ ®»³±ª»­ ¿·® º®±³ô ¬¸» ·²´»¬ ¬«¾·²¹
                  ´·²» ¿²¼ ¬¸» °«³° ¸»¿¼ò


                                                                                  ×²­¬®«³»²¬ Ù«·¼»     ¤   íï
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          î   ¤   Ì¸» ÒÙÝ ×²­¬®«³»²¬


                        Piston Wash System
                        Ì¸» °«³°­ ±² ¬¸» ÒÙÝ ­§­¬»³ ¿«¬±³¿¬·½¿´´§ ®·²­» ¾»¸·²¼ ¬¸» °·­¬±² ©·¬¸ ¿
                        ½±²­¬¿²¬ ´±© º´±© ±º îðû »¬¸¿²±´ò Ì¸·­ °®±´±²¹­ ¬¸» ©±®µ·²¹ ´·º»¬·³» ±º ¬¸» ­»¿´ ¾§
                        µ»»°·²¹ ¬¸» ­»¿´ ©»¬¬»¼ ¿²¼ °®»ª»²¬·²¹ ­¿´¬ ½®§­¬¿´­ º®±³ ¼»°±­·¬·²¹ ±²¬± ¬¸»
                        °·­¬±²­ò

                        É¸»² ¬¸» °«³°­ ¿®» ®«²²·²¹ô ¬¸» °·­¬±²­ ¿²¼ ¬¸» ½¸»½µ ª¿´ª» ´±½¿¬»¼ ·² »¿½¸
                        ½¸¿³¾»® ¿«¬±³¿¬·½¿´´§ °«³° ¬¸» ®·²­» º´«·¼ô ©¸·½¸ ½·®½«´¿¬»­ ¬¸®±«¹¸ ¬¸» ­§­¬»³ò
                        Ì¸» ¬«¾» ¸±´¼»®­ ±² ¬¸» ­·¼» ±º ¬¸» ·²­¬®«³»²¬ ¸±´¼ ¬©± ½±²·½¿´ ®·²­·²¹ ­±´«¬·±²
                        ®»­»®ª±·®­ô ±²» º±® ¬¸» ­§­¬»³ °«³°­ ¿²¼ ±²» º±® ¬¸» ­¿³°´» °«³° ø·º °®»­»²¬÷ò Ì¸»
                        ·²´»¬ ¿²¼ ±«¬´»¬ ¬«¾·²¹ º±® ¬¸» ­§­¬»³ °«³°­ °·­¬±² ©¿­¸ ¸±«­·²¹ ·­ ·³³»®­»¼ ·²
                        ±²» ±º ¬¸» ®·²­·²¹ ­±´«¬·±² ®»­»®ª±·®­ò Ì¸» ·²´»¬ ¿²¼ ±«¬´»¬ ¬«¾·²¹ º±® ¬¸» ­¿³°´»
                        °«³° ·­ ·³³»®­»¼ ·² ¬¸» ­»½±²¼ ®·²­·²¹ ­±´«¬·±² ®»­»®ª±·®ò Ì¸» ¬«¾·²¹ ½±²²»½¬­ ¬±
                        ¬¸» ©¿­¸ ¸±«­·²¹ °±®¬­ ¿¬ ¬¸» ¾¿½µ ±º ¬¸» °«³° ¸»¿¼­ò

                        ×³°±®¬¿²¬æ Ý¸¿²¹» ¬¸» ®·²­» º´«·¼ ©»»µ´§ò Ð´¿½» ¬¸» ©¿­¸·²¹ ­§­¬»³ ®»­»®ª±·®
                        ¿¬ ¬¸» ­¿³» ¸»·¹¸¬ ±® ¿¾±ª» ¬¸» ´»ª»´ ±º ¬¸» °«³° ¸»¿¼­ ¬± ¿ª±·¼ ­·°¸±²·²¹ ±º
                        ¬¸» ­±´«¬·±² ¾¿½µ ¬± ¬¸» ®»­»®ª±·®ò Û²­«®» ¬¸¿¬ ¬¸» ·²´»¬ ¬«¾·²¹ ®»¿½¸»­ ¬¸» ª»®§
                        ¾±¬¬±³ ±º ¬¸» ®·²­·²¹ ­±´«¬·±² ®»­»®ª±·®ò




          íî ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
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          î   ¤   Ì¸» ÒÙÝ ×²­¬®«³»²¬


          Valves
                        ß´´ ÒÙÝ ­§­¬»³­ ·²½´«¼» ¿ ­¿³°´» ·²¶»½¬ ª¿´ª»ò Ç±«® ­§­¬»³ ³·¹¸¬ ¿´­± ·²½´«¼» ±²»
                        ±® ³±®» ±º ¬¸» º±´´±©·²¹ ª¿´ª»­æ

                            Þ«ºº»® ¾´»²¼·²¹ ª¿´ª»

                            Þ«ºº»® ·²´»¬ ª¿´ª»

                            Í¿³°´» ·²´»¬ ª¿´ª»

                            Ñ«¬´»¬ ª¿´ª»

                            Ý±´«³² ­©·¬½¸·²¹ ª¿´ª»

                        ß´´ ª¿´ª»­ ø»¨½»°¬ ¬¸» ¾«ºº»® ¾´»²¼·²¹ ª¿´ª»÷ ¿®» ³±¬±®·¦»¼ ®±¬¿®§ ª¿´ª»­ ©·¬¸ ¿
                        ²«³¾»® ±º ¼»º·²»¼ ·²´»¬ ¿²¼ ±«¬´»¬ °±®¬­ò ß­ ¬¸» ®±¬¿®§ ª¿´ª» ¬«®²­ô ¬¸» º´±© °¿¬¸ º±®
                        ¬¸» ª¿´ª» ½¸¿²¹»­ò Ì¸» ¿½¬·ª» °±®¬­ ¿®» ·¼»²¬·º·»¼ ¾§ ÔÛÜ­ò Ù®»»² ÔÛÜ­ ·²¼·½¿¬» ¬¸¿¬
                        ¬¸» º´±© ¬¸®±«¹¸ ¬¸» °±®¬ ·­ º®±³ ¬¸» ­§­¬»³ °«³°­ò Þ´«» ÔÛÜ­ ·²¼·½¿¬» ¬¸¿¬ ¬¸»
                        º´±© ·­ º®±³ ¬¸» ­¿³°´» °«³°ò Ì¸» °¿¬¬»®² ¿²¼ ´±½¿¬·±² ±º ¬¸» °±®¬­ ¼»¬»®³·²» ¬¸»
                        º´±© °¿¬¸ ¿²¼ º«²½¬·±² ±º »¿½¸ ¬§°» ±º ª¿´ª»ò

                        Tip: Þ·±óÎ¿¼ ®»½±³³»²¼­ ·²­»®¬·²¹ ¿ Ü»´®·² ±® Ì»º¦»´ ïñìîè º´¿¬ó¾±¬¬±³ °´«¹ô
                        ·²½´«¼»¼ ·² ¬¸» º·¬¬·²¹­ µ·¬ô ·²¬± «²«­»¼ ª¿´ª» °±®¬­ ¬± °®»ª»²¬ °¿®¬·½´»­ º®±³
                        »²¬»®·²¹ ¬¸» ª¿´ª»ò




          íê ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
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                                                                                                   Ê¿´ª»­



                  Sample Inject Valve
                  Ì¸» ­¿³°´» ·²¶»½¬ ª¿´ª» »²¿¾´»­ ¬¸» ­§­¬»³ ¬± ´±¿¼ ¿ ­°»½·º·½ô °®»¼»¬»®³·²»¼
                  ª±´«³» ±º ­¿³°´» ±²¬± ¿ ½±´«³²ò

                  É¸»² ¬¸» ­¿³°´» °«³° ·­ ·²­¬¿´´»¼ô ¬¸» ­¿³°´» ·²¶»½¬ ª¿´ª» »²¿¾´»­ ¬¸» ­§­¬»³ ¬±
                  »¿­·´§ ­©·¬½¸ ¾»¬©»»² ³¿²«¿´ ´±±° º·´´·²¹ô ¿«¬±³¿¬»¼ ´±±° º·´´·²¹ô ¿²¼ ¼·®»½¬ ­¿³°´»
                  ·²¶»½¬·±² ±²¬± ¿ ½±´«³² ©·¬¸±«¬ ®»°´«³¾·²¹ ¬¸» º´«·¼·½ ½±²²»½¬·±²­ò

                  Ç±« ½¿² «­» ¬¸» ­¿³°´» °«³° ¬± ´±¿¼ ­¿³°´» »·¬¸»® ¼·®»½¬´§ ±²¬± ¿ ½±´«³² ±® ·²¬± ¿
                  ­¿³°´» ´±±°ò




                  Detailed Attributes
                      Ó¿¨·³«³ ±°»®¿¬·²¹ °®»­­«®» ·­ íôêëð °­·




                                                                                ×²­¬®«³»²¬ Ù«·¼»   ¤   íé
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 329 of 1041 PageID #:
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          î   ¤   Ì¸» ÒÙÝ ×²­¬®«³»²¬


                        Ports on the Sample Inject Valve




                         Ð±®¬           Ú«²½¬·±²
                         ×²¶»½¬         Ó¿²«¿´´§ ´±¿¼ ­¿³°´» «­·²¹ ¿ ­§®·²¹»
                         Ý±´«³²         Ñ«¬´»¬ ¬± ¬±° ±º ½±´«³²
                         Ð«³°           ×²´»¬ º®±³ ¬¸» ­§­¬»³ °«³°
                         Ô±±° Û           ×²¶»½¬æ ×²´»¬ º±® ¾«ºº»®
                                          Ô±¿¼æ Ñ«¬´»¬ ¬± ©¿­¬»
                         É¿­¬» ï        Ñ«¬´»¬ ¬± ©¿­¬» øº®±³ ¬¸» ­¿³°´» °«³° ¿²¼ ­¿³°´» ´±±°÷
                         Í¿³°´» °«³°    ×²´»¬ º®±³ ¬¸» ­¿³°´» °«³°
                         Ô±±° Ú           ×²¶»½¬æ Ñ«¬´»¬ ¬± ½±´«³²
                                          Ô±¿¼æ ×²´»¬ º±® ¬¸» ­¿³°´»
                         É¿­¬» î        Ñ«¬´»¬ ¬± ©¿­¬» øº®±³ ¬¸» ­§­¬»³ °«³°÷




          íè ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
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                                                                                                   Ê¿´ª»­



                  Sample Inject Valve LEDs
                  Ì¸» ­¿³°´» ·²¶»½¬ ª¿´ª» ³±¼«´» ·­ º·¬¬»¼ ©·¬¸ ÔÛÜ­ò

                      Í±´·¼ ¹®»»² ÔÛÜ­ ·²¼·½¿¬» ¬¸» º´±© ·­ º®±³ ¬¸» ­§­¬»³ °«³°ò

                      Í±´·¼ ¾´«» ÔÛÜ­ ·²¼·½¿¬» ¬¸» º´±© ·­ º®±³ ¬¸» ­¿³°´» °«³°ò

                      Þ´·²µ·²¹ ¹®»»² ÔÛÜ­ ·²¼·½¿¬» ¬¸» ´·²» ¬± °´«³¾ «­·²¹ ¬¸» Ð±·²¬ó¬±óÐ´«³¾
                      º»¿¬«®»ò



                  How the Sample Inject Valve Works
                  Ì¸» ­¿³°´» ·²¶»½¬ ª¿´ª» »²¿¾´»­ ­¿³°´» ¬± ¾» ´±¿¼»¼ ±²¬± ¬¸» ½±´«³²ò Í»ª»®¿´
                  ­¿³°´» ¿°°´·½¿¬·±² ¬»½¸²·¯«»­ ¿®» ¿ª¿·´¿¾´»æ

                      Ì¸» ­¿³°´» ´±±° ½¿² ¾» ³¿²«¿´´§ º·´´»¼ ©·¬¸ ­¿³°´» «­·²¹ ¿ ­§®·²¹»
                      º±´´±©»¼ ¾§ ·²¶»½¬·±² ±²¬± ¿ ½±´«³² ¾§ ¬¸» ­§­¬»³ °«³°­

                      Ì¸» ­¿³°´» ´±±° ½¿² ¾» º·´´»¼ ©·¬¸ ­¿³°´» «­·²¹ ¬¸» ­¿³°´» °«³° ø·º
                      ·²­¬¿´´»¼÷ º±´´±©»¼ ¾§ ·²¶»½¬·±² ±²¬± ¿ ½±´«³² ¾§ ¬¸» ­§­¬»³ °«³°­

                      Í¿³°´» ½¿² ¾» ·²¶»½¬»¼ ¼·®»½¬´§ ±²¬± ¬¸» ½±´«³² «­·²¹ ¬¸» ­¿³°´» °«³° ø·º
                      ·²­¬¿´´»¼÷



                  Flow Paths of the Sample Inject Valve
                  ×² Ó¿²«¿´ ³±¼» øº®±³ ¬¸» Í§­¬»³ Ý±²¬®±´ ¬¿¾ ·² Ý¸®±³Ô¿¾÷ô §±« ½¿² ³¿²«¿´´§
                  ½¸¿²¹» ¬¸» º´±© °¿¬¸ ±º ¬¸» ­¿³°´» ·²¶»½¬ ª¿´ª» º®±³ ·¬­ ¼·¿´±¹ ¾±¨ò

                  Ì¸» º±´´±©·²¹ ·³¿¹»­ ­¸±© ¬¸» ¼·ºº»®»²¬ º´±© °¿¬¸­ ±º ¬¸» ­¿³°´» ·²¶»½¬ ª¿´ª»ò

                  ÔÛÙÛÒÜ
                           Ó¿²«¿´ ·²¶»½¬·±² º´±©
                           Í§­¬»³ °«³° º´±©
                           Í¿³°´» °«³° º´±©
                           Ò± º´±©


                                                                                ×²­¬®«³»²¬ Ù«·¼»   ¤   íç
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 331 of 1041 PageID #:
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          î   ¤   Ì¸» ÒÙÝ ×²­¬®«³»²¬


          Ê¿´ª» Ð±­·¬·±²                                             Û¨°´¿²¿¬·±²
          Manual Load Loop/System Pump to Column
                                                                       Ü·®»½¬­ ­§­¬»³ °«³° º´±© ¼·®»½¬´§
                                                                       ¬±©¿®¼ ¬¸» ½±´«³²
                                                                       ß´·¹²­ ¬¸» ­¿³°´» ´±±° ©·¬¸ ³¿²«¿´
                                                                       ·²¶»½¬·±² °±®¬ ­± ¬¸¿¬ ­¿³°´» ½¿²
                                                                       ¾» ³¿²«¿´´§ º·´´»¼ ·²¬± ¬¸» ´±±°
                                                                       «­·²¹ ¿ ­§®·²¹»ò Û¨½»­­ ­¿³°´»
                                                                       ¹±»­ ±«¬ ©¿­¬» °±®¬ øÉï÷
                                                                       Ý¸®±³¿¬±¹®¿³ ¨ó¿¨·­ ¾¿­»¼ ±²
                                                                       ­§­¬»³ °«³° º´±© ®¿¬»




          System Pump Inject Loop/Sample Pump Waste
                                                                       Ü·®»½¬­ ­§­¬»³ °«³° º´±© ¬¸®±«¹¸
                                                                       ¬¸» ­¿³°´» ´±±° ¬± ´±¿¼ ¬¸» ­¿³°´»
                                                                       º®±³ ¬¸» ´±±° ±²¬± ¬¸» ½±´«³²
                                                                       Ü·®»½¬­ ­¿³°´» °«³° º´±© ¬± ©¿­¬»
                                                                       øÉî÷
                                                                       Ý¸®±³¿¬±¹®¿³ ¨ó¿¨·­ ¾¿­»¼ ±²
                                                                       ­§­¬»³ °«³° º´±© ®¿¬»




          ìð ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 332 of 1041 PageID #:
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                                                                                           Ê¿´ª»­




          Ê¿´ª» Ð±­·¬·±²                                Û¨°´¿²¿¬·±²
          Sample Pump Direct Inject/System Pump Waste
                                                          Ü·®»½¬­ ­§­¬»³ °«³° º´±© ¬± ©¿­¬»
                                                          øÉî÷
                                                          Ü·®»½¬­ ­¿³°´» °«³° º´±© ¼·®»½¬´§
                                                          ±²¬± ¬¸» ½±´«³² ¬± ´±¿¼ ´¿®¹»
                                                          ª±´«³»­ ±º ­¿³°´»
                                                          Ý¸®±³¿¬±¹®¿³ ¨ó¿¨·­ ¾¿­»¼ ±²
                                                          ­¿³°´» °«³° º´±© ®¿¬»




          Sample Pump Load Loop/System Pump to Column
                                                          Ü·®»½¬­ ­§­¬»³ °«³° º´±© ¼·®»½¬´§
                                                          ±²¬± ¬¸» ½±´«³²
                                                          Ü·®»½¬­ ­¿³°´» °«³° º´±© ·²¬± ¬¸»
                                                          ´±±° ¬± ´±¿¼ ¬¸» ´±±° ©·¬¸ ­¿³°´»ò
                                                          Û¨½»­­ ­¿³°´» º´±©­ ±«¬ ¬¸®±«¹¸
                                                          ©¿­¬» °±®¬ øÉï÷
                                                          Ý¸®±³¿¬±¹®¿³ ¨ó¿¨·­ ¾¿­»¼ ±²
                                                          ­§­¬»³ °«³° º´±© ®¿¬»




                                                                        ×²­¬®«³»²¬ Ù«·¼»   ¤   ìï
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                                                                                             Ü»¬»½¬±®­



                  Mixer LEDs
                  Ì¸» ³·¨»® ³±¼«´» ·­ º·¬¬»¼ ©·¬¸ ÔÛÜ­ò

                      ß ´»º¬ ¹®»»² ÔÛÜ ·²¼·½¿¬»­ ¬¸» º´±© ·­ º®±³ ­§­¬»³ °«³° ßò

                      ß ®·¹¸¬ ¹®»»² ÔÛÜ ·²¼·½¿¬»­ ¬¸» º´±© ·­ º®±³ ­§­¬»³ °«³° Þò

                      Þ±¬¸ ÔÛÜ­ ´·¹¸¬ ©¸»² ¾±¬¸ °«³°­ ¿®» ®«²²·²¹ò

                      Þ´·²µ·²¹ ¹®»»² ÔÛÜ­ ·²¼·½¿¬» ¬¸» ´·²» ¬± °´«³¾ «­·²¹ ¬¸» Ð±·²¬ó¬±óÐ´«³¾
                      º»¿¬«®»ò


          Detectors
                  ß´´ ÒÙÝ ­§­¬»³­ ·²½´«¼» ¿ ¼»¬»½¬±® ³±¼«´» ¬¸¿¬ ½±²¬¿·²­ ¿ ½±²¼«½¬·ª·¬§ ³±²·¬±®
                  ¿²¼ »·¬¸»® ¿ ­·²¹´»ó©¿ª»´»²¹¬¸ ËÊ ¼»¬»½¬±® ±® ¿ ³«´¬·ó©¿ª»´»²¹¬¸ ËÊñÊ·­ ¼»¬»½¬±®ò
                  Ì¸» ­·²¹´»ó©¿ª»´»²¹¬¸ ËÊ ¼»¬»½¬±® ¿²¼ ½±²¼«½¬·ª·¬§ ³±¼«´» ½¿² ¾» ®»°´¿½»¼ ©·¬¸ ¿
                  ³«´¬·ó©¿ª»´»²¹¬¸ ËÊñÊ·­ ¼»¬»½¬±® ¿²¼ ½±²¼«½¬·ª·¬§ ³±¼«´» ¿²¼ ª·½» ª»®­¿ò Í±³»
                  ½±²º·¹«®¿¬·±²­ ·²½´«¼» ¿ °Ø ¼»¬»½¬±® ³±¼«´»ò Ì¸» °Ø ¼»¬»½¬±® ³±¼«´» ½¿² ¾»
                  ¿¼¼»¼ ¿­ ¿² «°¹®¿¼» ¬± ­§­¬»³­ ¬¸¿¬ ¼± ²±¬ ±ºº»® ·¬ ¿­ ¿ ­¬¿²¼¿®¼ ³±¼«´»ò


                  UV Detectors and Conductivity Monitor
                  Ì¸» ËÊ ¼»¬»½¬±®­ ³»¿­«®» ¬¸» ËÊ ¿¾­±®¾¿²½» ±º ¾·±³±´»½«´»­ ¿­ ¬¸»§ »´«¬»
                  ¬¸®±«¹¸ ¬¸» ½±´«³²ò Ì¸» ½±²¼«½¬·ª·¬§ ³±²·¬±® ³»¿­«®»­ ¬¸» ·±²·½ ­¬®»²¹¬¸ ø­¿´¬
                  ½±²½»²¬®¿¬·±²÷ ±º ¾«ºº»®­ò




                                                                               ×²­¬®«³»²¬ Ù«·¼»    ¤   êë
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 334 of 1041 PageID #:
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          î   ¤   Ì¸» ÒÙÝ ×²­¬®«³»²¬


                        Single-Wavelength UV Detector and Conductivity Monitor




                        Multi-Wavelength UV Detector and Conductivity Monitor




          êê ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 335 of 1041 PageID #:
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                                                                                             Ü»¬»½¬±®­



                  Single-Wavelength UV Detector




                  ÔÛÙÛÒÜ
                  ï    Ý±²¼«½¬·ª·¬§ ³±²·¬±®           î    ÔÛÜ ¼·­°´¿§
                  í    ËÊ º´±© ½»´´                   ì    ËÊ ¼»¬»½¬±® ¸±«­·²¹
                  ë    Ð±·²¬ó¬±óÐ´«³¾ ·²¼·½¿¬±®




                  Detailed Attributes
                      Ì©± ·²¬»¹®¿¬»¼ ÔÛÜ ËÊ ¾«´¾­

                      ÔÛÜ ±°»®¿¬·²¹ «­¿¹»æ ¿°°®±¨·³¿¬»´§ ëôððð ¸±«®­

                      Note: ×º ¬¸» ®»º»®»²½» ±«¬°«¬ ·­ ¾»´±© ðòç ª±´¬­ §±« ³·¹¸¬ ²»»¼ ¬± ®»°´¿½»
                      ¬¸» ÔÛÜ ¾«´¾­ ¼»°»²¼·²¹ ±² ¬¸» ®»¯«·®»³»²¬­ ±º ¬¸» »¨°»®·³»²¬ò

                      Ú±® ·²º±®³¿¬·±² ¿¾±«¬ ½¸¿²¹·²¹ ¬¸» ÔÛÜ ¾«´¾­ô ­»» Î»°´¿½·²¹ ¬¸» Í·²¹´»ó
                      É¿ª»´»²¹¬¸ ËÊ Ü»¬»½¬±® ÔÛÜ ±² °¿¹» îðéò




                                                                               ×²­¬®«³»²¬ Ù«·¼»    ¤   êé
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 336 of 1041 PageID #:
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          î   ¤   Ì¸» ÒÙÝ ×²­¬®«³»²¬


                            Ó±²·¬±®­ ËÊ ¿¾­±®¾¿²½» ±²» ©¿ª»´»²¹¬¸ ¿¬ ¿ ¬·³»

                                 îëë ²³

                                 îèð ²³ ø¼»º¿«´¬÷

                            Tip: Ë­» Ý¸®±³Ô¿¾ ¬± ½¸¿²¹» ¬¸» ¿¾­±®¾¿²½» ©¿ª»´»²¹¬¸ ª¿´«»­ò Ú±®
                            ³±®» ·²º±®³¿¬·±²ô ­»» ¬¸» ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾
                            Í±º¬©¿®» Ë­»® Ù«·¼»ò

                            ËÊ ¿¾­±®¾¿²½» ®¿²¹»æ ðíôððð ³ßË

                            ËÊ ´·²»¿®·¬§æ oëû

                            Ì¸®»» ·²¬»®½¸¿²¹»¿¾´» º´±© ½»´´­ ©·¬¸ °¿¬¸ ´»²¹¬¸­ ±º î ³³ô ë ³³ ø¼»º¿«´¬÷ô
                            ¿²¼ ïð ³³å ­»» Ì¿¾´» ì ±² °¿¹» éð º±® ­°»½·º·½ ·²º±®³¿¬·±²

                            Note: Ë­» ¬¸» °®»°¿®¿¬·ª» î ³³ º´±© ½»´´ ¬± ³»¿­«®» ¸·¹¸ ½±²½»²¬®¿¬·±²­
                            ±º °®±¬»·²ò Ì¸» °¿¬¸ ´»²¹¬¸­ ±º ¬¸» ¿²¿´§¬·½¿´ ë ³³ ¿²¼ ïð ³³ º´±© ½»´´­
                            ¿®» ´±²¹»® ¿²¼ ¿®» ¿°°®±°®·¿¬» º±® ³»¿­«®·²¹ ´±©»® ½±²½»²¬®¿¬·±²­ ±º
                            °®±¬»·²ò

                            Ú±® ·²º±®³¿¬·±² ¿¾±«¬ ½¸¿²¹·²¹ ¬¸» º´±© ½»´´­ô ­»» Î»°´¿½·²¹ ¬¸» ËÊ Ú´±© Ý»´´
                            ±² °¿¹» îðîò




          êè ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 337 of 1041 PageID #:
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                                                                                              Ü»¬»½¬±®­



                  Multi-Wavelength UV/Vis Detector




                  ÔÛÙÛÒÜ
                  ï     Ý±²¼«½¬·ª·¬§ ³±²·¬±®               î     ËÊñÊ·­ ¼»¬»½¬±® º´±© ½»´´
                  í     ËÊñÊ·­ ¼»¬»½¬±® ¸±«­·²¹




                  Detailed Attributes
                      Ý±²¬¿·²­ ±²» ¬«²¹­¬»² ¿²¼ ±²» ¼»«¬»®·«³ ´¿³°

                      Ô¿³° ±°»®¿¬·²¹ «­¿¹»æ ¿°°®±¨·³¿¬»´§ îôððð ¸±«®­ º±® ¬¸» ¬«²¹­¬»² ¾«´¾ ¿­
                      ©»´´ ¿­ ¬¸» ¼»«¬»®·«³ ¾«´¾

                      Ú±® ·²º±®³¿¬·±² ¿¾±«¬ ½¸¿²¹·²¹ ¬¸» ËÊ ´¿³°­ô ­»» Î»°´¿½·²¹ ¬¸» Ó«´¬·ó
                      É¿ª»´»²¹¬¸ ËÊñÊ·­ Ü»¬»½¬±® Ô¿³°­ ±² °¿¹» îïëò

                      Tip: Ì± ½±²­»®ª» ´¿³° ´·º»ô ·² Ó¿²«¿´ ³±¼» ±°»² ¬¸» Ó«´¬· É¿ª» Ü»¬»½¬±®
                      ¼·¿´±¹ ¾±¨ ¿²¼ ¬«®² ±ºº ¬¸» ËÊñÊ·­ ´¿³°­ ©¸»² ¬¸» ·²­¬®«³»²¬ ·­ ²±¬ ·² «­»ò




                                                                                ×²­¬®«³»²¬ Ù«·¼»   ¤   êç
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 338 of 1041 PageID #:
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          î   ¤   Ì¸» ÒÙÝ ×²­¬®«³»²¬


                               Ó±²·¬±®­ «° ¬± º±«® ©¿ª»´»²¹¬¸­ ·² ¬¸» ËÊñÊ·­ ®¿²¹» ±º ïçðèðð ²³

                               Tip: Ë­» Ý¸®±³Ô¿¾ ¬± ½¸¿²¹» ¬¸» ¿¾­±®¾¿²½» ©¿ª»´»²¹¬¸ ª¿´«»­ò Ú±®
                               ³±®» ·²º±®³¿¬·±²ô ­»» ¬¸» ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾
                               Í±º¬©¿®» Ë­»® Ù«·¼»ò

                               ËÊ ¿¾­±®¾¿²½» ®¿²¹»æ ðíôððð ³ßË

                               ËÊ ´·²»¿®·¬§æ oëû

                               Ì¸®»» ·²¬»®½¸¿²¹»¿¾´» º´±© ½»´´­ ©·¬¸ °¿¬¸ ´»²¹¬¸­ ±º î ³³ô ë ³³ ø¼»º¿«´¬÷ô
                               ¿²¼ ïð ³³å ­»» Ì¿¾´» ì º±® ­°»½·º·½ ·²º±®³¿¬·±²

                               Ú±® ·²º±®³¿¬·±² ¿¾±«¬ ½¸¿²¹·²¹ ¬¸» º´±© ½»´´­ô ­»» Î»°´¿½·²¹ ¬¸» ËÊ Ú´±© Ý»´´
                               ±² °¿¹» îðîò

                               Note: Ë­» ¬¸» °®»°¿®¿¬·ª» î ³³ º´±© ½»´´ ¬± ³»¿­«®» ¸·¹¸ ½±²½»²¬®¿¬·±²­
                               ±º °®±¬»·²ò Ì¸» °¿¬¸ ´»²¹¬¸­ ±º ¬¸» ¿²¿´§¬·½¿´ ë ³³ ¿²¼ ïð ³³ º´±© ½»´´­
                               ¿®» ´±²¹»® ¿²¼ ¿®» ¿°°®±°®·¿¬» º±® ³»¿­«®·²¹ ´±©»® ½±²½»²¬®¿¬·±²­ ±º
                               °®±¬»·²ò

                        Ì¿¾´» ìò Ð®»­­«®» ´·³·¬­ ±º ËÊ ¼»¬»½¬±® º´±© ½»´´­
                         Ð«³° Í·¦»                  Ð®»­­«®»            î ³³         ë ³³        ïð ³³
                         Úïð                        ëðð °­·

                         Úïðð                       ëðð °­·


                        Conductivity Detector
                        Detailed Attributes
                               Ú¿½¬±®§ ­°»½·º·»¼ ®¿²¹»æ ðòðïçççòç ³Íñ½³

                               Ê¿´·¼¿¬»¼ ©±®µ·²¹ ®¿²¹»æ ðòðïíðð ³Íñ½³

                               ß½½«®¿½§æ oîû

                               Ú´±© ½»´´ ª±´«³»æ ê k´

                               ×²¬»¹®¿¬»¼ ¬»³°»®¿¬«®» ­»²­±® ®¿²¹»æ ìïððpÝ



          éð ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 339 of 1041 PageID #:
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                                                                                             Ü»¬»½¬±®­



                  How They Work
                  UV Detectors
                  Ý¸®±³Ô¿¾ ®»½±¹²·¦»­ ¬¸» ½±²²»½¬»¼ ±°¬·½ ³±¼«´» ø¬¸¿¬ ·­ô »·¬¸»® ¬¸»
                  ­·²¹´»ó©¿ª»´»²¹¬¸ ËÊ ±® ³«´¬·ó©¿ª»´»²¹¬¸ ËÊñÊ·­ ³±¼«´»÷ò Ì¸» ´¿³°­ ¬«®² ±² ©¸»²
                  ¬¸» ÒÙÝ ·²­¬®«³»²¬ °±©»®­ «°ò ß¬ ¬¸» ­¬¿®¬ ±º ¬¸» ³»¬¸±¼ ®«²ô ¬¸» ­§­¬»³
                  ¼»¬»®³·²»­ ·º ¬¸» ³±²·¬±® ·­ ®»¿¼§ò

                  Ì¸» ©¿®³«° ¬·³» º±® ¬¸» ÔÛÜ ´¿³° ·² ¬¸» ­·²¹´»ó©¿ª»´»²¹¬¸ ¼»¬»½¬±® ·­ ²»¹´·¹·¾´»ò
                  Ì¸» ¬«²¹­¬»² ¿²¼ ¼»«¬»®·«³ ´¿³°­ ·² ¬¸» ³«´¬·ó©¿ª»´»²¹¬¸ ¼»¬»½¬±® ®»¯«·®» êðçð
                  ³·² ¬± ©¿®³ «°ò

                  Note: Ú±® ³±­¬ ¿½½«®¿¬» ¼¿¬¿ ©·¬¸ ¬¸» ¬«²¹­¬»² ¿²¼ ¼»«¬»®·«³ ´¿³°­ô ¿´´±© ¿
                  ³·²·³«³ ±º êð ³·² ©¿®³«° ¬·³»ò

                  Conductivity Monitor
                  Ì¸» ¬»³°»®¿¬«®»ó½±³°»²­¿¬»¼ ½±²¼«½¬·ª·¬§ ³±²·¬±® ½¿´½«´¿¬»­ ¬¸» ½±²¼«½¬·ª·¬§ ±º
                  ¬¸» ­¿³°´» ¿²¼ ¾«ºº»® ³·¨¬«®» º´±©·²¹ ¬¸®±«¹¸ ·¬­ º´±© ½»´´ò Ì¸» ­¬®±²¹»® ¬¸» ­¿´¬
                  ½±²½»²¬®¿¬·±²ô ¬¸» ¸·¹¸»® ¬¸» ½±²¼«½¬·ª·¬§ ­·¹²¿´ò

                  Í·²½» ½±²¼«½¬·ª·¬§ ±º ¿ ­±´«¬·±² ½¿² ª¿®§ ©·¬¸ ½¸¿²¹»­ ·² ¬»³°»®¿¬«®»ô ¬»³°»®¿¬«®»
                  ª¿®·¿¬·±²­ ±º ¬¸» ­¿³°´» ¿®» ³»¿­«®»¼ ¾§ ¬¸» ¬»³°»®¿¬«®» ­»²­±® ´±½¿¬»¼ ·² ¬¸»
                  ½±²¼«½¬·ª·¬§ º´±© ½»´´ò ß ¬»³°»®¿¬«®» ½±³°»²­¿¬·±² º¿½¬±® ø­»¬ ·² Ý¸®±³Ô¿¾÷ ½¿² ¾»
                  «­»¼ ¬± ½±³°¿®» ¬¸» ½±²¼«½¬·ª·¬§ ±º ¬¸» ­¿³°´» ·² ®»´¿¬·±² ¬± ¬¸» ½±®®»­°±²¼·²¹
                  ½±²¼«½¬¿²½» ¿¬ ®±±³ ¬»³°»®¿¬«®» ±® ¿ «­»®ó¼»º·²»¼ ®»º»®»²½» ¬»³°»®¿¬«®»ò




                                                                               ×²­¬®«³»²¬ Ù«·¼»   ¤   éï
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 340 of 1041 PageID #:
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                                                                                               Ü»¬»½¬±®­



                  pH Detector
                  Ì¸» °Ø ¼»¬»½¬±® ·²½´«¼»­ ¿² ·²¬»¹®¿¬»¼ º´±© ½»´´ ·² ©¸·½¸ ¬± ·²­»®¬ ¿ °Ø »´»½¬®±¼»ò
                  Ì¸» °Ø ±º ¬¸» ­±´«¬·±² º´±©·²¹ ¿½®±­­ ¬¸» °Ø »´»½¬®±¼» ·­ ³»¿­«®»¼ ·² ®»¿´ ¬·³»ò Ì¸·­
                  ·­ ª»®§ «­»º«´ º±® ¿°°´·½¿¬·±²­ ·² ©¸·½¸ µ²±©´»¼¹» ±º ¬¸» ¾«ºº»® °Ø ·­ ½®·¬·½¿´ º±® ¿
                  ­«½½»­­º«´ ­»°¿®¿¬·±² ¿²¼ñ±® ¬¸» ­¬¿¾·´·¬§ ±º ¬¸» ­¿³°´» øº±® »¨¿³°´»ô ·² ¿²¬·¾±¼§
                  °«®·º·½¿¬·±²­÷ò Ì¸» °Ø ½¿² ¾» ¬»³°»®¿¬«®» ½±³°»²­¿¬»¼ò

                  Ì¸» °Ø ª¿´ª» ¼·®»½¬­ ¬¸» º´±© ¬± »·¬¸»®

                      °Ø  º´±© °¿¬¸ ·­ ·²´·²» ©·¬¸ ¬¸» °Ø °®±¾»ô ±®

                      Þ§°¿­­  º´±© °¿¬¸ ¾§°¿­­»­ ¬¸» »´»½¬®±¼»

                  Note: ×² Ý¿´·¾®¿¬» ³±¼»ô ¬¸» °Ø »´»½¬®±¼» ·­ ±ºº´·²» º±® ½¿´·¾®¿¬·±²ò




                                                                                 ×²­¬®«³»²¬ Ù«·¼»   ¤   éí
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 341 of 1041 PageID #:
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          î   ¤   Ì¸» ÒÙÝ ×²­¬®«³»²¬


                        Detailed Attributes
                            Ú´±© ½»´´ ª±´«³»æ çð k´ øîðð k´ ·²½´«¼·²¹ ·²¬»®²¿´ ª¿´ª» °¿­­¿¹»©¿§­÷

                            Û´»½¬®±¼» ³¿¨·³«³ ±°»®¿¬·²¹ °®»­­«®»æ éð °­·

                            °Ø ®»¿¼·²¹ ®¿²¹»æ ðïì

                            ß½½«®¿½§æ ðòï °Ø «²·¬­ º®±³ îïî

                            Í´±°»æ èðïîðû

                            Ñºº­»¬æ oêð ³Ê

                            Note: Í¬±®» ¬¸» »´»½¬®±¼» ·² ¿ °Ø »´»½¬®±¼» ­¬±®¿¹» ¾«ºº»® ±® °Ø é ­¬¿²¼¿®¼
                            ¾«ºº»®ò Ú±® ·²º±®³¿¬·±² ¿¾±«¬ ½¸¿²¹·²¹ ¬¸» °Ø °®±¾»ô ­»» Î»°´¿½·²¹ ¬¸» °Ø
                            Ð®±¾» ±² °¿¹» îîìò

                        Ports on the pH Detector




          éì ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 342 of 1041 PageID #:
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                                                                                                  Ü»¬»½¬±®­




                  Ð±®¬              Ü»­½®·°¬·±²
                  ×²                ×²´»¬ º®±³ ¬¸» ½±²¼«½¬·ª·¬§ ³±²·¬±®
                  Ñ«¬               Ñ«¬´»¬ ¬± ¬¸» º®¿½¬·±² ½±´´»½¬±®
                  Ý¿´ ×²            Ý¿´·¾®¿¬·±² ·²´»¬ ®»­»®ª»¼ º±® ½¿´·¾®¿¬·²¹ ¬¸» °Ø ª¿´ª»
                  Ý¿´ Ñ«¬           Ñ«¬´»¬ ¬± ½¿´·¾®¿¬·±² ©¿­¬»




                  How the pH Detector Works
                  Ì¸» ·²¬»¹®¿¬»¼ °Ø »´»½¬®±¼» »²¿¾´»­ ·²´·²» °Ø ³±²·¬±®·²¹ ¼«®·²¹ ¿ ®«²ò Ý¸®±³Ô¿¾
                  ½¿´½«´¿¬»­ ¿²¼ ¼·­°´¿§­ ¬»³°»®¿¬«®»ó½±³°»²­¿¬»¼ °Ø ª¿´«»­ò

                  Ç±« ½¿² °®±¹®¿³ ¬¸» °±­·¬·±² ±º ¬¸» °Ø ª¿´ª» ·² Ý¸®±³Ô¿¾ ¬± ¼·®»½¬ ¬¸» º´±© ¬± ¬¸»
                  °Ø »´»½¬®±¼»ô ±® ¬± ¾§°¿­­ ¬¸» »´»½¬®±¼»ò Ì¸» ­»½¬·±² Ý¸¿²¹·²¹ ¬¸» Ú´±© Ð¿¬¸­ ±º
                  ¬¸» °Ø Ê¿´ª» ±² °¿¹» éê »¨°´¿·²­ ¸±© ¬± ½¸¿²¹» ¬¸» º´±© °¿¬¸ò

                  Ì¸» °Ø ª¿´ª» ¸¿­ ¿² ·²¬»¹®¿¬»¼ ½¿´·¾®¿¬·±² °±®¬ ¬± ½¿´·¾®¿¬» ¬¸» °®±¾» ±ºº´·²» ©·¬¸±«¬
                  ¼·­½±²²»½¬·²¹ ¬¸» ³±¼«´» º®±³ ¬¸» ­§­¬»³ò Ý¿´·¾®¿¬·±² ·­ °»®º±®³»¼ «­·²¹
                  ½¿´·¾®¿¬·±² ­¬¿²¼¿®¼­ ·² Ý¸®±³Ô¿¾ò Ú±® ³±®» ·²º±®³¿¬·±²ô ­»» Ý¿´·¾®¿¬·²¹ °Ø ±²
                  °¿¹» ïëðò




                                                                                    ×²­¬®«³»²¬ Ù«·¼»   ¤   éë
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 343 of 1041 PageID #:
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          î   ¤   Ì¸» ÒÙÝ ×²­¬®«³»²¬


                        Changing the Flow Paths of the pH Valve
                        Ü«®·²¹ ¿ ³¿²«¿´ ®«²ô §±« ½¿² ½¸¿²¹» ¬¸» º´±© °¿¬¸ ±º ¬¸» °Ø ª¿´ª» ¾§ ¿½½»­­·²¹ ·¬­
                        ¼·¿´±¹ ¾±¨ ·² Ý¸®±³Ô¿¾ò

                        To change the flow path of the pH valve
                        ïò   Ì±«½¸ ±® ½´·½µ ¬¸» °Ø Ê¿´ª» ³±¼«´» ·² ¬¸» º´«·¼·½ ­½¸»³» ¬± ¿½½»­­ ·¬­ ¼·¿´±¹
                             ¾±¨ò




                        îò   ×² ¬¸» °Ø Ê¿´ª» ¼·¿´±¹ ¾±¨ô ­»´»½¬ ¬¸» ¿°°®±°®·¿¬» ½¸±·½»æ

                                 °Ø  ¬¸» º´±© °¿¬¸ ·­ ·²´·²» ©·¬¸ ¬¸» °Ø °®±¾»

                                 Þ§°¿­­  ¬¸» º´±© °¿¬¸ ¾§°¿­­»­ ¬¸» °Ø °®±¾»




          éê ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 344 of 1041 PageID #:
                                     8505




                                                                       Ì«¾·²¹ô Ô±±°­ô Ý±´«³²­ô ¿²¼ Ú·¬¬·²¹­




          Tubing, Loops, Columns, and Fittings
                      Ì¸·­ ­»½¬·±² ´·­¬­ ¬¸» ¿½½»­­±®·»­ ­«°°±®¬»¼ º±® «­» ©·¬¸ ¬¸» ÒÙÝ ­§­¬»³­ò


                      Tubing
          Ì¿¾´» ëò ÒÙÝ ­§­¬»³ ¬«¾·²¹ ¼»¬¿·´­
          Ü»­½®·°¬·±²               Ü·¿³»¬»®     Í½±°» ±º Ë­»         Ó¿¨·³«³              Ó±«²¬»¼
                                                                      Ð®»­­«®» Î¿¬·²¹      ¿¬ Ü»´·ª»®§
          ÐÛÛÕ ¬«¾·²¹ô ±®¿²¹»       ÑÜæ ïñïêþ    Ø·¹¸ °®»­­«®»        êôððð °­·            Ç»­
                                    ×Üæ ðòðîðþ   ¬«¾·²¹ô
                                                 ®»½±³³»²¼»¼ º±®
                                                 º´±© ®¿¬»­ ´»­­
                                                 ¬¸¿² ìð ³´ñ³·²
          ÐÛÛÕ ¬«¾·²¹ô ¹®»»²        ÑÜæ ïñïêþ    Ø·¹¸ °®»­­«®»        ìôððð °­·            Ç»­
                                    ×Üæ ðòðíðþ   ¬«¾·²¹

          Ð±´§¬»¬®¿º´«±®±»¬¸§´»²»   ÑÜæ ïñèþ     ×²´»¬ ¬«¾·²¹         ëðð °­·              Ò±
          øÐÌÚÛ÷ ¬«¾·²¹ô            ×Üæ ðòðêîþ
          ¬®¿²­°¿®»²¬
          Ì»º¦»´ ¬«¾·²¹ô            ÑÜæ ïñïêþ    É¿­¬»                ìôððð °­·            Ò±
          ¬®¿²­°¿®»²¬               ×Üæ ðòðîðþ




                                                                                  ×²­¬®«³»²¬ Ù«·¼»   ¤   éé
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 345 of 1041 PageID #:
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                                                                                                       Í»²­±®­




          Sensors

                  Air Sensors
                  Ì¸» ÒÙÝ ½¸®±³¿¬±¹®¿°¸§ ­§­¬»³­ ½¿² ¾» º·¬¬»¼ ©·¬¸ ¿² »¨¬»®²¿´ ¿·® ­»²­±® ³±¼«´»
                  ¬¸¿¬ ½¿² ¸±´¼ «° ¬± º±«® ¿·® ­»²­±®­ò Ì¸·­ ³±¼«´» ½¿² ¾» ¼¿·­§ ½¸¿·²»¼ ¬± ¿²
                  »¨¬»²­·±² ³±¼«´» ¬¸¿¬ ½¿² ¸±´¼ ¿² ¿¼¼·¬·±²¿´ º±«® ¿·® ­»²­±®­ô °®±ª·¼·²¹ ¿ ¬±¬¿´ ±º
                  »·¹¸¬ ¿·® ­»²­±®­ò Ì¸» ¿·® ­»²­±®­ ¼»¬»½¬ ¿·®ô ·²¼·½¿¬·²¹ ¬¸» »²¼ ±º ­¿³°´» ±® ¾«ºº»®ô
                  ¿²¼ ¬®·¹¹»® ¿°°®±°®·¿¬» »ª»²¬­ ¬¸®±«¹¸ Ý¸®±³Ô¿¾ ­±º¬©¿®»ò Ì¸» ¿·® ­»²­±®­ ¿®»
                  ¿ª¿·´¿¾´» ·² ¬©± ­·¦»­ ¬¸¿¬ ¼·ºº»® ·² ·²¬»®²¿´ ¼·¿³»¬»® ¬± ¿½½±³³±¼¿¬» ¬¸» ¬©±
                  ¼·ºº»®»²¬ ¬«¾·²¹ ­·¦»­æ

                       Ì¸» ´¿®¹» ¿·® ­»²­±®­ ¿®» «­»¼ ©·¬¸ ¬¸» ´¿®¹»® ¼·¿³»¬»® ïñèþ ÚÛÐ ¬«¾·²¹ º±®
                       ¬¸» ·²´»¬ °±®¬­ ±º ¬¸» °«³°­ ¿²¼ ·²´»¬ ª¿´ª»­ò

                       Ì¸» ­³¿´´»® ¿·® ­»²­±®­ ¿®» «­»¼ ©·¬¸ ¬¸» ­³¿´´»® ¼·¿³»¬»® ïñïêþ ÐÛÛÕ
                       ¬«¾·²¹ò

                  Ì¸» ­§­¬»³­ ¼»¬»½¬ ¬¸» ²«³¾»® ±º ¿·® ­»²­±®­ ¬¸¿¬ ¿®» ¿¬¬¿½¸»¼ ¬± ¬¸» ·²­¬®«³»²¬ò
                  ß·® ­»²­±®­ ½¿² ¾» ­»¬ ¬± ¼»¬»½¬ ¿·® ·² ´·²»­ º·´´»¼ ©·¬¸ ¾«ºº»®ò ×º ¿·® ·­ ¼»¬»½¬»¼ ·² ¬¸»­»
                  ´·²»­ô ¬¸» ­§­¬»³ °«³°­ ­¬±° ¿²¼ ¬¸» ®«² °¿«­»­ò Ç±« ½¿² ½±²¬·²«» ¬¸» ®«² ¿º¬»®
                  ®»°´»²·­¸·²¹ ¬¸» ¾«ºº»® ¿²¼ °«®¹·²¹ ¬¸» ´·²»­ò

                  ß·® ­»²­±®­ ½¿² ¿´­± ¾» ­»¬ ¬± ¼»¬»½¬ ¿·® ·² ´·²»­ º·´´»¼ ©·¬¸ ­¿³°´»ò ×º ¿·® ·­ ¼»¬»½¬»¼
                  ·² ¬¸»­» ´·²»­ô ¬¸» ­¿³°´» °«³° ­¬±°­ ­± ¬¸¿¬ ·¬ ½¿²²±¬ °«³° ¿·® ±²¬± ¬¸» ½±´«³²ò ×º
                  ¿² ¿·®ó¾«¾¾´» ­»²­·²¹ »ª»²¬ ±½½«®­ ¼«®·²¹ ¿ ³»¬¸±¼ ®«²ô ¬¸» ®«² ½±²¬·²«»­ ¬± ¬¸»
                  ²»¨¬ ­¬»°ò




                                                                                      ×²­¬®«³»²¬ Ù«·¼»    ¤   èï
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 346 of 1041 PageID #:
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          î   ¤   Ì¸» ÒÙÝ ×²­¬®«³»²¬




                        Ì¸» ¿·® ­»²­±®­ ¿®» ·²­»®¬»¼ ·²¬± °±®¬­ ±² ¬¸» ¿·® ­»²­±® ³±¼«´»ò Ý¸®±³Ô¿¾ ¼»¬»½¬­
                        ¬¸» °®»­»²½» ±® ¿¾­»²½» ±º ¿·® ­»²­±®­ ·² ¬¸» ¿·® ­»²­±® ³±¼«´»ò ×º §±« ¸¿ª» º»©»®
                        ¬¸¿² º±«® ¿·® ­»²­±®­ ·² ¬¸» ³±¼«´»ô §±« ³«­¬ ½±ª»® ¬¸» «²±½½«°·»¼ °±®¬­ ©·¬¸ ¿
                        °®±¬»½¬·ª» ¾´¿²µ ½±ª»® ¬¸¿¬ Þ·±óÎ¿¼ °®±ª·¼»­ ¬± °®»ª»²¬ ´·¯«·¼ º®±³ »²¬»®·²¹ ·²¬± ¬¸»
                        ³±¼«´»­ »´»½¬®±²·½ ½·®½«·¬®§ò

                        Ì¸» ¿·® ­»²­±®­ ½¿² ¾» ½±²²»½¬»¼ ¬±

                            Ì¸» ·²´»¬ °±®¬ ±² ¬¸» ­¿³°´» °«³°

                            Ì¸» ·²´»¬ °±®¬ ±² ­§­¬»³ °«³° ß

                            Ì¸» ·²´»¬ °±®¬ ±² ­§­¬»³ °«³° Þ

                            ß²§ °±­·¬·±² ¿´±²¹ ¬¸» º´±© °¿¬¸ ±º ¬¸» ·²­¬®«³»²¬ô º±® »¨¿³°´»

                                 Í¿³°´» ·²¶»½¬ ª¿´ª»

                                 Þ«ºº»® ·²´»¬ ª¿´ª»




          èî ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 347 of 1041 PageID #:
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                                                                                              Í»²­±®­



                  Air Sensor LEDs
                  Ì¸» ¿·® ­»²­±® ³±¼«´» ·­ º·¬¬»¼ ©·¬¸ ÔÛÜ­ò

                      Ù®»»² ÔÛÜ­ ·²¼·½¿¬» ¬¸» ³±¼«´» ·­ ½±²²»½¬»¼ò

                      Þ´«» ÔÛÜ­ ·²¼·½¿¬» ¿·® ·² ¬¸» ¬«¾·²¹ò

                      Ð®·³» ¬¸» ´·²»­ ¬± ®»³±ª» ¿·®ò Í»» Ð®·³·²¹ ¿²¼ Ð«®¹·²¹ ¬¸» Í§­¬»³­ ±²
                      °¿¹» ïîí º±® ³±®» ·²º±®³¿¬·±²ò



                  Air Sensor Tubing Length and Bubble Size
                  Ì¸» ®»­°±²­» ±º ¬¸» ¿·® ­»²­±® ³±¼«´» ·­ ¸·¹¸´§ ¼»°»²¼»²¬ ±² ¬¸» ¾«¾¾´» ­·¦» ¿²¼
                  º´±© ®¿¬»ô ¿²¼ ®»¯«·®»­ ¿ ³·²·³«³ ¬«¾·²¹ ´»²¹¬¸ ¾»¬©»»² ¬¸» ­»²­±® ±«¬´»¬ ¿²¼ ¬¸»
                  °«³° ·²´»¬ò Ì¿¾´» è ´·­¬­ ®»½±³³»²¼»¼ ¬«¾·²¹ ´»²¹¬¸­ º±® ª¿®·±«­ º´±© ®¿¬»­ ¿²¼
                  ¾«¾¾´» ­·¦»­ò

                  Ì¿¾´» èò Î»½±³³»²¼»¼ ¿·® ­»²­±® ¬«¾·²¹ ´»²¹¬¸­
                  Ú´±© Î¿¬»                 Þ«¾¾´» Í·¦»            ïñèþ ×Ü ÚÛÐ Ì«¾·²¹ Ô»²¹¬¸
                                                                    ø¿·® ­»²­±® ¬± °«³° ·²´»¬÷
                  ï ³´ñ³·²                  ïëîë k´
                  ë ³´ñ³·²                  ëðïðð k´
                  ïð ³´ñ³·²                 îðð k´
                  ïðð ³´ñ³·²                ïòðëïòì ³´




                                                                              ×²­¬®«³»²¬ Ù«·¼»   ¤   èí
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 348 of 1041 PageID #:
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          î   ¤   Ì¸» ÒÙÝ ×²­¬®«³»²¬


                        Pressure Sensors
                        Ì¸» ÒÙÝ ­§­¬»³­ ½¿² ¸¿ª» «° ¬± º±«® ·²¬»¹®¿¬»¼ °®»­­«®» ­»²­±®­æ

                            Í§­¬»³ °®»­­«®» ­»²­±®  ´±½¿¬»¼ ·² ¬¸» ³·¨»® ³±¼«´»

                            Ð®»½±´«³² ¿²¼ °±­¬½±´«³² °®»­­«®» ­»²­±®­  ´±½¿¬»¼ ·² ¬¸» ½±´«³²
                            ­©·¬½¸·²¹ ª¿´ª»

                            Ì¸»­» °®»­­«®» ­»²­±®­ °®±¬»½¬ ¬¸» ½±´«³² ¿²¼ ³»¼·¿ º®±³ ±ª»®°®»­­«®»ò Ñ²»
                            °®»­­«®» ­»²­±® ³»¿­«®»­ ¬¸» °®»­­«®» ¾»º±®» ¬¸» ½±´«³² ¬± °®±¬»½¬ ¬¸»
                            ½±´«³² ¸¿®¼©¿®»ò Ì¸» ±¬¸»® ­»²­±® ³»¿­«®»­ ¬¸» °®»­­«®» ¿º¬»® ¬¸» ½±´«³²
                            ¿²¼ ½¿´½«´¿¬»­ ¬¸» °®»­­«®» ¼·ºº»®»²½» ±ª»® ¬¸» ³»¼·¿ ¾»¼ò ×º ¬¸» °®»­­«®»
                            ¼·ºº»®»²¬·¿´ ª¿´«» øÜ»´¬¿ Ð÷ »¨½»»¼­ ¬¸» °®»­»¬ ´·³·¬ô »·¬¸»® ¬¸» ®«² °¿«­»­ ±®
                            ¿²±¬¸»® ¿½¬·±² ·­ ¿°°´·»¼ò

                            Í¿³°´» °«³° °®»­­«®» ­»²­±®  ´±½¿¬»¼ ·² ¬¸» ­¿³°´» °«³° ³±¼«´»

                        Û¿½¸ °®»­­«®» ­»²­±® ¸¿­ ¿² ¿½½«®¿½§ ±º oîû ±® î °­·ô ©¸·½¸»ª»® ·­ ­³¿´´»®ò


                        Temperature Sensor
                        Ì¸» ÒÙÝ ­§­¬»³­ ¸¿ª» ¿² ·²¬»¹®¿¬»¼ ¬»³°»®¿¬«®» ­»²­±® ´±½¿¬»¼ ·² ¬¸»
                        ½±²¼«½¬·ª·¬§ º´±© ½»´´ ¬¸¿¬ ³»¿­«®»­ ¬¸» ®«² ¬»³°»®¿¬«®»ò Í»²­±® ¼¿¬¿ ·­ «­»¼ º±®
                        ¬»³°»®¿¬«®» ½±³°»²­¿¬·±² ±º ½±²¼«½¬·ª·¬§ ¿²¼ °Øò




          èì ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 349 of 1041 PageID #:
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                                                                                     Ð®±¼«½¬ Ý±²º·¹«®¿¬·±²­




          Product Configurations
                      Ì¸» ÒÙÝ ½¸®±³¿¬±¹®¿°¸§ ­§­¬»³ ·­ ¿ª¿·´¿¾´» ·² º±«® ­¬¿²¼¿®¼ ½±²º·¹«®¿¬·±²­ò Ì¸·­
                      ­»½¬·±² ´·­¬­ ¬¸» ³±¼«´»­ ¿ª¿·´¿¾´» º±® »¿½¸ ½±²º·¹«®¿¬·±²ò Ç±« ½¿² ¿¼¼ ±® ®»³±ª»
                      ³±¼«´»­ ¬± ¿² »¨·­¬·²¹ ½±²º·¹«®¿¬·±² ¬± ½«­¬±³·¦» ¬¸» ­§­¬»³ò Ì¸» ½±²º·¹«®¿¬·±² ¿¬
                      §±«® ­·¬» ³·¹¸¬ ¼·ºº»® ­´·¹¸¬´§ º®±³ ¿²§ ±º ¬¸» ­¬¿²¼¿®¼ ½±²º·¹«®¿¬·±²­ò

                      Note: ß´´ ÒÙÝ ­§­¬»³­ ¿®» ¿ª¿·´¿¾´» ©·¬¸ »·¬¸»® ¬¸» ïð ³´ñ³·² ±® ¬¸»
                      ïðð ³´ñ³·² ­§­¬»³ °«³°­ò

          Ì¿¾´» çò ÒÙÝ ½¸®±³¿¬±¹®¿°¸§ ­§­¬»³ ½±²º·¹«®¿¬·±²­
          Ó±¼«´»                        ÒÙÝ Ï«»­¬     ÒÙÝ Í½±«¬       ÒÙÝ Ü·­½±ª»®        ÒÙÝ Ü·­½±ª»® Ð®±
          Í¿³°´» ·²¶»½¬·±² ª¿´ª»

          Í·²¹´»ó©¿ª»´»²¹¬¸ ËÊ ¿²¼
          ½±²¼«½¬·ª·¬§ ³±²·¬±®
          øßª¿·´¿¾´» ±² ¬¸» ÒÙÝ
          Ï«»­¬ ¿²¼ ÒÙÝ Í½±«¬
          ­§­¬»³­ ±²´§÷
          Ó«´¬·ó©¿ª»´»²¹¬¸ ËÊñÊ·­                                              ö                      ö
          ¿²¼ ½±²¼«½¬·ª·¬§ ³±²·¬±®
          øßª¿·´¿¾´» ±² ¿´´ ÒÙÝ
          ­§­¬»³­÷
          Í§­¬»³ °«³°­ ß ¿²¼ Þ

          Ó·¨»®

          °Ø ª¿´ª»

          Þ«ºº»® ¾´»²¼·²¹ ª¿´ª»

          Ý±´«³² ­©·¬½¸·²¹ ª¿´ª» ï

          Í¿³°´» °«³°

          Þ«ºº»® ·²´»¬ ª¿´ª»­ ß ¿²¼ Þ

          Ì¸·®¼ »¨°¿²­·±² ¬·»®




                                                                                   ×²­¬®«³»²¬ Ù«·¼»   ¤   èé
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 350 of 1041 PageID #:
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          î   ¤   Ì¸» ÒÙÝ ×²­¬®«³»²¬


          Ì¿¾´» çò ÒÙÝ ½¸®±³¿¬±¹®¿°¸§ ­§­¬»³ ½±²º·¹«®¿¬·±²­ô ½±²¬·²«»¼
          Ó±¼«´»                       ÒÙÝ Ï«»­¬        ÒÙÝ Í½±«¬        ÒÙÝ Ü·­½±ª»®           ÒÙÝ Ü·­½±ª»® Ð®±
          Ú±«®¬¸ »¨°¿²­·±² ¬·»®

          Í¿³°´» ·²´»¬ ª¿´ª» ï

          Ñ«¬´»¬ ª¿´ª» ï

          öÑ²´§ ¬¸» ³«´¬·ó©¿ª»´»²¹¬¸ ËÊñÊ·­ ¼»¬»½¬±® ·­ ¿ª¿·´¿¾´» ·² ¬¸» ÒÙÝ Ü·­½±ª»® ­»®·»­ò




          èè ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 351 of 1041 PageID #:
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                   í Ð®»°¿®·²¹ ¬¸» ×²­¬®«³»²¬

                  Ì¸» ÒÙÝ ·²­¬®«³»²¬­ ­¸·° °®»¿­­»³¾´»¼ ©·¬¸ ¬¸» ³±¼«´»­ ²»½»­­¿®§ ¬± °»®º±®³
                  ½¸®±³¿¬±¹®¿°¸·½ ­»°¿®¿¬·±²­ò Ì¸» ·²­¬®«³»²¬­ ®»¯«·®» ³·²·³¿´ °±­¬·²­¬¿´´¿¬·±²
                  ­»¬«° ¬± °®»°¿®» ¬¸»³ ¬± ®«² ­·³°´» ¹®¿¼·»²¬ ­»°¿®¿¬·±²­ò Ì¸·­ ½¸¿°¬»® »¨°´¿·²­
                  ¸±© ¬± °®»°¿®» ¬¸» ÒÙÝ ­§­¬»³­ º±® ¿ ³»¬¸±¼ ®«²ò




                                                                              ×²­¬®«³»²¬ Ù«·¼»   ¤   èç
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 352 of 1041 PageID #:
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          í   ¤   Ð®»°¿®·²¹ ¬¸» ×²­¬®«³»²¬


          Module Review
                         Ì¸» ÒÙÝ ­§­¬»³­ ¿®» ­¸·°°»¼ ·² ±²» ±º ¬¸®»» ­¬¿²¼¿®¼ ½±²º·¹«®¿¬·±²­ò Ð®»°¿®·²¹
                         ¬¸» ÒÙÝ ­§­¬»³­ ¼·ºº»®­ ­´·¹¸¬´§ ¼»°»²¼·²¹ ±² ¬¸» ½±²º·¹«®¿¬·±²ò

                         Tip: Ú±® ·²º±®³¿¬·±² ¿¾±«¬ ¿¼¼·²¹ô ®»³±ª·²¹ô ±® ³±ª·²¹ ³±¼«´»­ô ­»»
                         Î»°´¿½·²¹ ±® Î»°±­·¬·±²·²¹ Ó±¼«´»­ ±² ¬¸» ÒÙÝ ×²­¬®«³»²¬­ ±² °¿¹» îííòò


                         Standard NGC System Configurations
                         Ì¸» ­¬¿²¼¿®¼ ÒÙÝ ­§­¬»³ ½±²º·¹«®¿¬·±²­ ¿®» ¼»°·½¬»¼ ·² ¬¸» ·³¿¹»­ ¬¸¿¬ º±´´±©ò
                         Ì¿¾´» ç ±² °¿¹» èé ´·­¬­ ­°»½·º·½ ·²º±®³¿¬·±² ¿¾±«¬ »¿½¸ ½±²º·¹«®¿¬·±²ò

                         Note: Û¿½¸ ½±²º·¹«®¿¬·±² ½¿² ¾» ½±²ª»®¬»¼ ¬± ¿²±¬¸»® ¾§ ¿¼¼·²¹ ±® ®»³±ª·²¹
                         ³±¼«´»­ò Ì¸» ½±²º·¹«®¿¬·±² ¿¬ §±«® ­·¬» ³·¹¸¬ ¼·ºº»® ­´·¹¸¬´§ º®±³ ¬¸»
                         ½±²º·¹«®¿¬·±²­ ­¸±©² ¾»´±©ò

                         NGC Quest Chromatography System




                         NGC Scout Chromatography System




          çð ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 353 of 1041 PageID #:
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                                                                   Ó±¼«´» Î»ª·»©



                  NGC Discover Chromatography System




                  NGC Discover Pro Chromatography System




                                                           ×²­¬®«³»²¬ Ù«·¼»   ¤   çï
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 354 of 1041 PageID #:
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          í   ¤   Ð®»°¿®·²¹ ¬¸» ×²­¬®«³»²¬


          NGC Systems Accessories Kit
                         Û¿½¸ ÒÙÝ ­§­¬»³ ­¸·°­ ©·¬¸ ¿² ¿½½»­­±®·»­ µ·¬ò Ì¸» ½±²¬»²¬­ ±º ¬¸» µ·¬ ¿®» ­°»½·º·½
                         ¬± ¬¸» ­§­¬»³ò Ê»®·º§ ¬¸» ½±²¬»²¬­ ¿¹¿·²­¬ ¬¸±­» ´·­¬»¼ ·² ¬¸» ­»½¬·±²­ ¬¸¿¬ º±´´±©ò

                         Ì¸» ¿½½»­­±®·»­ µ·¬­ ½±²¬¿·² ¬¸» ¬«¾·²¹ô ´±±°­ô ¿²¼ º·¬¬·²¹­ ²»½»­­¿®§ ¬± ½±³°´»¬»
                         ¬¸» ­»¬«° ±º ¬¸» ­¸·°°»¼ ½±²º·¹«®¿¬·±²ò ß´´ µ·¬­ ·²½´«¼»

                              ÒÙÝ º·¬¬·²¹­ µ·¬

                              ï ³´ ­§®·²¹»

                              Ô«»® ¿¼¿°¬»®

                              Ú·¬¬·²¹­ ¬·¹¸¬»²»®

                              Ì±«½¸ ­½®»»² ¿²¼ °·ª±¬ ¿®³ µ·¬

                              Ì±±´ ¬± ¿¬¬¿½¸ ¬±«½¸ ­½®»»²

                              Ð«³° ¸»¿¼ ©¿­¸ ·²´»¬ ¬«¾·²¹ øî÷

                              Ð«³° ¸»¿¼ ©¿­¸ °®·³·²¹ ´·²»

                              ïñìóîè «²·±²

                              Í§­¬»³ °«³° ·²´»¬ ¬«¾·²¹ øî÷

                              ï ³´ ­¿³°´» ´±±°

                              É¿­¬» ¬«¾·²¹ øî÷

                              ×²¶»½¬·±² °±®¬

                              îð °­· ¾¿½µ°®»­­«®» ®»¹«´¿¬±®

                              Ì«¾·²¹ ®»¬¿·²»®­ô ­³¿´´ øïô º±® ÐÛÛÕ ¬«¾·²¹ ³¿²¿¹»³»²¬÷

                              Ì«¾·²¹ ®»¬¿·²»®­ô ´¿®¹» øîô º±® ÐÌÚÛ ¬«¾·²¹ ³¿²¿¹»³»²¬÷

                              Ý±´«³² ¬«¾·²¹ øî÷ ¿²¼ º·¬¬·²¹­ øº®±³ ·²¶»½¬ ª¿´ª» ¬± ½±´«³² ¬±° ¿²¼ º®±³
                              ½±´«³² ¾±¬¬±³ ¬± ËÊ ¼»¬»½¬±® ·²´»¬÷

                              Ì«¾» ýî ø½±²¼«½¬·ª·¬§ º´±© ½»´´ ¬± îð °­· ¾¿½µ°®»­­«®» ®»¹«´¿¬±®÷

                              Ì«¾» ýì ø¾¿½µ°®»­­«®» ®»¹«´¿¬±® ¬± ¬¸» ÒÙÝ Ú®¿½¬·±² Ý±´´»½¬±® øÒÙÝ ÚÝ÷
                              ±® Þ·±Ú®¿½ º®¿½¬·±² ½±´´»½¬±®÷

          çî ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 355 of 1041 PageID #:
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                                                                           ÒÙÝ Í§­¬»³­ ß½½»­­±®·»­ Õ·¬



                  NGC Scout Accessories Kit
                  Ì¸» µ·¬ º±® ¬¸» ÒÙÝ Í½±«¬ ­§­¬»³ ·²½´«¼»­ ¿´´ ¬¸» ¿½½»­­±®·»­ ·² ¬¸» ÒÙÝ ­§­¬»³­
                  µ·¬ ¿­ ©»´´ ¿­

                      Ì«¾» ýî øîð °­· ¾¿½µ°®»­­«®» ®»¹«´¿¬±® ¬± °Ø ª¿´ª» ·²´»¬÷

                      °Ø ©¿­¬» ¬«¾·²¹

                      °Ø ½¿´·¾®¿¬·±² °±®¬ ·²´»¬ ¬«¾·²¹

                      Ý±´±®»¼ ¬«¾·²¹ º±® ¬¸» ¾«ºº»® ¾´»²¼·²¹ ª¿´ª»


                  NGC Discover Accessories Kit
                  Ì¸» µ·¬ º±® ¬¸» ÒÙÝ Ü·­½±ª»® ­§­¬»³ ·²½´«¼»­ ¿´´ ¬¸» ¿½½»­­±®·»­ ·² ¬¸» ÒÙÝ Í½±«¬
                  µ·¬ ¿­ ©»´´ ¿­

                      Ð«³° ¸»¿¼ ©¿­¸ ·²´»¬ ¬«¾·²¹ øî÷ º±® ¬¸» ­¿³°´» °«³°

                      Ð«³° ¸»¿¼ ©¿­¸ °®·³·²¹ ´·²» º±® ¬¸» ­¿³°´» °«³°

                      ïñìóîè «²·±²

                      Í¿³°´» °«³° ·²´»¬ ¬«¾·²¹

                      Í§­¬»³ °«³° ·²´»¬ ¬«¾·²¹ øïì÷ º±® ·²´»¬ ª¿´ª»­

                      Ý±´«³² ¬«¾·²¹ øïð÷ ¿²¼ º·¬¬·²¹­ øº®±³ ¬¸» ½±´«³² ­©·¬½¸·²¹ ª¿´ª» Ì±°
                      °±­·¬·±²­ ¬± ½±´«³² ¬±°ô ¿²¼ º®±³ ½±´«³² ¾±¬¬±³ ¬± ½±´«³² ­©·¬½¸·²¹
                      ª¿´ª» Þ±¬¬±³ °±­·¬·±²­÷


                  NGC Discover Pro Accessories Kit
                  Ì¸» µ·¬ º±® ¬¸» ÒÙÝ Ü·­½±ª»® Ð®± ­§­¬»³ ·²½´«¼»­ ¿´´ ¬¸» ¿½½»­­±®·»­ ·² ¬¸»
                  ÒÙÝ Ü·­½±ª»® µ·¬ ¿­ ©»´´ ¿­

                      Þ«ºº»® ·²´»¬ ¬«¾·²¹ øè÷ º±® ·²´»¬ ª¿´ª»

                      Ì«¾» ýê º±® ¬¸» ·²´»¬ ª¿´ª»

                      Ñ«¬´»¬ ª¿´ª» ¬«¾·²¹ øïî÷ º±® ¬¸» ±«¬´»¬ ª¿´ª»

                      Ì«¾» ýïð º±® ¬¸» ±«¬´»¬ ª¿´ª»


                                                                                  ×²­¬®«³»²¬ Ù«·¼»   ¤   çí
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 356 of 1041 PageID #:
                                     8517




          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬


          The Detectors

                              Replacing the UV Flow Cell
                              Ì¸» ÒÙÝ ­§­¬»³­ ­¸·° ©·¬¸ ¿ ë ³³ ËÊ º´±© ½»´´ ·²­¬¿´´»¼ò ß¼¼·¬·±²¿´ º´±© ½»´´­ º±®
                              ¿²¿´§¬·½¿´ øïð ³³÷ ¿²¼ °®»°¿®¿¬·ª» øî ³³÷ ¿°°´·½¿¬·±²­ ¿®» ¿ª¿·´¿¾´»ò Ì¸·­ ­»½¬·±²
                              »¨°´¿·²­ ¸±© ¬± ½¸¿²¹» ±® ®»°´¿½» ¬¸» ËÊ º´±© ½»´´ò Ì¸» °®±½»¼«®» ·­ ¬¸» ­¿³» º±®
                              ¾±¬¸ ¬¸» ­·²¹´»ó©¿ª»´»²¹¬¸ ËÊ ¿²¼ ³«´¬·ó©¿ª»´»²¹¬¸ ËÊñÊ·­ ¼»¬»½¬±®­ò

                              To replace the UV flow cell
                              ïò   Ñ² ¬¸» ¬±«½¸ ­½®»»²ô ­»´»½¬ Í¸«¬ Ü±©² ±² ¬¸» ¼®±°¼±©² ³»²« ¬± »¨·¬
                                   Ý¸®±³Ô¿¾ ¿²¼ ­¸«¬ ¼±©² ¬¸» ÒÙÝ ·²­¬®«³»²¬ò

                              îò   Ü·­½±²²»½¬ ¬¸» ·²´»¬ ¿²¼ ±«¬´»¬ ¬«¾·²¹­ º®±³ ¬¸» ËÊ ½»´´ò

                              íò   É·¬¸ ¬¸» ­½®»©¼®·ª»® ­«°°´·»¼ ·² ¬¸» º·¬¬·²¹­ µ·¬ô ´±±­»² ¬¸» ¬©± ¾±´¬­ ±² ¬¸» ËÊ
                                   º´±© ½»´´ò

                                    Single-Wavelength UV Flow Cell




          îðî       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 357 of 1041 PageID #:
                                     8518




                                                                                              Ì¸» Ü»¬»½¬±®­



                       Multi-Wavelength UV/Vis Flow Cell




                  ìò   Ú·®³´§ ¹®¿­° ¬¸» ¾±´¬­ ±² ¬¸» º´±© ½»´´ ¿²¼ ´·º¬ ¬¸» º´±© ½»´´ º®±³ ·¬­ ­±½µ»¬ò

                       Single-Wavelength UV Flow Cell




                                                                                   ×²­¬®«³»²¬ Ù«·¼»   ¤   îðí
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 358 of 1041 PageID #:
                                     8519




          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬


                                    Multi-Wavelength UV/Vis Flow Cell




                              ëò   Ê»®·º§ ¬¸¿¬ ¬¸» ­¯«¿®» ¹¿­µ»¬ ·­ ®»³±ª»¼ ©·¬¸ ¬¸» º´±© ½»´´ò

                                   Tip: ×º ¬¸» ¹¿­µ»¬ ·­ ²±¬ ±² ¬¸» º´±© ½»´´ô ´±±µ ·²­·¼» ¬¸» ­±½µ»¬ò Ì¸» ®«¾¾»®
                                   ¹¿­µ»¬ ³·¹¸¬ ¸¿ª» ®»³¿·²»¼ ·² ¬¸» ¹®±±ª» ·²­·¼» ¬¸» ­±½µ»¬ò Î»³±ª» ¬¸»
                                   ¹¿­µ»¬ ¿²¼ °´¿½» ·¬ ±²¬± ¬¸» º´±© ½»´´ ¬¸¿¬ §±« ®»³±ª»¼ò

                              êò   Í¬±®» ¬¸» º´±© ½»´´ ©·¬¸ ¬¸» ¿¬¬¿½¸»¼ ¹¿­µ»¬ ¿²¼ ¾±´¬­ ·² ¿ ­¿º»ô ½´»¿² °´¿½» º±®
                                   º«¬«®» «­»ò




          îðì       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 359 of 1041 PageID #:
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                                                                                              Ì¸» Ü»¬»½¬±®­



                  éò   Ô±½¿¬» ¬¸» º´±© ½»´´ò Ì¸» º´±© ½»´´ ­¸±«´¼ ·²½´«¼»

                           Ì©± ¾±´¬­

                           Ñ²» ­¯«¿®» ®«¾¾»® ¹¿­µ»¬




                  èò   Ð´¿½» ¬¸» º´±© ½»´´ ·²¬± ¬¸» ­±½µ»¬ ±² ¬¸» ËÊ ³±²·¬±®ò

                       Note: Û²­«®» ¬¸¿¬ ¬¸» ¿®®±© ±² ¬¸» ¬±° ±º ¬¸» º´±© ½»´´ ·­ °±·²¬·²¹ ¬± ¬¸»
                       ®·¹¸¬ô ¿²¼ ¬¸¿¬ ¬¸» ¬©± ¾±´¬­ ±² ¬¸» º´±© ½»´´ ¿´·¹² ©·¬¸ ¬¸» ¾±´¬ ¸±´»­ ·² ¬¸»
                       ­±½µ»¬ò Ì¸» ¹«·¼»­ ±² ¬¸» ¾±¬¬±³ ±º ¬¸» º´±© ½»´´ ¸»´° ¬± °®»ª»²¬ ·²­»®¬·²¹
                       ¬¸» º´±© ½»´´ ·²½±®®»½¬´§ò




                                                                                  ×²­¬®«³»²¬ Ù«·¼»   ¤   îðë
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 360 of 1041 PageID #:
                                     8521




          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬




                              çò   Ì·¹¸¬»² ¬¸» ¾±´¬­ò ×º ²»½»­­¿®§ô «­» ¬¸» ­½®»©¼®·ª»®ò

                              ïðò Î»½±²²»½¬ ¬¸» ïñìóîè º·¬¬·²¹­ º®±³ ¬¸» ¬«¾·²¹ ¬± ¬¸» ¬±° ¿²¼ ¾±¬¬±³ ±º ¬¸» º´±©
                                  ½»´´ ¿²¼ »²­«®» ¬¸¿¬ ¬¸»§ ¿®» ­»½«®»ò

                              ïïò Î»½±²²»½¬ ¬¸» ¬«¾·²¹ ´·²»­ ¬± ¬¸» ½±²¼«½¬·ª·¬§ ³±²·¬±®ò

                              ïîò Î»­¬¿®¬ ¬¸» ÒÙÝ ·²­¬®«³»²¬ò




          îðê       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 361 of 1041 PageID #:
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                                                                                          Ì¸» Ü»¬»½¬±®­



                  Replacing the Single-Wavelength UV Detector LED
                  Ì¸·­ ­»½¬·±² »¨°´¿·²­ ¸±© ¬± ®»°´¿½» ¬¸» ÔÛÜ ±² ¬¸» ­·²¹´»ó©¿ª»´»²¹¬¸ ËÊ ¼»¬»½¬±®ò

                  Caution: ×¬ ·­ ­¬®±²¹´§ ­«¹¹»­¬»¼ ¬¸¿¬ §±« ©»¿® ¹´±ª»­ ©¸»² §±« ®»°´¿½» ¬¸»
                  ÔÛÜò Ü± ²±¬ ¬±«½¸ ¬¸» ÔÛÜ ¹´¿­­ ©·¬¸ ¾¿®» ¸¿²¼­ô ¿­ ±·´­ º®±³ §±«® ­µ·² ©·´´
                  ¼»¹®¿¼» ¬¸» ´¿³° ±ª»® ¬·³»ò

                  To replace the single-wavelength UV LED
                  ïò   Ñ² ¬¸» ¬±«½¸ ­½®»»²ô ­»´»½¬ Í¸«¬ Ü±©² ±² ¬¸» ¼®±°¼±©² ³»²« ¬± »¨·¬
                       Ý¸®±³Ô¿¾ ¿²¼ ­¸«¬ ¼±©² ¬¸» ÒÙÝ ·²­¬®«³»²¬ò

                  îò   Ü·­½±²²»½¬ ¬¸» ¬«¾·²¹ ´·²»­ º®±³ ¬¸» ¬±° ¿²¼ ¾±¬¬±³ ±º ¬¸» ËÊ ½»´´ò

                  íò   Ü·­½±²²»½¬ ¬¸» ¬«¾·²¹ ´·²»­ º®±³ ¬¸» ½±²¼«½¬·ª·¬§ ³±²·¬±®ò

                  ìò   Ì¸» ¼±±® ¬± ¬¸» ÔÛÜ ·­ ¸»´¼ ·² °´¿½» ¾§ ¿ °®»­­«®» ´¿¬½¸ò Ð®»­­ ¼±©² ±² ¬¸»
                       ´¿¬½¸ ¿²¼ ¬¸»² ­´·¼» ¬¸» ¼±±® º±®©¿®¼ò




                                                                               ×²­¬®«³»²¬ Ù«·¼»   ¤   îðé
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 362 of 1041 PageID #:
                                     8523




          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬




          îðè       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 363 of 1041 PageID #:
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                                                                                        Ì¸» Ü»¬»½¬±®­



                    Tip: Ì¸» ¼±±® ·­ ¬»¬¸»®»¼ ¬± ¬¸» ½¿­·²¹ò ×¬ ©·´´ ¸¿²¹ ¬± ¬¸» ­·¼» ©¸·´» §±«
                    ®»°´¿½» ¬¸» ´¿³°­ò




                                                                             ×²­¬®«³»²¬ Ù«·¼»     ¤   îðç
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 364 of 1041 PageID #:
                                     8525




          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬


                                   Ç±« ­»» ¬¸» ÔÛÜ ³±¼«´» ©·¬¸ ¬¸®»» ¬¸«³¾­½®»©­ò Ì¸» ÔÛÜ ·¬­»´º ·­ ±² ¬¸» ±¬¸»®
                                   ­·¼» ±º ¬¸» ¾±¿®¼ò




                              ëò   Ý±³°´»¬»´§ ´±±­»² ¬¸» ¬±° ®·¹¸¬ ¬¸«³¾­½®»©ò




          îïð       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 365 of 1041 PageID #:
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                                                                                           Ì¸» Ü»¬»½¬±®­



                  êò   Ô±±­»² ¬¸» ´»º¬ ¬¸«³¾­½®»©­ô ¿´¬»®²¿¬·²¹ ±²» ¬«®² ±² ¬¸» ¬±° ´»º¬ ­½®»© ¬¸»²
                       ±²» ¬«®² ±² ¬¸» ¾±¬¬±³ ´»º¬ ­½®»© «²¬·´ ¬¸»§ ¿®» ½±³°´»¬»´§ ´±±­»²»¼ò

                       Tip: Ç±« ³·¹¸¬ ²»»¼ ¬± ´±±­»² ¬¸» ´»º¬ ¬©± ­½®»©­ ©·¬¸ ¿ º´¿¬¸»¿¼
                       ­½®»©¼®·ª»®ò




                  éò   Ù®¿­° ¬¸» ¬¸«³¾­½®»©­ ¿²¼ °«´´ ¬¸» ÔÛÜ ¾±¿®¼ ­¬®¿·¹¸¬ º±®©¿®¼ ±«¬ ±º ¬¸»
                       ½¿­·²¹ò

                       WARNING! Ë­» ½¿«¬·±² ©¸»² ®»³±ª·²¹ ¬¸» ÔÛÜ ¾±¿®¼ò Ì¸» ÔÛÜ ³·¹¸¬
                       ¾» ¸±¬ ¬± ¬¸» ¬±«½¸ ¿º¬»® ¬¸» ¾±¿®¼ ·­ ®»³±ª»¼ò




                                                                              ×²­¬®«³»²¬ Ù«·¼»   ¤   îïï
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 366 of 1041 PageID #:
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          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬




                                   Ì¸» º±´´±©·²¹ ·³¿¹» ­¸±©­ ¬¸» ÔÛÜ ¸±«­·²¹ ©·¬¸±«¬ ¬¸» ÔÛÜ ¾±¿®¼ò




                              èò   Ü·­°±­» ±º ¬¸» «­»¼ ÔÛÜ ·² ¿² ¿°°®±°®·¿¬» ©¿­¬» ®»½»°¬¿½´»ò

                              çò   Ô±½¿¬» ¬¸» ²»© ÔÛÜ ¿²¼ ®»³±ª» ·¬ º®±³ ·¬­ °¿½µ·²¹ ³¿¬»®·¿´ò




          îïî       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 367 of 1041 PageID #:
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                                                                                             Ì¸» Ü»¬»½¬±®­



                      Front of LED Board




                      Back of LED Board




                  ïðò ß´·¹² ¬¸» ¬¸«³¾­½®»©­ ±º ¬¸» ®»°´¿½»³»²¬ ÔÛÜ ©·¬¸ ¬¸» ¸±´»­ ±² ¬¸» ¸±«­·²¹
                      ¿²¼ ½¿®»º«´´§ ·²­»®¬ ¬¸» ÔÛÜ ·²¬± ¬¸» ½¿­·²¹ò

                  ïïò Ì·¹¸¬»² ¬¸» ¬¸®»» ¬¸«³¾­½®»©­ ¬± ­»½«®» ¬¸» ´¿³° ·²¬± ¬¸» ½¿­·²¹ò

                  ïîò Í´·¼» ¬¸» ¼±±® ¬± ¬¸» ÔÛÜ ½¿­·²¹ ·²¬± °´¿½» «²¬·´ ¬¸» ´¿¬½¸ ­»½«®»­ò

                  ïíò Î»½±²²»½¬ ¬¸» ¬«¾·²¹ ´·²»­ ¬± ¬¸» ¬±° ¿²¼ ¾±¬¬±³ ±º ¬¸» ËÊ ½»´´ò

                  ïìò Î»½±²²»½¬ ¬¸» ¬«¾·²¹ ´·²»­ ¬± ¬¸» ½±²¼«½¬·ª·¬§ ³±²·¬±®ò

                  ïëò Î»­¬¿®¬ ¬¸» ÒÙÝ ·²­¬®«³»²¬ò




                                                                                ×²­¬®«³»²¬ Ù«·¼»   ¤   îïí
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 368 of 1041 PageID #:
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          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬


                              Resetting the Single-Wavelength Lamp Time Details
                              Ì¸» ­§­¬»³ ¬®¿½µ­ ¬¸» ´¿³° «­¿¹» ¿²¼ ¼·­°´¿§­ ¬¸» ¼»¬¿·´­ ±² ¬¸» Ü»¬»½¬±® ¬¿¾ ·²
                              ¬¸» Í§­¬»³ ×²º±®³¿¬·±² ¼·¿´±¹ ¾±¨ ·² Ý¸®±³Ô¿¾ò

                              ßº¬»® §±« ½¸¿²¹» ¬¸» ­·²¹´»ó©¿ª»´»²¹¬¸ ´¿³°­ô §±« ³«­¬ ®»­»¬ ¬¸» ´¿³° ¬·³» ¼»¬¿·´­
                              ·² ¬¸» ­§­¬»³ ­± ¬¸¿¬ ¬¸» ¼»¬¿·´­ ¿®» ½«®®»²¬ò

                              To reset single wave-length lamp time details
                              ïò   Í¬¿®¬ Ý¸®±³Ô¿¾ò

                              îò   Ü± ±²» ±º ¬¸» º±´´±©·²¹æ

                                        Ñ² ¬¸» Ý¸®±³Ô¿¾ ½±³°«¬»®ô º®±³ ¬¸» Í§­¬»³ Ý±²¬®±´ ¬¿¾ ±°»² Ú·´» â
                                        Í§­¬»³ ×²º±®³¿¬·±² ¿²¼ ­»´»½¬ ¬¸» Ü»¬»½¬±® ¬¿¾ò

                                        Ñ² ¬¸» ¬±«½¸ ­½®»»²ô ±°»² Í§­¬»³ ×²º±®³¿¬·±² º®±³ ¬¸» ³»²« ¿²¼ ­»´»½¬
                                        ¬¸» Ü»¬»½¬±® ¬¿¾ò

                              íò   Ý´·½µ Î»­»¬ Ô¿³°­ Ì·³»ò

                              ìò   Î»­¬¿®¬ ¬¸» ÒÙÝ ·²­¬®«³»²¬ò

                              Ì¸» ª¿´«»­ º±® ´¿³° ¬·³» ¸±«®­ º±® ¬¸» ­·²¹´»ó©¿ª»´»²¹¬¸ ËÊ ´¿³°­ ®»­»¬ ¬± ðòð ¸®ò




          îïì       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 369 of 1041 PageID #:
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                                                                                          Ì¸» Ü»¬»½¬±®­



                  Replacing the Multi-Wavelength UV/Vis Detector
                  Lamps
                  Ì¸·­ ­»½¬·±² »¨°´¿·²­ ¸±© ¬± ®»°´¿½» ¬¸» ¼»«¬»®·«³ ´¿³° ±® ¬«²¹­¬»² ´¿³° ·²­·¼» ¬¸»
                  ³«´¬·ó©¿ª»´»²¹¬¸ ËÊñÊ·­ ¼»¬»½¬±®ò Ì¸» ®»°´¿½»³»²¬ ´¿³° «²·¬ ·²½´«¼»­ ¬¸» ´¿³°ô
                  ½¿¾´» ½±²²»½¬±®ô ¿²¼ °´«¹ò Ì¸» ´¿³° ·­ ®»°´¿½»¼ ¿­ ¿ «²·¬ò

                  Caution: ×¬ ·­ ­¬®±²¹´§ ­«¹¹»­¬»¼ ¬¸¿¬ §±« ©»¿® ¹´±ª»­ ©¸»² §±« ®»°´¿½» ¬¸»
                  ´¿³°­ò Ü± ²±¬ ¬±«½¸ ¬¸» ´¿³° ¹´¿­­ ©·¬¸ ¾¿®» ¸¿²¼­ô ¿­ ±·´­ º®±³ §±«® ­µ·² ©·´´
                  ¼»¹®¿¼» ¬¸» ´¿³° ±ª»® ¬·³»ò

                  To replace the multi-wavelength UV/Vis lamps
                  ïò   Ñ² ¬¸» ¬±«½¸ ­½®»»²ô ­»´»½¬ Í¸«¬ Ü±©² ±² ¬¸» ¼®±°¼±©² ³»²« ¬± »¨·¬
                       Ý¸®±³Ô¿¾ ¿²¼ ­¸«¬ ¼±©² ¬¸» ÒÙÝ ·²­¬®«³»²¬ò

                  îò   Ü·­½±²²»½¬ ¬¸» ¬«¾·²¹ ´·²»­ º®±³ ¬¸» ¬±° ¿²¼ ¾±¬¬±³ ±º ¬¸» ËÊ ½»´´ò

                  íò   Ü·­½±²²»½¬ ¬¸» ¬«¾·²¹ ´·²»­ º®±³ ¬¸» ½±²¼«½¬·ª·¬§ ³±²·¬±®ò

                  ìò   Î»³±ª» ¬¸» ³«´¬·ó©¿ª»´»²¹¬¸ ËÊñÊ·­ ¼»¬»½¬±® ³±¼«´» º®±³ ¬¸» ·²­¬®«³»²¬ò

                       Í»» Î»°´¿½·²¹ ±® Î»°±­·¬·±²·²¹ Ó±¼«´»­ ±² ¬¸» ÒÙÝ ×²­¬®«³»²¬­ ±² °¿¹» îíí
                       º±® ·²º±®³¿¬·±² ¿¾±«¬ ®»³±ª·²¹ ¿ ³±¼«´»ò

                  ëò   Ë­·²¹ ¿ ­½®»©¼®·ª»®ô ´±±­»² ¬¸» ­½®»© ¿²¼ ®»³±ª» ¬¸» ¼±±® ±² ¬¸» ´»º¬ ­·¼» ±º
                       ¬¸» ³±¼«´»ò




                                                                               ×²­¬®«³»²¬ Ù«·¼»   ¤   îïë
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 370 of 1041 PageID #:
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          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬


                                   Ì¸» ¼»«¬»®·«³ ¿²¼ ¬«²¹­¬»² ´¿³°­ ¿®» ¾±¬¸ ¿½½»­­·¾´»ò




                                   Tip: Ç±« ³·¹¸¬ ²»»¼ ¬± «²­½®»© ¬¸» ½¿¾´» ½±²²»½¬±® º±® ¬¸» ¬«²¹­¬»²
                                   ´¿³° ¬± ¿½½»­­ ¬¸» ½±´´¿® ¬± ¬¸» ½¿¾´» ½±²²»½¬±® º±® ¬¸» ¼»«¬»®·«³ ´¿³°ò




          îïê       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 371 of 1041 PageID #:
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                                                                                           Ì¸» Ü»¬»½¬±®­



                  êò   Î»³±ª» ¬¸» ´¿³°æ

                       WARNING! Ë­» ½¿«¬·±² ©¸»² ®»³±ª·²¹ ¬¸» ´¿³°­ò Ì¸» ´¿³°­ ³·¹¸¬ ¾»
                       ¸±¬ ¬± ¬¸» ¬±«½¸ ¿º¬»® ¬¸» ³±¼«´» ·­ ®»³±ª»¼ò

                       ¿ò   Ë­·²¹ §±«® º·²¹»®­ô ´±±­»² ¬¸» ½±´´¿® ±² ¬¸» ½¿¾´» °´«¹ò




                       ¾ò   Ð«´´ ¬¸» °´«¹ «°©¿®¼ ¬± ¼·­½±²²»½¬ ¬¸» ½¿¾´»ò




                                                                                ×²­¬®«³»²¬ Ù«·¼»   ¤   îïé
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 372 of 1041 PageID #:
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          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬


                                   ½ò   É·¬¸ ¿ îòë ³³ ¸»¨ µ»§ô ®»³±ª» ¬¸» ­½®»©­ ±² ¬¸» ¬±° ¿²¼ ¾±¬¬±³ ±º ¬¸»
                                        ´¿³° ½¿­·²¹ò




                                   ¼ò   Ù»²¬´§ °«´´ ¬¸» ´¿³° ½¿­·²¹ ¿²¼ ´¿³° ±«¬ ±º ¬¸» ­±½µ»¬ò

                                        Ì¸» º±´´±©·²¹ ·³¿¹» ­¸±©­ ¿ ½±³°´»¬»´§ ¼·­¿­­»³¾´»¼ ¼»«¬»®·«³ ´¿³°
                                        «²·¬ò




                                   »ò   Ü·­°±­» ±º ¬¸» «­»¼ ´¿³° ·² ¿² ¿°°®±°®·¿¬» ©¿­¬» ®»½»°¬¿½´»ò

                              éò   Ô±½¿¬» ¬¸» ®»°´¿½»³»²¬ ´¿³° ¿²¼ ®»³±ª» ·¬ º®±³ ·¬­ °¿½µ¿¹·²¹ò

                              èò   Ý¿®»º«´´§ ·²­»®¬ ¬¸» ®»°´¿½»³»²¬ ´¿³° º·¨¬«®» ·²¬± ¬¸» ­±½µ»¬ò

                              çò   ß´·¹² ¬¸» ­½®»© ¸±´»­ ±² ¬¸» ´¿³° «²·¬ ©·¬¸ ¬¸» ­½®»© ¸±´»­ ·² ¬¸» ½¿­»ò

                              ïðò Ë­·²¹ ¬¸» îòë ³³ ¸»¨ µ»§ô ¬·¹¸¬»² ¬¸» ­½®»©­ ¬± ­»½«®» ¬¸» ´¿³° «²·¬ò



          îïè       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 373 of 1041 PageID #:
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                                                                                           Ì¸» Ü»¬»½¬±®­



                  ïïò ×²­»®¬ ¬¸» ½¿¾´» °´«¹ ¿²¼ ¬·¹¸¬»² ¬¸» ½±´´¿®ò

                      Tip: Ì¸» ¼»«¬»®·«³ ´¿³° °´«¹ ¸¿­ ­»ª»² ½±²²»½¬±® °·²­ô ¬¸» ¬«²¹­¬»²
                      ´¿³° ¸¿­ º·ª»ò




                  ïîò Î»°´¿½» ¬¸» ¿½½»­­ ¼±±® ¿²¼ ¬·¹¸¬»² ¬¸» ­½®»© ©·¬¸ ¿ Ð¸·´´·°­ ­½®»©¼®·ª»®ò

                  ïíò Í´·¼» ¬¸» ³«´¬·ó©¿ª»´»²¹¬¸ ËÊñÊ·­ ³±¼«´» ·²¬± ·¬­ ¾¿§ ¿²¼ º¿­¬»² ·¬ ·² °´¿½» ¾§
                      ¬·¹¸¬»²·²¹ ¬¸» ¬©± ­½®»©­ò

                  ïìò Î»½±²²»½¬ ¬¸» ¬«¾·²¹ ´·²»­ ¬± ¬¸» ¬±° ¿²¼ ¾±¬¬±³ ±º ¬¸» ËÊ ½»´´ò

                  ïëò Î»½±²²»½¬ ¬¸» ¬«¾·²¹ ´·²»­ ¬± ¬¸» ½±²¼«½¬·ª·¬§ ³±²·¬±®ò

                  ïêò Î»­¬¿®¬ ¬¸» ÒÙÝ ·²­¬®«³»²¬ò

                  Note: Ì¸» ³«´¬·ó©¿ª»´»²¹¬¸ ËÊñÊ·­ ¼»¬»½¬±® ©·´´ ¹± ¬¸®±«¹¸ ¿² ¿«¬±³¿¬»¼
                  ½¿´·¾®¿¬·±² ®±«¬·²» ©¸»² ¬¸» ­§­¬»³ ·­ ®»­¬¿®¬»¼ò




                                                                                ×²­¬®«³»²¬ Ù«·¼»   ¤   îïç
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 374 of 1041 PageID #:
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          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬


                              Replacing the Conductivity Monitor
                              Ì¸» ·³¿¹»­ ·² ¬¸·­ ­»½¬·±² ­¸±© ¬¸» ½±²¼«½¬·ª·¬§ ³±²·¬±® ±² ¬¸» ­·²¹´»ó©¿ª»´»²¹¬¸
                              ËÊ ¼»¬»½¬±® ³±¼«´»ò Ì¸±«¹¸ ¬¸» °±­·¬·±² ±º ¬¸» ½±²¼«½¬·ª·¬§ ³±²·¬±® ¼·ºº»®­ ±² ¬¸»
                              ³«´¬·ó©¿ª»´»²¹¬¸ ËÊñÊ·­ ³±¼«´»ô ¬¸» ­¬»°­ ¬± ®»°´¿½» ¬¸» ½±²¼«½¬·ª·¬§ ³±²·¬±® ¿®»
                              ¬¸» ­¿³»ò

                              To replace the conductivity monitor
                              ïò   Ñ² ¬¸» ¬±«½¸ ­½®»»²ô ­»´»½¬ Í¸«¬ Ü±©² ±² ¬¸» ¼®±°¼±©² ³»²« ¬± »¨·¬
                                   Ý¸®±³Ô¿¾ ¿²¼ ­¸«¬ ¼±©² ¬¸» ÒÙÝ ·²­¬®«³»²¬ò

                              îò   Ü·­½±²²»½¬ ¬¸» ¬«¾·²¹ ´·²»­ º®±³ ¬¸» ½±²¼«½¬·ª·¬§ ³±²·¬±®ò

                              íò   Ô±±­»² ¬¸» ¬©± ¬¸«³¾­½®»©­ ±² ¬¸» º®±²¬ ±º ¬¸» ¼»¬»½¬±®ò




          îîð       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 375 of 1041 PageID #:
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                                                                                           Ì¸» Ü»¬»½¬±®­



                  ìò   Ú·®³´§ ¹®¿­° ¬¸» ¼»¬»½¬±® ¿²¼ °«´´ ·¬ ¬±©¿®¼ §±« ¬± ¼»¬¿½¸ ·¬ò




                  ëò   Ü·­°±­» ±º ¬¸» ¼»¬»½¬±® ·² ¿² ¿°°®±°®·¿¬» ©¿­¬» ®»½»°¬¿½´»ò

                  êò   Ô±½¿¬» ¬¸» ®»°´¿½»³»²¬ ¼»¬»½¬±® ¿²¼ ®»³±ª» ·¬ º®±³ ·¬­ °¿½µ¿¹·²¹ò

                  éò   ß´·¹² ¬¸» ¬©± ¬¸«³¾­½®»©­ ©·¬¸ ¬¸» ­½®»© ¸±´»­ ¿²¼ ¬¸» °·² ¸±´»­ ¬± ¬¸» °·²­
                       ±² ¬¸» ·²­¬®«³»²¬ò

                       Tip: Ì¸» ¬¸«³¾­½®»©­ ¿®» ±² ¬¸» ¬±° ±º ¬¸» ¼»¬»½¬±®ò Ì¸»®» ¿®» ¬©± ¹«·¼»
                       ¾±´¬­ ±² ¬¸» ¾±¬¬±³ ±º ¬¸» ¼»¬»½¬±®ò




                       Caution: Ü± ²±¬ ¾»²¼ ±® ¾®»¿µ ¬¸» ½±²²»½¬±® °·²­ò



                                                                                ×²­¬®«³»²¬ Ù«·¼»   ¤   îîï
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 376 of 1041 PageID #:
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          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬


                              èò   Ù»²¬´§ °«­¸ ¬¸» ¼»¬»½¬±® ±²¬± ¬¸» ½±²²»½¬±® °·²­ ±² ¬¸» ·²­¬®«³»²¬ò

                              çò   Ì·¹¸¬»² ¬¸» ¬¸«³¾­½®»©­ ¬± ­»½«®» ¬¸» ¼»¬»½¬±® ·² °´¿½»ò

                              ïðò Î»½±²²»½¬ ¬¸» ¬«¾·²¹ ´·²»­ ¬± ¬¸» ½±²¼«½¬·ª·¬§ ³±²·¬±®ò

                              ïïò Î»­¬¿®¬ ¬¸» ÒÙÝ ·²­¬®«³»²¬ò

                              Note: Ì¸» ½±²¼«½¬·ª·¬§ ³±²·¬±® ©·´´ ¹± ¬¸®±«¹¸ ¿² ¿«¬±³¿¬»¼ ½¿´·¾®¿¬·±²
                              ®±«¬·²» ©¸»² §±« ®»­¬¿®¬ ¬¸» ­§­¬»³ò




          îîî       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 377 of 1041 PageID #:
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                                                                                               °Ø Ð®±¾»




          pH Probe

                  Storing the pH Electrode
                  É¸»² ²±¬ ·² «­»ô ­¬±®» ¬¸» °Ø »´»½¬®±¼» ·² ­¬±®¿¹» ­±´«¬·±²ò Í»» Ì¿¾´» ïë ±²
                  °¿¹» ïëç º±® ®»½±³³»²¼»¼ ­¬±®¿¹» ­±´«¬·±²­ò

                  Tip: Í»¬ ¬¸» °Ø ª¿´ª» ¬± Þ§°¿­­ ³±¼» «²¬·´ ·¬ ·­ ²»»¼»¼ò Ì¸·­ »²­«®»­ ¬¸» °Ø
                  »´»½¬®±¼» ®»³¿·²­ ·² ­¬±®¿¹»ò

                  To store the pH electrode
                  ïò   Í¬¿®¬ Ý¸®±³Ô¿¾ ­±º¬©¿®»ò

                  îò   Ý¸±±­» Ì±±´­ â Ý¿´·¾®¿¬» ¬± ±°»² ¬¸» Ý¿´·¾®¿¬·±² ¼·¿´±¹ ¾±¨ò

                  íò   Í»´»½¬ °Ø ±² ¬¸» Ý¿´·¾®¿¬» ¼®±°¼±©² ´·­¬ò

                  ìò   Ð®»­­ Í¬¿®¬ ¬± ­»¬ ¬¸» °Ø ³±²·¬±® ¬± Ý¿´·¾®¿¬·±² ³±¼»ò

                  ëò   Ñ² ¬¸» °Ø ª¿´ª»ô ·²¶»½¬ ¿°°®±¨·³¿¬»´§ ïð ³´ ±º °Ø »´»½¬®±¼» ­¬±®¿¹» ­±´«¬·±²
                       ¬¸®±«¹¸ ¬¸» Ý¿´ ×² °±®¬ò

                  êò   Ý´·½µ Ý´±­» ¬± ½´±­» ¬¸» Ý¿´·¾®¿¬·±² ¼·¿´±¹ ¾±¨ò

                       Note: Ç±« ³·¹¸¬ ­»» ¿ Ý¸®±³Ô¿¾ ³»­­¿¹» ©¿®²·²¹ §±« ¿¾±«¬
                       ·²¬»®®«°¬·²¹ ½¿´·¾®¿¬·±²ò Ç±« ½¿² ­¿º»´§ ·¹²±®» ¬¸·­ ³»­­¿¹»ò ß²§ °®»ª·±«­
                       ½¿´·¾®¿¬·±² °»®º±®³»¼ ±² ¬¸» °Ø ª¿´ª» ·­ ­¿ª»¼ò


                  Cleaning the pH Electrode
                  To remove soluble contaminants
                       Í»¯«»²¬·¿´´§ ·³³»®­» ¬¸» »´»½¬®±¼» ·² ¬¸» º±´´±©·²¹ ­±´«¬·±²­ º±® ï ³·² »¿½¸æ

                           ðòï Ó ØÝ´

                           Ü·­¬·´´»¼ ØîÑ

                           ðòï Ó Ò¿ÑØ

                           Ü·­¬·´´»¼ ØîÑ

                           ðòï Ó ØÝ´

                                                                                ×²­¬®«³»²¬ Ù«·¼»    ¤   îîí
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 378 of 1041 PageID #:
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          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬


                              To remove lipophilic organic contaminants
                                   ×³³»®­» ¬¸» »´»½¬®±¼» ·² ¿² ±®¹¿²·½ ­±´ª»²¬ ±® ¿ ´·¯«·¼ ¼»¬»®¹»²¬ô º±® »¨¿³°´»

                                        Þ·±óÎ¿¼ ½´»¿²·²¹ ½±²½»²¬®¿¬»ô ½¿¬¿´±¹ ýïêïóðéîî

                                        îû Ý±²¬®¿¼ô ½¿¬¿´±¹ ýïéêóìïïè


                              Replacing the pH Probe
                              Ì¸» ®»°´¿½»³»²¬ °Ø °®±¾» ·­ °¿½µ¿¹»¼ ·² ­¬±®¿¹» ­±´«¬·±² ¬± °®±¬»½¬ ·¬ ¼«®·²¹
                              ­¸·°°·²¹ò

                              To replace the pH probe
                              ïò   Ñ² ¬¸» ¬±«½¸ ­½®»»²ô ­»´»½¬ Í¸«¬ Ü±©² ±² ¬¸» ¼®±°¼±©² ³»²« ¬± »¨·¬
                                   Ý¸®±³Ô¿¾ ¿²¼ ­¸«¬ ¼±©² ¬¸» ÒÙÝ ·²­¬®«³»²¬ò

                              îò   Ô±±­»² ¬¸» ²«¬ ±² ¬¸» ÜÒÍ ½¿¾´» ¿²¼ ¼·­½±²²»½¬ ·¬ º®±³ ¬¸» ÜÒÍ ½±²²»½¬±® ±²
                                   ¬¸» º®±²¬ ±º ¬¸» °Ø ³±¼«´»ò




          îîì       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 379 of 1041 PageID #:
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                                                                                                °Ø Ð®±¾»



                  íò   Ô±±­»² ¬¸» ¾´¿½µ ½±´´¿® ±² ¬¸» °Ø °®±¾»ò

                  ìò   Ì± ®»³±ª» ¬¸» °Ø °®±¾»ô ´·º¬ ¬¸» °®±¾» ±«¬ ±º ¬¸» °Ø º´±© ½»´´ò

                       Ü·­°±­» ±º ¬¸» °®±¾» ·² ¿² ¿°°®±°®·¿¬» ©¿­¬» ®»½»°¬¿½´»ò

                  ëò   ß¼¼ ¿ ­³¿´´ ¿³±«²¬ ±º ©¿¬»® øî ³´÷ ¬± ¬¸» °Ø º´±© ½»´´ò

                  êò   Ô±½¿¬» ¬¸» ®»°´¿½»³»²¬ °Ø °®±¾» ¿²¼ ®»³±ª» ·¬ º®±³ ¬¸» ­¬±®¿¹» ­±´«¬·±²ò

                  éò   Û²­«®» ¬¸¿¬ ¬¸» °Ø °®±¾» ½±®¼ ·­ ¬¸®»¿¼»¼ ¬¸®±«¹¸ ¬¸» ½±´´¿®ò

                  èò   ×²­°»½¬ ¬¸» °®±¾» ¬± ¼»¬»®³·²» ·º ¬¸» ¿·® ¾«¾¾´» ·² ¬¸» ­¬»³ ¸¿­ ³±ª»¼ ·²¬± ¬¸»
                       ¾«´¾ ¿®»¿ò

                       Tip: ×º ¾«¾¾´»­ ¿®» ª·­·¾´» ·² ¬¸» ¾«´¾ ¿®»¿ô ¸±´¼ ¬¸» »´»½¬®±¼» ¾§ ¬¸» ¬±°
                       ½¿° ¿²¼ ­¸¿µ» ·¬ ¼±©²©¿®¼ ¬± ³±ª» ¬¸» ¾«¾¾´»­ ·²¬± ¬¸» ­¬»³ò

                  çò   Ý¿®»º«´´§ ®»³±ª» ¬¸» °´¿­¬·½ ½¿° º®±³ ¬¸» °Ø °®±¾» ¿²¼ »²­«®» ¬¸¿¬ ¬¸» Ñó®·²¹
                       ·­ ·² °´¿½» ±² ¬¸» ¾±¼§ò

                       Caution: Ë­» ½¿«¬·±² ©¸»² ®»³±ª·²¹ ¬¸» °´¿­¬·½ ½¿° ­± ¿­ ²±¬ ¬± ¼¿³¿¹»
                       ¬¸» ¹´¿­­ °®±¾»ò

                  ïðò ×²­»®¬ ¬¸» °®±¾» ·²¬± ¬¸» ¬±° ±º ¬¸» °Ø º´±© ½»´´ò

                  ïïò Í´·¼» ¬¸» ½±´´¿® ±ª»® ¬¸» °Ø °®±¾» ±²¬± ¬¸» °Ø ª¿´ª» ¿²¼ ¸¿²¼ó¬·¹¸¬»² ¬¸» ½±´´¿®
                      «²¬·´ ·¬ ·­ ­²«¹ò

                       Caution: Ü± ²±¬ ±ª»®¬·¹¸¬»² ¬¸» ½±´´¿®ò Ñª»®¬·¹¸¬»²·²¹ ©·´´ ¾®»¿µ ¬¸» ¹´¿­­
                       °Ø °®±¾»ò

                  ïîò Ý±²²»½¬ ¬¸» °Ø °®±¾» ½¿¾´» ¬± ¬¸» ÜÒÍ ½±²²»½¬±® ±² ¬¸» °Ø ª¿´ª» ³±¼«´»ò

                  ïíò Î»­¬¿®¬ ¬¸» ÒÙÝ ·²­¬®«³»²¬ò

                  ïìò Ý¿´·¾®¿¬» ¬¸» °Ø ³±²·¬±®ò Í»» Ý¿´·¾®¿¬·²¹ °Ø ±² °¿¹» ïëð º±® ³±®» ·²º±®³¿¬·±²ò




                                                                                 ×²­¬®«³»²¬ Ù«·¼»    ¤   îîë
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 380 of 1041 PageID #:
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          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬


          Other Components

                               Attaching an Expansion Tier to the NGC Instrument
                              WARNING! Ü·­½±²²»½¬ °±©»® ¬± ¬¸» ÒÙÝ ·²­¬®«³»²¬ ¾»º±®» ¿¬¬¿½¸·²¹ ¿²
                              »¨°¿²­·±² ¬·»®ò Ü± ²±¬ ¿¬¬»³°¬ ¬± ­»®ª·½» ¿²§ ½±³°±²»²¬ ±² ¬¸» ÒÙÝ
                              ·²­¬®«³»²¬ «²´»­­ ²±¬»¼ ·² ¬¸·­ ³¿²«¿´ò Ý±²¬¿½¬ Þ·±óÎ¿¼ º±® ­»®ª·½» ®»¯«»­¬­ò

                               Ì± ¿¬¬¿½¸ ¬¸» ½±²²»½¬±® ½¿¾´»ô §±« ©·´´ ²»»¼ ¿½½»­­ ¬± ¬¸» ¾¿½µ ±º ¬¸» ÒÙÝ
                               ·²­¬®«³»²¬ò ×º ²»½»­­¿®§ô °«´´ ¬¸» ÒÙÝ ·²­¬®«³»²¬ ¿©¿§ º®±³ ¬¸» ©¿´´ ¿²¼ ®±¬¿¬» ¬¸»
                               ·²­¬®«³»²¬ ¬± ¹¿·² ¿½½»­­ò

                              ×³°±®¬¿²¬æ ×º §±« ¿®» ¿¼¼·²¹ ¿ º±«®¬¸ »¨°¿²­·±² ¬·»®ô §±« ³«­¬ ¿¬¬¿½¸ ·¬ ¬± ¿²
                              ¿´®»¿¼§ ¿¬¬¿½¸»¼ ¬¸·®¼ ¬·»®ò Ì¸» ¬¸·®¼ ¿²¼ º±«®¬¸ ¬·»®­ ¿®» ²±¬ ·²¬»®½¸¿²¹»¿¾´»ò
                              Û²­«®» ¬¸¿¬ ¬¸» ¬¸·®¼ ¬·»® ·­ ·²­¬¿´´»¼ ±² ¬¸» ÒÙÝ ·²­¬®«³»²¬ ¾»º±®» ¿¬¬¿½¸·²¹ ¬¸»
                              º±«®¬¸ ¬·»®ò

                               To attach an expansion tier to the NGC instrument
                              ïò    Ñ² ¬¸» ¬±«½¸ ­½®»»²ô ­»´»½¬ Í¸«¬ Ü±©² ±² ¬¸» ¼®±°¼±©² ³»²« ¬± »¨·¬
                                    Ý¸®±³Ô¿¾ ¿²¼ ­¸«¬ ¼±©² ¬¸» ÒÙÝ ·²­¬®«³»²¬ò

                              îò    Î»³±ª» ¿´´ ¬«¾·²¹ ´·²»­ ¬± ­¿³°´» ¿²¼ ¾«ºº»® ¾±¬¬´»­ ¿²¼ ®»³±ª» ¿²§ ¾±¬¬´»­
                                    º®±³ ¬¸» ¾«ºº»® ¬®¿§ò

                              íò    Ô·º¬ ¬¸» ¬±° ±ºº ¬¸» ÒÙÝ ·²­¬®«³»²¬ ¿²¼ °´¿½» ·¬ ±² ¬¸» ´¿¾ ¾»²½¸ò




          îîê       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 381 of 1041 PageID #:
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                                                                                        Ñ¬¸»® Ý±³°±²»²¬­




                       Tip: Ì¸» ¾«ºº»® ¬®¿§ ½¿² ®»³¿·² ·²­·¼» ¬¸» ¬±°ò

                  ìò   Ô±½¿¬» ¬¸» °¿½µ¿¹» ¬¸¿¬ ½±²¬¿·²­ ¬¸» »¨°¿²­·±² ¬·»® ¿²¼ ëîþ øïòíî ³÷
                       ½±²²»½¬±® ½¿¾´»ò

                       ×³°±®¬¿²¬æ Ì¸» ½¿¾´»­ ¬¸¿¬ ­¸·° ©·¬¸ ¬¸·®¼ ¿²¼ º±«®¬¸ ¬·»®­ ¿®» ²±¬
                       ·²¬»®½¸¿²¹»¿¾´»ò Ç±« ³«­¬ «­» ¬¸» ½¿¾´» ¬¸¿¬ ­¸·°­ ©·¬¸ ¬¸» »¨°¿²­·±² ¬·»®ò
                       ×²­»®¬·²¹ ¿ ¬¸·®¼ ¬·»® ½¿¾´» ·²¬± ¬¸» º±«®¬¸ ¬·»® ½±²²»½¬±® °±®¬­ ©·´´ ¼¿³¿¹»
                       ¬¸» ½¿¾´» ¿²¼ ¬¸» °±®¬­ò

                           Ì¸» ½¿¬¿´±¹ ²«³¾»® º±® ¬¸» îëþ øêíòë ½³÷ ­»½±²¼ó¬±ó¬¸·®¼ ¬·»® ½±²²»½¬±®
                           ½¿¾´» ·­ ýïððóîìèéèò

                           Ì¸» ½¿¬¿´±¹ ²«³¾»® º±® ¬¸» ëîþ øïòíî ³÷ ¬¸·®¼ó¬±óº±«®¬¸ ¬·»® ½±²²»½¬±®
                           ½¿¾´» ·­ ýïððóîìèçîò

                  ëò   Ý¿®»º«´´§ ®»³±ª» ¬¸» ¬·»® º®±³ ·¬­ °¿½µ¿¹·²¹ ³¿¬»®·¿´ò

                  êò   Ð´¿½» ¬¸» »¨°¿²­·±² ¬·»® ±² ¬±° ±º ¬¸» ¿´®»¿¼§ ·²­¬¿´´»¼ ¬·»®ò

                       Tip: ß´¬¸±«¹¸ ¬¸» ·³¿¹»­ ·² ¬¸·­ ­»½¬·±² ­¸±© ¸±© ¬± ¿¬¬¿½¸ ¬¸» º±«®¬¸
                       »¨°¿²­·±² ¬·»® ¬± ¿² ¿´®»¿¼§ ·²­¬¿´´»¼ ¬¸·®¼ ¬·»®ô ¬¸» °®±½»¼«®» º±® ¿¬¬¿½¸·²¹
                       ¿ ¬¸·®¼ ¬·»® ¬± ¿ ­»½±²¼ ¬·»® ·­ ¬¸» ­¿³»ò Ì¸»­» ·³¿¹»­ ¿®» »¨¿³°´»­ò



                                                                                 ×²­¬®«³»²¬ Ù«·¼»   ¤   îîé
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 382 of 1041 PageID #:
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          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬




                                                                                        Ú±«®¬¸ »¨°¿²­·±² ¬·»®




                                                                                          Ð®»ª·±«­´§ ¿¬¬¿½¸»¼
                                                                                          ¬¸·®¼ ¬·»®




                              éò    Ô±½¿¬» ¬¸» ½±²²»½¬±® ½¿¾´» ¬¸¿¬ ­¸·°­ ©·¬¸ ¬¸» »¨°¿²­·±² ¬·»®ò

                              èò    Ê·»© ¬¸» ½±²²»½¬±® »²¼­ò Û¿½¸ »²¼ ·­ ¾»ª»´»¼ò Ì¸» ¼·®»½¬·±² ±º ¬¸» ¾»ª»´
                                    ¼»¬»®³·²»­ ¬¸» ¬·»® ·²¬± ©¸·½¸ ¬± ·²­»®¬ ¬¸» ½±²²»½¬±®æ

                                         Ì¸» »²¼ ©·¬¸ ¬¸» ¾»ª»´ ­´¿²¬·²¹ «° ·²­»®¬­ ·²¬± ¬¸» «°°»® ¬·»®­ ½±²²»½¬±®
                                         °±®¬ò

                                         Ì¸» »²¼ ©·¬¸ ¬¸» ¾»ª»´ ­´¿²¬·²¹ ¼±©² ·²­»®¬­ ·²¬± ¬¸» ´±©»® ¬·»®­ ½±²²»½¬±®
                                         °±®¬ò




          îîè       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 383 of 1041 PageID #:
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                                                               Ñ¬¸»® Ý±³°±²»²¬­




                     Ú±® »¨¿³°´»æ




                                                         ×²­¬®«³»²¬ Ù«·¼»   ¤   îîç
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 384 of 1041 PageID #:
                                     8545




          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬


                              çò    Ú·®³´§ °®»­­ ¬¸» ½´·°­ ·²©¿®¼ ¿²¼ ·²­»®¬ ¬¸» ¿°°®±°®·¿¬» ½±²²»½¬±® ·²¬± ¬¸»
                                    «°°»® ¬·»®­ ½±²²»½¬±® °±®¬ò




                                   Tip: Ç±« ¸»¿® ¿ ½´·½µ ©¸»² ¬¸» ½±²²»½¬±® ·­ °®±°»®´§ ­»¿¬»¼ò




          îíð       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 385 of 1041 PageID #:
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                                                                                         Ñ¬¸»® Ý±³°±²»²¬­



                  ïðò ×²­»®¬ ¬¸» ±¬¸»® ½±²²»½¬±® ·²¬± ¬¸» ´±©»® ¬·»®­ ½±²²»½¬±® °±®¬ò




                  ïïò Ð´¿½» ¬¸» ¬±°ô ©·¬¸ ¬¸» ¾«ºº»® ¬®¿§ô ±² ¬±° ±º ¬¸» ÒÙÝ ·²­¬®«³»²¬ ¿²¼ °´¿½» ¬¸»
                      ¾«ºº»® ¾±¬¬´»­ ·²¬± ¬¸» ¾«ºº»® ¬®¿§ò

                  ïîò ×²­»®¬ ¬«¾·²¹ ´·²»­ ·²¬± ¬¸» ­¿³°´» ¿²¼ ¾«ºº»® ¾±¬¬´»­ò




                                                                                ×²­¬®«³»²¬ Ù«·¼»   ¤   îíï
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 386 of 1041 PageID #:
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          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬


                              ïíò Ð»®º±®³ ¬¸» º±´´±©·²¹ ¬¿­µ­æ

                                    Ì¿­µæ                         Î»º»® ¬± ¬¸» ­»½¬·±²æ
                                    ×²­»®¬ ³±¼«´»­ ·²¬± ¬¸» ²»©   Î»°´¿½·²¹ ±® Î»°±­·¬·±²·²¹ Ó±¼«´»­ ±² ¬¸»
                                    ¬·»®                          ÒÙÝ ×²­¬®«³»²¬­ ±² °¿¹» îíí
                                    Ð´«³¾ ¬¸» ­§­¬»³              Ð´«³¾·²¹ ÒÙÝ Í§­¬»³­ ±² °¿¹» îéð
                                    Í¬¿®¬ ¬¸» ·²­¬®«³»²¬          Í¬¿®¬·²¹ ¬¸» ÒÙÝ ×²­¬®«³»²¬ ±² °¿¹» ïïç
                                    Ð®·³» ¬¸» ­§­¬»³              Ð®·³·²¹ ¿²¼ Ð«®¹·²¹ ¬¸» Í§­¬»³­ ±² °¿¹» ïîí
                                    Ý¿´·¾®¿¬» ¬¸» ­§­¬»³          Ý¿´·¾®¿¬·²¹ ¬¸» ÒÙÝ ×²­¬®«³»²¬ ±² °¿¹» ïëð




          îíî       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 387 of 1041 PageID #:
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                                                                                       Ñ¬¸»® Ý±³°±²»²¬­



                  Replacing or Repositioning Modules on the NGC
                  Instruments
                  WARNING! Ü·­½±²²»½¬ °±©»® ¬± ¬¸» ÒÙÝ ·²­¬®«³»²¬ ¾»º±®» ®»³±ª·²¹ ±®
                  ®»°±­·¬·±²·²¹ ¿²§ ³±¼«´»ò Ü± ²±¬ ¿¬¬»³°¬ ¬± ­»®ª·½» ¿²§ ½±³°±²»²¬ ±² ¬¸»
                  ÒÙÝ ·²­¬®«³»²¬ «²´»­­ ²±¬»¼ ·² ¬¸·­ ³¿²«¿´ò Ý±²¬¿½¬ Þ·±óÎ¿¼ º±® ­»®ª·½»
                  ®»¯«»­¬­ò

                  WARNING! Ì± ®»¼«½» ¬¸» ½¸¿²½» ±º ´·¯«·¼ ­»»°·²¹ ·²¬± ¬¸» ·²­¬®«³»²¬ô ¿´´
                  ±°»² ¾¿§­ ³«­¬ ¾» º·´´»¼ ©·¬¸ ¬¸» ÒÙÝ Þ´¿²µ ³±¼«´» ø½¿¬¿´±¹ ýéèèóìððë÷ò Ì¸»
                  ÒÙÝ ·²­¬®«³»²¬ ©·´´ ²±¬ ±°»®¿¬» ·º ·¬ ¼»¬»½¬­ ¿ ­´±¬ ©·¬¸±«¬ ¿ ³±¼«´» ·²­»®¬»¼ò

                  To replace or reposition modules on the NGC instruments
                  ïò   Ñ² ¬¸» ¬±«½¸ ­½®»»²ô ­»´»½¬ Í¸«¬ Ü±©² ±² ¬¸» ¼®±°¼±©² ³»²« ¬± »¨·¬
                       Ý¸®±³Ô¿¾ ¿²¼ ­¸«¬ ¼±©² ¬¸» ÒÙÝ ·²­¬®«³»²¬ò

                  îò   ×º ²»½»­­¿®§ô ¼·­½±²²»½¬ ¿´´ ¬«¾·²¹ ´·²»­ ¬± ¿²¼ º®±³ ¬¸» ³±¼«´» ¬¸¿¬ §±« °´¿² ¬±
                       ®»°´¿½» ±® ®»°±­·¬·±²ò

                  íò   Ô±±­»² ¬¸» ½¿°¬·ª» ­½®»©­ ±² ¬¸» º®±²¬ ±º ¬¸» ·²­¬¿´´»¼ ³±¼«´»ò

                  ìò   Ú·®³´§ ¹®¿­° ¾±¬¸ ­½®»©­ ±² ¬¸» ³±¼«´» ¿²¼ °«´´ ·¬ º±®©¿®¼ ±«¬ ±º ·¬­ ¾¿§ò




                                                                                ×²­¬®«³»²¬ Ù«·¼»    ¤   îíí
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 388 of 1041 PageID #:
                                     8549




          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬


                                    Ì¸» º±´´±©·²¹ ·³¿¹» ­¸±©­ ¿² »³°¬§ ¾¿§ò




                              ëò    Í¬±®» ¬¸» ³±¼«´» ¿²¼ ¬¸» ­½®»©­ ·² ¿ ­¿º» °´¿½» º±® º«¬«®» «­»ò

                                    Tip: ×º §±« ®»½»·ª»¼ ¿ ®»°´¿½»³»²¬ ³±¼«´» º®±³ Þ·±óÎ¿¼ô «­» ¬¸»
                                    °¿½µ¿¹·²¹ °®±ª·¼»¼ ©·¬¸ §±«® ­¸·°³»²¬ ¬± ®»¬«®² ¬¸» ¼¿³¿¹»¼ ³±¼«´» ¬±
                                    Þ·±óÎ¿¼ò

                               êò   øÑ°¬·±²¿´÷ Ý±²ª»®¬ ¬¸» ¾¿§ ¬± ­·²¹´» ©·¼» ±® ¼±«¾´» ©·¼»ò

                                    Í»» Ý±²ª»®¬·²¹ Þ¿§­ ¬± Ú·¬ Ó±¼«´»­ ±² °¿¹» îíéòò

                               éò   Ô±½¿¬» ¬¸» ³±¼«´» ¬¸¿¬ §±« °´¿² ¬± ·²­¬¿´´ ¿²¼ ®»³±ª» ·¬ º®±³ ·¬­ °¿½µ¿¹·²¹ò




          îíì       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 389 of 1041 PageID #:
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                                                                                         Ñ¬¸»® Ý±³°±²»²¬­



                   èò   Ì¸» º®¿³» ±º ¬¸» ¾¿§ ¸¿­ ¬®¿½µ­ ±² ¬¸» ¬±° ¿²¼ ¾±¬¬±³ ±º ¬¸» ®·¹¸¬ ­·¼»ò Ì¸»
                        ³±¼«´» ¸¿­ ¹«·¼» ®¿·´­ ±² ¬¸» ¬±° ¿²¼ ¾±¬¬±³ ®·¹¸¬ ­·¼»ò

                        ß´·¹² ¬¸» ®¿·´­ ±² ¬¸» ³±¼«´» ©·¬¸ ¬¸» ¬®¿½µ­ ·² ¬¸» ¾¿§ ¬± °®±°»®´§ ¹«·¼» ·¬ ·²¬±
                        °±­·¬·±²ò


            Top of Module                                 Bottom of Module




                   çò   Ð´¿½» ¬¸» ³±¼«´» ·²¬± ¬¸» ±°»² ¾¿§ ¿²¼ ¹»²¬´§ °«­¸ ·¬ ·² ¿­ º¿® ¿­ ·¬ ©·´´ ¹±ò

                        Note: Û¿½¸ ³±¼«´» ¸¿­ ¿² ¿´·¹²³»²¬ °·² ±² ¬¸» ¾¿½µ ¬± »²­«®» ¬¸¿¬ ·¬
                        ¿´·¹²­ ½±®®»½¬´§ ©·¬¸ ¬¸» ³¿·² ½±³³«²·½¿¬·±² ¾±¿®¼ò

                   ïðò Û²­«®» ¬¸¿¬ ¬¸» ­½®»© ¸±´»­ ±² ¬¸» ³±¼«´» ¿´·¹² ©·¬¸ ¬¸» ­½®»© ¸±´»­ ±² ¬¸»
                       ¾¿§ò

                   ïïò ×²­»®¬ ¬¸» ­½®»©­ ¬¸¿¬ ­¸·°°»¼ ©·¬¸ ¬¸» ³±¼«´» ·²¬± ¬¸» ­½®»© ¸±´»­ò

                   ïîò Ì·¹¸¬»² ¬¸» ­½®»©­ ¬± ­»½«®» ¬¸» ³±¼«´»ò



                                                                                  ×²­¬®«³»²¬ Ù«·¼»   ¤   îíë
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 390 of 1041 PageID #:
                                     8551




          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬


                              ïíò Ð»®º±®³ ¬¸» º±´´±©·²¹ ¬¿­µ­æ

                                    Ì¿­µæ                  Î»º»® ¬± ¬¸» ­»½¬·±²æ
                                    Ð´«³¾ ¬¸» ­§­¬»³       Ð´«³¾·²¹ ÒÙÝ Í§­¬»³­ ±² °¿¹» îéð
                                    Í¬¿®¬ ¬¸» ·²­¬®«³»²¬   Í¬¿®¬·²¹ ¬¸» ÒÙÝ ×²­¬®«³»²¬ ±² °¿¹» ïïç
                                    Ð®·³» ¬¸» ­§­¬»³       Ð®·³·²¹ ¿²¼ Ð«®¹·²¹ ¬¸» Í§­¬»³­ ±² °¿¹» ïîí
                                    Ý¿´·¾®¿¬» ¬¸» ­§­¬»³   Ý¿´·¾®¿¬·²¹ ¬¸» ÒÙÝ ×²­¬®«³»²¬ ±² °¿¹» ïëð




          îíê       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 391 of 1041 PageID #:
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                                                                                     Ñ¬¸»® Ý±³°±²»²¬­



                  Converting Bays to Fit Modules
                  Í±³» ³±¼«´»­ º·¬ ·²¬± ­·²¹´»ó©·¼» ¾¿§­ ©¸·´» ±¬¸»®­ ®»¯«·®» ¼±«¾´»ó©·¼» ¾¿§­ ø­«½¸
                  ¿­ ¬¸» ­§­¬»³ ¿²¼ ­¿³°´» °«³° ³±¼«´»­ ¿²¼ ¬¸» ËÊ ¿²¼ ËÊñÊ·­ ¼»¬»½¬±®
                  ³±¼«´»­÷ò Þ¿§­ ½¿² ¾» ½±²ª»®¬»¼ º®±³ ±²» ­·¦» ¬± ¬¸» ±¬¸»® ¾§ ¿¼¼·²¹ ±® ®»³±ª·²¹
                  ¬¸» ½»²¬»® ¼·ª·¼»®ò

                  Ì¸» º±´´±©·²¹ ·³¿¹» ­¸±©­ ¬©± ¿¼¶¿½»²¬ô »³°¬§ô ­·²¹´»ó©·¼» ¾¿§­ò




                                                                             ×²­¬®«³»²¬ Ù«·¼»   ¤   îíé
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 392 of 1041 PageID #:
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          ß     ¤       Ó¿·²¬¿·²·²¹ ¬¸» ×²­¬®«³»²¬


                              To convert a single-wide bay to a double-wide bay
                              ïò    Ý±³°´»¬» ­¬»°­ ïë ·² ¬¸» ­»½¬·±² Ì± ®»°´¿½» ±® ®»°±­·¬·±² ³±¼«´»­ ±² ¬¸»
                                    ÒÙÝ ·²­¬®«³»²¬­òò

                               îò   Ù»²¬´§ ´·º¬ ¬¸» ¼·ª·¼»® «°©¿®¼ ±ºº ±º ¬¸» ´·° ¬± «²¸±±µ ·¬ ¿²¼ ¬¸»² °«´´ ·¬ ±«¬ ±º ¬¸»
                                    ·²­¬®«³»²¬ò




                               íò   Í¬±®» ¬¸» ¼·ª·¼»® ·² ¿ ­¿º» °´¿½» º±® ´¿¬»® «­»ò

                               ìò   Ý±³°´»¬» ­¬»°­ éïî ·² ¬¸» ­»½¬·±² Ì± ®»°´¿½» ±® ®»°±­·¬·±² ³±¼«´»­ ±² ¬¸»
                                    ÒÙÝ ·²­¬®«³»²¬­òò




          îíè       ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 393 of 1041 PageID #:
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                                                                                      Ñ¬¸»® Ý±³°±²»²¬­



                  To convert a double-wide bay to a single-wide bay
                  ïò   Ô±½¿¬» ¿ ¼·ª·¼»®ò

                  îò   Ý±³°´»¬» ­¬»°­ ïë ·² ¬¸» ­»½¬·±² Ì± ®»°´¿½» ±® ®»°±­·¬·±² ³±¼«´»­ ±² ¬¸»
                       ÒÙÝ ·²­¬®«³»²¬­ ±² °¿¹» îííò

                  íò   ×²­»®¬ ¬¸» ¬±° ±º ¬¸» ¼·ª·¼»® ·²¬± ·¬­ ­´±¬ò

                  ìò   Ù»²¬´§ ¾»²¼ ¬¸» ¼·ª·¼»® ¿²¼ ­´·¼» ¬¸» ¾±¬¬±³ ±º ¬¸» ¼·ª·¼»® «° ±²¬± ¬¸» ´·°ò

                  ëò   Ý±³°´»¬» ­¬»°­ éïî ·² ¬¸» ­»½¬·±² Ì± ®»°´¿½» ±® ®»°±­·¬·±² ³±¼«´»­ ±² ¬¸»
                       ÒÙÝ ·²­¬®«³»²¬­ò




                                                                                ×²­¬®«³»²¬ Ù«·¼»   ¤   îíç
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 394 of 1041 PageID #:
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                   Û Î»¹«´¿¬±®§ ×²º±®³¿¬·±²

                  Ì¸» ÒÙÝ ·²­¬®«³»²¬ ¸¿­ ¾»»² ¬»­¬»¼ ¿²¼ º±«²¼ ¬± ¾» ·² ½±³°´·¿²½» ©·¬¸ ¿´´
                  ¿°°´·½¿¾´» ®»¯«·®»³»²¬­ ±º ¬¸» º±´´±©·²¹ ­¿º»¬§ ¿²¼ »´»½¬®±³¿¹²»¬·½ ½±³°´·¿²½»
                  ­¬¿²¼¿®¼­ò Ì¸» ÒÙÝ ·²­¬®«³»²¬ ·­ ´¿¾»´»¼ ©·¬¸ ¬¸» º±´´±©·²¹ ½±³°´·¿²½» ³¿®µ­ò


          Safety Compliance
                  ÝÛ Ó¿®µæ

                      ÛÒêïðïðóï Û´»½¬®·½¿´ Û¯«·°³»²¬ º±® Ó»¿­«®»³»²¬ô Ý±²¬®±´ô ¿²¼
                      Ô¿¾±®¿¬±®§ Ë­»

                      ×ÛÝ êïðïðóï Í¿º»¬§ Î»¯«·®»³»²¬­ º±® Ó»¿­«®»³»²¬ô Ý±²¬®±´ô ¿²¼
                      Ô¿¾±®¿¬±®§ Ë­»ô Ð¿®¬ ïæ Ù»²»®¿´ Î»¯«·®»³»²¬­

                  ½ÌËÊ«­ Ó¿®µæ

                      ËÔ ÍÌÜ Ò±ò êïðïðóï Û´»½¬®·½¿´ Û¯«·°³»²¬ º±® Ó»¿­«®»³»²¬ô Ý±²¬®±´ô ¿²¼
                      Ô¿¾±®¿¬±®§ Ë­»ô Ð¿®¬ ïæ Ù»²»®¿´ Î»¯«·®»³»²¬­

                      ÝßÒñÝÍß Ýîîòî Ò±ò êïðïðóïóïî Í¿º»¬§ Î»¯«·®»³»²¬­ º±® Ó»¿­«®»³»²¬ô
                      Ý±²¬®±´ô ¿²¼ Ô¿¾±®¿¬±®§ Ë­»ô Ð¿®¬ ïæ Ù»²»®¿´ Î»¯«·®»³»²¬­ ø·²½´«¼»­
                      ß³»²¼³»²¬ ï÷

                  Ð®±¼«½¬­ ©·¬¸ ¬¸»­» ­¿º»¬§ ½±³°´·¿²½» ³¿®µ­ ¿®» ­¿º» ¬± «­» ©¸»² ±°»®¿¬»¼ ·²
                  ¿½½±®¼¿²½» ©·¬¸ ¬¸» ·²­¬®«½¬·±² ³¿²«¿´ò Ì¸·­ ¼±»­ ²±¬ »¨¬»²¼ ¬± ¿½½»­­±®·»­ ©·¬¸
                  ²± ³¿®µ­ô »ª»² ©¸»² «­»¼ ©·¬¸ ¬¸·­ «²·¬ò




                                                                             ×²­¬®«³»²¬ Ù«·¼»   ¤   íðí
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                                     Þ·±óÎ¿¼
                                     Ô¿¾±®¿¬±®·»­ô ×²½ò


      Ô·º» Í½·»²½»                   É»¾ ­·¬» ¾·±ó®¿¼ò½±³ ËÍß ï èðð ìîì êéîí ß«­¬®¿´·¿ êï î ççïì îèðð ß«­¬®·¿ ìí ðï èéé èçðïç Þ»´¹·«³ íî ðí éïð ëí ðð
                                     Þ®¿¦·´ ëë ïï íðêë éëëð Ý¿²¿¼¿ ï çðë íêì íìíë Ý¸·²¿ èê îï êïêç èëðð Ý¦»½¸ Î»°«¾´·½ íê ðï ìëç êïçî
      Ù®±«°                          Ü»²³¿®µ ìë ðì ìëî ïð ðð Ú·²´¿²¼ íë ðè çèð ìîî ðð Ú®¿²½» íí ðï ìéç ëçí ðð Ù»®³¿²§ ìç ðèç íïèè ìíçí
                                     Ø±²¹ Õ±²¹ èëî îéèç ííðð Ø«²¹¿®§ íê ðï ìëç êïçð ×²¼·¿ çï ïîì ìðîçíðð ×­®¿»´ çéî ðí çêí êðëð ×¬¿´§ íç ðî ìçìèêêðð
                                     Ö¿°¿² èï í êíêï éððð Õ±®»¿ èî î íìéí ììêð Ó»¨·½± ëî ëëë ìèè éêéð Ì¸» Ò»¬¸»®´¿²¼­ íï ð íïè ëìð êêê
                                     Ò»© Æ»¿´¿²¼ êì ç ìïë îîèð Ò±®©¿§ ìé ð îíí èìï íð Ð±´¿²¼ íê ðï ìëç êïçï Ð±®¬«¹¿´ íëï îï ìéîééïé
                                     Î«­­·¿ é ìçë éîï ïì ðì Í·²¹¿°±®» êë êìïë íïèè Í±«¬¸ ßº®·½¿ íê ðï ìëç êïçí Í°¿·² íì ðçï ìç ðê ëèð
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                                                                                        Page 1
                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE
              _______________________
              CYTIVA SWEDEN AB and      )
              GLOBAL LIFE SCIENCES      )
              SOLUTIONS USA LLC,        )
                                        )
                         Plaintiffs,    )
                                        )
                    -vs-                )
                                        ) C.A. No. 18-1899-CFC
              BIO-RAD LABORATORIES,     )       CONSOLIDATED
              INC.,                     )
                                        )
                         Defendant.     )
              _______________________ )


                         **HIGHLY CONFIDENTIAL - TECHNICAL**
                               **ATTORNEY'S EYES ONLY**

                               VIDEOTAPED DEPOSITION
                      TAKEN REMOTELY VIA ZOOM VIDEOCONFERENCE
                                        OF
                                  FARAH MAVANDADI

                                    523 JETER STREET
                            REDWOOD CITY, CALIFORNIA                  94062
                                      JULY 9, 2020
                                       9:02 A.M.

              REPORTED BY:
              DEBRA SAPIO LYONS, RDR, CRR, CRC, CCR, CLR, CPE
              ____________________________________________________
                               DIGITAL EVIDENCE GROUP
                           1730 M Street, NW, Suite 812
                               Washington, D.C. 20036
                                  (202) 232-0646


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                                                                                        Page 2
        1                                   July 9, 2020
        2             Videotaped deposition, taken remotely via
        3     Zoom videoconference, of Farah Mavandadi,
        4     located at 523 Jeter Street, Redwood City,
        5     California        94062, reported remotely via Zoom
        6     Videoconference by Debra Sapio Lyons, a
        7     Registered Diplomat Reporter, a Certified
        8     Realtime Reporter, a Certified Realtime
        9     Captioner, a Certified LiveNote Reporter, an
       10     Approved Reporter of the United States
       11     District Court for the Eastern District of
       12     Pennsylvania, a Certified Court Reporter of
       13     the State of New Jersey, and a Notary Public
       14     of the State of Delaware.
       15

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                                                                                        Page 3
        1     (All Counsel and Participants present via Zoom
        2     videoconference.)
        3

        4     APPEARANCES:
        5

        6          ARNOLD & PORTER KAYE SCHOLER LLP
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        7          3000 El Camino Real Five Palo Alto
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        8          Palo Alto, California               94306-3807
                   650.319.4538
        9          jeffrey.miller@arnoldporter.com
       10          Attorneys for Plaintiffs
       11

       12          QUINN EMANUEL URQUHART & SULLIVAN, LLP
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       13          50 California Street, 22nd Floor
                   San Francisco, California                 94111
       14          415.875.6448
                   felipecorredor@quinnemanuel.com
       15          Attorneys for Defendant
       16

       17     ALSO PRESENT:
       18

       19          LAURA LAVERNIA, SUMMER ASSOCIATE
                   ARNOLD & PORTER
       20          HENRY MARTE, VIDEOGRAPHER/DOCUMENT TECH
       21          DIGITAL EVIDENCE GROUP
       22




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                                                                                          Page 4
        1                                    I N D E X
        2     WITNESS                                                              PAGE
        3     Farah Mavandadi
        4        BY MR. MILLER                                                      15
        5                               E X H I B I T S
        6     NUMBER                        DESCRIPTION                            PAGE
        7        Exhibit 73, Plaintiffs' Notice of                                  20
                 Deposition and Subpoena to Non-Party
        8        Farah Mavandadi
        9

       10        Exhibit 74, e-mail correspondence                                  34
                 bearing Bates numbers
       11        BRGEDEL000300236 through
                 BRGEDEL000300237
       12

       13        Exhibit 75, multipage document                                    101
                 entitled


                             bearing the Bates numbers
       15        BRGE00065106 through BRGE00065161
       16

       17        Exhibit 76, multipage document                                    126

       18        Chromatography Systems bearing Bates
                 numbers BRGEDEL000246325 through
       19        BRGEDEL000246360
       20

       21        Exhibit 77, e-mail correspondence                                 146
                 bearing the Bates number
       22        BRGEDEL000310414


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        1                       E X H I B I T S
        2     NUMBER              DESCRIPTION                                      PAGE
        3      Exhibit 78, e-mail correspondence                                   157
               bearing Bates numbers
        4      BRGEDEL000317118 through
               BRGEDEL000317119
        5
        6        Exhibit 79, e-mail correspondence                                 183
                 bearing Bates numbers
        7        BRGEDEL000285516 through
                 BRGEDEL000285521
        8
        9        Exhibit 80, e-mail correspondence                                 189
                 bearing Bates numbers
       10        BRGEDEL000454986 through
                 BRGEDEL000454987
       11
       12        Exhibit 81, e-mail correspondence                                 199
                 bearing Bates numbers
       13        BRGEDEL000325922
       14
       15        Exhibit 82, a multipage document                                  199
                 bearing Bates numbers
       16        BRGEDEL000325923 through
                 BRGEDEL000325925
       17
       18        Exhibit 83, one-page document                                     209
                 entitled Calendar Entry Meeting
       19        bearing Bates number BRGEDEL000346234
       20
       21
       22




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        1                               E X H I B I T S
        2     NUMBER                        DESCRIPTION                            PAGE
        3        Exhibit 84, e-mail correspondence                                 214
                 bearing Bates numbers
        4        BRGEDEL000436636 through
                 BRGEDEL000436642
        5
        6        Exhibit 85, multipage document                                    216

        7        configurations bearing Bates numbers
                 BRGEDEL000436643 through
        8        BRGEDEL000436664
        9

       10        Exhibit 86, e-mail correspondence                                 219
                 bearing Bates numbers
       11        BRGEDEL000175721 through
                 BRGEDEL000175724
       12

       13        Exhibit 87, e-mail correspondence                                 222
                 bearing the Bates number
       14        BRGEDEL000316529
       15

       16        Exhibit 88, e-mail correspondence                                 227
       17        bearing Bates number BRGEDEL000316533
       18

       19        Exhibit 89, multipage document                                    234
                 entitled                                    bearing
       20        Bates numbers BRGEDEL000448581
       21        through BRGEDEL000448613
       22




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        1                               E X H I B I T S
        2     NUMBER                        DESCRIPTION                            PAGE
        3        Exhibit 90, multipage document                                    238
                 entitled AKTA pure Protein
        4        Purification your way bearing Bates
                 numbers BRGEDEL000261366 through
        5        BRGEDEL000261396
        6
        7        Exhibit 91, multipage document                                    242

        8        purification your way bearing Bates
                 numbers BRGEDEL000263336 through
        9        BRGEDEL000263377
       10
       11        Exhibit 92, multipage document                                    244

       12        Introduction bearing Bates numbers
                 BRGEDEL000265458 through
       13        BRGEDEL000265494
       14
       15        Exhibit 93, multipage document                                    245

       16        Your interface to AXCELLENCE bearing
                 the Bates numbers BRGEDEL000439607
       17        through BRGEDEL000439643
       18
       19        Exhibit 94, multipage document                                    246

       20        purification your way bearing the
       21        Bates numbers BRGEDEL000440176
       22        through BRGEDEL000440229


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        1                               E X H I B I T S
        2     NUMBER                        DESCRIPTION                            PAGE
        3        Exhibit 95, multipage document                                    247
                 entitled Service Products bearing the
        4        Bates numbers BRGEDEL000441677
                 through BRGEDEL000441697
        5
        6        Exhibit 96, multipage document                                    248
                 entitled Life Sciences Validation
        7

                 Services bearing Bates numbers
        8        BRGEDEL000442435 through
                 BRGEDEL000442452
        9
       10        Exhibit 97, multipage document                                    249

       11

                 Additional automation bearing Bates
       12        numbers BRGEDEL000442885 through
       13        BRGEDEL000442924
       14
       15        Exhibit 98, two-page document                                     250

       16        pure for everyone., bearing the Bates
                 numbers BRGEDEL000262459 through
       17        BRGEDEL000262460
       18
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        1                 PREVIOUSLY MARKED EXHIBITS
        2     NUMBER            DESCRIPTION                                        PAGE
        3      Exhibit Iovanni-3, multipage document                                43
               entitled



        5        bearing Bates numbers BRGE00006279
                 through BRGE00006301
        6
        7        Exhibit Iovanni-4, multipage document                              65
                 entitled

                          bearing Bates numbers
        9        BRGEDEL000288592 through
                 BRGEDEL000288623
       10
       11        Exhibit Iovanni-5, multipage document                              70
                 entitled

                                 bearing Bates numbers
       13        BRGE00065053 through BRGE00065075
       14
       15        Exhibit Iovanni-6, multipage document                              73
                 entitled
                                            bearing
                 Bates numbers BRGE00006302 through
       17        BRGE00006305
       18
       19        Exhibit Iovanni-7, one-page document                               77
                 entitled

                                          bearing Bates number
       22        BRGE00065076


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        1                 PREVIOUSLY MARKED EXHIBITS
        2     NUMBER             DESCRIPTION                                       PAGE
        3      Exhibit Iovanni-10, multipage                                        80
               document entitled

                        bearing Bates numbers
        5        BRGE00006470 through BRGE00006479
        6
        7        Exhibit Iovanni-16, multipage                                      81
                 document entitled

                        bearing Bates numbers
        9        BRGE00065080 through BRGE00065089
       10
       11        Exhibit Iovanni-27, multipage                                      85
                 document entitled

                                   bearing Bates
       13        numbers BRGE00016955 through
                 BRGE00016987
       14
       15        Exhibit Iovanni-25, e-mail                                         92
                 correspondence bearing Bates numbers
       16        BRGEDEL000341332 through
                 BRGEDEL000341334
       17
       18        Exhibit Iovanni-30, multipage                                      96
                 document entitled

                        bearing Bates numbers
       20        BRGEDEL000014644 through
       21        BRGEDEL000014657
       22




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        1                       PREVIOUSLY MARKED EXHIBITS
        2     NUMBER                      DESCRIPTION                              PAGE
        3        Exhibit Iovanni-29, multipage                                     111
                 document bearing Bates numbers
        4        BRGEDEL000401625 through
                 BRGEDEL000401658
        5
        6        Exhibit Iovanni-31, multipage                                     116
                 document entitled


                 bearing Bates numbers
        8        BRGEDEL000401312 through
        9        BRGEDEL000401330
       10

       11        Exhibit Iovanni-33, multipage                                     122
                 document bearing Bates numbers
       12        BRGE00034403 through BRGE00034417
       13

       14        Exhibit Iovanni-35, e-mail                                        171
                 correspondence bearing Bates numbers
       15        BRGEDEL000300620
       16
       17        Exhibit Iovanni-36 multipage document                             171
                 entitled
                                          bearing Bates number
                 BRGEDEL000300621 through
       19        BRGEDEL000300645
       20

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        1                       PREVIOUSLY MARKED EXHIBITS
        2     NUMBER                      DESCRIPTION                              PAGE
        3        Exhibit Iovanni-37, e-mail                                        192
                 correspondence bearing Bates numbers
        4        BRGEDEL000421000 through
                 BRGEDEL000421001
        5

        6        Exhibit Iovanni-40, e-mail                                        194
                 correspondence bearing Bates numbers
        7        BRGEDEL000201040 through
        8        BRGEDEL000201041
        9

       10        Exhibit Iovanni-39, e-mail                                        202
                 correspondence bearing Bates numbers
       11        BRGEDEL000393786 through
       12        BRGEDEL000393789
       13

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       21     (Reporter's Note:              Exhibits were digitally
       22        marked by Document Technician.)



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                                                                                       Page 13
        1                           THE VIDEOGRAPHER:             Okay.       We are
        2                now on the record.              My name is Henry
        3                Marte, I'm a videographer on behalf of
        4                Digital Evidence Group.                 Today's date is
        5                July 9th, 2020 and the time is 9:02 a.m.
        6                           This deposition is being held via
        7                remote Zoom in the matter of Cytiva
        8                Sweden AB, et al., versus Bio-Rad
        9                Laboratories, Inc.              The deponent today
       10                is Dr. Farah Mavandadi.                 All appearances
       11                are noted on the stenographic record.
       12                           Will the court reporter please
       13                administer the oath to the witness?
       14                           THE REPORTER:           Counsel, before
       15                swearing in the witness I have a
       16                statement to put on the record.
       17                           The attorneys participating in
       18                this deposition acknowledge that due to
       19                the severity of COVID-19 and following
       20                the practice of social distancing, I am
       21                not physically present in the deposition
       22                room and I will be swearing in the



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                                                                                      Page 14
        1                witness and reporting this deposition
        2                remotely.
        3                           Do all parties stipulate to the
        4                validity of this remote swearing and
        5                remote reporting via video conference
        6                and that it will be admissible in the
        7                courtroom as if it had been taken
        8                following Rule 30 and other rules of the
        9                Federal Rules of Civil Procedures?
       10                           MR. MILLER:          This is Jeffrey
       11                Miller for the Plaintiffs, we -- we
       12                agree.
       13                           MR. CORREDOR:           Felipe Corredor
       14                for Defendant Bio-Rad, we agree as well.
       15                                        - - -
       16                           FARAH MAVANDADI, having been
       17                first duly sworn, was examined and
       18                testified as follows:
       19                                        - - -
       20                           THE REPORTER:           Thank you.
       21                           You may proceed.
       22                           MR. MILLER:          Thank you.



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                                                                                     Page 105
        1                           MR. CORREDOR:           Objection.
        2     BY MR. MILLER:
        3                Q.         -- is that correct?
        4                           MR. CORREDOR:           Objection to the
        5                form.
        6                           THE WITNESS:          That's what it
        7                appears to be.
        8                           Again, there were some elements,
        9                not everything we had thought about.
       10     BY MR. MILLER:
       11                Q.         Could you go to BRGE65119,
       12     please?
       13                A.         I am there.
       14                Q.         At the very top there's a
       15     sentence that says,




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        1     BY MR. MILLER:
        2                Q.




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                                                                                     Page 107
        1




        3     BY MR. MILLER:
        4                Q.         Was the AKTA avant a -- an
        5     automated liquid chromatography system?
        6                           MR. CORREDOR:           Objection to the
        7                form.
        8                           THE WITNESS:          I believe so.
        9     BY MR. MILLER:
       10                Q.         Could you go to BRGE65132?
       11                           Are you there?           It's on the
       12     screen for you.
       13                A.         Yes, I'm there.
       14                Q.




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                                                                                     Page 254
        1                                   CERTIFICATE
        2
        3          I, Debra Sapio Lyons, a Registered
              Diplomat Reporter, a Certified Realtime
        4     Reporter, a Certified Realtime Captioner, an
              Approved Reporter of the United States
        5     District Court for the Eastern District of
              Pennsylvania, a Certified Court Reporter for
        6     the State of New Jersey; and Notary Public do
              hereby certify:
        7          That Farah Mavandadi, the witness whose
              deposition is hereinbefore set forth, appeared
        8     remotely via Zoom videoconference, was
              remotely sworn by me and that such deposition
        9     is a true record of the testimony given by
              such witness, to the best of my ability and
       10     thereafter reduced to typewriting under my
              direction.
       11          I further certify that I am not related to
              any of the parties to this action by blood or
       12     marriage and that I am in no way interested in
              the outcome of the matter.
       13          In witness whereof, I have hereunto set my
              hand this 23rd day of July, 2020.
       14
       15
       16
       17
       18
       19                                 _____________________
       20                                 DEBRA SAPIO LYONS
       21                                 CRR, RDR, CRC, CCR, CPE
       22




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                                                                                       Page 1
                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE
              _______________________
                                        )
              GE HEALTHCARE             )
              BIO-SCIENCES AB and       )
              GLOBAL LIFE SCIENCES      )
              SOLUTIONS USA LLC,        )
                                        )
                         Plaintiffs,    )
                                        ) C.A. No. 18-1899-CFC
                    -vs-                )       CONSOLIDATED
                                        )
              BIO-RAD LABORATORIES,     )
              INC.,                     )
                                        )
                         Defendant.     )
              _______________________


                         **HIGHLY CONFIDENTIAL - TECHNICAL**
                               **ATTORNEY'S EYES ONLY**

                               VIDEOTAPED DEPOSITION
                      TAKEN REMOTELY VIA ZOOM VIDEOCONFERENCE
                                        OF
                                WAYNE CARLISLE BLAND

                             415 CAPITOL WAY NORTH
                         OLYMPIA, WASHINGTON 98501
                                  JULY 7, 2020
                                   9:02 A.M.
              REPORTED BY:
              DEBRA SAPIO LYONS, RDR, CRR, CRC, CCR, CLR, CPE
              ____________________________________________________
                               DIGITAL EVIDENCE GROUP
                           1730 M Street, NW, Suite 812
                               Washington, D.C. 20036
                                  (202) 232-0646


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                                                                                       Page 2
        1                                  July 7, 2020
        2             Videotaped deposition, taken remotely via
        3     Zoom videoconference, of Wayne Carlisle Bland,
        4     located at 415 Capitol Way North, Olympia,
        5     Washington        98501, reported remotely via Zoom
        6     Videoconference by Debra Sapio Lyons, a
        7     Registered Diplomat Reporter, a Certified
        8     Realtime Reporter, a Certified Realtime
        9     Captioner, a Certified LiveNote Reporter, an
       10     Approved Reporter of the United States
       11     District Court for the Eastern District of
       12     Pennsylvania, a Certified Court Reporter of
       13     the State of New Jersey, and a Notary Public
       14     of the State of Delaware.
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                                                                                         Page 3
        1     (All Counsel and Participants present via Zoom
        2     videoconference.)
        3
        4     APPEARANCES:
        5          ARNOLD & PORTER KAYE SCHOLER LLP
                   BY:     JEFFREY A. MILLER, ESQUIRE
        6          3000 El Camino Real Five Palo Alto
                   Square, Suite 500
        7          Palo Alto, California 94306-3807
                   650.319.4538
        8          jeffrey.miller@arnoldporter.com
                   Attorneys for Plaintiffs
        9
       10          QUINN EMANUEL URQUHART & SULLIVAN, LLP
                   BY: FELIPE CORREDOR, ESQUIRE
       11          50 California Street, 22nd Floor
                   San Francisco, California 94111
       12          415.875.6448
                   felipecorredor@quinnemanuel.com
       13          Attorneys for Defendant
       14
       15     ALSO PRESENT:
       16
       17          JOHN CASSINGHAM, ESQUIRE
                   BIO-RAD LABORATORIES, INC.
       18          HENRY MARTE, VIDEOGRAPHER/DOCUMENT TECH
                   DIGITAL EVIDENCE GROUP
       19
       20
       21
       22




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                                                                                            Page 4
        1                                    I N D E X
        2     WITNESS                                                                PAGE
        3     Wayne Carlisle Bland
        4        BY MR. MILLER                                                        11
        5                               E X H I B I T S
        6     NUMBER                         DESCRIPTION                             PAGE
        7        Exhibit 45, Plaintiff's Notice of                                    17
                 Deposition and Subpoena to Non-Party
        8        Wayne Bland
        9

       10        Exhibit 46, a multipage document                                     94
                 entitled
                             bearing Bates numbers
                 BRGEDEL000441628 through
       12        BRGEDEL000441653
       13

       14        Exhibit 47, a multipage document                                    102
                 entitled Hardware Specification
       15        bearing Bates numbers BRGE00096078
                 through BRGE00096094
       16

       17        Exhibit 48, a multipage document                                    120
                 entitled
                                        bearing Bates number
                 BRGEDEL000001507 through
       19        BRGEDEL000001540
       20

       21

       22




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                                                                                            Page 5
        1                               E X H I B I T S
        2     NUMBER                         DESCRIPTION                             PAGE
        3        Exhibit 49, a multipage document                                    122
                 entitled
                                 bearing Bates number
                 BRGEDEL000000972 through
        5        BRGEDEL000001007
        6
        7        Exhibit 50, a multipage document                                    126
                 entitled Hardware Specification
        8        bearing Bates numbers
                 BRGEDEL000450595 through
        9        BRGEDEL000450610
       10
       11        Exhibit 51, a multipage document                                    135
                 entitled
                                                             bearing
                 Bates number BRGEDEL000001234 through
       13        BRGEDEL000001260
       14
       15        Exhibit 52, a multipage document                                    137
                 entitled
       16        bearing Bates numbers
                 BRGEDEL000282551 through
       17        BRGEDEL000282564
       18
       19        Exhibit 53, a multipage document                                    149
                 entitled
                                                          bearing
       21        the Bates numbers BRGEDEL000001650
       22        through BRGEDEL000001693


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                                                                                            Page 6
        1                               E X H I B I T S
        2     NUMBER                         DESCRIPTION                             PAGE
        3        Exhibit 54, a multipage document                                    157
                 entitled
        4        bearing Bates numbers
                 BRGEDEL000281529 through
        5        BRGEDEL000281542
        6
        7        Exhibit 55, a multipage document                                    164
                 entitled
                                          bearing
                 Bates number BRGEDEL000001346 through
        9        BRGEDEL000001379
       10
       11        Exhibit 56, a multipage document                                    168
                 entitled Hardware Specification
       12        bearing Bates numbers
                 BRGEDEL000450743 through
       13        BRGEDEL000450757
       14
       15        Exhibit 57, multipage document                                      172
                 entitled
                                         bearing the
                 Bates Number BRGEDEL000001261 through
       17        BRGEDEL000001286
       18
       19        Exhibit 58, a multipage document                                    174
                 entitled Hardware Specification
       20        bearing the Bates Number
       21        BRGEDEL000451786 through
       22        BRGEDEL000451802


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                                                                                            Page 7
        1                      E X H I B I T S
        2     NUMBER              DESCRIPTION                                        PAGE
        3      Exhibit 59, a multipage document                                      179
               entitled
                                   bearing the Bates
               numbers BRGEDEL000001405 through
        5      BRGEDEL000001439
        6
        7        Exhibit 60, e-mail correspondence                                   184
                 bearing Bates number BRGEDEL98220
        8
        9        Exhibit 61, multipage document                                      185
                 entitled

                 bearing Bates numbers
       11        BRGEDEL000098221 through
                 BRGEDEL000098242
       12
       13        Exhibit 62, multipage document                                      186
                 entitled

                 bearing Bates numbers
       15        BRGEDEL000098243 through
                 BRGEDEL000098262
       16
       17        Exhibit 63, multipage document                                      186
                 entitled
                          bearing the Bates numbers
                 BRGEDEL000098263 through
       19        BRGELDEL000098270
       20
       21
       22




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        1                      E X H I B I T S
        2     NUMBER              DESCRIPTION                                        PAGE
        3      Exhibit 64, multipage document                                        187
               entitled

                           bearing the Bates numbers
        5        BRGEDEL000098271 through
                 BRGEDEL000098314
        6
        7                 PREVIOUSLY MARKED EXHIBITS
        8     NUMBER             DESCRIPTION                                         PAGE
        9      Exhibit Iovanni-6, a multipage                                         40
               document entitled

                          bearing Bates numbers
       11        BRGE00006302 through BRGE00006305
       12
       13        Exhibit Iovanni-30, a multipage                                      54
                 document entitled

                        bearing Bates numbers
       15        BRGEDEL000014644 through
                 BRGEDEL000014657
       16
       17        Exhibit Iovanni-10, a multipage                                      57
                 document entitled

                       , bearing Bates numbers
       19        BRGE00006470 through BRGE00006479
       20
       21
       22




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        1                       PREVIOUSLY MARKED EXHIBITS
        2     NUMBER                      DESCRIPTION                                PAGE
        3        Exhibit Iovanni-29, a multipage                                      73
                 document entitled Technical
        4        Specification bearing Bates number
                 BRGEDEL000401625 through
        5        BRGEDEL000401658
        6
        7        Exhibit Iovanni-44, United States                                   196
                 Patent No. 10,401,335
        8

        9        Exhibit Iovanni-35, e-mail                                          209
                 correspondence bearing Bates number
       10        BRGEDEL000300620
       11

       12        Exhibit Iovanni-36, multipage                                       209
                 document entitled
                                             bearing Bates
                 numbers BRGEDEL000300621 through
       14        BRGEDEL000300645
       15

       16        Exhibit Iovanni-39, e-mail                                          217
                 correspondence bearing Bates numbers
       17        BRGEDEL000393786 through
                 BRGEDEL000393789
       18
       19

       20
       21     (Reporter's Note:              Exhibits were digitally
       22        marked by Document Technician.)


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                                                                                      Page 10
        1                          THE VIDEOGRAPHER:              Okay.      We are
        2                now on the record.             My name is Henry
        3                Marte, videographer on behalf of Digital
        4                Evidence Group.
        5                          Today's date is July 7th, 2020
        6                and the time is 9:02 a.m. Pacific time.
        7                This is in the matter of GE Healthcare
        8                Bio-Sciences, AB et al., versus Bio-Rad
        9                Laboratories, Inc.             The deponent today
       10                is Wayne Bland.           All appearances are
       11                noted on the stenographic record.
       12                          Would the court reporter please
       13                administer the oath to the witness?
       14                          THE REPORTER:           Counsel, before
       15                swearing in the witness, I have a
       16                statement to put on the record.
       17                          The attorneys participating
       18                this -- in this deposition acknowledge
       19                that due to the severity of COVID-19 and
       20                following the practice of social
       21                distancing, I am not physically present
       22                in the deposition room and that I will



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                                                                                      Page 11
        1                be swearing in the witness and reporting
        2                this deposition remotely.
        3                          Do all parties stipulate to the
        4                validity of this remote swearing and
        5                remote reporting via video conference,
        6                and that it will be admissible in the
        7                courtroom as if it had been taken
        8                following Rule 30 and other rules of the
        9                Federal Rules of Civil Procedures?
       10                          MR. MILLER:          Jeffrey Miller, I
       11                agree.
       12                          MR. CORREDOR:           Felipe Corredor
       13                for Defendant Bio-Rad, we agree as well.
       14                          WAYNE CARLISLE BLAND, having been
       15                first duly sworn, was examined and
       16                testified as follows:
       17                          THE REPORTER:           Thank you.
       18                          You may proceed.
       19     EXAMINATION
       20     BY MR. MILLER:
       21                Q.        Good morning, Mr. Bland.
       22                A.        Good morning.



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                                                                                      Page 35
        1     had a -- let me start again.
        2                          Did each of the modules have a
        3     CPU on them?
        4                A.        They had -- they had -- yeah,
        5     we'll call it a CPU.
        6                Q.




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                                                                                      Page 39
        1




       19                Q.        Uh-huh.        Thank you.
       20                          And do you recall
       21     approximately -- well, scratch that.
       22                          When the first -- when the



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                                                                                      Page 85
        1                Q.        Yeah.
        2                A.        Okay.      All right.
        3                Q.        Yeah.      Let me make it clear so
        4     it -- we get a complete question.
        5




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        1     BY MR. MILLER:
        2




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                                                                                      Page 97
        1     BY MR. MILLER:
        2                Q.        If we could go to page
        3     BRGEDEL40001642, which is Page 18 of Exhibit
        4     29, and I'm looking -- looking at Row U.                          It
        5     says,




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        1                          Do you see that?
        2                A.        I do.
        3                Q.




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        1     BY MR. MILLER:
        2                Q.




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                                                                                     Page 101
        1

        2                          MR. MILLER:          Why don't we mark as
        3                the next exhibit, a document bearing the
        4                Bates number BRGE96078.                This will be
        5                Exhibit 47.
        6                          Let me make it more clear.                   So
        7                we'll -- let's mark as Exhibit 47 the
        8                document bearing Bates number BRGE96078
        9                through BRGE96094.
       10                          Let us know when that gets there.
       11                          THE VIDEOGRAPHER:              Give me --
       12                give me one second, all right?
       13                          Okay.      So I have 96078.              Is that
       14                what you're looking for?
       15                          MR. MILLER:          BRGE, not BRGEDEL.
       16                          You don't have it?
       17                          THE VIDEOGRAPHER:              Yeah.      I don't
       18                see that number here.
       19                          MR. MILLER:          Can we go off the
       20                record for a second?
       21                          MR. CORREDOR:           Sure.
       22                          THE VIDEOGRAPHER:              All right.



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                                                                                     Page 104
        1                go.
        2     BY MR. MILLER:
        3                Q.        So this particular page of
        4     Exhibit 47 states "Product Description."                          Do
        5     you see that?
        6                A.        I do.
        7                Q.        And about halfway down the page
        8     there's two lines.             One says, "Analytical
        9     range," and the other one says, "Preparative
       10     range."       Do you see that?
       11                A.        I do.
       12                Q.        Do you know what the -- do you
       13     have an understanding as to what those
       14     specifications are referring to?
       15                          MR. CORREDOR:           Objection, form.
       16                          THE WITNESS:           Go ahead.
       17     BY MR. MILLER:
       18                Q.        You can answer.
       19                A.        Okay.
       20                          Yes, in the chromatography field,
       21     and also in the scientific field, it's --
       22     these are types of analysis that are ran and



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        1     one is more precise than the other.
        2                Q.        Further down there's a line that
        3     states [as read]:




       15




       18




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        3




       14     BY MR. MILLER:
       15                Q.        Why don't we go to the next page
       16     of Exhibit 47 which is BRGEE96082.
       17                A.        Okay.
       18                Q.        And there I'm looking at the --
       19

                                                               .   Do you see
       21     that?
       22                A.        I do.



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                                                                                     Page 109
        1                Q.        I'm not so much interested in
        2     that, but the comment where it says
        3




       21     BY MR. MILLER:
       22                Q.        Let's go to Page 6, which is



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        1     BRGE6083.
        2                A.        Okay.
        3                Q.




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        4                Q.        Why don't we go to BRGEDEL450598?
        5                A.        Okay.
        6                          MR. MILLER:          Henry, are you
        7                there?
        8                          THE VIDEOGRAPHER:              I am.      I'm
        9                just looking for the document.
       10                          MR. MILLER:          Okay.      Well, let's
       11                keep going here.
       12     BY MR. MILLER:
       13                Q.




                                      Do you see that?
       18                          MR. CORREDOR:           Object to the
       19                form.
       20                          THE WITNESS:           Where are you at?
       21     BY MR. MILLER:
       22                Q.        BRGEDEL450598, which is Page 4.



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        1                A.        Okay.      Oh, right.          Okay.
        2                Q.




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        3




       16

       17                          THE REPORTER:           You'll need to
       18                repeat your objection.
       19                          MR. CORREDOR:           Object to the
       20                form.
       21     BY MR. MILLER:
       22                Q.        Can we go to BRGEDEL450601?



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        1                A.        Okay.
        2                Q.        The first -- or excuse me.




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                                                                                     Page 145
        1     you see that?
        2                          Mr. Bland, do you see what I'm
        3     looking at?
        4                A.        No, sorry.          I was in the wrong
        5     one.
        6                          Yes, I do.
        7                Q.




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                                                                                     Page 150
        1                Q.        Yes.
        2                A.        Not yet.
        3                          THE VIDEOGRAPHER:              Yeah, it's a
        4                -- it's a bit big, so it's still
        5                uploading.
        6                          THE WITNESS:           Oh, okay.
        7                          THE VIDEOGRAPHER:              Okay.      Refresh
        8                now.
        9                          THE WITNESS:           Okay.
       10     BY MR. MILLER:
       11                Q.        Can you identify Exhibit 53 for
       12     us, please?
       13                A.        Yes, this is




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                                                                                     Page 196
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        3




       13                          MR. MILLER:          Can we provide the
       14                witness with the -- with what's been
       15                previously marked as Exhibit 44, please.
       16                          (Exhibit Iovanni-44, United
       17                States Patent No. 10,401,335 was
       18                previously marked for identification.)
       19     BY MR. MILLER:
       20                Q.        Can you identify Exhibit 44 for
       21     us, please?
       22                A.        I don't see it.



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                                                                                      Page 197
        1                Q.        Oh.
        2                          THE VIDEOGRAPHER:              So it's --
        3                it's up.       It doesn't start with an "E"
        4                so...
        5                          MR. MILLER:          Yeah, this is --
        6                          THE VIDEOGRAPHER:              It's Iovanni
        7                Exhibit 44.         You should --
        8                          THE WITNESS:           Ah.
        9                          THE VIDEOGRAPHER:              -- refresh
       10                your page.
       11                          THE WITNESS:           No.
       12                          THE VIDEOGRAPHER:              You got it?
       13                          THE WITNESS:           Did you just upload
       14                it?
       15                          THE VIDEOGRAPHER:              I did.        Well,
       16                about ten seconds ago or more.
       17                          THE WITNESS:           Oh, okay.         I
       18                thought it was an older document.                      Oh,
       19                okay.
       20                          Okay.      I have it up.
       21     BY MR. MILLER:
       22                Q.        Can you identify Exhibit 44 for



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                                                                                     Page 222
        1                                  CERTIFICATE
        2
        3             I, Debra Sapio Lyons, a Registered
              Diplomat Reporter, a Certified Realtime
        4     Reporter, a Certified Realtime Captioner, an
              Approved Reporter of the United States
        5     District Court for the Eastern District of
              Pennsylvania, a Certified Court Reporter for
        6     the State of New Jersey; and Notary Public for
              the State of Delaware do hereby certify:
        7
        8          That Wayne Carlisle Bland, the witness
              whose deposition is hereinbefore set forth,
        9     was duly sworn by me and that such deposition
              is a true record of the testimony given by
       10     such witness, to the best of my ability and
              thereafter reduced to typewriting under my
       11     direction.
       12
       13          I further certify that I am not related to
              any of the parties to this action by blood or
       14     marriage and that I am in no way interested in
              the outcome of the matter.
       15          In witness whereof, I have hereunto set my
       16     hand this 19th day of July, 2020.
       17
       18
       19                                 _____________________
       20                                 DEBRA SAPIO LYONS
       21                                 CRR, RDR, CRC, CCR, CPE
       22




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            NGC Chromatography Systems
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            Installation Guide

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            Bio-Rad Technical Support Department
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                                                         ·² ³·²±® ±® ³±¼»®¿¬» °»®­±²¿´ ·²¶«®§ ±®
                                                         ¼¿³¿¹» ¬± ¬¸» ·²­¬®«³»²¬ò Ü± ²±¬
                                                         °®±½»»¼ «²¬·´ ¿´´ ­¬¿¬»¼ ½±²¼·¬·±²­ ¿®»
                                                         ³»¬ ¿²¼ ½´»¿®´§ «²¼»®­¬±±¼ò


                  Safety Precautions
                  Caution: Ì¸» ©»·¹¸¬ ±º ¬¸» ÒÙÝ ­§­¬»³ ª¿®·»­ º®±³ ³±¼»®¿¬» ¬± ¸»¿ª§
                  ¼»°»²¼·²¹ ±² ¬¸» ­§­¬»³ ·² °´¿½»ò Ì¿µ» ½¿®» ©¸»² ´·º¬·²¹ ¬¸» ·²­¬®«³»²¬ ±²¬±
                  ¬¸» ´¿¾ ¾»²½¸ ±® ·²¬± ¿ ­¬¿²¼¿®¼ ½±´¼ ½¿¾·²»¬ò Ì± ®»¼«½» ¬¸» ®·­µ ±º °»®­±²¿´
                  ·²¶«®§ ±® ¼¿³¿¹» ¬± ¬¸» ·²­¬®«³»²¬ô ¬¸®»» ±® ³±®» °»±°´» ­¸±«´¼ °»®º±®³ ¬¸·­
                  ¬¿­µò

                  WARNING! Ü·­½±²²»½¬ °±©»® ¬± ¬¸» ÒÙÝ ­§­¬»³ ¾»º±®» ·²­»®¬·²¹ô ®»³±ª·²¹ô
                  ±® ³±ª·²¹ ³±¼«´»­ò Ò± «­»®ó­»®ª·½»¿¾´» °¿®¬­ ¿®» ·²­·¼» ¿²§ ½±³°±²»²¬ «²´»­­
                  ²±¬»¼ ·² ¬¸·­ ³¿²«¿´ò Î»º»® ­»®ª·½·²¹ ¯«»­¬·±²­ ¬± Þ·±óÎ¿¼ ­»®ª·½» °»®­±²²»´ò

                                                                                   ×²­¬¿´´¿¬·±² Ù«·¼»   ¤   ç
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          ï   ¤   ×²¬®±¼«½¬·±²


          Regulatory Information
                         Ì¸» ÒÙÝ ·²­¬®«³»²¬ ¸¿­ ¾»»² ¬»­¬»¼ ¿²¼ º±«²¼ ¬± ¾» ·² ½±³°´·¿²½» ©·¬¸ ¿´´
                         ¿°°´·½¿¾´» ®»¯«·®»³»²¬­ ±º ¬¸» º±´´±©·²¹ ­¿º»¬§ ¿²¼ »´»½¬®±³¿¹²»¬·½ ½±³°´·¿²½»
                         ­¬¿²¼¿®¼­ò Ì¸» ÒÙÝ ·²­¬®«³»²¬ ·­ ´¿¾»´»¼ ©·¬¸ ¬¸» º±´´±©·²¹ ½±³°´·¿²½» ³¿®µ­ò


                         Safety Compliance
                         ÝÛ Ó¿®µæ

                                 ÛÒêïðïðóï Û´»½¬®·½¿´ Û¯«·°³»²¬ º±® Ó»¿­«®»³»²¬ô Ý±²¬®±´ô ¿²¼
                                 Ô¿¾±®¿¬±®§ Ë­»

                                 ×ÛÝ êïðïðóï Í¿º»¬§ Î»¯«·®»³»²¬­ º±® Ó»¿­«®»³»²¬ô Ý±²¬®±´ô ¿²¼
                                 Ô¿¾±®¿¬±®§ Ë­»ô Ð¿®¬ ïæ Ù»²»®¿´ Î»¯«·®»³»²¬­

                         ½ÌËÊ«­ Ó¿®µæ

                                 ËÔ ÍÌÜ Ò±ò êïðïðóï Û´»½¬®·½¿´ Û¯«·°³»²¬ º±® Ó»¿­«®»³»²¬ô Ý±²¬®±´ô ¿²¼
                                 Ô¿¾±®¿¬±®§ Ë­»ô Ð¿®¬ ïæ Ù»²»®¿´ Î»¯«·®»³»²¬­

                                 ÝßÒñÝÍß Ýîîòî Ò±ò êïðïðóïóïî Í¿º»¬§ Î»¯«·®»³»²¬­ º±® Ó»¿­«®»³»²¬ô
                                 Ý±²¬®±´ô ¿²¼ Ô¿¾±®¿¬±®§ Ë­»ô Ð¿®¬ ïæ Ù»²»®¿´ Î»¯«·®»³»²¬­ ø·²½´«¼»­
                                 ß³»²¼³»²¬ ï÷

                         Ð®±¼«½¬­ ©·¬¸ ¬¸»­» ­¿º»¬§ ½±³°´·¿²½» ³¿®µ­ ¿®» ­¿º» ¬± «­» ©¸»² ±°»®¿¬»¼ ·²
                         ¿½½±®¼¿²½» ©·¬¸ ¬¸» ·²­¬®«½¬·±² ³¿²«¿´ò Ì¸·­ ¼±»­ ²±¬ »¨¬»²¼ ¬± ¿½½»­­±®·»­ ©·¬¸
                         ²± ³¿®µ­ô »ª»² ©¸»² «­»¼ ©·¬¸ ¬¸·­ «²·¬ò


                         Electromagnetic Compatibility (EMC)
                         ÝÛ Ó¿®µæ

                                 ÛÒêïíîê Ý´¿­­ ß Û´»½¬®·½¿´ Û¯«·°³»²¬ º±® Ó»¿­«®»³»²¬ô Ý±²¬®±´ô ¿²¼
                                 Ô¿¾±®¿¬±®§ Ë­»ô Ù»²»®¿´ Î»¯«·®»³»²¬­

                         Ì¸» ÒÙÝ ·²­¬®«³»²¬ ·­ ¼»­·¹²»¼ ¬± ±°»®¿¬» ·² ¿ ½±²¬®±´´»¼ »´»½¬®±³¿¹²»¬·½
                         »²ª·®±²³»²¬ò Ü± ²±¬ «­» ®¿¼·± ¬®¿²­³·¬¬»®­ ©·¬¸·² ïð º¬ øí ³÷ ±º ¬¸» ·²­¬®«³»²¬ò




          ïð ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
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                                                         Ý±²²»½¬·²¹ ¬¸» Ð±©»® ¿²¼ Ý±³³«²·½¿¬·±² Ý¿¾´»­




          Connecting the Power and Communication Cables
                  Ì¸» °±©»® ­±½µ»¬­ ¿²¼ ½±³³«²·½¿¬·±² °±®¬­ º±® ¬¸» ÒÙÝ ­§­¬»³ ¿®» ´±½¿¬»¼ ±²
                  ¬¸» ¾¿½µ ±º ¬¸» ·²­¬®«³»²¬ò Þ»½¿«­» ¬¸» ¾¿½µ ±º ¬¸» ·²­¬®«³»²¬ ©·´´ ¾» ª»®§ ½´±­» ¬±
                  ¬¸» ¾¿½µ ±º ¬¸» ­¬¿²¼¿®¼ ½±´¼ ½¿¾·²»¬ô ·¬ ·­ ®»½±³³»²¼»¼ ¬¸¿¬ §±« ½±²²»½¬ ¬¸»
                  °±©»® ¿²¼ ½±³³«²·½¿¬·±² ½¿¾´»­ ¾»º±®» ´·º¬·²¹ ¬¸» ·²­¬®«³»²¬ ·²¬± ¬¸» ½¿¾·²»¬ò

                  Note: Ì¸» Ý¿¬ ê »¬¸»®²»¬ ½¿¾´» ¬± ½±²²»½¬ ¬¸» ÒÙÝ ·²­¬®«³»²¬ ¬± ¬¸»
                  ½±³°«¬»® ®«²²·²¹ Ý¸®±³Ô¿¾ ­±º¬©¿®» ·­ ¿°°®±¨·³¿¬»´§ ïðù øíòð ³÷ ·² ´»²¹¬¸ò




                  ÔÛÙÛÒÜ
                  ï     Ð±©»® ±²ñ±ºº ­©·¬½¸               î     Ú«­» ½±ª»®
                  í     Ð±©»® ·²´»¬ °±®¬                  ì     Ð±©»® ±«¬´»¬ °±®¬­
                  ë     Û¬¸»®²»¬ ½±²²»½¬·±² °±®¬          ê     Ì±«½¸ ­½®»»² ½±²²»½¬·±² °±®¬




                                                                                ×²­¬¿´´¿¬·±² Ù«·¼»   ¤   éé
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          í   ¤   Í»¬¬·²¹ Ë° ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­


                        To connect the power and communication cables
                        ïò   ×º §±« ¸¿ª» ²±¬ ¿´®»¿¼§ ¼±²» ­±ô ·²­»®¬ ¬¸» »²¼ ±º ¬¸» ¬±«½¸ ­½®»»² ½¿¾´» ·²¬±
                             ¬¸» ¬±«½¸ ­½®»»² ½±²²»½¬·±² °±®¬ ±² ¬¸» ¾¿½µ ±º ¬¸» ·²­¬®«³»²¬ò

                        îò   ×²­»®¬ ¬¸» Ý¿¬ ê ø±® ¸·¹¸»®÷ ½¿¾´» ·²¬± ¬¸» »¬¸»®²»¬ °±®¬ ±² ¬¸» ¾¿½µ ±º ¬¸»
                             ·²­¬®«³»²¬ò

                        íò   øÑ°¬·±²¿´÷ Ý±²²»½¬ ¬¸» °±©»® ½±®¼­ º±® ¿²§ °»®·°¸»®¿´ ·²­¬®«³»²¬­ ·²¬± ¬¸»
                             °±©»® ±«¬´»¬ °±®¬­ò

                        ìò   Ý±²²»½¬ ¬¸» °±©»® ½¿¾´» ¬± ¬¸» °±©»® ·²´»¬ °±®¬ò

                        ëò   ×º ·²­¬¿´´·²¹ ¬¸» ÒÙÝ ·²­¬®«³»²¬ ·²¬± ¿ ­¬¿²¼¿®¼ ½±´¼ ½¿¾·²»¬ô ¼·®»½¬ ¬¸»
                             º±´´±©·²¹ ½¿¾´»­ ¬¸®±«¹¸ ¬¸» ¿½½»­­ °±®¬ ±² ¬¸» ­·¼» ±º ¬¸» ½¿¾·²»¬æ

                                  Ì±«½¸ ­½®»»² ½¿¾´»

                                  Û¬¸»®²»¬ ½¿¾´»

                                  Ð±©»® ½¿¾´» ø·º §±«® ½¿¾·²»¬ ¼±»­ ²±¬ ¸¿ª» ¿ °±©»® ±«¬´»¬÷

                        êò   Ð®»­­ ¬¸» ×ñÑ °±©»® ­©·¬½¸ ¬± ¬¸» Ñ² °±­·¬·±²ò

                             Caution: Ì¸» ©»·¹¸¬ ±º ¬¸» ÒÙÝ ·²­¬®«³»²¬ ª¿®·»­ º®±³ ³±¼»®¿¬» ¬±
                             ¸»¿ª§ ¼»°»²¼·²¹ ±² ¬¸» ­§­¬»³ò Ì¿µ» ½¿®» ©¸»² ´·º¬·²¹ ¬¸» ·²­¬®«³»²¬ ·²¬±
                             ¬¸» ½±´¼ ½¿¾·²»¬ò Ì± ®»¼«½» ¬¸» ®·­µ ±º °»®­±²¿´ ·²¶«®§ ±® ¼¿³¿¹» ¬± ¬¸»
                             ·²­¬®«³»²¬ô ¬¸®»» ±® ³±®» °»±°´» ­¸±«´¼ °»®º±®³ ¬¸·­ ¬¿­µò

                        éò   ×º ·²­¬¿´´·²¹ ¬¸» ÒÙÝ ·²­¬®«³»²¬ ·²¬± ¿ ­¬¿²¼¿®¼ ½±´¼ ½¿¾·²»¬æ

                             ¿ò   Ô·º¬ ¬¸» ·²­¬®«³»²¬ ·²¬± °±­·¬·±²ò

                             ¾ò   Ý±²²»½¬ ¬¸» °±©»® ½¿¾´» ¬± ¬¸» °±©»® ±«¬´»¬ò




          éè ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
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                                                   Ý±²²»½¬·²¹ ¬¸» ÒÙÝ Í§­¬»³ ¬± ¬¸» Ý¸®±³Ô¿¾ Ý±³°«¬»®




          Connecting the NGC System to the ChromLab Computer
                  Note: Û²­«®» ¬¸¿¬ ¬¸» Ý¸®±³Ô¿¾ ½±³°«¬»® ¿²¼ ¬¸» ÒÙÝ ·²­¬®«³»²¬ ¿®»
                  °±©»®»¼ ±ºº ¾»º±®» ¾»¹·²²·²¹ ¬¸·­ ¬¿­µò

                  Ç±« ½¿² ½±²²»½¬ ¬¸» ÒÙÝ ­§­¬»³ ¬± ¬¸» Ý¸®±³Ô¿¾ ½±³°«¬»® ·² ±²» ±º ¬©± ©¿§­æ

                      Ü·®»½¬ ½¿¾´» ½±²²»½¬·±² «­·²¹ ¿ Ý¿¬ ê »¬¸»®²»¬ ½¿¾´»

                      Ò»¬©±®µ ½±²²»½¬·±² ¬¸®±«¹¸ §±«® ²»¬©±®µ ·²º®¿­¬®«½¬«®»


                  Establishing a Direct Cable Connection
                  Tip: Ç±« ­¸±«´¼ ¸¿ª» ¿´®»¿¼§ ·²­»®¬»¼ ¬¸» Ý¿¬ ê »¬¸»®²»¬ ½¿¾´» ·²¬± ¬¸» °±®¬ ¿¬
                  ¬¸» ¾¿½µ ±º ¬¸» ÒÙÝ ·²­¬®«³»²¬ò Í»» Ì± ½±²²»½¬ ¬¸» °±©»® ¿²¼ ½±³³«²·½¿¬·±²
                  ½¿¾´»­ ±² °¿¹» éèò

                  ×º ¬¸» Ý¸®±³Ô¿¾ ½±³°«¬»® ¸¿­ ¬©± ²»¬©±®µ ¿¼¿°¬»®­ ¿²¼ §±« ¿®» »­¬¿¾´·­¸·²¹ ¿
                  ¼·®»½¬ ½±²²»½¬·±² ¬± ¬¸» ÒÙÝ ·²­¬®«³»²¬ô §±« ½¿² «­» ¬¸» ­»½±²¼ ¿¼¿°¬»® ¬±
                  ½±²²»½¬ ¬¸» ½±³°«¬»® ¬± §±«® ½±³°¿²§­ ²»¬©±®µò

                  To establish a direct cable connection
                      ×²­»®¬ ¬¸» ´±±­» »²¼ ±º ¬¸» Ý¿¬ ê »¬¸»®²»¬ ½¿¾´» ·²¬± ±²» ±º ¬¸» »¬¸»®²»¬
                      ½±²²»½¬·±² °±®¬­ ±² ¬¸» ½±³°«¬»® ±² ©¸·½¸ §±« °´¿² ¬± ·²­¬¿´´ Ý¸®±³Ô¿¾ò

                  Note: Ì¸» ²»¬©±®µ ¿¼¿°¬»® ¬¸¿¬ ·­ «­»¼ ¬± ½±²²»½¬ ¬¸» ÒÙÝ ·²­¬®«³»²¬ ²»»¼­
                  ¬± ¾» ½±²º·¹«®»¼ ¬± «­» ÌÝÐñ×Ð ìòð ©·¬¸ ¼§²¿³·½ ¸±­¬ ½±²º·¹«®¿¬·±² °®±¬±½±´
                  øÜØÝÐ÷ò Ú±® ·²º±®³¿¬·±² ¿¾±«¬ ½±²º·¹«®·²¹ ¬¸» ²»¬©±®µ ¿¼¿°¬»®ô ­»»
                  Ý±²º·¹«®·²¹ ¬¸» Ò»¬©±®µ ß¼¿°¬»® º±® Ü·®»½¬ Ý±²²»½¬·±² ±² °¿¹» ïëèò




                                                                               ×²­¬¿´´¿¬·±² Ù«·¼»   ¤   éç
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          í   ¤   Í»¬¬·²¹ Ë° ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­


                        Establishing a Network Connection
                        É¸»² »­¬¿¾´·­¸·²¹ ¿ ½±²²»½¬·±² ¾»¬©»»² ¬¸» ÒÙÝ ­§­¬»³ ¿²¼ ¬¸» Ý¸®±³Ô¿¾
                        ½±³°«¬»® ¬¸®±«¹¸ §±«® ²»¬©±®µ ·²º®¿­¬®«½¬«®»ô »²­«®» ¬¸¿¬ ¬¸»§ ¿®» ¾±¬¸ ±² ¬¸»
                        ­¿³» ­«¾²»¬ò ß ÜØÝÐ ­»®ª»® ·­ ®»¯«·®»¼ ­± ¬¸¿¬ ¬¸» ­§­¬»³ ®»½»·ª»­ ¿² ×Ð ¿¼¼®»­­ò

                        Note: Ì¸» ÜØÝÐ ­»®ª»® ­¸±«´¼ ¾» ½±²º·¹«®»¼ ¬± ¿´©¿§­ ¿­­·¹² ¬¸» ­¿³» ×Ð
                        ¿¼¼®»­­ ¬± ¬¸» ­§­¬»³ò Í»» §±«® ²»¬©±®µ ¿¼³·²·­¬®¿¬±® º±® ³±®» ·²º±®³¿¬·±²ò

                        Tip: Ç±« ­¸±«´¼ ¸¿ª» ¿´®»¿¼§ ·²­»®¬»¼ ¬¸» Ý¿¬ ê »¬¸»®²»¬ ½¿¾´» ·²¬± ¬¸» °±®¬ ¿¬
                        ¬¸» ¾¿½µ ±º ¬¸» ÒÙÝ ·²­¬®«³»²¬ò Í»» Ì± ½±²²»½¬ ¬¸» °±©»® ¿²¼ ½±³³«²·½¿¬·±²
                        ½¿¾´»­ ±² °¿¹» éèò

                        To establish a network connection
                            ×²­»®¬ ¬¸» ´±±­» »²¼ ±º ¬¸» Ý¿¬ ê »¬¸»®²»¬ ½¿¾´» ·²¬± ¬¸» ²»¬©±®µ ½±²²»½¬·±²
                            ®±«¬»® ±® ¸«¾ò




          èð ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
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                                     Þ·±óÎ¿¼
                                     Ô¿¾±®¿¬±®·»­ô ×²½ò


      Ô·º» Í½·»²½»                   É»¾ ­·¬» ¾·±ó®¿¼ò½±³ ËÍß ï èðð ìîì êéîí ß«­¬®¿´·¿ êï î ççïì îèðð ß«­¬®·¿ ìí ðï èéé èçðïç Þ»´¹·«³ íî ðí éïð ëí ðð
                                     Þ®¿¦·´ ëë ïï íðêë éëëð Ý¿²¿¼¿ ï çðë íêì íìíë Ý¸·²¿ èê îï êïêç èëðð Ý¦»½¸ Î»°«¾´·½ íê ðï ìëç êïçî
      Ù®±«°                          Ü»²³¿®µ ìë ðì ìëî ïð ðð Ú·²´¿²¼ íë ðè çèð ìîî ðð Ú®¿²½» íí ðï ìéç ëçí ðð Ù»®³¿²§ ìç ðèç íïèè ìíçí
                                     Ø±²¹ Õ±²¹ èëî îéèç ííðð Ø«²¹¿®§ íê ðï ìëç êïçð ×²¼·¿ çï ïîì ìðîçíðð ×­®¿»´ çéî ðí çêí êðëð ×¬¿´§ íç ðî ìçìèêêðð
                                     Ö¿°¿² èï í êíêï éððð Õ±®»¿ èî î íìéí ììêð Ó»¨·½± ëî ëëë ìèè éêéð Ì¸» Ò»¬¸»®´¿²¼­ íï ð íïè ëìð êêê
                                     Ò»© Æ»¿´¿²¼ êì ç ìïë îîèð Ò±®©¿§ ìé ð îíí èìï íð Ð±´¿²¼ íê ðï ìëç êïçï Ð±®¬«¹¿´ íëï îï ìéîééïé
                                     Î«­­·¿ é ìçë éîï ïì ðì Í·²¹¿°±®» êë êìïë íïèè Í±«¬¸ ßº®·½¿ íê ðï ìëç êïçí Í°¿·² íì ðçï ìç ðê ëèð
                                     Í©»¼»² ìê ðè ëëë ïîé ðð Í©·¬¦»®´¿²¼ ìï ðêïé ïé çëëë Ì¿·©¿² èèê î îëéè éïèç Ì¸¿·´¿²¼ êê î êëï èíïï
                                     Ë²·¬»¼ ß®¿¾ Û³·®¿¬»­ çéï ì èïèéíðð Ë²·¬»¼ Õ·²¹¼±³ ìì ðïçîí ìé ïíðï


      ïðððððìçðçð Ê»® Ý øïððîêîëî÷     ËÍñÛÙ                                                                                  ïèóðëîè   ðêïè   Í·¹ ðïïè
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    112            4                             adequate
    1177                          8              admit
    12                            867            admits
    120            40             88             adopt
    1287           41
    13                                      9    adopted
    130            42                            advised          anticipate
    1372           45             9                               anticipated
                                                 advocating
    14                            94                              anyway
                                                 affected
                   47                            age
    1465           48                       A    ago              apologize
    1477           49                            agree
                   4A             a.m
                                                                  apparatus
                                  AB
    15
                                  ability
    16                                                            appear
    18-1899-CFC          5                                        APPEARANCES

                   5
    19                                                            applicable
                   50             able
    1:12
                                                 agreed           applicant
                   52
            2      53
                                                 agreement

    2              54                            agrees           appreciate
                                                 ahead            approach
                   55                                             Arctic
                   57             absolute
                   58             absolutely
    2003                                         air
    2013                                         ALAN             arguably
    2020           59                            Alan             argue
    203                                          all-or-nothing
                                  abstract
    21
                                  abundantly
    22                   6                       alleged          argued
                                  accept
                                                 allow            argues
                   6              According
                                                                  arguing
                                  according
    23
    25                                           allows
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                   authority                      bit            BY
    argument       automated                      bizarre
                                   big            blob           bye
                                                  blown          bye-bye
                                   BILSKER        boards         bypass
                                                  body
                                                                              C
                                                                 cabinet
                   automatic                                     California
                   automation
    argument's     available                      bottom         callout
    arguments      aware                                         candid
                                                                 cannot
                               B                  boundaries
    arise
    ARNOLD         bad                            box
    Arnold         barrier                        boxes
    arranged       barring                        brain
                   base            Bilsker        breaks         capable
                   based                          breathe

    arrangement                                   breathes
                   baseplate       BIO            brief          capturing
    art            basic           Bio                           cards
                   basis                                         carefully

                                                                 carry
                                                                 carve
                                                                 case

                                                  briefing

    article        become
                   becomes                        briefly

    articulated    BEFORE                         briefs
    aspect         begin
                   beginning                      bring          cases
                   begs                           broad
    aspects                        BIO-RAD
    asserted       behalf          Bio-Rad
                   below                          broader        cassette
    asserting
    associate      benefit                        broke          cassettes
    associated     Bergstrom
    assume                                                       Cat
                                                  broken
    assumed
    assuming                                      buff           category
    attached                                      building       cautionary
                                   Bio-Rad's                     cell
                                                  bulk
    attachment                                                   cellphone
                                                  bullet
                                                  bunch          certain
    attention
                   best                                          certainly
                   better                         business
                                   BIO-SCIENCES
    attorney       between                        buy
                                                                 cetera
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    chambers                                     complexity
    chance                                       complicated
                                                 component       compromise
    change
                                                                 computer

    changeable                                                   concede
                                                                 concept
    changing                      clearer
    characterized                 clearly
                                                                 concerned
    chart
    chassis                                                      concerning
    check                         client                         concluded
    chicken
    chromatography                                               conclusion
                                  cloning                        conference
                                  close
                                  closely                        confident
                                  cloud                          configurable
                                  cognizant      components
                                  coined                         configuration

                                                                 configurations
                                  colleague
                                  COLM                           configured
                                  column                         confirmed
                                                                 confused

                                                                 connect
                      claimed
                                                                 connected
                                  combination
                      claims
                                  coming                         connection

                                  commenced
    chronologically               comments                       connections

    circle                        commercial                     CONNOLLY
                                                                 connotes
                                  common                         consequence
    circuit
    Circuit                       commonly                       consider
                                  communicate
                                                                 considered
                                  company
                                                                 consistent
    circular                      COMPANY
    citation                      compelling
    citations
    cite                          competing                      constitutes
                      clarifies
                                  complained                     construction
                      clause
    cited                         complaint
                                  complete
                      clear
                                                 comprise
    cites                         completely
                                                 comprised
    CIVIL
                                                 comprising
    claim
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 857 of 1041 PageID #:
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                                                                 detectors
                    CORREDOR                     decision
                                                                 determine
                                                                 developed
                                                 deck            developing
                                                                 deviate
                                                                 device
                                                 declaration
                                                 defect
                                                 defective
                                                                 diagram
                                                 Defendant       dictionary
                                                                 differ
                                                 defendant       difference
                                                 defense
    constructions   Corredor
                                                 defies          different
                    corresponds                  defined
    construe
                    CORROON
                    Counsel                      defining
                    counsel                      definitely
                                                 definition

    construed       couple
                                                 degraded
    construing      course        court
                                                 degree
                    COURT         Court
                                                 DELAWARE
    consuming                                    Delaware
    contain                       cover
                                  covers
                                                 delicate
                                  crazy
    contemplates                  crystal
                                                 deliver
                                  cumbersome
    contemplating                                demonstrates    differentiates
                                  cup
    contend                       curious        dependent       differently
                                  current                        differs
    contended                     customer                       difficult
    context                                      depicted
                                  customize                      digest
    continuation                                 describe        digital
                                  Cytiva         described       dipped
    Continued                                                    direct
    contrast                                 D   describes
    control                                      description
                                  D.C                            directed
                                  DAVID
    controlled                    David                          disagree
    cooler                                                       disagreement
    copy                          de
                                                 design
    core                          dead                           disallow
    corn                          dead-on        design-around   disavowal
    corner                        deal
                                  dealing        designed

    CORPORATION                   decide         detector
                                  decided                        disclaimer
    correct                                                      disclosed
                                  deciding
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    discloses                    E                 exactly
    disclosure
    discussed        e-mailed                                     extent
                     early                         Examiner
                     easier                                       external
    discusses
    discussing       egg
                     eight                         example
    discussion
                     either

                                                                  extraordinarily
                     electric
    discussions                                                   extremely
                     ELECTRIC        element
    dispensing       electrical
                                     elsewhere     examples                   F
    dispositive                      EMANUEL
    dispute                          Emanuel       except         F.3d
                                     embodiment    excerpt        facility
                                                                  fact
    disputed                                       excerpted
    disregard                        embodiments   excerpts

    distinct                                       exchange       fails
                                                                  fair
    distinction                      end           exchangeable
                                     enforces
    distinctions                     English       exchanged      fairness
                                     entire                       fall
    distinguish                                    exclude        far
    distinguished    Electro
                     electrode       entitled      excluded       fashioned
    distinguishes                    equality                     favor
                                     equally       excluding
    distinguishing                                 exclusively    feature
                                     equating      excuse
                                     escapes                      features
    DISTRICT                         especially
    disturbed                                      exhibit        Federal
    done
    door                             ESQ           Exhibit
    double
    doubt
    down                             essentially   exist          feed
                     electron                      exists         FELIPE
    drafting         electronic      et            experience     Felipe
    draw
                                     event         experiment     few
                                     everyday
                                     evidence      experimental   field
    drawbacks
    drawings                                       experiments    fifth
    drive                                          experts
    dry                                            explain        fighting
    during                           evident       explained      figure

                     electronics                   explaining
                                     exact         explicit       Figure
                                                   explicitly
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                                                                    hardwired
                                  focus             GE's            head
                                                    GENERAL         HEALTHCARE
                                                    general
                                  focused                           hear
    figures                       focusing          generally
    file                                            generic
                   fluidics       folks             giant
                                  follow
                                  following         given
                                  follows
    fill                          footnote          govern          heard
    finalize                      FOR               grant
    fine                          form              gravity
                                  formed            great           hearing
    finish                        forth             green           heart
    first                                           grounds         heat
                                  forthwith         groundwork      heavily
                                  forty             group
                                  Fought            grouping        held
                                  four
                                                    groupings       hello
                                                    guess           help
    fit
    fits                                                            helpful
    five                          fourth                            helps
                                  Francisco
    fixed                         frankly                           Hess
    flexible                                        Gunning
    flip
    flow                          front                         H
                                  full
                                  full-blown        HAD
                                  function          half            Hewlett
    flowthrough
    fluid                         functionalities   hand            Hewlett-Packard

                                  functionality                     high
                                                                    highlighted

                                                    handle
                                                    handling        highlights

                                                                    highly
                                                                    history

                                  functions



                                              G
                                  gas
                                  gate
                                  gauge                             hit
                                  GCS's                             hold
    fluidic                       GE
                                                    happy
                                                    hard            home
                                                                    honest
                   fluids                                           Honor
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                      importantly      instance             intrinsic        John
                                                                             joining
                      improved         instances                             joint
                                       instituted           INV              judicious
                      IN               institution                           jury
                      in-house         instructing          invalidity
                      INC              integral
                      incidentally     integrated                            justified
                      inclined                              invented
                                       interchange          invention                    K
                      include
                                       interchangeability                    Katzenham
                                                                             KAYE
                                                                             keep
                      includes

                                                                             KELLER
    Honor's           including                                              Keller
                      inconsistent                                           kernels
    HONORABLE                          interchangeable      inventions
                                                            inventive        key
    hooked            indefinite
    house                                                   inventors
                                                            involve          kind
    housing           independent                           involved
                                                            IPR



                      indicates                                              kinds
                      indicating                            iridescent
                      indirect                                               knobs
    hypo              individual                            Iridescent       known
    hypothetical      individualized                        isolated
                                                            isotope                      L
                  I   Industries                            issue
                      informative                                            labeled
    idea                                                                     laboratories
                      infringe
                                                                             LABORATORIES
    identified                         interchangeably
                      infringement
                                                                             lacks
    identify                           interchanged                          laid
    ignore                                                                   language
                      inherent
    ignored                            interconnection      item
                      inlet
    illustrated                                             items
                                       interesting          itself
    images
                      insert
    implemented                        internal
                      inserted

    importance                         Internet
                      inside
    important                          interpret            IVB              large
                                                                             last
                                                                         J
                      insistence       interpretation                        law
                                                            JEFFREY
                      insists          interpreted          Jeffrey
                      insofar          interpreting                          lawyers
                                       interrupt            JENNIFER         lay
                      install                               Jennifer
                      installed                                              lead
                                       interrupting         JOHN             least
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                                  looks
                                  loop
                                  lose
                                  low

    leave                                     M                     Miller

    led                           mailed                            mind
    left                          main
                                  major           meant             mindful
                                  mandatory                         minimum
                                                  measured          mix
    left-hand                     manner          measurement       mixer
                                                                    model
    legitimate                    marked          mechanical        modified
    life                          market
                                  matches         meet              modify
                                  materials
    light                         matter          meets
                                                  member            modifying
    lights                                                          modular
                   liquids        mean
    likely

    limit          listed                         mention
    limitation     listen                         mentioned
                   literally
    limitations    live                           Merck
                                                  mere
                   living
    limited        LLP                            met
                                                  method
    limiting       located
                   locations                      methods
                                                  microprocessing
                   logic
                   look                           might



                                                  MILLER            modularity

                                                                    module




    limits                        meaning
    line




    lines



    liquid         looked                                           modules

                   looking        means
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    moment                                                         notes
                                                                   nothing
    monitor
                                  needed
                                  needs
    monitors
    MOORE                         negative       non-argument
    Moore                                                          notice
    moreover                                     non-automated     noting
    morning                       networks                         notion
                                                 non-electronics   novo
                                  Networks                         nowhere
    most                          never          non-fluid
                                                 non-fluidic       nozzle
    motor                                                          number
    Mourtada
                                  nevertheless

                                  new
                                                                   numbers
                                  next                             numerals

    move                                         non-fluidics      numerical
                   MS                                              numerous

                                  nice
                                  NO                                           O
                                  non
                                                                   o'clock
                                                                   objection
    moved                                                          objective
    MR
                   multiple                                        objects
                                                                   obligation
                   must                                            obviously
                                                                   OF
                                                                   Office

                   mute
                                                                   office
                                                                   Official
                              N                                    oil
                                                                   old
                   nail
                                                                   old-fashioned
                   narrow
                   narrower
                                                                   once
                                                                   one
                   nature

                   necessarily

                   necessary                     none

                   need                          noninfringement

                                                 normal
                                                 normally
                                                 note

                                                 noted
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                                    parties'     person
                   overall          parts        personal         plaintiffs
                   overcome
                                                 personalized
                   overcoming
                                                 persuaded
                   overview                      persuasive
                   own                           pH               Plaintiffs
                                                                  plaintiffs'
                                P   pass
                                    passage
                   p.m
                   Pacing           passing                       play
                   Packard                                        plug
                                    patent                        plug-in
                   page                                           plurality
    one-way                                                       point
    ones
    open
    opening
                   pages
    opens                                        pharmaceutical

    opposed        painting                      Phillips
                   Palo                          phone
                   pandemic
    opposite       panel
                                                 phrase
    optimize



    optimizing
    order                           Patent                        pointed
                   paragraph                     phrased
                                                 pick
                   parent           patentable   piece            pointing
                   parenthetical    patentee
                                                                  points
                   part                          pieces
    ordinary                        patents
                                                 piles            popcorn
                                                 pin
                                                 place
                                    path         placed           popped
                                                 places
    original                        paths        plain            portability
                                    Pause                         portable
    originally                                                    Porter
    otherwise                       PC                            PORTER
                                    people                        portion
    ought                                        plainly
    outlet         particular       perfect
                                    perfectly    plaintiff
    outlier                         perform

    outside        particularly     performing
                   parties                                        portions

                                                                  ports
                                    permissive                    position
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                    preserve      prosecutors
                    pressure                                     reasonable
                                  protein                        reasons
                                  Proveris
                                                                 rebuts
                    pretty        provide                        rebuttal
    positioning                                                  receive
                                                                 receptacles
    positions                                                    reciprocity
                                  provided        Rad's          recitations
                    prevent                                      recite
                                  provides
                    previous                                     recited
    positive        prioritize
    possibilities   priority      providing
                    probative     proviso
                    problem       PTAB            radio
    possibility                                   raise          recites
                                  pull            raised         recognize
                                                                 recognized
                    problematic                   range          reconcile
    possible                      pump            rather
                    problems                                     record
    potential                     pumps           rationale
    potentially     proceed       purification    re
    POTTER                        purpose                        recreational
    Potter          proceeding                    read
    powerful        proceedings   push                           rectangles
    practice                      put                            red
    preamble        process
                    processing                                   reduced
                                                                 refer
                                                  readily
                    production                    reading        reference
                    products
                    proffered     putting         reads
                    proposal
                                              Q   ready
                                                  real
                    proposals     qualifies
                    propose       qualify         realize        references
                                  quarters        really
                    proposed                                     referencing
    preambles                     questions                      referential
                                                                 referred

    preclude                      quick                          referring
                                  quickly
                                  QUINN
    precludes                     Quinn                          refers
    precluding      proposes      quite
    preclusion      prosecuting   quote                          refused
    prefer                                                       regard
    prefers         prosecution   quotes          rearrange      regarding
    premise                       quoting
    present                                                      regardless
    presentation                                  reason
                                              R                  reinforcing
                                                                 reissue
                                  RAD
    presents                      Rad                            reissued
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    reiterating      requirement
    rejected                          SCIENCES     Section         setup
                                                   sections        seven
    rejection        requirements     Scientific                   several
                                      scope
    relate           requires                                      shape
    related
    relates                           screw
    relevance                         screwed                      shapes
    relevant                                                       shared
                     reservoir        scroll
    reliance                          second       see             Shaw
                     respect                                       SHAW
    relied
    relies           respective                                    short
    rely
                                      section                      shorted
    remaining        respond                                       shorten
    remember                                                       show
                     response
    remove
                     rest
    removed          restrictor                                    showed
                                                                   showing
    rendering        result                                        shown
                                                   seeing
    renders          review                        seem
                     reviewed                      sell            shows
    repeat           rewrite                       sense
    repeatedly       ribbon
    replace          right-hand                                    shut
                                                   sensor          side
                     roll
                     row
                     rule                          sensors
    replaceability

    replaceable      ruled
                     ruling                        sentence
    replaced         rulings                       separate


    replacement      run

                                                   separated
    replacements

    replacing                     S
                     safe                          separates
    Reporter
    reporter         sake
                     salient                       separating      side's
    representation
                     sample                                        sides
                     San                           separation
    reprinted
                     satisfactory                                  sides'
                                                   September       sign
    reproduced
                     saw                           serve           silly
                     scattered                     service         SILVERSTEIN
    require

                     SCHOLER                       serviceperson   Silverstein
                                                                   similar
                     Schreiber                     set
    required
                     Schrieber                                     single
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                                   standardized
    sit
                   slight                         submitted
                   slot                           submitting     systems
    sits           smoothly        stands
    situation      sold            start          substitution
                   solve
                   solvent                        sudden
    six            someone                        suggest
    size                           started
                   sometimes                      suggestion                T
                                   starting       SULLIVAN
    sizes          somewhere                      summarizes     table
    skill                                                        talks
    skilled        sorry           starts         summary
                                                  Summit
    skip                           statement                     task
    SKLENAR                                                      taught

                                   statements     sums           teach
                                                  superfluous    teaches
                   sort
                                   STATES                        teaching
                   space           states         supplement
                   speaking        station                       Technology
                   spec            stationary     support
    Sklenar                                                      Telephone
                   special         stay           supported      telephone
    slide                          step           supports
                   specific        still
                                                  surprising     term
                                                  surrounded
                   specifically                   switch
                                                  synonymous
                                   street
                                   stressed       system
                   specification
                                   stresses
                                   structural



                                                                 terms


                                   structurally
                                   structure




                                                                 text
                                                                 THE

                   specify         stuck
                   split           stuff
                   spoken
                   spots           submit
                   squiggle
                   standard
    slides
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                   three
                                    tube                            view
                   threshold        tubes
                   throughout                                       vitality
                                    tubing
                                                                    vs
                   throwing
                   thrown                            UNITED                    W
                   Thursday         turn             units
                   ti                                               wait
                   time-consuming                    unless

                   tire             turning          unmistakable   walk
                   tires            two                             wall
                   title                             unpatentable   wants
                   today                                            Washington
                                                     up             water
                                                                    website
                   today's                                          week

                   together                                         weird

                   took                                             wet



                   tool
                   top              two-wheeled
                                                     upgrade
                                    type
                                                     upper
                   totality         types            URQUHART       whatnot
                   totally          typical          user
                   towards          typo             uses


                   trailer                      U    UV             wheeled
                                                                    whereas
                                    U.S.D.C.J
                   transcript
                                    under                           wherein
                                                               V
                   transition
                                                     vague          whole
                   transitional
                                                     Valerie        willing
                   travel
                                    underlies        valve
                                    underlined                      Wilmington
                   treated
                                    underlying                      wire
                   treating
                                    understandably                  wonder
                   trial                                            word
                                    understood
                   tried
                   trouble
                                    unduly
    theirs
                                    unequivocal
    themselves     true
                   trump                                            wording
                                    unequivocally                   words
    therefore      trusted
                                                     valves
                   try
                                    unimportant
    they've                                          various
    thinking
                                    unit
                   trying
    third
                                                     vehicle
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    works
    world
    write

    writing
    written




                Y
    yellow

    yesterday
    yourself
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                     HIGHLY CONFIDENTIAL - SOURCE CODE

                   IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF DELAWARE

    CYTIVA SWEDEN AB and                       )
    GLOBAL LIFE SCIENCES                       )
    SOLUTIONS USA LLC,                         )
                                               )
                                               ) C.A. No. 18-1899-CFC
                  Plaintiffs,                  ) Consolidated
                                               )
      v.                                       )
                                               )
    BIO-RAD LABORATORIES, INC.,                )
                                               )
                  Defendant.                   )



                                Declaration of Nenad Vukicevic


           1.   Counsel for Cytiva Sweden AB and Global Life Sciences Solutions

   USA LLC

   I have been compensated at a rate of $325 per hour for my consulting work. My

   compensation is not contingent upon the outcome of this case. I am submitting this

   declaration at the request of Cytiva.

           2.   I obtained a BS degree in Electrical Engineering from the University of

   Belgrade, Serbia, and have 39 years of experience in embedded systems, computer

   languages, high-performance computing, and application development on many
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 870 of 1041 PageID #:
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                     HIGHLY CONFIDENTIAL - SOURCE CODE

   systems. I have been employed by Intrepid Technology since 1989, where I am one

   of the founding partners. I have experience and familiarity with many programming

   languages and have extensive experience reviewing source code for litigation

   matters.

         3.     I was asked to review certain source code produced by Bio-Rad

                           -                        -

   system.

         4.     The source code was produced in the form of multiple folders, labeled

   as ChromLabvX.YSource. These folders appear to be different versions of the

   software for the NGC system, titled Versions 3.1, 3.2, 3.3, 4.0, 5.0.2, and 6.0. A

   review of each folder revealed a similar folder structure for each of them. For the

   code review, I focused mainly on the latest, version 6.0, and verified that the code is

   not different in any significant way for the other versions.

         5.




         6.
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         7.




         8.
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                   HIGHLY CONFIDENTIAL - SOURCE CODE
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                    HIGHLY CONFIDENTIAL - SOURCE CODE




         12.   I declare under penalty of perjury under the laws of the Untied States

   of America that the foregoing is a true and correct statement of my opinions and the

   supporting facts and that this declaration was executed on December 15, 2020 at

   Half Moon Bay, California.

                                Dated: December 15, 2020



                          _____________________________

                                    Nenad Vukicevic
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                          ÛÈØ×Þ×Ì è

             Ú×ÔÛÜ ËÒÜÛÎ ÍÛßÔ
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      11/25/2020          Cytiva Sweden AB, et al. v. Bio-Rad Laboratories, Inc.   Bruce Gale, Ph.D.
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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF DELAWARE
              - - - - - - - - - - - - - - - - - - - - - - - - -
                Cytiva Sweden AB and Global Life
                Sciences Solutions USA, LLC,
                                            Plaintiff,                 Case No.
                                                                       18-1899-CFC
                             -against-
                Bio-Rad Laboratories, Inc.,
                                            Defendant.
              - - - - - - - - - - - - - - - - - - - - - - - - -


                                        HIGHLY CONFIDENTIAL
                                VIDEO-RECORDED DEPOSITION OF
                                            DR. BRUCE GALE
                                       Zoom Videoconference
                                               11/25/2020
                                            8:28 a.m. (MT)




              REPORTED BY:          AMANDA GORRONO, CLR
              CLR NO. 052005-01


              ____________________________________________________
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        2                                                                8:28 a.m. (MT)
        3

        4              VIDEO-RECORDED DEPOSITION OF DR. BRUCE GALE,
        5     held virtually via Zoom Videoconferencing, before
        6     Amanda Gorrono, Certified Live Note Reporter, and
        7     Notary Public of the State of New York.
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                                                                                         Page 3
        1     A P P E A R A N C E S
        2     (Via Zoom Videoconferencing
        3

        4     ON BEHALF OF PLAINTIFF:                CYTIVA SWEDEN AB AND GLOBAL
              LIFE SCIENCES SOLUTIONS USA, LLC:
        5              Jennifer Sklenar, Esquire
                       Arnold & Porter Kaye Scholer LLP
        6              601 Massachusetts Ave, NW
                       Washington, D.C. 20001-3743
        7              PHONE:       202.942.5786
        8              E-MAIL: Jennifer.sklenar@arnoldporter.com
        9

       10     ON BEHALF OF DEFENDANT:                BIO-RAD LABORATORIES, INC.:
                       Sean Damon, Esquire
       11              Quinn Emanuel Urquhart & Sullivan, LLP
                       1300 I Street NW
       12              #900
                       Washington, D.C. 20005
       13              PHONE: 202-538-8260
                       E-MAIL: Seandamon@quinnemanuel.com
       14

       15

       16     ALSO PRESENT:
       17     Brian Cannon, Esquire, on behalf of Bio-Rad, Quinn
       18     Emanuel Urquhart & Sullivan, LLP
       19     Andy Mortensen, legal videographer, Digital Evidence
       20

       21

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                                                                                         Page 6
        1                            THE VIDEOGRAPHER:              Stand by please.
        2                            This begins the media of the
        3     videotaped deposition of Dr. Bruce Gale, taken by
        4     Counsel for the plaintiffs in the matter of Cytiva
        5     Sweden AB and Global Life Sciences Solutions USA
        6     LLC, versus Bio-Rad Laboratories, Inc., in the United
        7     States District Court for the District of Delaware,
        8     Case No. 18-1899-CFC.
        9                            This deposition is being conducted by
       10     Zoom and recorded in Irving, Texas, on November 25,
       11     2020.      The time on the video screen is 8:28 a.m.
       12     Mountain Time.
       13                            My name is Andy Mortensen.                    I'm the
       14     legal videographer from Digital Evidence Group.                              The
       15     court reporter is Amanda Gorrono, in association with
       16     Digital Evidence Group.
       17                            All parties for this deposition are
       18     appearing remotely and have agreed to the witness
       19     being sworn in remotely.                 Due to the nature of remote
       20     reporting, please pause briefly before speaking, to
       21     ensure all parties are heard completely.
       22                            Will counsel please introduce



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                                                                                          Page 7
        1     themselves for the record?
        2                            MS. SKLENAR:           Yes.      Good morning.           My
        3     name is Jennifer Sklenar.                  I'm with Arnold & Porter
        4     representing plaintiffs.
        5                            MR. DAMON:          Good morning.             Sean Damon
        6     and Brian Cannon on behalf of Bio-Rad, from Quinn
        7     Emanuel.
        8                            THE VIDEOGRAPHER:              Thank you.         Will
        9     the court reporter please swear in the witness?
       10     D R.       B R U C E          G A L E, called as a witness,
       11     having been first duly sworn by a Notary Public of
       12     the State of New York, was examined and testified as
       13     follows:
       14     EXAMINATION BY
       15     MS. SKLENAR:
       16                Q.          Good morning, Dr. Gale.
       17                A.          Good morning.
       18                Q.          Could you please state your full name
       19     for the record?
       20                A.          Bruce Kent Gale.
       21                Q.          And you are an expert witness in this
       22     case for Bio-Rad, correct?



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                                                                                      Page 352
        1     agreements produced by Bio-Rad and Cytiva other than
        2     the two you've summarized?
        3                A.          Actually, I think there were like six
        4     or eight or some number of license agreements.                             I
        5     don't remember specifically.                   They were -- there were
        6     more than two.
        7                Q.          You don't summarize any agreements
        8     other than the

                                          , correct?
       10                A.          That's correct.
       11                Q.




       21                Q.          And liquid chromatography is to
       22     separate biological materials, right?



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                                                                                       Page 353
        1                A.          Yeah.       I mean, the mechanisms are
        2     different but they are both used to do analytical
        3     measurements.
        4                Q.          But they are different technologies.
        5     Can we agree on that?
        6                A.          Sure.
        7                Q.          Okay.       Let's keep moving.                And I want
        8     to turn now to a new topic.
        9                            And that's the meaning of the term
       10     "automated liquid chromatography" --
       11                            MS. SKLENAR:           Strike that.
       12                Q.          -- "automated liquid chromatography
       13     system."        You understand that Dr. Wereley has
       14     provided what he believes is an automated liquid
       15     chromatography system, correct?
       16                A.          I -- I mean, I recall reading
       17     something to that effect.
       18                Q.          And if we turn to his rebuttal
       19     report, let's see, Paragraph 320.                       Are you there?
       20                A.          I am.
       21                Q.          Okay.       It's Page 396, Paragraph 320,
       22     he says, "In my opinion, a POSITA would understand



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                                                                                      Page 354
        1     that an automated liquid chromatography system
        2     requires many ... components," and then he goes onto
        3     list them.        Do you see that?
        4                A.          Yes.
        5                Q.          Okay.       And I just want to ask you,
        6     first of all, is it your understanding that the NGC
        7     system is an automated liquid chromatography system?
        8                            MR. DAMON:          Objection.
        9                A.          I believe it's been characterized as
       10     that.      I mean, some of this goes to how you define
       11     some of these terms so -- I guess it -- in general, I
       12     know that it's, you know, intended to do liquid
       13     chromatography and that it can do many of these
       14     things in an automated fashion, but I also know that
       15     those terms mean something very specific in this
       16     patent and it may or may not meet those specific
       17     terms.
       18                Q.          You haven't taken a position that the
       19     NGC system is not an automated liquid chromatography
       20     system as you understand the term, correct?
       21                            MR. DAMON:          Objection; form.
       22                A.          Yeah.       I don't -- I don't think I



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                                                                                      Page 355
        1     wrote anything to that effect that it's not an
        2     automated liquid chromatography system, but as noted,
        3     you know, there's -- some of these claims or some of
        4     these terms are used sometimes that may or may not
        5     fit, I guess.
        6                Q.          But you haven't pointed out any
        7     instances where you think the NGC system could be
        8     considered something different than an automated
        9     liquid chromatography system, right?
       10                            MR. DAMON:          Objection to form.
       11                A.          Yeah.       I don't recall right off that
       12     I did anything to that effect.
       13                Q.          So you agree that the NGC system has
       14     an injection valve?
       15                            MR. DAMON:          Objection; form.
       16                A.          I mean, it can, yes.
       17                Q.          And you agree that the NGC system has
       18     a sample pump?
       19                A.          I know that the NGC system has some
       20     pumps, yes.
       21                Q.          And the pumps are used to pump
       22     sample, correct, in the NGC system?



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                                                                                      Page 356
        1                A.          That they -- I believe there is a
        2     sample pump.
        3                Q.          And the NGC systems have control
        4     software, right?
        5                            MR. DAMON:          Objection.
        6                A.          Yeah.       As far as I know, there's
        7     software that runs the instrument.
        8                Q.          And the NGC system has in-line
        9     detectors, right?
       10                            MR. DAMON:          Objection; form.
       11                A.          I believe it has some detectors that
       12     are included.
       13                Q.          And it has in-line detectors,
       14     correct, the NGC system?
       15                            MR. DAMON:          Objection; form.
       16                A.          Yeah.       Yeah, that's my understanding.
       17                Q.          And those in-line detectors in the
       18     NGC system can measure characteristics of the liquid
       19     existing the chromatography column, right?
       20                A.          Yeah.       I guess I don't have any
       21     reason to object to that.
       22                Q.          So let's go to Tab O?



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        1                            THE TECH:         (Complying.)
        2                            MS. SKLENAR:           And mark it as next in
        3     order.
        4                            (Whereupon, Exhibit 337, NGC
        5     chromatography systems and ChromLab software
        6     instrument guide, was marked for identification.)
        7                            MS. SKLENAR:           What's the number?             I'm
        8     sorry.
        9                            THE TECH:         The next number is 336 --
       10     no, I'm sorry.           337.
       11                            MS. SKLENAR:           337.
       12     BY MS. SKLENAR:
       13                Q.          So Exhibit 337 is the NGC
       14     chromatography systems and ChromLab software
       15     instrument guide.             Do you see that?
       16                A.          I do.
       17                Q.          Is this a document you've reviewed?
       18                A.          I have looked at it, yes.
       19                Q.          Let's turn to Page 65.                 Let's look at
       20     the very bottom portion under UV detectors and
       21     conductivity monitor.               It says, "UV detectors measure
       22     the UV absorbance of biomolecules as they elute



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        1     through the column."               Do you see that?
        2                A.          I do.
        3                Q.          UV absorbance is a characteristic of
        4     the sample that's eluted from the column, right?
        5                A.          That's true.
        6                Q.          Okay.       So what this is saying is that
        7     the UV detector can measure the absorbance after the
        8     liquid leaves the column, right?
        9                A.          That's correct.
       10                Q.          And every model of Bio-Rad's NGC
       11     liquid chromatography product includes a UV monitor,
       12     right?
       13                            MR. DAMON:          Objection; form.
       14                A.          I don't specifically recall, but I
       15     think that's true.
       16                Q.          And the UV module in Bio-Rad's NGC
       17     systems measures UV absorbance and a conductivity of
       18     the fluids that have passed through the column,
       19     right?
       20                A.          Sorry.       Can you say that one more
       21     time?
       22                Q.          The UV module in the Bio-Rad NGC



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                                                                                      Page 359
        1     systems measures UV absorbance and conductivity of
        2     the fluids that have passed through the column?
        3                            MR. DAMON:          Objection.
        4                A.          I don't recall if the UV monitor
        5     measures conductivity or not.                    I don't know.
        6                Q.          But at least in terms of -- so you
        7     don't know that one way or another?
        8                A.          You know, I don't recall if it has a
        9     conductivity measurement in that system, in the UV
       10     monitor system.
       11                Q.          At the very least it measures the UV
       12     absorbance of the fluids that pass through the
       13     column, correct?
       14                A.          That's correct.
       15                Q.          Okay.       Are you aware of column valves
       16     that issued in the prior art with integrated pressure
       17     sensors prior to the 2009, 2010 time period?
       18                            MR. DAMON:          Objection; form.
       19                A.          I don't recall when those became
       20     common.
       21                Q.          So you're -- you don't know one way
       22     or another; is that right?



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                                                                                      Page 360
        1                            MR. DAMON:          Objection.
        2                A.          Yeah.       I don't -- I don't
        3     specifically remember, yeah, when that occurred.
        4                Q.          Are there -- would you expect a
        5     column valve with an integrated pressure sensor to
        6     have any electronics or electrical components on the
        7     front-facing portion?
        8                            MR. DAMON:          Objection; form.
        9                A.          I mean, it could.              It's certainly not
       10     required.
       11                Q.          Okay.       But you're aware of column
       12     values with integrated pressure sensors that have
       13     electrical components or electronics on the outside
       14     of the housing; is that right?
       15                            MR. DAMON:          Objection; form.
       16                A.          Yeah.       I mean, like I said, it's --
       17     it's there are electronic pressure sensors, there's
       18     mechanical pressure sensors.                   Anyways, there's --
       19     there are ones that have electronic pressure sensors.
       20                Q.          For -- sorry, you just said
       21     electronic pressure sensors and mechanical pressure
       22     sensors, right?



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                                                                                      Page 389
        1          CERTIFICATE OF SHORTHAND REPORTER-NOTARY PUBLIC
        2                            I, Amanda Gorrono, the officer before
              whom the foregoing depositions were taken, do hereby
        3     certify that the foregoing transcript is a true and
              correct record of the testimony given; that said
        4     testimony was taken by me stenographically and
              thereafter reduced to typewriting under my direction;
        5     and that I am neither counsel for, related to, nor
              employed by any of the parties to this case and have
        6     no interest, financial or otherwise, in its outcome.
        7                            IN WITNESS WHEREOF, I have hereunto
              set my hand this 25th day of November, 2020.
        8

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       14     ______________________________
       15     AMANDA GORRONO, CLR
       16     CLR NO:       052005 - 01
       17

       18     Notary Public in and for the State of New York
       19     County of Suffolk
       20     My Commission No.             01G06041701
       21     Expires:       01/07/2023
       22




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            NGC Chromatography Systems
            and ChromLab Software
            User Guide

            Version 6.0
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            Bio-Rad Technical Support Department
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            Þ·±óÎ¿¼ ·­ ¿ ¬®¿¼»³¿®µ ±º Þ·±óÎ¿¼ Ô¿¾±®¿¬±®·»­ô ×²½ò ·² ½»®¬¿·² ¶«®·­¼·½¬·±²­ò
            ß´´ ¬®¿¼»³¿®µ­ «­»¼ ¸»®»·² ¿®» ¬¸» °®±°»®¬§ ±º ¬¸»·® ®»­°»½¬·ª» ±©²»®ò


            Ý±°§®·¹¸¬ w îðïè ¾§ Þ·±óÎ¿¼ Ô¿¾±®¿¬±®·»­ô ×²½ò ß´´ ®·¹¸¬­ ®»­»®ª»¼ò
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 899 of 1041 PageID #:
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                   ï ×²¬®±¼«½¬·±²

                  ÒÙÝ ½¸®±³¿¬±¹®¿°¸§ ­§­¬»³­ °®±ª·¼» ¿ ¹»²»®¿´ °«®°±­» °«®·º·½¿¬·±² °´¿¬º±®³ º±®
                  °«®·º§·²¹ ¿´´ º±®³­ ±º ¾·±³±´»½«´»­ «­·²¹ ¿ ½±³¾·²¿¬·±² ±º ½¸®±³¿¬±¹®¿°¸§
                  ¬»½¸²·¯«»­ò Ì¸» ­§­¬»³­ ¿®» ¿´­± «­»º«´ º±® ¼»ª»´±°·²¹ ¿²¼ ±°¬·³·¦·²¹ °«®·º·½¿¬·±²
                  °®±¬±½±´­ò Ì¸» ­§­¬»³­ ½¿² °®±ª·¼» ¸·¹¸´§ °«®·º·»¼ °®±¬»·²­ô °»°¬·¼»­ô ²«½´»·½ ¿½·¼­ô
                  ³±²±½´±²¿´ ¿²¬·¾±¼·»­ô ¿²¼ ±¬¸»® ­³¿´´ ³±´»½«´»­ò




                                                                                      Ë­»® Ù«·¼»   ¤   ïë
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 900 of 1041 PageID #:
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          ï   ¤   ×²¬®±¼«½¬·±²


                         Ý¸®±³Ô¿¾ ­±º¬©¿®» »²¿¾´»­ §±« ¬± ­»¬ «° ¿²¼ ½±²¬®±´ ¿² ÒÙÝ ·²­¬®«³»²¬ô ®«²
                         °®±¬»·² ­»°¿®¿¬·±²­ ¿²¼ ±¬¸»® ±°»®¿¬·±²­ ³¿²«¿´´§ô °®±¹®¿³ ³»¬¸±¼­ ¬± ¿«¬±³¿¬»
                         °«®·º·½¿¬·±² ®«²­ô »ª¿´«¿¬» ¬¸» ®»­«´¬­ô ¿²¼ ¹»²»®¿¬» ¿²¼ °®·²¬ »¨°»®·³»²¬ ®»°±®¬­ò
                         Ì¸·­ «­»® ¹«·¼» »¨°´¿·²­ ¸±© ¬± °»®º±®³ ¿´´ ¬¸»­» ¬¿­µ­ò


          Main NGC Features
                         ÒÙÝ ½¸®±³¿¬±¹®¿°¸§ ­§­¬»³­ »²¿¾´» §±« ¬± ¼± ¬¸» º±´´±©·²¹æ
                                 Û¿­·´§ ½®»¿¬» °«®·º·½¿¬·±² ¿²¼ ³¿·²¬»²¿²½» °®±¬±½±´­ º®±³ °®»¼»º·²»¼
                                 ³»¬¸±¼ ¬»³°´¿¬»­ ¿²¼ °®±¬±½±´ °¸¿­»­

                                 ß«¬±³¿¬» ³«´¬·½±´«³² °«®·º·½¿¬·±² °®±½»­­»­ «­·²¹ °®»°®±¹®¿³³»¼
                                 ¬»³°´¿¬»­ ¿²¼ ³«´¬·°´» ½±´«³² ­©·¬½¸·²¹ ª¿´ª»­

                                 ß«¬±³¿¬» ³«´¬·°´» ­¿³°´» ·²¶»½¬·±²­ «­·²¹ »·¬¸»® ¬¸» ­¿³°´» ·²´»¬ ª¿´ª» ¿²¼
                                 ¬¸» ­¿³°´» °«³° ±® ¬¸» Ýóçê ¿«¬±­¿³°´»®

                                 Û¨°¿²¼ ­¿³°´» ³±²·¬±®·²¹ «­·²¹ ¬¸» ­·¹²¿´ ·³°±®¬ ³±¼«´» øÍ×Ó÷ ¬± »¨°±®¬
                                 ¼·¹·¬¿´ ­·¹²¿´­ ¬± ¿²¼ ·³°±®¬ ¼·¹·¬¿´ ­·¹²¿´­ º®±³ »¨¬»®²¿´ ¼»¬»½¬±®­

                                 Ý±´´»½¬ ´¿®¹»óª±´«³» º®¿½¬·±²­ «­·²¹ ³«´¬·°´» ±«¬´»¬ ª¿´ª»­ ©¸·´» ¿´­±
                                 ½±´´»½¬·²¹ ­³¿´´óª±´«³» º®¿½¬·±²­ «­·²¹ ¬¸» Þ·±Ú®¿½ º®¿½¬·±² ½±´´»½¬±®

                                 ß«¬±³¿¬·½¿´´§ °®»°¿®» ¾«ºº»®­ «­·²¹ °®»°®±¹®¿³³»¼ ¾«ºº»® ¾´»²¼·²¹
                                 °®±¬±½±´­

                                 ß²¿´§¦» °«®·º·½¿¬·±² ®»­«´¬­ ¬¸®±«¹¸ ïó½´·½µ °»¿µ ·²¬»¹®¿¬·±²ô ¼»¬»®³·²»
                                 °®±¬»·² ½±²½»²¬®¿¬·±² ¿²¼ ½¿´½«´¿¬» ½±´«³² °»®º±®³¿²½»

                                 ß«¬±³¿¬» °«®·º·½¿¬·±² °®±¬±½±´ ±°¬·³·¦¿¬·±² «­·²¹ ¬¸» ­½±«¬·²¹ ©·¦¿®¼

                                 Û¿­·´§ ´±½¿¬» º®¿½¬·±²­ ½±²¬¿·²·²¹ °»¿µ­ ±º ·²¬»®»­¬ ¿²¼ ª·»© ¬¸» °®±¬»·²
                                 ½±²½»²¬®¿¬·±² ©·¬¸·² »¿½¸ º®¿½¬·±²

                                 Û¨¬»²¼ ¬¸» °®»½±²º·¹«®»¼ ­§­¬»³­ ©·¬¸ ¿¼¼·¬·±²¿´ ª¿´ª»­ º±® ¾«ºº»®­ô
                                 ­¿³°´»­ô ¿²¼ ½±´«³²­




          ïê ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
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                                                                               Ó¿·² ÒÙÝ Ú»¿¬«®»­



                    Ñ®¹¿²·¦» ¬¸» ´±½¿¬·±² ±º ¬¸» ³±¼«´»­ ¬± ±°¬·³·¦» ­»°¿®¿¬·±² °»®º±®³¿²½»
                    ¾¿­»¼ ±² ³»¬¸±¼ ­½¿´» ¿²¼ ½±³°´»¨·¬§ô ¿²¼ ¬± ³·²·³·¦» ¬¸» ­§­¬»³ ­©»°¬
                    ª±´«³»

                    Ó·²·³·¦» »®®±®­ ©¸»² ½±²²»½¬·²¹ ¬«¾·²¹ «­·²¹ ¬¸» Ð±·²¬ó¬±óÐ´«³¾ º»¿¬«®»
                    ·² Ý¸®±³Ô¿¾ ­±º¬©¿®»




                                                                                Ë­»® Ù«·¼»    ¤   ïé
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 902 of 1041 PageID #:
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          ï   ¤   ×²¬®±¼«½¬·±²


          NGC Chromatography Systems
                         ß´´ ÒÙÝ ½¸®±³¿¬±¹®¿°¸§ ­§­¬»³­ ·²½´«¼» Ý¸®±³Ô¿¾ ­±º¬©¿®» ¿²¼ ¬¸» ÒÙÝ ¬±«½¸
                         ­½®»»²ò




                         ÒÙÝ ½¸®±³¿¬±¹®¿°¸§ ­§­¬»³­ ¿®» ¿ª¿·´¿¾´» ·² ­»ª»®¿´ ½±³¾·²¿¬·±²­ò Û¿½¸ ­§­¬»³
                         ·­ »¯«·°°»¼ ©·¬¸ »·¬¸»® ¬©± ïð ³´ ­§­¬»³ °«³°­ ø¬¸» ïð ­»®·»­÷ ±® ¬©± ïðð ³´
                         ­§­¬»³ °«³°­ ø¬¸» ïðð ­»®·»­÷ò

                         Ì¸» ÒÙÝ Ï«»­¬ ½¸®±³¿¬±¹®¿°¸§ ­§­¬»³ ·²½´«¼»­ ¬¸» º±´´±©·²¹æ

                                 Ì©± ­§­¬»³ °«³°­

                                 Ó·¨»®

                                 Í¿³°´» ·²¶»½¬·±² ª¿´ª»

                                 Ý±²¼«½¬·ª·¬§ ³±²·¬±® ©·¬¸ »·¬¸»® ¿ ­·²¹´»ó©¿ª»´»²¹¬¸ ËÊ ¼»¬»½¬±® ±® ¿
                                 ³«´¬·ó©¿ª»´»²¹¬¸ ËÊñÊ·­ ¼»¬»½¬±® ø¿ª¿·´¿¾´» ±² ¬¸» Ð´«­ ­§­¬»³­÷




          ïè ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 903 of 1041 PageID #:
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                                                                      ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­



                  Ì¸» ÒÙÝ Í½±«¬ ½¸®±³¿¬±¹®¿°¸§ ­§­¬»³ ·²½´«¼»­ ¬¸» º±´´±©·²¹æ

                      ß´´ ³±¼«´»­ ±² ¬¸» Ï«»­¬ ­§­¬»³

                      °Ø ¼»¬»½¬±® ª¿´ª»

                      Þ«ºº»® ¾´»²¼·²¹ ª¿´ª»

                  Ì¸» ÒÙÝ Ü·­½±ª»® ½¸®±³¿¬±¹®¿°¸§ ­§­¬»³ ·²½´«¼»­ ¬¸» º±´´±©·²¹æ

                      ß´´ ³±¼«´»­ ±² ¬¸» Í½±«¬ ­§­¬»³

                      Ý±´«³² ­©·¬½¸·²¹ ª¿´ª»

                      Ì©± ¾«ºº»® ·²´»¬ ª¿´ª»­

                      Í¿³°´» °«³°

                  Ì¸» ÒÙÝ Ü·­½±ª»® Ð®± ½¸®±³¿¬±¹®¿°¸§ ­§­¬»³ ·²½´«¼»­ ¬¸» º±´´±©·²¹æ

                      ß´´ ³±¼«´»­ ±² ¬¸» Ü·­½±ª»® ­§­¬»³

                      Ú±«®¬¸ »¨°¿²­·±² ¬·»®

                      Í¿³°´» ·²´»¬ ª¿´ª»

                      Ñ«¬´»¬ ª¿´ª»




                                                                                   Ë­»® Ù«·¼»   ¤   ïç
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 904 of 1041 PageID #:
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          ï   ¤   ×²¬®±¼«½¬·±²


          Finding Out More
                         ßº¬»® §±« ·²­¬¿´´ ÒÙÝ ¼±½«³»²¬¿¬·±² º®±³ ¬¸» ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼
                         Ý¸®±³Ô¿¾ Í±º¬©¿®» ËÍÞ ¼®·ª»ô §±« ½¿² ¿½½»­­ ·²­¬¿´´»¼ ÒÙÝ ¹«·¼»­ ¿²¼ ¬«¬±®·¿´­
                         ±² ¬¸» Ø»´° ³»²« ·² ¿²§ Ý¸®±³Ô¿¾ ª·»©ò

                         Ó±®» ·²º±®³¿¬·±² ¿¾±«¬ ¬¸» ÒÙÝ ½¸®±³¿¬±¹®¿°¸§ ­§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ ­±º¬©¿®»
                         ·­ ¿ª¿·´¿¾´» º®±³ ¬¸» º±´´±©·²¹ ­±«®½»­ò

                                 Ì¸» ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®» ×²­¬¿´´¿¬·±²
                                 Ù«·¼» ·­ ¿ª¿·´¿¾´» ±² §±«® ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ Í±º¬©¿®» ËÍÞ
                                 ¼®·ª» ¿­ ¿ ò°¼º º·´»ò Ì¸·­ ¹«·¼» »¨°´¿·²­ ¸±© ¬± ­»¬ «° §±«® »²ª·®±²³»²¬ô ­»¬
                                 «° ¿²¼ ·²­¬¿´´ ¬¸» ÒÙÝ ·²­¬®«³»²¬ ·² ¬¸» ´¿¾ô ·²­¬¿´´ Ý¸®±³Ô¿¾ ­±º¬©¿®»ô
                                 ¿²¼ ½±²²»½¬ Ý¸®±³Ô¿¾ ¬± ¬¸» ÒÙÝ ­§­¬»³ò

                                 Ì¸» ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®» ×²­¬®«³»²¬
                                 Ù«·¼» ·­ ¿ª¿·´¿¾´» ±² §±«® ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ Í±º¬©¿®» ËÍÞ
                                 ¼®·ª» ¿­ ¿ ò°¼º º·´»ò Ì¸·­ ·´´«­¬®¿¬»¼ ¹«·¼» ¼»¬¿·´­ ¬¸» ³±¼«´»­ ¬¸¿¬ ³¿µ» «°
                                 ¬¸» ÒÙÝ ·²­¬®«³»²¬ ¿²¼ ·²½´«¼»­ ¬®±«¾´»­¸±±¬·²¹ ¿²¼ ³¿·²¬»²¿²½»
                                 ·²º±®³¿¬·±²ò

                                 Ú±® Ý¸®±³Ô¿¾ Ø»´°ô ½´·½µ ¬¸» ¯«»­¬·±² ³¿®µ ·² ¬¸» «°°»® ®·¹¸¬ ½±®²»® ·²
                                 ¼·¿´±¹ ¾±¨»­ ¬± ¿½½»­­ ®»´»ª¿²¬ ·²º±®³¿¬·±²ò Í½®»»²ó´»ª»´ ¸»´° ·­ ¿´­±
                                 ¿ª¿·´¿¾´» ±² ¬¸» Ø»´° ³»²«ò

                                 ÒÙÝ ª·¼»± ¬«¬±®·¿´­ ¿®» ¿ª¿·´¿¾´» ±² ¬¸» ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­
                                 Í±º¬©¿®» ËÍÞ ¼®·ª» ¿­ ò³°ì º·´»­ò

                                 Tip: Ç±« ½¿² ½´·½µ ¬¸» Þ·±óÎ¿¼ ´±¹± ·² ¬¸» «°°»® ®·¹¸¬ ½±®²»® ±º ¿²§
                                 Ý¸®±³Ô¿¾ ©·²¼±© ¬± ´¿«²½¸ ¬¸» Þ·±óÎ¿¼ ©»¾­·¬»ò




          îð ¤     ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
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                   î Ì¸» É±®µ­°¿½»

                  Ý¸®±³Ô¿¾ ­±º¬©¿®» °®±ª·¼»­ ¿² ·²¬«·¬·ª» ·²¬»®º¿½» º±® ¼»ª»´±°·²¹ ½¸®±³¿¬±¹®¿°¸§
                  ³»¬¸±¼­ô ±°»®¿¬·²¹ ¿² ÒÙÝ ·²­¬®«³»²¬ô ¿²¼ ¿²¿´§¦·²¹ ¼¿¬¿ º®±³ ½¸®±³¿¬±¹®¿°¸§
                  ®«²­ò

                  Ý¸®±³Ô¿¾ ­±º¬©¿®» °®»­»²¬­ º±«® °®·³¿®§ ©±®µ­°¿½»­ò

                      Ì¸» Ø±³» ©·²¼±©

                      Ì¸» Í§­¬»³ Ý±²¬®±´ ©·²¼±©

                      Ì¸» Ó»¬¸±¼ Û¼·¬±® ©·²¼±©

                      Ì¸» Ûª¿´«¿¬·±² ©·²¼±©

                  Û¿½¸ ©±®µ­°¿½» ·­ ­¸±©² ¿²¼ ¼»­½®·¾»¼ ·² ¬¸·­ ½¸¿°¬»®ò Ì¸» ÒÙÝ ·²­¬®«³»²¬ ¬±«½¸
                  ­½®»»² ·­ ¿´­± ¼»­½®·¾»¼ò




                                                                                  Ë­»® Ù«·¼»   ¤   îï
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          î   ¤   Ì¸» É±®µ­°¿½»


          The Home Window
                        Ý¸®±³Ô¿¾ ­±º¬©¿®» ±°»²­ ©·¬¸ ¬¸» Ø±³» ©·²¼±©ô ©¸·½¸ ¼·­°´¿§­ ¬¸®»» °¿²»­ ¿²¼
                        ¬¸» Í§­¬»³ Ý±²¬®±´ ¬¿¾ò




                        Ì¸» ¬¸®»» °¿²»­ °®±ª·¼» ¯«·½µ ¿½½»­­ ¬± ¬¸» ­§­¬»³ ½±²¬®±´ô ³»¬¸±¼ »¼·¬±®ô ¿²¼
                        »ª¿´«¿¬·±² ©±®µ­°¿½»­ô ¿­ ©»´´ ¿­ ¬± ¬¸» Þ®±©­» Ü¿¬¿ ¼·¿´±¹ ¾±¨ ·² ©¸·½¸ §±« ½¿²
                        ¾®±©­» ¿²¼ ³¿²¿¹» §±«® ¼¿¬¿ò Ô·²µ­ ¬± ®»½»²¬´§ ª·»©»¼ ±® ½±³°´»¬»¼ ®«²­ô
                        ³»¬¸±¼­ô ¿²¼ ¿²¿´§­»­ ¿°°»¿® ¿¬ ¬¸» ¾±¬¬±³ ±º »¿½¸ ©±®µ­°¿½» °¿²»ò Ì¸» ²¿³» ±º
                        ½±²²»½¬»¼ ÒÙÝ ­§­¬»³­ ¿²¼ ¬¸» ´±½¿¬·±² ±º ¬¸» Ý¸®±³Ô¿¾ ¼¿¬¿¾¿­» ¿°°»¿® ·² ¬¸»
                        ­¬¿¬«­ ¾¿® ¿¬ ¬¸» ¾±¬¬±³ ±º ¬¸» ©·²¼±©ò

                        Tip: Ý´·½µ·²¹ ¬¸» Þ·±óÎ¿¼ ´±¹± ·² ¬¸» «°°»® ®·¹¸¬ ½±®²»® ±º ¿²§ Ý¸®±³Ô¿¾
                        ©·²¼±© ´¿«²½¸»­ ¬¸» Þ·±óÎ¿¼ ©»¾­·¬»ò Ý¸»½µ ¬¸» ©»¾­·¬» ±º¬»² º±® «°¼¿¬»­ ¬±
                        Ý¸®±³Ô¿¾ ¼±½«³»²¬¿¬·±²ò




          îî ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
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                                                                                Ì¸» Ø±³» É·²¼±©



                  Ó»¬¸±¼ Û¼·¬±® ¿²¼ Ûª¿´«¿¬·±² ¬¿¾­ ¾»½±³» ª·­·¾´» ·² ¬¸» Ø±³» ©·²¼±© ©¸»² §±«
                  ­»´»½¬ ¬¿­µ­ ·² ¬¸» Ó»¬¸±¼ Û¼·¬±® ¿²¼ Ûª¿´«¿¬·±² °¿²»­ò




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                        File Menu Commands
                        Connect to System  ­¬¿®¬·²¹ Ý¸®±³Ô¿¾ ½±²²»½¬­ §±« ¬± ¬¸» ³±­¬ ®»½»²¬´§
                        ½±²²»½¬»¼ ÒÙÝ ·²­¬®«³»²¬ò Ý¸®±³Ô¿¾ ½¿² ½±²²»½¬ ¬± ³«´¬·°´» ÒÙÝ ·²­¬®«³»²¬­
                        ¿²¼ ®«² ³»¬¸±¼­ ±² ¿´´ ½±²²»½¬»¼ ·²­¬®«³»²¬­ ¿¬ ¬¸» ­¿³» ¬·³»ò

                        Ì¸·­ ½±³³¿²¼ ±°»²­ ¿ ¼·¿´±¹ ¾±¨ ¬¸¿¬ »²¿¾´»­ §±« ¬± ½¸±±­» ¿²±¬¸»® ÒÙÝ
                        ½¸®±³¿¬±¹®¿°¸§ ­§­¬»³ ¬± ½±²²»½¬ ¬±ò Ý¸®±³Ô¿¾ ¼»¬»½¬­ ¬¸» ÒÙÝ ­§­¬»³­
                        ¿ª¿·´¿¾´» ±² ¬¸» ­¿³» ­«¾²»¬©±®µ ±® ¿ ­§­¬»³ ¼·®»½¬´§ ½±²²»½¬»¼ ¬± ¬¸» ½±³°«¬»®ò
                        Ý¸®±³Ô¿¾ ¼·­°´¿§­ ¬¸» ­§­¬»³ ²¿³»ô ²»¬©±®µ ²¿³»ô ¿²¼ ×Ð ¿¼¼®»­­ ±º ¬¸»
                        ¼»¬»½¬»¼ ­§­¬»³­ò Ì± ½±²²»½¬ ¬± ¿ ­§­¬»³ô §±« ½¿²æ

                                  Í»´»½¬ ¿ ²¿³» ·² ¬¸» ´·­¬ ±º ¼»¬»½¬»¼ ­§­¬»³­ ¿²¼ ½´·½µ Ý±²²»½¬ò

                                  Note: ×º §±«® ­§­¬»³ ¼±»­ ²±¬ ¿°°»¿® ·² ¬¸» ´·­¬ô ½´·½µ Ü»¬»½¬ò
                                  Ý¸®±³Ô¿¾ ­»¿®½¸»­ ¬¸» ²»¬©±®µ º±® ¿ª¿·´¿¾´» ÒÙÝ ­§­¬»³­ ¿²¼
                                  ®»º®»­¸»­ ¬¸» ´·­¬ò

                                  Í»´»½¬ ¬¸» ¿°°®±°®·¿¬» ®¿¼·± ¾«¬¬±²ô »²¬»® ¬¸» ­§­¬»³­ ²¿³» ±® ×Ð
                                  ¿¼¼®»­­ô ¿²¼ ½´·½µ Ý±²²»½¬ò

                                  Tip: Ì± ±¾¬¿·² ¬¸» ­§­¬»³­ ²¿³» ¿²¼ ×Ð ¿¼¼®»­­ ­»´»½¬ Í§­¬»³
                                  ×²º±®³¿¬·±² ±² ¬¸» ·²­¬®«³»²¬ ¬±«½¸ ­½®»»² ¼®±°¼±©² ³»²«ò

                        Disconnect System  ¼·­°´¿§­ ´·²µ­ º®±³ ©¸·½¸ §±« ½¿² ¼·­½±²²»½¬ Ý¸®±³Ô¿¾
                        ­±º¬©¿®» º®±³ ¿ ­°»½·º·½ ÒÙÝ ­§­¬»³ ±® ¿´´ ½±²²»½¬»¼ ÒÙÝ ­§­¬»³­ò

                        Manual Run  ±°»²­ ¬¸» Í§­¬»³ Ý±²¬®±´ ©·²¼±© ·² ³¿²«¿´ ³±¼» ­± §±« ½¿²
                        °»®º±®³ ¿ ³¿²«¿´ ®«² ±® ­»¬ «° §±«® ­§­¬»³ ³¿²«¿´´§ò

                        Calibrate  ±°»²­ ¬¸» Ý¿´·¾®¿¬·±² ¼·¿´±¹ ¾±¨ô ©¸·½¸ ¼·­°´¿§­ ·²­¬®«½¬·±²­ ¿²¼
                        ±°¬·±²­ º±® ­»´»½¬·²¹ ¿ ³±¼«´» ¿²¼ ½¿´·¾®¿¬·²¹ ·¬ò Í»» Ý¿´·¾®¿¬·±²­ ±² °¿¹» éì º±®
                        ¼»¬¿·´­ò

                        Open Template  ±°»²­ ¬¸» Ì»³°´¿¬» ¼·¿´±¹ ¾±¨ ·² ©¸·½¸ §±« ½¿² ­»´»½¬ ¿
                        ³»¬¸±¼ ¬»³°´¿¬» º®±³ ¬»³°´¿¬» º±´¼»®­ ±®¹¿²·¦»¼ ¾§ ¬»½¸²·¯«»ò

                        Open Method  ±°»²­ ¿ ¼·¿´±¹ ¾±¨ ·² ©¸·½¸ §±« ½¿² ­»´»½¬ ¿ ³»¬¸±¼ ¬± ª·»© ±®
                        ®«²ò Ç±« ½¿² ¿´­± ­»´»½¬ Í¸±© Î«²­ ¿²¼ ß²¿´§­»­ ¬± ¼·­°´¿§ º·´»­ ¿­­±½·¿¬»¼ ©·¬¸
                        ¬¸» ­»´»½¬»¼ ³»¬¸±¼ò


          îì ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
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                                                                                     Ì¸» Ø±³» É·²¼±©



                  New Method  ±°»²­ ¬¸» Ó»¬¸±¼ Û¼·¬±® ©·²¼±© ·² ©¸·½¸ §±« ½¿² ½®»¿¬» ¿
                  ³»¬¸±¼ «­·²¹ ­¬¿²¼¿®¼ ³»¬¸±¼ °¸¿­»­ ¿²¼ ­¬»°­ò

                  Browse Data  ±°»²­ ¬¸» Þ®±©­» Ü¿¬¿ ¼·¿´±¹ ¾±¨ ·² ©¸·½¸ §±« ½¿² ¾®±©­» ¿²¼
                  ³¿²¿¹» §±«® Ý¸®±³Ô¿¾ °®±¶»½¬­ô ³»¬¸±¼­ô ®«²­ô ¿²¼ ¿²¿´§­»­ò Í»» Ý¸¿°¬»® èô
                  Ó¿²¿¹·²¹ Ý¸®±³Ô¿¾ Ü¿¬¿ ±² °¿¹» íìï º±® ³±®» ·²º±®³¿¬·±²ò

                  Import  ¼·­°´¿§­ ´·²µ­ º®±³ ©¸·½¸ §±« ½¿² ·³°±®¬ ¬¸» º±´´±©·²¹æ

                          NGC File  ±°»²­ ¿ ¼·¿´±¹ ¾±¨ ·² ©¸·½¸ §±« ½¿² ·³°±®¬ ¿ ³»¬¸±¼ô ¿
                          ³»¬¸±¼ ©·¬¸ ®«²­ô ¿ ®«²ô ±® ¿² ¿²¿´§­·­ ©·¬¸ ·¬­ ¿­­±½·¿¬»¼ ®«²­ ¿²¼
                          ³»¬¸±¼ »¨°±®¬»¼ º®±³ Ý¸®±³Ô¿¾ ­±º¬©¿®» ®«²²·²¹ ±² ¿²±¬¸»® ÒÙÝ
                          ­§­¬»³ò Í»» ×³°±®¬·²¹ ÒÙÝ Ü¿¬¿ Ú·´»­ ±² °¿¹» íëï º±® ³±®» ·²º±®³¿¬·±²ò

                          Unicorn Data  ±°»²­ ¿ ¼·¿´±¹ ¾±¨ ·² ©¸·½¸ §±« ½¿² ·³°±®¬ ¿ Ë²·½±®²
                          ¼¿¬¿ º·´» ·²¬± ¬¸» ÒÙÝ ¼¿¬¿¾¿­»ò Í»» ×³°±®¬·²¹ Ë²·½±®² Ü¿¬¿ Ú·´»­ ±²
                          °¿¹» íëç º±® ³±®» ·²º±®³¿¬·±²ò

                          DuoFlow Data  ±°»²­ ¿ ¼·¿´±¹ ¾±¨ ·² ©¸·½¸ §±« ½¿² ·³°±®¬ ¿ Þ·±Ô±¹·½
                          Ü«±Ú´±© ¼¿¬¿ º·´» ·²¬± ¬¸» ÒÙÝ ¼¿¬¿¾¿­»ò Í»» ×³°±®¬·²¹ Þ·±Ô±¹·½
                          Ü«±Ú´±© Ü¿¬¿ Ú·´»­ ±² °¿¹» íêï º±® ³±®» ·²º±®³¿¬·±²ò

                  Export  ¼·­°´¿§­ ´·²µ­ º®±³ ©¸·½¸ §±« ½¿² »¨°±®¬ ¬¸» º±´´±©·²¹æ

                          Methods/Method Runs  ±°»²­ ¿ ¼·¿´±¹ ¾±¨ ·² ©¸·½¸ §±« ½¿² »¨°±®¬
                          ¾±¬¸ ­·²¹´» ±® ³«´¬·°´» ³»¬¸±¼­ ¿²¼ ­·²¹´» ±® ³«´¬·°´» ³»¬¸±¼­ ©·¬¸
                          ¿­­±½·¿¬»¼ ®«²­ò

                          Runs  ±°»²­ ¿ ¼·¿´±¹ ¾±¨ ·² ©¸·½¸ §±« ½¿² »¨°±®¬ ­·²¹´» ±® ³«´¬·°´»
                          ®«²­ò

                          Analyses  ±°»²­ ¿ ¼·¿´±¹ ¾±¨ ·² ©¸·½¸ §±« ½¿² »¨°±®¬ ­·²¹´» ±® ³«´¬·°´»
                          ¿²¿´§­»­ ©·¬¸ ¬¸»·® ¿­­±½·¿¬»¼ ®«²­ ¿²¼ ³»¬¸±¼­ò

                      Í»» Û¨°±®¬·²¹ ÒÙÝ Ü¿¬¿ Ú·´»­ ±² °¿¹» íëí º±® ³±®» ·²º±®³¿¬·±²ò

                  Open Run ±°»²­ ¿ ¼·¿´±¹ ¾±¨ ·² ©¸·½¸ §±« ½¿² ­»´»½¬ ¿ ®«² ¬± ª·»© ±® ¿²¿´§¦»ò
                  Ç±« ½¿² ¿´­± ­»´»½¬ Í¸±© Ó»¬¸±¼­ ¿²¼ ß²¿´§­»­ ¬± ¼·­°´¿§ º·´»­ ¿­­±½·¿¬»¼ ©·¬¸ ¬¸»
                  ­»´»½¬»¼ ®«²ò




                                                                                     Ë­»® Ù«·¼»   ¤   îë
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          î   ¤   Ì¸» É±®µ­°¿½»


                        Open Analysis  ±°»²­ ¿ ¼·¿´±¹ ¾±¨ ·² ©¸·½¸ §±« ½¿² ­»´»½¬ ¿² ¿²¿´§­·­ ¬± ª·»©ò
                        Ç±« ½¿² ¿´­± ­»´»½¬ Í¸±© Î«²­ ¿²¼ Ó»¬¸±¼­ ¬± ¼·­°´¿§ º·´»­ ¿­­±½·¿¬»¼ ©·¬¸ ¬¸»
                        ­»´»½¬»¼ ¿²¿´§­·­ò

                        Preferences  ±°»²­ ¼·¿´±¹ ¾±¨»­ ·² ©¸·½¸ §±« ½¿² ¼± ¬¸» º±´´±©·²¹æ

                                  Í»´»½¬ °®»­­«®» «²·¬­ º±® ¿´´ ­§­¬»³ ¿²¼ ­±º¬©¿®» °®»­­«®» ª¿´«»­ò Ì¸·­ ·­ ¿
                                  ¹´±¾¿´ ­»¬¬·²¹ò Í»» Ë²·¬­ Ì¿¾ ±² °¿¹» ïðê º±® ³±®» ·²º±®³¿¬·±²ò

                                  Í»¬ «° ¿² ÍÓÌÐ ­»®ª»® ¬± ®»½»·ª» »³¿·´ ³»­­¿¹»­ ¿¾±«¬ ­§­¬»³
                                  ²±¬·º·½¿¬·±²­ º®±³ ¬¸» Ý¸®±³Ô¿¾ ½±³°«¬»®ò Í»» Û³¿·´ Í»®ª»® Í»¬«° Ì¿¾ ±²
                                  °¿¹» ïðé º±® ³±®» ·²º±®³¿¬·±²ò

                                  Í»¬ ¼»º¿«´¬ ª¿´«»­ º±® °¿®¿³»¬»®­ «­»¼ ·² ²»© ³»¬¸±¼­ò Ì¸» ­»¬¬·²¹­
                                  ¿°°»¿® ·² ¬¸» Ó»¬¸±¼ Í»¬¬·²¹­ ©·²¼±©ò Í»» Ó»¬¸±¼ Û¼·¬±® Ì¿¾ ±²
                                  °¿¹» ïðç º±® ³±®» ·²º±®³¿¬·±²ò

                                  Ý®»¿¬» ¿²¼ ½±²º·¹«®» ¿ ®¿½µ ´·¾®¿®§ º±® §±«® º®¿½¬·±² ½±´´»½¬±®­ò Ì¸·­ ¿
                                  ¹´±¾¿´ ­»¬¬·²¹ò Í»» Î¿½µ Ô·¾®¿®§ Ì¿¾ ±² °¿¹» ïïï º±® ³±®» ·²º±®³¿¬·±²ò

                                  Í»¬ ¼·­°´¿§ °®»º»®»²½»­ º±® ¬¸» Ûª¿´«¿¬·±² ©·²¼±©ò Í»» Ûª¿´«¿¬·±² Ì¿¾ ±²
                                  °¿¹» ïïí º±® ³±®» ·²º±®³¿¬·±²ò

                        Exit  ½´±­»­ Ý¸®±³Ô¿¾ò


                        Help Menu Commands
                        Help  ¼·­°´¿§­ ­½®»»²ó´»ª»´ ¸»´° ¬±°·½­ ¿²¼ ´·²µ­ ¬± ·²­¬¿´´»¼ ³¿²«¿´­ò

                        Export Diagnostic Logs  ±°»²­ ¬¸» Û¨°±®¬ Ü·¿¹²±­¬·½ Ô±¹­ ¼·¿´±¹ ¾±¨ ·² ©¸·½¸
                        §±« ½¿² »¨°±®¬ ¿´´ ½®·¬·½¿´ ·²º±®³¿¬·±² ¬¸¿¬ Þ·±óÎ¿¼ Ì»½¸²·½¿´ Í«°°±®¬ ®»¯«·®»­ ¬±
                        ¼·¿¹²±­» ·­­«»­ò Ì¸» ´±¹ º·´»­ ¿²¼ ¼¿¬¿ ¿®» ¦·°°»¼ ¿²¼ ­¿ª»¼ ¬± ¿ ´±½¿¬·±² ¬¸¿¬ §±«
                        ½¸±±­»ò Í»» Û¨°±®¬·²¹ Ü·¿¹²±­¬·½ Ô±¹­ ±² °¿¹» íêí º±® ³±®» ·²º±®³¿¬·±²ò

                        About  ¼·­°´¿§­ Ý¸®±³Ô¿¾ ½±°§®·¹¸¬ ¿²¼ ª»®­·±² ·²º±®³¿¬·±²ò




          îê ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
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                                                                             Ì¸» Í§­¬»³ Ý±²¬®±´ É·²¼±©




          The System Control Window
                  Ì¸» Í§­¬»³ Ý±²¬®±´ ©·²¼±© »²¿¾´»­ §±« ¬± ®«² ¬¸» ÒÙÝ ·²­¬®«³»²¬­ ³¿²«¿´´§ô
                  ³±²·¬±® ³»¬¸±¼ ®«²­ ©¸·´» ¬¸»§ ¿®» ®«²²·²¹ô ­»´»½¬ º´«·¼·½ ­½¸»³»­ô ½¿´·¾®¿¬»
                  °«³°­ ¿²¼ ¼»¬»½¬±®­ô ¿²¼ ª»®·º§ ¬¸» ¿½½«®¿½§ ±º ·²­¬®«³»²¬ °´«³¾·²¹ò Ì¸·­ ©·²¼±©
                  ¼·­°´¿§­ »¿½¸ ½±²²»½¬»¼ ­§­¬»³ ±² ¿ ­»°¿®¿¬» ¬¿¾ò Ì¸» ­§­¬»³­ ¬¿¾ ¼·­°´¿§­ ¿
                  ½¸®±³¿¬±¹®¿³ ¼«®·²¹ ¿ ®«²ò ß º´«·¼·½ ­½¸»³» ¹®¿°¸·½¿´´§ ¼»°·½¬­ ¬¸» º´±© °¿¬¸ ±º ¿´´
                  ¬¸» ³±¼«´»­ ±² ¬¸» ­§­¬»³ò ß ­¬¿¬«­ °¿²»´ ¿°°»¿®­ ¿¾±ª» »¿½¸ ³±¼«´» ¼·­°´¿§·²¹
                  ·¬­ ®»¿´ó¬·³» ­¬¿¬«­ò ×² ³¿²«¿´ ³±¼»ô ½´·½µ·²¹ ¿ ³±¼«´» ¼·­°´¿§­ ·¬­ ½±²¬®±´­ ¿²¼
                  ¼»¬¿·´»¼ ­»¬¬·²¹­ò Ì¸» Î«² Ô±¹ ¼±½«³»²¬­ »¿½¸ ¿½¬·±² ¬¸¿¬ ±½½«®­ ¼«®·²¹ ¿ ®«²ò Ì¸»
                  Î«² Ï«»«» ´·­¬­ ¿´´ ®«²­ ®»¿¼§ ¬± ¾» ­¬¿®¬»¼ò




                  Í§­¬»³ Ý±²¬®±´ º«²½¬·±²¿´·¬§ ·­ ¼»¬¿·´»¼ ·² Ý¸¿°¬»® íô Í§­¬»³ Ý±²¬®±´ò




                                                                                     Ë­»® Ù«·¼»   ¤   îé
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 912 of 1041 PageID #:
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          î   ¤   Ì¸» É±®µ­°¿½»


          The Method Editor Window
                        Ì¸» Ó»¬¸±¼ Û¼·¬±® ©·²¼±© »²¿¾´»­ §±« ¬± ½®»¿¬»ô ±°»²ô ®»ª·»©ô »¼·¬ô ¿²¼ ®«² ¿
                        ³»¬¸±¼ò Ç±« ½¿² ¿´­± ±°»² ¿²¼ »¼·¬ ¿ ³»¬¸±¼ ¬»³°´¿¬» ¬± ½®»¿¬» ¿ ²»© ¬»³°´¿¬»ò
                        Ó»¬¸±¼ Û¼·¬±® º«²½¬·±²¿´·¬§ ·­ ¼»¬¿·´»¼ ·² Ý¸¿°¬»® ëô Ó»¬¸±¼ Û¼·¬±®ò Í»» ¿´­±
                        Ý¸¿°¬»® êô Ý®»¿¬·²¹ ¿ Ó»¬¸±¼ò




          îè ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 913 of 1041 PageID #:
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                                                                                  Ì¸» Ûª¿´«¿¬·±² É·²¼±©




          The Evaluation Window
                  Ì¸» Ûª¿´«¿¬·±² ©·²¼±© »²¿¾´»­ §±« ¬± ª·»© ¿²¼ ½±³°¿®» ®«² ¼¿¬¿ô °»®º±®³ °»¿µ
                  ·²¬»¹®¿¬·±²ô ¿²¼ ­¿ª» ®«² ¼¿¬¿ ¿­ ¿²¿´§­»­ò Ûª¿´«¿¬·±² º«²½¬·±²¿´·¬§ ·­ ¼»¬¿·´»¼ ·²
                  Ý¸¿°¬»® éô Ûª¿´«¿¬·²¹ Î»­«´¬­ò




                                                                                      Ë­»® Ù«·¼»   ¤    îç
Case 1:18-cv-01899-CFC-SRF Document 196-1 Filed 12/22/20 Page 914 of 1041 PageID #:
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          î   ¤   Ì¸» É±®µ­°¿½»


          Instrument Control Touch Screen
                        ×² ¿¼¼·¬·±² ¬± Ý¸®±³Ô¿¾ ­±º¬©¿®» ®«²²·²¹ ±² ¿ ½±³°«¬»®ô ¬¸» ·²­¬®«³»²¬ ·­
                        »¯«·°°»¼ ©·¬¸ ¿ ¬±«½¸ ­½®»»² ¬¸¿¬ ¿½½»­­»­ ­§­¬»³ ½±²¬®±´ º«²½¬·±²¿´·¬§ò Ç±« ½¿²
                        «­» ¬¸·­ ¬±«½¸ ­½®»»² ¬± ®«²ô ½±²¬®±´ô ¿²¼ ³±²·¬±® ¿ ®«² ·²¼»°»²¼»²¬ ±º Ý¸®±³Ô¿¾ò
                        Í»» Í§­¬»³ Ý±²¬®±´ ±² °¿¹» íí º±® ³±®» ·²º±®³¿¬·±²ò

                        Tip: É¸»² ¬¸» ÒÙÝ ­§­¬»³ ¸¿­ ¾»»² ·²¿½¬·ª» º±® ¬©± ¸±«®­ ¬¸» ÔÛÜ ¼·­°´¿§
                        ­½®»»²­ ±² ¬¸» ·²­¬®«³»²¬ ¬«®² ±ººô ¬¸» ¬±«½¸ ­½®»»² ¼·³­ô ¿²¼ ¿ ¼·¿´±¹ ¾±¨
                        ¿°°»¿®­ ±² ¬¸» ¬±«½¸ ­½®»»² ·²º±®³·²¹ §±« ¬¸¿¬ ¬¸» ­§­¬»³ ·­ ·² ­¬¿²¼¾§ ³±¼»ò
                        Ç±« ½¿² ¬¿µ» ¬¸» ­§­¬»³ ±«¬ ±º ­¬¿²¼¾§ ³±¼» ¾§ ¬±«½¸·²¹ ÑÕ ·² ¬¸» ¼·¿´±¹
                        ¾±¨ô ­¬¿®¬·²¹ ¬¸» ­§­¬»³ °«³°­ ¾§ ·²·¬·¿¬·²¹ ¿ ³¿²«¿´ ±® ³»¬¸±¼ ®«²ô ±® ½´·½µ·²¹
                        ±² ¿ ³±¼«´» ·² ¬¸» º´«·¼·½ ­½¸»³» ¬¸¿¬ ¸¿­ ¿² ÔÛÜ ¼·­°´¿§ò




          íð ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
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                                                                         ×²­¬®«³»²¬ Ý±²¬®±´ Ì±«½¸ Í½®»»²



                  Touch Screen Menu Commands
                  Calibrate  ±°»²­ ¬¸» Ý¿´·¾®¿¬·±² ¼·¿´±¹ ¾±¨ô ©¸·½¸ ¼·­°´¿§­ ·²­¬®«½¬·±²­ ¿²¼
                  ­»¬¬·²¹­ º±® ­»´»½¬·²¹ ¿ ³±¼«´» ¿²¼ ½¿´·¾®¿¬·²¹ ·¬ò Í»» Ý¿´·¾®¿¬·²¹ ¿ Ó±¼«´» ±²
                  °¿¹» éì º±® ¼»¬¿·´­ò

                  Point-to-Plumb  ­¬¿®¬­ ¬¸» Ð±·²¬ó¬±óÐ´«³¾ º»¿¬«®» ¿²¼ ­·³«´¬¿²»±«­´§ ¬«®²­ ±ºº
                  ·²­¬®«³»²¬ ÔÛÜ ´·¹¸¬­ ­± §±« ½¿² ª·­«¿´´§ ª»®·º§ ±® ½¸¿²¹» ·²­¬®«³»²¬ °´«³¾·²¹ò
                  Ü·­°´¿§­ ¬¸» ½«®®»²¬ º´«·¼·½ ­½¸»³»ò Í»» Ê»®·º§·²¹ Ð´«³¾·²¹ ©·¬¸ ¬¸» Ð±·²¬ó¬±óÐ´«³¾
                  Ú»¿¬«®» ±² °¿¹» éé º±® ¼»¬¿·´­ò

                  Change Fluidic Scheme  ±°»²­ ¬¸» Ú´«·¼·½ Í½¸»³» Í»´»½¬±® ¼·¿´±¹ ¾±¨ ·² ©¸·½¸
                  §±« ½¿² »¼·¬ ¬¸» º´«·¼·½ ­½¸»³» ±® ½¸±±­» ¿²±¬¸»® ±²»ò Í»» Ú´«·¼·½ Í½¸»³»
                  Ý±²º·¹«®¿¬·±²­ ±² °¿¹» ëç º±® ¼»¬¿·´­ò

                  Map Fluidic Scheme  ±°»²­ ¬¸» Ú´«·¼·½ Í½¸»³» Ó¿°°·²¹ ¼·¿´±¹ ¾±¨ ·² ©¸·½¸
                  §±« ½¿² ³¿° ¼»ª·½»­ ±² §±«® ·²­¬®«³»²¬ ¬± ¬¸»·® °±­·¬·±² ·² ¬¸» º´«·¼·½ ­½¸»³»ò Í»»
                  Ú´«·¼·½ Í½¸»³» Ó¿°°·²¹ ±² °¿¹» éð º±® ¼»¬¿·´­ò

                  System Settings  ±°»²­ ¬¸» Í§­¬»³ Í»¬¬·²¹­ ¼·¿´±¹ ¾±¨ ·² ©¸·½¸ §±« ½¿²
                  ½«­¬±³·¦» ­§­¬»³ ­»¬¬·²¹­ò Í»» Í§­¬»³ Í»¬¬·²¹­ ±² °¿¹» éç º±® ³±®» ·²º±®³¿¬·±²
                  ¿¾±«¬ ½«­¬±³·¦·²¹ §±«® ­§­¬»³ò

                  System Information  ±°»²­ ¬¸» Í§­¬»³ ×²º±®³¿¬·±² ¼·¿´±¹ ¾±¨ô ©¸·½¸ ´·­¬­ ¬¸»
                  ­»®·¿´ ²«³¾»® ¿²¼ ±¬¸»® ¹»²»®¿´ ·²º±®³¿¬·±² ¿¾±«¬ ¬¸» ÒÙÝ ¼»ª·½» ¿­ ©»´´ ¿­
                  ·²º±®³¿¬·±² ¿¾±«¬ ¬¸» ­§­¬»³ ½±³°±²»²¬­ô °®±½»­­»­ô ¿²¼ ËÊ ¿²¼ ËÊñÊ·­
                  ¼»¬»½¬±®­ò Ú®±³ ¬¸·­ ¼·¿´±¹ ¾±¨ô §±« ½¿² ¿´­± ­»¬ ¿ ­¬¿¬·½ ×Ð ¿¼¼®»­­ º±® ¬¸» ­§­¬»³ò
                  Í»» Í§­¬»³ ×²º±®³¿¬·±² ±² °¿¹» ïðî º±® ³±®» ¼»¬¿·´­ò

                  Service  º±® Þ·±óÎ¿¼ ¬»½¸²·½¿´ ­»®ª·½» ­¬¿ºº «­» ±²´§ò Ü± ²±¬ ­»´»½¬ ¬¸·­ ½±³³¿²¼ò

                  Help  ¼·­°´¿§­ ¼»¬¿·´»¼ ·²º±®³¿¬·±² ¿¾±«¬ ¬±«½¸ ­½®»»² ³»²« ½±³³¿²¼­ò

                  About  ¼·­°´¿§­ Ý¸®±³Ô¿¾ ª»®­·±² ¿²¼ ½±°§®·¹¸¬ ·²º±®³¿¬·±²ò

                  Shut Down  ­¸«¬­ ¼±©² ¬¸» ÒÙÝ ­§­¬»³ô ·²½´«¼·²¹ ¬¸» ½±²²»½¬»¼ ½±³°«¬»®ò




                                                                                      Ë­»® Ù«·¼»    ¤   íï
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          î   ¤   Ì¸» É±®µ­°¿½»


                        Touch Screen Toolbar Commands
                        Save  ­¿ª»­ ·² ¿ ¼¿¬¿ º·´» ¬¸» ­¬»°­ »¨»½«¬»¼ ¼«®·²¹ ¿ ³¿²«¿´ ®«²ò

                        Clear  ¼»´»¬»­ ³¿²«¿´ ®«² ¼¿¬¿ º®±³ ¬¸» ¬±«½¸ ­½®»»² ¼·­°´¿§ò

                        Autoscale  ¿«¬±³¿¬·½¿´´§ ­½¿´»­ ¬¸» ½¸®±³¿¬±¹®¿³­ °®·³¿®§ §ó¿¨·­ ¬± ¬¸» ¬¿´´»­¬
                        °»¿µ ¸»·¹¸¬ ¼«®·²¹ ¬¸» ®«²ò ß«¬±­½¿´·²¹ ·­ »²¿¾´»¼ ¾§ ¼»º¿«´¬ò

                        Reset Zoom  ®»­»¬­ ¬¸» ª·»© ¬± ­¸±© ¬¸» º«´´ ½¸®±³¿¬±¹®¿³ò

                        Annotate  ¿¼¼­ ¿ ²±¬» ¬± ¬¸» ½¸®±³¿¬±¹®¿³ ¿¬ °±·²¬­ ±² ¬¸» ¨ó¿¨·­ ¼«®·²¹ ¿ ®«²
                        ±® ¿º¬»® ¬¸» ®«² ½±³°´»¬»­ò

                        Flush System  ¿«¬±³¿¬·½¿´´§ ­¬¿®¬­ ¿ ­§­¬»³ º´«­¸ ®«² ·º ¬¸» º´«­¸ ¬»³°´¿¬»
                        ­»´»½¬»¼ ·² Í§­¬»³ Í»¬¬·²¹­ ³¿¬½¸»­ ¬¸» ½«®®»²¬ º´«·¼·½ ­½¸»³»ò

                            Note: ×º ¿ º´«­¸ ¬»³°´¿¬» ¸¿­ ²±¬ ¾»»² ­»´»½¬»¼ ·² Í§­¬»³ Í»¬¬·²¹­ô ±® ·º
                            ¬¸» ­»´»½¬»¼ ¬»³°´¿¬» ¼±»­ ²±¬ ³¿¬½¸ ¬¸» ½«®®»²¬ º´«·¼·½ ­½¸»³»ô ½´·½µ·²¹
                            ¬¸·­ ½±³³¿²¼ ±°»²­ ¬¸» ¬»³°´¿¬»­ ¼·¿´±¹ ¾±¨ º®±³ ©¸·½¸ §±« ½¿² ­»´»½¬ ¿
                            ­§­¬»³ º´«­¸ ¬»³°´¿¬» ¬± ®«²ò




          íî ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
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                   í Í§­¬»³ Ý±²¬®±´

                  Ì¸» Ý¸®±³Ô¿¾ Í§­¬»³ Ý±²¬®±´ ©·²¼±© ·­ ¬¸» ³¿·² ·²¬»®º¿½» ¬± ¬¸» ½±²²»½¬»¼ ÒÙÝ
                  ½¸®±³¿¬±¹®¿°¸§ ­§­¬»³ò Ì¸·­ ·²¬»®º¿½» ¿´­± ¿°°»¿®­ ±² ¬¸» ­§­¬»³­ ¬±«½¸ ­½®»»²ò
                  Í§­¬»³ Ý±²¬®±´ ­»¬¬·²¹­ »²¿¾´» §±« ¬± °»®º±®³ ¿ ³¿²«¿´ ®«²ô ³±²·¬±® ¿²¼ ½±²¬®±´ ¿
                  ³»¬¸±¼ ®«²ô ª»®·º§ ¬¸» ¼»ª·½» °´«³¾·²¹ ©·¬¸ ¬¸» Ð±·²¬ó¬±óÐ´«³¾ º»¿¬«®»ô ½±²¬®±´ ¿²¼
                  ½¿´·¾®¿¬» ¬¸» ­§­¬»³ô ¿²¼ ³¿° ¬©± ±® ³±®» ª¿´ª»­ ±º ¬¸» ­¿³» ¬§°» ±² §±«®
                  ·²­¬®«³»²¬ ¬± ¬¸»·® °±­·¬·±² ·² ¬¸» º´«·¼·½ ­½¸»³»ò

                  ×² ¬¸» Ø±³» ©·²¼±©ô §±« ½¿² ¿½½»­­ ¬¸» Í§­¬»³ Ý±²¬®±´ ©·²¼±© ¾§ ­»´»½¬·²¹ ¬¸»
                  Í§­¬»³ Ý±²¬®±´ ¬¿¾ò


          System Control Window
                  Ì¸» Ý¸®±³Ô¿¾ ½±³°«¬»® ½¿² ½±²²»½¬ ¬± ³«´¬·°´» ÒÙÝ ­§­¬»³­ ¿²¼ ®«² ³»¬¸±¼­
                  ±² »¿½¸ ­§­¬»³ ­·³«´¬¿²»±«­´§ò Ì¸» Í§­¬»³ Ý±²¬®±´ ©·²¼±© ¼·­°´¿§­ ¿ ¬¿¾ º±® »¿½¸
                  ÒÙÝ ­§­¬»³ ¬± ©¸·½¸ ¬¸» Ý¸®±³Ô¿¾ ½±³°«¬»® ·­ ½±²²»½¬»¼ò Û¿½¸ ¬¿¾ ¼·­°´¿§­ ¿
                  ½¸®±³¿¬±¹®¿³ ª·»©»® ¿²¼ ¿ ¹®¿°¸·½¿´ º´«·¼·½ ­½¸»³»ò Ì¸» ½¸®±³¿¬±¹®¿³ ·­ ¿ ¬·³»óô
                  ª±´«³»óô ±® ½±´«³² ª±´«³»ó¾¿­»¼ ª·»© ±º ¬¸» ®«² ¼¿¬¿ ¿½¯«·®»¼ º®±³ ¬¸»
                  ·²­¬®«³»²¬ò Ì¸» º´«·¼·½ ­½¸»³» ·­ ¿ ®»¿´ó¬·³» ª·»© ±º ¬¸» ·²­¬®«³»²¬ ­¬¿¬«­ ¿²¼ º´±©ò

                  Ú±® »²¸¿²½»¼ ª·»©·²¹ô §±« ½¿² ³¿¨·³·¦» ¬¸» ½¸®±³¿¬±¹®¿³ ±® ¬¸» º´«·¼·½ ­½¸»³»
                  «­·²¹ ¬¸» Û¨°¿²¼ ¾«¬¬±²­ ±² ¬¸» ®·¹¸¬ ­·¼» ±º ¬¸» ©·²¼±©ò Ì¸·­ ·­ »­°»½·¿´´§ «­»º«´
                  º±® ¬±«½¸ ­½®»»² ª·»©·²¹ò




                                                                                      Ë­»® Ù«·¼»   ¤   íí
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          í   ¤   Í§­¬»³ Ý±²¬®±´


                        Ì¸» º´«·¼·½ ­½¸»³» ¹®¿°¸·½¿´´§ ¼»°·½¬­ ¬¸» º´±© ¾»¬©»»² ³±¼«´»­ ¿²¼ ¸±© ¬¸»
                        ­§­¬»³ ·­ ½±²º·¹«®»¼ ¿²¼ °´«³¾»¼ º±® ¿² »¨°»®·³»²¬ò Û¿½¸ ³±¼«´»­ ®»¿´ó¬·³»
                        ­¬¿¬«­ ¿°°»¿®­ ²»¨¬ ¬± ·¬­ ·³¿¹»ò Ú±® ³¿²«¿´ ®«²­ô ¿ ´·­¬ ±º »¨»½«¬»¼ ½±³³¿²¼­
                        ¿°°»¿®­ ·² ¬¸» Î«² Ô±¹ °¿²»ò ×² ³»¬¸±¼ ³±¼»ô °¸¿­»­ ¿²¼ ­¬»°­ ±º ¬¸» ³»¬¸±¼
                        ¾»·²¹ ®«² ¿°°»¿® ·² ¬¸»·® ®»­°»½¬·ª» ¬¿¾­ô ¿´±²¹ ©·¬¸ ½±²¬®±´­ ¬± ­¬±° ±® °¿«­» ¬¸»
                        ®«² ¿²¼ ¸±´¼ ¬¸» ­¬»°ò Ì¸» Î«² Ï«»«» °¿²» ´·­¬­ ¿´´ ¬¸» ®«²­ ¬¸¿¬ ¿®» ®»¿¼§ ¬± ¾»
                        ­¬¿®¬»¼ ¿²¼ »²¿¾´»­ §±« ¬± ¬«®² ±ºº ¬¸» ´¿³°­ ¿º¬»® ¬¸» ®«²­ ¿®» ½±³°´»¬»ò Ì¸» Î«²
                        Ï«»«» °¿²» ·­ ¿½½»­­·¾´» ·² ¾±¬¸ ³¿²«¿´ ¿²¼ ³»¬¸±¼ ³±¼»­ò




                        ÔÛÙÛÒÜ
                         ï    Ì¸» ³»²« ¾¿® °®±ª·¼»­ ¯«·½µ ¿½½»­­ ¬± Ú·´»ô Ê·»©ô Ó¿²«¿´ô Ì±±´­ô ¿²¼ Ø»´°
                              ³»²« ½±³³¿²¼­ò
                         î    Ì¿¾­ °®±ª·¼» ¯«·½µ ²¿ª·¹¿¬·±² ¿³±²¹ ±°»² ©·²¼±©­ øØ±³»ô Í§­¬»³ Ý±²¬®±´ô
                              Ó»¬¸±¼ Û¼·¬±®ô ¿²¼ Ûª¿´«¿¬·±²÷ò
                              Ì¿¾­ ¿´­± °®±ª·¼» ¯«·½µ ¿½½»­­ ¬± »¿½¸ ½±²²»½¬»¼ ÒÙÝ ­§­¬»³ò




          íì ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
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                                                                                     Í§­¬»³ Ý±²¬®±´ É·²¼±©



                  ÔÛÙÛÒÜ
                  í    Ì¸» ¬¿¾ ¬±±´¾¿® °®±ª·¼»­ ½±³³¿²¼­ ¬± ­¿ª» ¬¸» ½«®®»²¬ ®«²ô ¼»´»¬» ³¿²«¿´ ®«²
                       ¼¿¬¿ º®±³ ¬¸» ¼·­°´¿§ô ¿«¬±­½¿´» ¬¸» ËÊ ¬®¿½»ô ½¸¿²¹» ¬¸» ½¸®±³¿¬±¹®¿³ ª·»©ô
                       ¿²²±¬¿¬» ¬¸» ½¸®±³¿¬±¹®¿³ô ¿²¼ º´«­¸ ¬¸» ­§­¬»³ «­·²¹ ¬¸» ­§­¬»³ º´«­¸
                       ¬»³°´¿¬» ­»´»½¬»¼ ·² Í§­¬»³ Í»¬¬·²¹­ò
                  ì    Û¨°¿²¼ ¾«¬¬±²­ »¨°¿²¼ ¬¸» ­»´»½¬»¼ °¿²» ¬± º·´´ ¬¸» ­½®»»²ò
                  ë    Ì¸» ½¸®±³¿¬±¹®¿³ ª·»©»® ¼·­°´¿§­ ¼¿¬¿ ¿½¯«·®»¼ º®±³ ¬¸» ·²­¬®«³»²¬ ¿­ ¬®¿½»­
                       ¾¿­»¼ ±² ¬·³»ô ª±´«³»ô ±® ½±´«³² ª±´«³»ò
                  ê    Ì¸» ½¸®±³¿¬±¹®¿³ ´»¹»²¼ ³¿¬½¸»­ »¿½¸ ¬®¿½» ¬± ·¬­ ¬®¿½» ¬§°» ¿²¼ ½±´±® ¿²¼
                       ¼·­°´¿§­ ¬¸» ©¿ª»´»²¹¬¸ ª¿´«» ·² ²¿²±³»¬»®­ º±® ËÊ ¬®¿½»­ò Ç±« ½¿² ª·»© ±® ¸·¼»
                       ¬®¿½»­ ¾§ ½´·½µ·²¹ ¬¸»³ò
                  é    ×² ³»¬¸±¼ ³±¼»ô ®«² ¼¿¬¿ ¿°°»¿® ·² ¬¸» Ó»¬¸±¼ Û¼·¬±® Ð¸¿­» ¿²¼ Í¬»° °¿²»­ò
                       ×² ¾±¬¸ ³±¼»­ô ¬¸» Î«² Ô±¹ °¿²» °®»­»²¬­ ¿ ¬·³»ó­¬¿³°»¼ ®»½±®¼ ±º ®«² ­¬»°­
                       ¿²¼ »ª»²¬­å ¬¸» Î«² Ï«»«» °¿²» ´·­¬­ ®«²­ ¬¸¿¬ ¿®» ©¿·¬·²¹ ¬± ­¬¿®¬ ¿²¼ »²¿¾´»­
                       §±« ¬± ¬«®² ±ºº ¬¸» ´¿³°­ ¿º¬»® ¬¸» ®«²­ ¿®» ½±³°´»¬»ò
                  è    Ì¸» Ú´«·¼·½ Í½¸»³» °¿²» ¼»°·½¬­ ¹®¿°¸·½¿´´§ ¸±© ³±¼«´»­ ¿®» ½±²º·¹«®»¼ ¿²¼
                       °´«³¾»¼ º±® ¿² »¨°»®·³»²¬ò


                  File Menu Commands
                  Connect to System  ±°»²­ ¿ ¼·¿´±¹ ¾±¨ ¬¸¿¬ »²¿¾´»­ §±« ¬± ½¸±±­» ¿²±¬¸»®
                  ÒÙÝ ½¸®±³¿¬±¹®¿°¸§ ­§­¬»³ ¬± ½±²²»½¬ ¬±ò Í»» Ý±²²»½¬·²¹ Ý¸®±³Ô¿¾ Ý±³°«¬»®­
                  ¬± ÒÙÝ Í§­¬»³­ ±² °¿¹» ìð º±® ³±®» ·²º±®³¿¬·±²ò

                  Disconnect System  ¼·­°´¿§­ ´·²µ­ ©¸·½¸ §±« «­» ¬± ¼·­½±²²»½¬ Ý¸®±³Ô¿¾
                  ­±º¬©¿®» º®±³ ¿ ½±²²»½¬»¼ ÒÙÝ ­§­¬»³ ±® ¿´´ ½±²²»½¬»¼ ÒÙÝ ­§­¬»³­ò

                  Take Control  ±°»²­ ¿ ¼·¿´±¹ ¾±¨ ¬¸¿¬ »²¿¾´»­ §±« ¬± ¬¿µ» ½±²¬®±´ ±º ¬¸» ÒÙÝ
                  ­§­¬»³ º®±³ ¿ ½±²²»½¬»¼ «­»®ò Ì¸·­ ·­ «­»º«´ ·² ¬¸» »ª»²¬ ¬¸¿¬ ¬¸» ½±²¬®±´´·²¹
                  ½±³°«¬»® ·­ ´±½µ»¼ ±® ¬¸» «­»® °»®º±®³·²¹ ¿ ®«² ·­ ²±¬ ¿ª¿·´¿¾´» ¿²¼ ¬¸»®» ·­ ¿²
                  ·³³»¼·¿¬» ²»»¼ ¬± ­¬±° ¬¸» ­§­¬»³ò

                  System Settings  ±°»²­ ¬¸» Í§­¬»³ Í»¬¬·²¹­ ¼·¿´±¹ ¾±¨ ·² ©¸·½¸ §±« ½¿²
                  ½«­¬±³·¦» ­§­¬»³ ­»¬¬·²¹­ò Í»» Í§­¬»³ Í»¬¬·²¹­ ±² °¿¹» éç º±® ³±®» ·²º±®³¿¬·±²
                  ¿¾±«¬ ½«­¬±³·¦·²¹ §±«® ­§­¬»³ò




                                                                                         Ë­»® Ù«·¼»   ¤   íë
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          í   ¤   Í§­¬»³ Ý±²¬®±´


                        System Information  ±°»²­ ¬¸» Í§­¬»³ ×²º±®³¿¬·±² ¼·¿´±¹ ¾±¨ô ©¸·½¸ ´·­¬­ ¬¸»
                        ­»®·¿´ ²«³¾»® ¿²¼ ±¬¸»® ¹»²»®¿´ ·²º±®³¿¬·±² ¿¾±«¬ ¬¸» ÒÙÝ ¼»ª·½» ¿­ ©»´´ ¿­
                        ·²º±®³¿¬·±² ¿¾±«¬ ¬¸» ­§­¬»³ ½±³°±²»²¬­ô °®±½»­­»­ô ¿²¼ ËÊ ¿²¼ ËÊñÊ·­
                        ¼»¬»½¬±®­ò Í»» Í§­¬»³ ×²º±®³¿¬·±² ±² °¿¹» ïðî º±® ³±®» ·²º±®³¿¬·±²ò

                        Preferences  ±°»²­ ¼·¿´±¹ ¾±¨»­ ·² ©¸·½¸ §±« ½¿² ¼± ¬¸» º±´´±©·²¹æ

                                   Í»´»½¬ °®»­­«®» «²·¬­ º±® ¿´´ ­§­¬»³ ¿²¼ ­±º¬©¿®» °®»­­«®» ª¿´«»­ò Ì¸·­ ·­ ¿
                                   ¹´±¾¿´ ­»¬¬·²¹ò Í»» Ë²·¬­ Ì¿¾ ±² °¿¹» ïðê º±® ³±®» ·²º±®³¿¬·±²ò

                                   Í»¬ «° ¿² ÍÓÌÐ ­»®ª»® ¬± ®»½»·ª» »³¿·´ ³»­­¿¹»­ ¿¾±«¬ ­§­¬»³
                                   ²±¬·º·½¿¬·±²­ º®±³ ¬¸» Ý¸®±³Ô¿¾ ½±³°«¬»®ò Í»» Û³¿·´ Í»®ª»® Í»¬«° Ì¿¾ ±²
                                   °¿¹» ïðé º±® ³±®» ·²º±®³¿¬·±²ò

                                   Í»¬ ¼»º¿«´¬ ª¿´«»­ º±® °¿®¿³»¬»®­ «­»¼ ·² ²»© ³»¬¸±¼­ò Ì¸» ­»¬¬·²¹­
                                   ¿°°»¿® ·² ¬¸» Ó»¬¸±¼ Í»¬¬·²¹­ ©·²¼±©ò Í»» Ó»¬¸±¼ Û¼·¬±® Ì¿¾ ±²
                                   °¿¹» ïðç º±® ³±®» ·²º±®³¿¬·±²ò

                                   Ý®»¿¬» ¿²¼ ½±²º·¹«®» ¿ ®¿½µ ´·¾®¿®§ º±® §±«® º®¿½¬·±² ½±´´»½¬±®­ò Ì¸·­ ¿
                                   ¹´±¾¿´ ­»¬¬·²¹ò Í»» Î¿½µ Ô·¾®¿®§ Ì¿¾ ±² °¿¹» ïïï º±® ³±®» ·²º±®³¿¬·±²ò

                                   Í»¬ ¼·­°´¿§ °®»º»®»²½»­ º±® ¬¸» Ûª¿´«¿¬·±² ©·²¼±©ò Í»» Ûª¿´«¿¬·±² Ì¿¾ ±²
                                   °¿¹» ïïí º±® ³±®» ·²º±®³¿¬·±²ò

                        Exit  ½´±­»­ Ý¸®±³Ô¿¾ò


                        View Menu Commands
                        Show Chromatogram  ¼·­°´¿§­ ¿ ½¸®±³¿¬±¹®¿³ ±º ¬¸» ½«®®»²¬ ®«² ¼¿¬¿ò Ý´»¿®·²¹
                        ¬¸·­ ½±³³¿²¼ ¸·¼»­ ¬¸» ½¸®±³¿¬±¹®¿³ º®±³ ª·»©ò

                        Show Fluidics  ¼·­°´¿§­ ¬¸» º´«·¼·½ ­½¸»³»ò Ý´»¿®·²¹ ¬¸·­ ½±³³¿²¼ ¸·¼»­ ¬¸»
                        º´«·¼·½ ­½¸»³» º®±³ ª·»©ò




          íê ¤    ÒÙÝ Ý¸®±³¿¬±¹®¿°¸§ Í§­¬»³­ ¿²¼ Ý¸®±³Ô¿¾ Í±º¬©¿®»
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                                                                                 Í§­¬»³ Ý±²¬®±´ É·²¼±©



                  Manual Menu Commands
                  Enter/Exit Manual Mode  ¬±¹¹´»­ Ý¸®±³Ô¿¾ ¾»¬©»»² ³¿²«¿´ ¿²¼ ¿«¬±³¿¬·½
                  ³±¼»­ò

                  Save Recorded Manual Run  ·² ³¿²«¿´ ³±¼»ô ­¿ª»­ ·² ¿ ¼¿¬¿ º·´» ¬¸» ­¬»°­
                  »¨»½«¬»¼ ¼«®·²¹ ¿ ³¿²«¿´ ®«²ò

                  Clear Recorded Data  ¼»´»¬»­ ³¿²«¿´ ®«² ¼¿¬¿ º®±³ ¬¸» ¼·­°´¿§ò


                  Tools Menu Commands
                  Calibrate  ±°»²­ ¬¸» Ý¿´·¾®¿¬·±² ¼·¿´±¹ ¾±¨ô ©¸·½¸ ¼·­°´¿§­ ·²­¬®«½¬·±²­ ¿²¼
                  ­»¬¬·²¹­ º±® ­»´»½¬·²¹ ¿ ³±¼«´» ¿²¼ ½¿´·¾®¿¬·²¹ ·¬ò Í»» Ý¿´·¾®¿¬·²¹ ¿ Ó±¼«´» ±²
                  °¿¹» éì º±® ¼»¬¿·´­ò

                  Point-to-Plumb  ­¬¿®¬­ ¬¸» Ð±·²¬ó¬±óÐ´«³¾ º»¿¬«®» ¿²¼ ­·³«´¬¿²»±«­´§ ¬«®²­ ±ºº
                  ·²­¬®«³»²¬ ÔÛÜ ´·¹¸¬­ ­± §±« ½¿² ª·­«¿´´§ ª»®·º§ °±®¬ ´±½¿¬·±²­ ¼«®·²¹ ·²­¬®«³»²¬
                  °´«³¾·²¹ò Ü·­°´¿§­ ¬¸» ½«®®»²¬ º´«·¼·½ ­½¸»³»ò Ù®¿§ ´·²»­ ·²¼·½¿¬» ¬¸» º´±© °¿¬¸ò
                  Ý´·½µ·²¹ ¿ ´·²» ·² ¬¸» ©·²¼±© ¬«®²­ ±² ÔÛÜ ´·¹¸¬­ ±² ¬¸» ·²­¬®«³»²¬ ½±®®»­°±²¼·²¹ ¬±
                  °±®¬­ ¬± ¾» ½±²²»½¬»¼ò Í»» Ê»®·º§·²¹ Ð´«³¾·²¹ ©·¬¸ ¬¸» Ð±·²¬ó¬±óÐ´«³¾ Ú»¿¬«®» ±²
                  °¿¹» éé º±® ¼»¬¿·´­ò

                  Change Fluidic Scheme  ±°»²­ ¬¸» Ú´«·¼·½ Í½¸»³» Í»´»½¬±® ¼·¿´±¹ ¾±¨ ·² ©¸·½¸
                  §±« ½¿² »¼·¬ ¬¸» º´«·¼·½ ­½¸»³» ±® ½¸±±­» ¿²±¬¸»® ±²»ò Í»» Ú´«·¼·½ Í½¸»³»
                  Ý±²º·¹«®¿¬·±²­ ±² °¿¹» ëç º±® ¼»¬¿·´­ò

                  Map Fluidic Scheme  ±°»²­ ¬¸» Ú´«·¼·½ Í½¸»³» Ó¿°°·²¹ ¼·¿´±¹ ¾±¨ô ©¸·½¸
                  ¼·­°´¿§­ ¬¸» ´±½¿¬·±² ±º ¬©± ±® ³±®» ª¿´ª»­ ±º ¬¸» ­¿³» ¬§°» ·² ¬¸» º´«·¼·½ ­½¸»³»ô
                  º±® ·²­¬¿²½» ¬©± ±® ³±®» ·²´»¬ ª¿´ª»­ ±® ½±´«³²ó­©·¬½¸·²¹ ª¿´ª»­ò Ç±« ½¿² «­» ¬¸·­
                  ¼·¿´±¹ ¾±¨ ¬± ³¿° ¬¸» ¼»ª·½» ±² §±«® ·²­¬®«³»²¬ ¬± ·¬­ °±­·¬·±² ·² ¬¸» º´«·¼·½
                  ­½¸»³»ò Í»» Ú´«·¼·½ Í½¸»³» Ó¿°°·²¹ ±² °¿¹» éð º±® ¼»¬¿·´­ò

                  Flow Rate Converter ±°»²­ ¬¸» Ú´±© Î¿¬» Ý±²ª»®¬»® ¬±±´ô ©¸·½¸ »²¿¾´»­ §±« ¬±
                  ¼»¬»®³·²» ¬¸» º´±© ®¿¬» ¬± «­» º±® »¿½¸ ½±´«³² ·² ¬¸» ³»¬¸±¼ ¾¿­»¼ ±² ¬¸» ½±´«³²
                  ­·¦» ¿²¼ ¬¸» ·²·¬·¿´ ®¿¬» »²¬»®»¼ò ß ®¿¬» »²¬»®»¼ ·² ³´ñ³·² ·­ ½±²ª»®¬»¼ ¬± ½³ñ¸ ¿²¼
                  Ôñ¸å ¿ ®¿¬» »²¬»®»¼ ·² ½³ñ¸® ·­ ½±²ª»®¬»¼ ¬± ³´ñ³·² ¿²¼ Ôñ¸ò Ç±« ½¿² ½±°§ ¬¸» ®»­«´¬
                  ·² ¬¸» ½±²ª»®¬»® ¿²¼ °¿­¬» ·¬ ·²¬± §±«® ³»¬¸±¼ò



                                                                                     Ë­»® Ù«·¼»     ¤   íé
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          í   ¤   Í§­¬»³ Ý±²¬®±´


                        Help Menu Commands
                        Help  ¼·­°´¿§­ ­½®»»²ó´»ª»´ ¸»´° ¬±°·½­ ¿²¼ ´·²µ­ ¬± ·²­¬¿´´»¼ ³¿²«¿´­ò

                        Export Diagnostic Logs  ±°»²­ ¬¸» Û¨°±®¬ Ü·¿¹²±­¬·½ Ô±¹­ ¼·¿´±¹ ¾±¨ ·² ©¸·½¸
                        §±« ½¿² »¨°±®¬ ¿´´ ½®·¬·½¿´ ·²º±®³¿¬·±² ¬¸¿¬ Þ·±óÎ¿¼ Ì»½¸²·½¿´ Í«°°±®¬ ®»¯«·®»­ ¬±
                        ¼·¿¹²±­» ·­­«»­ò Ì¸» ´±¹ º·´»­ ¿²¼ ¼¿¬¿ ¿®» ¦·°°»¼ ¿²¼ ­¿ª»¼ ¬± ¿ ´±½¿¬·±² ¬¸¿¬ §±«
                        ½¸±±­»ò Í»» Û¨°±®¬·²¹ Ü·¿¹²±­¬·½ Ô±¹­ ±² °¿¹» íêí º±® ³±®» ·²º±®³¿¬·±²ò

                        About  ¼·­°´¿§­ ª»®­·±² ¿²¼ ½±°§®·¹¸¬ ·²º±®³¿¬·±² ¿¾±«¬ Ý¸®±³Ô¿¾ ­±º¬©¿®»ò


                        Toolbar Commands
                        Save  ­¿ª»­ ·² ¿ ¼¿¬¿ º·´» ­¬»°­ »¨»½«¬»¼ ¼«®·²¹ ¿ ³¿²«¿´ ®«²ò

                        Clear  ¼»´»¬»­ ³¿²«¿´ ®«² ¼¿¬¿ º®±³ ¬¸» ¼·­°´¿§ò

                        Autoscale  ¿«¬±³¿¬·½¿´´§ ­½¿´»­ ¬¸» ½¸®±³¿¬±¹®¿³­ °®·³¿®§ §ó¿¨·­ ¬± ¬¸» ¬¿´´»­¬
                        °»¿µ ¸»·¹¸¬ ¼«®·²¹ ¬¸» ®«²ò ß«¬±­½¿´·²¹ ·­ »²¿¾´»¼ ¾§ ¼»º¿«´¬ò É¸»² ¼·­¿¾´»¼ô §±«
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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE


   CYTIVA SWEDEN AB, and GLOBAL LIFE
   SCIENCES SOLUTIONS USA LLC,

                     Plaintiffs           C.A. No. 18-1899-CFC
                                          Consolidated
                     v.
                                          DEMAND FOR JURY TRIAL
   BIO-RAD LABORATORIES, INC.,
                                          HIGHLY CONFIDENTIAL
                     Defendant.
                                          ONLY



                 REBUTTAL EXPERT REPORT OF DR. BRUCE GALE
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           A.

                     1.

                     2.

                     3.                                                             rranged to separate the fluidics


                     4.                                         ing comprises a liquid handling
                                panel with at least four component receiving positions arranged in
                                a two dimensional array and adapted to receive said
                                interchangeable modular components such that, when inserted, the


                                                                        i
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                     fluidics section is external to the housing and the non-fluidics


               5.
                     includes a dedicated cpu unit allowing the interchangeable modular
                     component to independently perform operations in response to


               6.                                      er control unit is arranged to


               7.                                        ing is adapted to accommodate
                     at least one pump, at least one sensor unit and at least two fluid
                     control valves of different configurations, of which at least three of
                     the pump, the sensor unit and the fluid control valves are


               8.                                        rises a pH electrode that is


               9.                                     least two fluid control valves
                     include an injection valve, a column valve with integrated pressure
                     sensors, a quaternary valve, an inlet valve, a sample inlet valve, a


               10.                                        de is connected to a pH valve


               11.                                       includes an integrated flow cell


               12.                                      two fluid control valves include
                     an injection valve, a column valve with integrated pressure
                     sensors, a quaternary valve, an inlet valve, a sample inlet valve, a


               13.                                        ranged to separate a fluidics


               14.
                     panel with two or more component receiving positions adapted to
                     receive said interchangeable modular components such that, when
                     inserted, the fluidics section is external to the housing and the non-


               15.
                     includes a dedicated CPU unit allowing the interchangeable


                                               ii
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                     modular component to independently perform operations in


               16.
                     accommodate at least one pump, at least one sensor unit, and at
                     least two fluid control valves of different configurations, of which
                     at least two of the pump, the sensor unit, and the fluid control


               17.   Dependent Claim 22 ..................................................................................68

               18.   Dependent Claim 23 ..................................................................................68

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               20.   Dependent Claim 25 ..................................................................................68

               21.                                                   rranged to separate a fluidics


               22.
                     panel with at least four component receiving positions arranged in
                     a two dimensional array and adapted to receive said
                     interchangeable modular components such that, when inserted, the
                     fluidics section is external to the housing and the non-fluidics


               23.
                     component includes a dedicated CPU unit allowing the
                     interchangeable modular component to independently perform
                     operations in response to instru

               24.                                        ing is adapted to accommodate
                     at least one pump, at least one sensor unit and at least two fluid
                     control valves of different configurations, of which at least two of
                     the pump, the sensor unit, and the fluid control valves are


               25.                                       further comprises a pH electrode
                     that is external to the housing, and wherein the pH electrode is
                     connected to a pH valve formed as an interchangeable modular


         B.

               1.
                     external side of the housing unit a plurality of receiving positions,
                     each receiving position adapted to receive the modular fluid

                                                       iii
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                     handling units therein such that a fluid handling section thereof is
                     on the external side of the housing unit, the receiving positions


               2.
                     includes a CPU for independently performing fluid control


               3.
                     for performing fluid control operations independently irrespective
                     of the location within

               4.                                        is adapted to accommodate at
                     least one pump, at least one sensor unit and at least two fluid
                     control valves of different configurations, of which at least two of
                     the pump, the sensor unit, and the fluid control valves are freely


               5.                                        is adapted to accommodate at
                     least one pump, at least one sensor unit and at least two fluid
                     control valves of different configurations, of which at least two of
                     the pump, the sensor unit and the fluid control valves are arranged


               6.                                      two fluid control valves include
                     an injection valve, a column valve with integrated pressure
                     sensors, a quaternary valve, an inlet valve, a sample inlet valve, a


               7.                                 tomatic liquid chromatography
                     system further comprises a pH electrode that is external to the
                     housing unit, and wherein the pH electrode is connected to a pH
                     valve arranged as a modu

               8.                                        e includes an integrated flow


               9.                                     handling section of the modular
                     fluid handling unit is sealed from an internal side of the housing
                     unit when fitted in a receivi

               10.                                     de that is external to the
                     housing unit, and wherein the pH electrode is connected to a pH
                     valve arranged as a modu

               11.                                       e includes an integrated flow



                                               iv
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               12.                                     fluid handling units include
                     two double piston pumps, one injection valve for injecting a
                     sample onto a column connecting a flow path of the liquid


         C.

               1.                                      least two of the interchangeable
                     modular components in a housing unit comprising at least four
                     component receiving positions arranged in a two dimensional
                     array, so as to allow for modification of the liquid chromatography
                     fluid flow path among the at least four interchangeable modular


               2.                                      e at least four interchangeable
                     modular components comprises a CPU unit for independently
                     performing fluid control operations in response to instructions
                     from a system controller when installed in a component receiving


               3.    Claims 2 and 3, Flow path shortened .........................................................79

               4.    Claims 10 and 12 .......................................................................................80

               5.
                     control operations in response to instructions from the main
                     controller when installed in the component receiving position of


               6.
                     plurality of component receiving positions, each component
                     receiving position being adapted to receive the at least one
                     interchangeable modular fluid handling unit, and placing at least
                     one additional interchangeable modular fluid handling unit in one
                     of the component receiving positio

               7.
                     liquid chromatography system upon placement in a component
                     receiving position of sim

               8.                                                  rchangeable modular fluid handling


         D.

               1.    The NGC System Does Not Infringe
                     Least Because it Lacks Several Elements in Claim 1 from Which it
                     Depends......................................................................................................82

                                                          v
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                   2.                                                              ode is connected to a pH valve


                   3.                                                             e include[] an integrated flow


         E.

                   1.                                              ranged to separate the fluidics
                              section from the non fluidics section and for attachment of the
                              modular component to a component position of the liquid handling


                   2.                                        quid handling panel of the housing
                              and the panel members are arranged such that the fluidics sections
                              are external to the housing and respective non fluidics sections are


                   3.                                                                cs sections are internal to the


                   4.                                        each of the interchangeable
                              modular components includes a dedicated CPU unit allowing each
                              of the interchangeable modular components to independently
                              perform operations in response to

                   5.                                       em includes two double piston
                              pumps, one injection valve for injecting sample onto a column
                              connecting to the flow path of the liquid chromatography system, a


                   6.                                           cludes a pH-valve with an
                              integrated flow cell for in-line monitoring of pH levels, and a
                              quaternary valve for automatic buffer preparation and formation of


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         B.                                                                                                             ................102

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                              LIST OF REPORT EXHIBITS

    Exhibit No.                                  Description
   Exhibit 1      List of Materials Relied Upon
   Exhibit 2      10.22.2014 Lundkvist Depo Tr.
   Exhibit 3      Markman Hearing Transcript
   Exhibit 4      NGC Chromatography System
   Exhibit 5      (Filed Under Seal) BRGE00000846 - 864
   Exhibit 5      (Filed Under Seal) BRGE00000846 - 864
   Exhibit 6      (Filed Under Seal) BRGE00000572 - 597
   Exhibit 7      (Filed Under Seal) BRGE00000511 - 544
   Exhibit 8      (Filed Under Seal) BRGE00000598 - 622
   Exhibit 9      (Filed Under Seal) BRGE00000545 - 571
   Exhibit 10     (Filed Under Seal) BRGE00000623 - 654
   Exhibit 11     (Filed Under Seal) BRGE00000785 - 826
   Exhibit 12     (Filed Under Seal) BRGE00000655 - 688
   Exhibit 13     (Filed Under Seal) BRGE00000714 - 747
   Exhibit 14     (Filed Under Seal) BRGE00000689 - 713
   Exhibit 15     (Filed Under Seal) BRGE00000477 - 510
   Exhibit 16     (Filed Under Seal) BRGE00000748 - 784
   Exhibit 17     Blank
   Exhibit 18     (Filed Under Seal) BRGE00002458



   Exhibit 23     06.26.2020 Lundkvist Depo Tr.
   Exhibit 24     10.17.2014 Scandella Depo Tr.
   Exhibit 25     Preliminary Injunction Hearing Declaration Images
   Exhibit 26     08.17.2016 Soderman Depo Tr.
   Exhibit 27     07.23.2020 Chapman Depo Tr.
   Exhibit 28     06.24.2020 Hareland Depo Tr.
   Exhibit 29                                       BRGEDEL000610423 - 610434
   Exhibit 30                         BRGEDEL000610047 - 610068




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   I, Bruce Gale, Ph.D., declare as follows:

   I.     INTRODUCTION

          1.      I have been retained by counsel for Defendants Bio-Rad Laborat

                                    captioned case. As part of this engagement, I have been asked to

   provide my opinions regarding U.S. Patent




   of the Asserted Patents and whether or not the Bio-Rad NGC systems infringes the Asserted

   Patents.

          2.      I am being compensated at my usual hourly rate of $500. I am being separately

   reimbursed for any out-of-pocket expenses. My compensation does not depend in any way on

   the outcome of this case or the particular testimony or opinions that I express. I have personal

   knowledge of the facts stated in this report, and I could and would competently testify to them if

   called upon to do so.

          3.      This report discuses my opinions with

                                                  at the accused NGC systems do not infringe claims

                                                     589 patent, claims 1-4, 10, 12-14, 17, and 18 of




                                      also contains my responses to the Expert Reports of Dr. Steven

   Wereley and Mr. Nenad Vukicevic. These opinions, and the basis for these opinions, are set

   forth in full detail below. I also incorporate prior reports and declarations that I have submitted

   in this case and patent office proceedings.

   II.    BASIS FOR OPINIONS
                                                    1
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          A.      Qualifications

          4.      I fully incorporate herein by reference the qualifications disclosed in my opening

   report on invalidity.

          B.      Materials Considered

          5.      In forming the opinions set forth in this report, I have considered and relied upon

   my education, knowledge of the relevant fields, and experience. I have also reviewed and

   considered the Asserted Patents, their priority applications, and their prosecution file histories,

                                      ling and the expert report of Dr. Wereley as well as other

   materials expressly set forth in this report and identified in Ex. 1.

          C.      Level of Ordinary Skill in the Art

          6.      In my opinion, for the Asserted Patents, a person of ordinary skill in the art



   Engineering, Bioengineering, or Electrical Engineering and three years of fluid handling

   machine design experience, or would have an advanced degree in a similar field with at least one

   year of related design experience. This is the same level of experience that I proposed in my

   report on invalidity.

   III.   LEGAL STANDARDS

          7.      I am not a legal expert and offer no legal opinions. However, I have been

   informed by counsel of the following legal standards that apply to the pertinent technical issues,

   and I have applied those standards where appropriate in arriving at my conclusions expressed in

   this declaration.

          A.      Non-Infringement

          8.      I understand that when considering whether a person or entity infringes the

   asserted claims, each of the asserted claims must be considered individually, and to establish

                                                      2
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   infringement of a patent, all of the elements of at least one of the asserted claims must be present,

   either literally or by an equivalent.

           9.      I understand that there are independent claims and dependent claims. An

   independent claim is read separately to determine its scope. A dependent claim is one that is

   based on an independent claim. To determine the scope of the dependent claim, I understand

   that it must be read to include all the elements of the claim(s) from which it depends, together

   with the additional limitations contained in the dependent claim.

                   1.      Literal

           10.     I understand that Cytiva bears the burden of proving by a preponderance of the

   evidence that Bio-Rad infringes the Asserted Claims. I have been informed that analysis of

   patent infringement requires two steps. The first step is to properly construe the patent claims,

   which is a step taken by the Court. The second step is to apply the construed claims to the

   accused product on an element-by-element basis.

   if each and every claim element is not found in the accused product. In other words, if one

   element is not satisfied, the claim is not infringed. If an independent claim is not infringed, I

   understand that a claim depending from the independent claim, which must have all the elements

   of the independent claim, also is not infringed.

           11.     I have interpreted the claims from the perspective of a person having ordinary

   skill in the art and have interpreted them in

   specification and the prosecution file history and any relevant extrinsic evidence.

                   2.      Doctrine of Equivalents

           12.                                               on infringement ¶ 17, that neither he nor

   the Plaintiff are relying on the doctrine of equivalents, so I will not discuss it in my report.

                   3.      Prosecution History

                                                      3
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          13.        I understand that a patent owner is prevented from recapturing what had been

   surrendered during prosecution to obtain allowance of the claims. I understand that the claims

   of the patent cannot be interpreted to cover subject matter that the patent owner argued to the

   U.S. Patent Office was beyond the scope of the claims. I have been informed that estoppel arises

   when an amendment or argument is made to secure the patent and the amendment or argument



          14.        I have also been informed that estoppel arises only where the patentee clearly and

   unambiguously disavowed claim scope.

                     4.     Indirect Infringement

          15.        I have been informed that an accused infringer may induce or contribute to the

   infringement of a claim by either: a) encouraging a party to take steps knowing that the acts they

   induced constitute patent infringement and the encouraging acts actually resulted in patent

   infringement or b) selling or importing into the United States a component of a patented machine

   manufacture, combination or composition or a material or an apparatus for use in practicing a

   patented process, which constitutes a material part of the invention, knowing the same to be

   especially made or especially adapted for use in an infringement of such patent, and the

   component is not a staple article or commodity of commerce suitable for substantial non-

   infringing use.

   IV.    THE ASSERTED PATENTS

          16.        I fully incorporate herein by reference the discussion of the Asserted Patents, their

                                        s alleged conception and reduction to practice disclosed in my

   opening report.

          17.        Overall, as outlined in my opening report, liquid chromatography and modularity

   are nothing novel to the asserted patents. Not only do the Metrohm and Applikon systems

                                                       4
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   discussed in my opening report demonstrate this

   as well. The main difference between the DuoFlow, which was a modular system where the

   modules are stackable, and the NGC, which is a modular system in which the modules slide into

   slots in a housing, is the form factor and space. This difference is analogous to the difference

   between a stereo system (DuoFlow) and a card catalog (NGC). Both forms of modularity allow

   users to replace individual modules or add additional modules to the systems. But just like a

   card catalogue, or an Ikea dresser that has a housing and slots to insert individual drawers, there

   is nothing new or novel about the idea of using a single housing that can accommodate multiple

   individual components.

           18.     I do not see anything in the specification of the asserted patents or in Dr.

                                                         that describes the inventors of the asserted

   patents as having invented any new chromatography function or process. What I mean by this is

   that the patents do not claim to perform chromatography is some new and different way. Ex. 2

   Oct. 22, 2014 Lundkvist Depo. 88:2-90:7. Rather, the patents are directed at using past methods

   and components with those components simply arranged in a particular manner, e.g.,: as

   interchangeable units with the electronics section of the unit on one side of a panel member and

   inside the housing, and the fluidics section of the unit on the other side of the panel member and

   outside the housing. Thus, at most, the patents claim a different form factor, one in which

   modularity is achieved using a single housing like a card catalogue or Ikea dresser, rather than

   using stackable boxes like old stereo. But this form factor is not new or novel regardless of what

   type of application it is applied to.

           19.     Liquid chromatography systems are just a tool scientists use in their research.

                                     lue most in a chromatography system is that it be capable of



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   performing the specific chromatography techniques they require in order to, for example, purify

   proteins for use in their research. The specific form factor, or the form of modularity that the

   system employs is secondary, at best, in a us

   system will be capable of satisfying their needs. A user will never buy a system that is not able

   to perform the chromatography techniques required. In other words, function is far more

   important than form to a user of liquid chromatography systems. As I stated above, the patents

   in suit are not directed to performing any new aspect of chromatography or performing any

   existing aspect of chromatography in any new way. Rather the patents are simply directed to

   form factor or aesthetic aspects of chromatography. The machine is likely to ship more easily as

   a single unit rather than as multiple boxes. But I do not consider this to be any type of

   technological advance.

   V.      CLAIM CONSTRUCTION

           20.      I understand that the Court has entered a Claim Construction Order.1

           21.      I understand that the parties agreed on the following constructions relevant to the

   Asserted Patents discussed in this report.

   Terms                                     Agreed Construction

                       is external to the                            the outside of the housing and
   housing and the non[-]fluidics section the non-fluidics section is on


           22.      I understand that the Court has construed the disputed terms as follows.

   Terms

                                             positions in the housing and that has a standardized size
                                             and shape that allows it to be exchanged with another

                                                         ling unit that can be inserted into and

           1
               D.I. 89.

                                                     6
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                                                                     in the housing and that has a
                                             standardized size and shape that allows it to be

                                             The preambles are claim limitations.
   liquid chromatography system

   modifying a fluid flow path in an
   automated liquid chromatography

   building an automated liquid
   chromatography system, the method

   chromatography system arranged to
   provide a controlled fluid flow
   through a chromatography column,


                                             Plain and ordinary meaning

                                             Plain and ordinary meaning
   performing automated liquid

                                                                           le fluid handling unit that
                                             includes electrical components and does not include

                                                                           le fluid handling unit that
                                             includes fluidics components and does not include non-


          23.     In all cases, I applied the agreed claim c

   as one of ordinary skill in the art would interpret them in light of the specification and the file

   history in performing my analyses and rendering my opinions in this report.

          24.     In this regard, it is my opinion that

   claim construction at least with respect to the terms fluidics section and non-fluidics section in

   Paragraphs 57-58 of his report. He has done so, apparently, because he did not state in his

   opening report that he reviewed the file history where the inventors of the asserted patents made

   certain statements explaining what their inventions were not. By failing to review those

                                                    claim construction (and statements made during

                                                     7
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   the hearing that are not part of the claim construction) in a way which is inconsistent with the

                                                         ill address these issue more particularly with

   respect to certain elements but address them here in a general manner as well.

          25.      Dr. Wereley quotes isolated portions of what I understand to be the hearing

   transcript from the claim construction proceedings to claim that there can be non-fluidics

   (electronics) outside the non-fluidics section of each module. (Wereley Report ¶57). But what

   the portion of the hearing transcript that Dr. Wereley quoted did not say is that electronics of the

   module can be in the fluidics section, even if they are not in the non-fluidics section. Ex. 3,

   Markman Hearing Tr., 97:16-25. All it says is that it may be possible for there to be electronics

   that are not in the fluidics section that are also not in a non-fluidics section. Id. That does not

   mean that once can indiscriminately define electrical components as being in some section that is

   neither a fluidics section or a non-fluidics section for purposes of establishing infringement. By

   failing to review the file history and see how the inventors interp

   Wereley is interpreting the claims and asserting infringement against the Bio-Rad devices in

   ways that are inconsistent with the word section in the asserted patents and the representations

   the inventors made to the patent office to obtain their patent. By doing so, Dr. Wereley is also

   interpreting the random passages he was presented from the claim construction hearing in an

   improper way.

          26.      For example, the judge stated at pages 90-91 of the hearing transcript after

   counsel went through some, but not even all, the statements in the file history that the inventors

   made to obtain their claims that there was clear and unmistakable representations by the

   inventors that the electrical components should be separated from the fluidic components:




                                                     8
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                                     9102




         27.
                                         9
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          28.     The Court then reiterated at pages 102-103 of the hearing transcript, the clear and

   unequivocal statements that the inventors had made to obtain their patents and about there

   needing to be two sections: a fluidics section and a non fluidics section and there had to be

   complete separation between the fluidics and the electronics in them:




                                                   10
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                                     9104




         29.


                                        11
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          30.     Again, just because there is a theoretical possibility that there may be yet a third

   or forth section where there could be an electrical or fluidic component, does not mean that any

   component that is encountered that is inconsistent with an infringement theory can be dealt with

                                                    om what is otherwise a fluidics or non fluidics

   section. Any creation of this alternative additional section that is inconsistent with how the

   inventors construed the prior art is not permissible and Dr. Wereley failed to consider that in any

   way in his opening report.

          31.     I note that relevant portions of the file history that inform that a section cannot be

   defined as Dr. Wereley has tried to do in his infringement report appear as Ex. G in the joint

   claim construction briefing which I understand has the Document number DI 52-8 (Ex. 19)2. I

   will be referring to pages from that Exhibit G, which I incorporate into this report as well as the

   Mortada, Ex. 20, Bergstrom Ex. 21, and Hess Ex. 22 references discussed in those pages of the

   File History. I will also refer, when necessary to the slides that counsel used during the claim

   construction hearing to illustrate points from the File History.

   VI.    SUMMARY OF OPINIONS

          32.     As set forth in detail below, based on my review of the Asserted Patents,

   including the Asserted Claims and the prosecution histories of the Asserted Patents, the claim

   constructions in this matter, the accused products and functionality the Wereley and Vukicevic

   Reports, and the materials listed in Exhibit 1, I have reached the following opinions:

                          The accused products do not directly or indirectly infringe, any asserted


                          The accused products do not directly or indirectly infringe, any asserted


          2
            For clarity, I refer to the original exhibit identification Exhibit G throughout. But
   Exhibit G is Exhibit 19 here.

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                          The accused products do not directly or indirectly infringe, any asserted


                          The accused products do not directly or indirectly infringe, any asserted


                          The accused products do not directly or indirectly infringe, any asserted


                          Dr. Wereley and Mr. Vukicevic have failed to identify how the accused
                          products meet each and every limitation of any Asserted Claim sufficient
                          to establish infringement;

                          Even if Dr. Wereley and Mr. Vukicevic assertions regarding infringement
                          were correct, which they are not, there are non-infringing alternatives
                          available to Bio-Rad; and

                          Last with respect to licenses that may provide a basis for determining a
                          reasonable royalty because they are directed to comparable technology, I
                          have analyzed a number of agreements and provided an opinion for how
                          the technology in those licenses is similar to the technology in the assert
                          patents.

          33.     In the following sections, I provide a narrative of my opinions.

   VII.   OVERVIEW OF THE ACCUSED PRODUCTS

          34.     The NGC system is a liquid handling system that functions in essentially the same

   as the prior DuoFlow system. The only real difference is the form factor in the way the

   components are arranged. The system includes modules with both electrical and liquid

   components. In all the NGC modules, there are electrical components that are not on either side

   of a panel member and are thus not separated from the fluidics components as required by the

   claims. For the same reasons, all the modules have electrical components that sit beside fluidic

   components and are not on either side of the liquid handling panel and are not internal to the

   housing as required by the claims. Those components are therefore in the fluidics section.

   Because of this arrangement, the NGC instrument fails to meet multiple elements of the claims

   and one of the primary requirements goals of the asserted patents, to separate the electrical and


                                                   13
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   fluidic components of the modules by having them on either side of at least two different panels

   (the panel member and the liquid handling panel).

   VIII. NON-INFRINGEMENT OF THE ASSERTED PATENTS

          35.     Based on my analysis of the Asserted Claims as well as an analysis of the accused

   products and functionalities it is my opinion that Bio-Rad does not directly or indirectly infringe,

   the Asserted Claims. Below, I address the elements that are lacking in the accused products.

          A.

                  1.

          36.     Element [1.e]3

                                                 a section of the interchangeable fluid handling

   unit that includes fluidics components and



   housing. This is consistent with other elements and phrases of the claim such as the first wherein

                                                ates that when the interchangeable modular

   components are inserted into the housing the fluidics section is external to the housing and the

   non fluidic section is internal to the housing. See

          37.     At paragraphs 105-119 of his report, Dr. Wereley argues that four different

   configurations of the Bio-Rad NGC machine, the 1) Quest, 2) Scout, 3) Discover and 4)

   Discover Pro (See Dr. Wereley at paragraphs 93-96 identifying various components in each of

                                                hree or more fluid handling units arranged as




          3
           For convenience and consistency, I refer to the elements using the same nomenclature
   as Dr. Wereley.

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           38.     Dr. Wereley then selects two system pumps and a sample injection valve that he

   finds present in each of these modules satisfy element 1(e). See Wereley at ¶105-114. Dr.

   Wereley states the components satisfy the element because, among other things, the

   specifications for each of the modules state that

           Id. at ¶ 107.

           39.     Dr. Wereley then goes on to cite to images of NGC pump modules and a sample

   inject valve module and then purportedly illustrates the components that define the external

   fluidics section on those modules. See Id. at ¶ 110, 112, 113. He states that the portions he has

   illustrated/identified are all involved in the transmission of fluidics, e.g., tubing, flow cells and

   outputs etc. Id. at ¶ 115.

           40.     While recognizing that each of them modules have electronics visible to the user

   and outside the housing, Dr. Wereley states in conclusory fashion, without any analysis,

   including without any reference to statements the inventors made during the prosecution to

                                  POSITA would recognize that externally located non-fluidics

                                                                                               Id. at

   ¶116. I disagree. From what Dr. Wereley has presented in his opening report, there is no way

   for one of ordinary skill in the art to draw that conclusion other than ipse dixit.

           41.     What I mean by that is that Dr. Wereley has identified nothing in his opening

   report that would provide any guidance to one

   fluidics or non-fluidics, is to be defined in the asserted patents. The failure of analysis and facts

   results in a lack of proof on this element and Dr. Wereley having failed to meet his burden of

   proof in this report.




                                                     15
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          42.     Moreover, when one of ordinary skill in the art performs an analysis of the

   patent, the statements the inventors made to obtain their patents, and the actual modules that

   have been accused, they would only be able to come to the conclusion that there is no external

   fluidics section in the two pump and one injection valve module that Dr. Wereley has relied on to

   prove infringement of this element.

          43.     Throughout the specification of the asserted patents, the inventors stress that there

   needs to be separation of fluidics and electronics components to ensure that electronics are not

   harmed when changing fluid connections and when a leak occurs. See, e.g., Col. 2: 28-32 (a

   liquid handling panel to separate fluidics and electronics); Col 6: 17-620(in one embodiment, the

   panel member essentially separates the fluidics section from the electronics and internal

   electronics); Col. 6: 10-29 (noting various arrangements, including with and without a panel

   member such that the electronics are separated from the fluidics through the use of such

   components as a suitable sealing arrangement between the housing opening and the external

   fluidics side of the module); Col. 7:7-25 (noting air tight sealing between the component

   positions and the non fluidics section and noting configurations, such as that claimed, where

   fluids are strictly on one side of the fluid handling panel and the electronics are strictly on the

                                                          rictly restricted to the fluidics section 30 of

   the interchangeable modular components 26, but in alternative embodiments , only fluid

   connections are restricted to the fluidics section 30 allowing flui

   panel inside the non-fluidics section 30 of the interchange

          44.     I note that nowhere in the patent is there a description of anything other than two

   sections in a module, a fluidics section and a non-fluidics section. To the extent there is some

   other intermediate section, it is nowhere described in the patents or how to determine it.



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   Nonetheless, even if one of skill in the art were to assume that such a section could exist, they

   would recognize that such a section would need to satisfy the goals of the invention, which is to

   keep the fluids separate from the electronics. Dr. Wereley never considered this requirement,

   which is present not only in the passages cited above, but also by the named inventor Mr.

                                                         , and statements that the inventors made

   during prosecution to obtain the patents.

          45.     For example, the named inventor Mr. Lundkvi

   the electrical component, it will not                                concept it, has to be separated

                                     the liquid and the electrical st

   141:14-19.




          46.

          47.     Ex. 2, 10/17/2014 Lundkvis Dep. At 140:6-25.




                                                    17
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          48.

          49.     Ex. 2, 10/17/2014 Lundkvis Dep at 141:11-19.




          50.

          51.

          52.     In fact, Mr. Lundkvist testified that the separation was so important and central to

   his invention that he did not consider a system in which the fluidics and electronics were not




                                                   18
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   separated as something that he had invented. Ex. 23, 06/26/2020 Lundkvis Dep at 151:24-

   155:15




            53.

            54.   Ex. 23, 06/26/2020 Lundkvis Dep at 151:24-155:15 (only 155:6-15 reproduced

   here).

            55.                                         ied the importance of the separation of

   electronics and fluidics to the invention at pages 54-56 of his deposition reproduced below:




                                                  19
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         56.



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          57.                                                                      EX.

          58.     Over and over again during the prosecution of the applications that lead to the

   patents and in order to distinguish their invention over the prior art, the inventors relied on and

   pointed to the same need for separation of fluidics and electronics in their invention to ensure

   that the electronics would not become wet and therefore likely damaged. For example, when

   addressing and distinguishing the Mourtada reference from their invention, the inventors stated:

                                      dic and non-fluidic sections is to stop the non fluidic sections

   getting wet when pipes etc. are reconfigured on the machine, and/or when the modular

   components are rearranged. None of those features are disclosed in or obvious from Mourtada

                                                  provides the unexpected advantage that not only

   can component positions be reconfigured easily and thereby simplify the fluidic interconnection

   of the components used, but alternatively, fluidic reconfiguration can be carried out without

   precious electrical pars becoming wet or contaminated. This is particularly advantageous where

   toxic or corrosive, or pathogenic liquids are being handled. On the one hand the organisation of

   the components can be optimised, and they can be protected in use. These advantages are not

   present in Mourtada or any prior art cited.

          59.     With respect to the Bergstrom prior art the inventors were distinguishing they

                                                  s given no thought to what happens when one

   unplugs a module and gets the electrical contacts 19 wet which will be inevitable since the

   contacts 19 appear to be housed in the cup shaped aperture 14, or what happens to the processor

   55 in Figure 10 when that gets wet. Id. at GEHC 001451.




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          60.     The inventors said the separation requirement was even more important in liquid

   chromatography systems as opposed to other automate

   claim 17 as applied to liquid chromatography are particularly advantageous because such a

   system is typically used for many different initial experiments to prove the principles for larger

   scale operations. In such use, the system components are frequently reconfigured and in so

   doing the advantages of fluid and non-fluid separation, as claimed in claim 17 become even more

   significant, for example by providing a housing for liquid chromatography components including

   a liquid handling panel for accepting the components and avoiding contamination of electrical



          61.     To ensure that the goals of the invention were met, the inventors described in

   great detail during the prosecution when they were distinguishing the prior art what was

   necessary to separate the fluidics from the non-fluidics sections and what would not be

                                                     a likelihood of the electronic components of a

   module becoming wet when fluid connections were changed, modules were rearranged, or a leak

   occurred. If that was possible, then one of skill in the art would recognize that the fluidics and

   the non fluidics (electronics) were not in distinct sections that were separated. Rather they would

   be in the same section.

          62.     And as will be explained in more detail in the following paragraphs that is what is

   present in the Bio-Rad accused modules. One of ordinary skill in the art reading the file history

   would only be able to come to the conclusion that the external electronics that Dr. Wereley

   recognizes are present in the accused Bio-Rad modules (the two pumps and injection valve,

   Wereley ¶ 116) are not in sections that are distinct from the fluidics sections. Rather, they are in

   the same section and not separated in the manner the inventors said they needed to be to be part



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   of the invention and distinct from the prior art. For example, the accused pump module has

   switches, a display, and LED lights which the user sees, as well as a PCB and ribbon electrical

   connector in the overlay. See e.g., Wereley ¶ 142, showing pictures of accused pumps in Ex. 48,

   49 and ¶ 150 quoting from manual Ex. 47 stating that there are switches on the exterior of the

   pump modules. See also Ex. 25.

          63.     In particular, the inventors pointed out that for there to be separation of the

   electrical components and the fluidic components of a module such that they were in separate

   sections and unlikely to have fouling/wetting or contamination of the electrical components if

   there was a leak of the fluidic components, there had to be a particular spatial relationship

   between the components.

          64.     In particular, the inventors said multiple times that the fluidics and the electronic

   components of a module need to be on opposite sides of a panel for a) them to be separated, b)to

   ensure that the electronics would not get wet if there was a leak, and c) to define the electronics

   and the fluidics as being in separate sections. In discussing Berg

   modules of Bergstrom do not separate their fluidic and electrical parts (where they have

   electrical parts). Further, those paths cross into the base plate at about the same region. The

   detector module 10 of Figure 10 illustrates that fluid and electrical parts are adjacent, not on

   either side of a panel. Ex. G at GEHC 001451.

          65.     After stating that Bergstrom gives no thought to making sure that electrical parts

   do not get wet, which I cited to above, the inventors then reemphasize, one paragraph later, the

   separation point and again state that the fluidic and electronic parts need to be on opposite sides

   of a panel in the invention. In fact they not only state that the electronic parts in a modules need

   to be on opposite sides of one panel, but on oppos



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   problems in the Bergstrom design are not addressed in Burger, but are cleverly addressed in

   presently claimed invention by separating the fluidic and non fluidic parts of fluid handling

   units across a fluid handling panel and across a panel member of the modular components,

   which inhibits the problems mentioned immediately above             Id.

          66.     The accused modules do not meet those requirements for multiple reasons and

   therefore do not have external fluidics sections, ones that do not have electrical components, for

   multiple reasons.

          67.     First, having failed to refer to any of the File History statements which require the

   fluidics components of a module to be separated from the electrical components by at least two

   different panels to be considered by one of ordinary skill in the art to have distinct fluidics and

   electronics sections, Dr. Wereley provides no detailed analysis of the alleged panel member of

   the modules that are supposed to separate fluidics from electronics components of a module to

   meet the requirement that the electronics and fluidics are in separate sections.

          68.     Dr. Wereley purports to analyze the panel member as claim element 1(h) at

   paragraphs 138- 147. But the analysis is cursory and conclusory again. At paragraphs 139 and

   141, Dr. Wereley pastes pictures of a Bio-Rad system pump and a sample inject valve and

   simply draws a red arrow and red box and concludes these are the panel members of the

   modules. I reproduce those figures below:




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         69.




                                        25
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                                     9119




          70.

          71.    At paragraph 145, Dr. Wereley cites to testimony from two Bio-Rad witnesses to

   establish that what he has pointed to is a panel member. But, the testimony does not do so. Both

   Mr. Bland, and Mr. Chapman, whose testimony is quoted, state that the component that Dr.

   Wereley points to as the panel member is actually tw

                    Id. at ¶ 145. Mr. Chapman testified that




                                                                                . Id. at p. 91

   (quoting Chapman testimony).




                                                 26
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          72.                                                       s clear that the faceplate is what is

   responsible for allowing the module to be mounted on the instrument housing. I have confirmed

   this by holding and physically examining a number of the Bio-Rad modules. The specification

   of the asserted patents describes the panel member as the structure that is used to attach the

   module to a component position in the in the liquid handling panel. See e.g.

                                             4d, the interchangeable modular components 26

   comprises a panel member arranged to separate the fluidics section from the non fluidics section

   and for attachment to a component positi

          73.                                                     is that he equates two distinct parts,

   the face plate and the overlay and calls them collectively the panel member. See Wereley at ¶

                                                                     drawing from one exemplary

   module,




                                                    27
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          74.

   Ex. 6, BRGE00000582.

          75.




          76.

                                                        One can see from the figure that the overlay is

   full of electronics. There is a printed circuit board which appears brown or copper colored.

   There is a ribbon wire connector, and there are LED lights shown on this module. Other

   modules also have a display that the user can see as well as switches for the user to activate. The

                                                   28
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   LED lights, the display and the switches are not trivial elements added to avoid infringement as I

                                       ays them. Rather the LED lights tell a user where to make

   fluidic connections and the display enables users to easily see values and parameters on the

   modules.



                                                       oderman testified that the LEDs are useful Ex.

                                                          all LED lamps? A. Good to have for a

                                       have pointed out that it is a feature which users like and

   appreciate. Ex. 27, Chapman Depo Tr. at 206:21-207:13.

          77.     In any event, given that the overlay and faceplate are two separate structures held

   together by a few drops of glue, one of ordinary skill in the art would not consider them

   collectively the panel member.

          78.     But, even if one of ordinary skill in the art reading the specification considered

   the overlay and faceplate to be the panel member,, they would not consider the electronics that

   are part of the overlay to be in a separate section of the module from the fluidics section as Dr.

   Wereley concludes with no analysis. At paragraph 149 of his report, Dr. Wereley merely says:

                                      certain of the modules have LEDs or displays integrated into

   their panel members takes them outside the scope of the claim language. For one, as discussed,

   the fact that these are non-fluidics components is not releva

   construction, only the fluidics section cannot have non-fluidics components such as electronics,

   and the panel member is a different section in th




                                                    29
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          79.     Dr. Wereley makes the statement that he does not see any reason why the

                                                      s takes them outside the scope of the claim

   language without analyzing the file history to see how the inventors characterized their invention

   and how they treated what is a fluidics section. When the file history is examined, one of

   ordinary skill in the art can only come to the conclusion that what Dr. Wereley points to as a

   panel member and a fluidics section of the accused modules do not satisfy the requirements of

   the claims and are not consistent with how the inventors characterized their invention or the

   fluidics section in the file history. As a resu                             report fails to meet

                                                     ce of this element in the accused modules.

          80.     Dr. Wereley merely concludes with absolutely no analysis that anything

                                                       nt section from the fluidics and electronics

   sections. I do not agree and neither would one of ordinary skill in the art who read the

   specification and the file history.

          81.     First, the inventors addressed this very issue in the file history. With respect to

   fluidics and electronics and the existence of separate sections, the inventors stated that the

   fluidics and the electronics need to be on either side of a panel. See Ex. G GEHC 001451 (The

   detector module 10 of Figure 10 illustrates that the fluid and electrical parts are adjacent, not on

                                                                     given no thought to what happens

   when one unplugs a module and gets the electrical contacts 19 wet which will be inevitable since

   the contacts 19 appear to be housed in the c

   Bergstrom design are not addressed in Burger, but are cleverly addressed in presently claimed

   invention by separating the fluidic and non-fluidic parts of fluid handling units across a




                                                        30
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   fluid handling panel and across a panel member of the modular components, which inhibits

   the problems mentioned immedi

          82.     The first quote from the inventors in the above paragraph shows that they

   consider the panel member, which like all physical objects has a thickness, has two sides, (i.e.

                                  Dr. Wereley did not consider this fact. If he did, Dr. Wereley

   could not make the accused panel member consistent with the inventor statements by claiming

   that rather than two sides, the panel member has four sides: 1) the side the user sees, 2) the inner

   side of that side in the thickness of the panel, 3) the side that is mounted against the housing, 4)

   the inner side of that side which is also in the thickness of the panel. In standard English usage,

   which does not differ from the way one of ordinary skill in the art would understand what the

                           indicates two options.

          83.     The same conclusion would be reached by one of skill in the art reading the

   second quote from Ex. G at page GEHC 1451 that I quoted above that the inventors made

   regarding the arrangement of the fluidics and electronics of a module. In the second quote, again

   distinguishing Bergstrom, the inventors                                              two different

   panels: 1) the fluid handling panel and 2) the panel member. The accused products satisfy

   neither of these requirements and would not be considered by one of ordinary skill in the art to

   therefore contain a fluidics section with no electronics in the section.

          84.                                  in the first quote, one of ordinary skill in the art would

                                              with reference to the fluidics and electronics of a panel

   being across two different panels to refer to the panel having two sides and the electronics and

   fluidics of a module lying on the opposite sides. That is not the case with the accused modules




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          85.       According to Dr. Wereley, the electronics

   and thus part of a separate section from the fluidics. In addition to the fact that this embedded

   notion is inconsistent with the two statements I quoted above stating that the fluidics and

   electronics should be on either side of the panel member and across two different panels, the

   liquid handling panel, which the electronics and fluidics in the accused modules surely are not,

                                                         is also inconsistent with other statements and

   the physical arrangements of the components in the Bergstrom reference that the inventors

   distinguished.

          86.       In the file history, the inventors stated that one can see how Bergstrom arranged

   his components in Figs. 1 and 4(a) where you can see a flow line 5 in baseplate 1. Ex. G at

   GEHC 1449. I reproduce those figures and others from Bergstrom (Ex. 21) below.




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         87.
                                        33
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                                     9127



          88.     The inventors repeatedly described the

                                                 ng fluidics which are not separated from the

                                                    equated to the panel member. Ex. G, GEHC at

   1449-1451.

          89.                                              grated in the thickness of the panel

   member are in a separate section and separated from the fluidics section of the module is

   inconsistent with what the inventors said about Bergstrom. As can be seen in Figure 4(a), which

   I reproduce below and which the inventors referenced when distinguishing Bergstrom as not

   having separate fluidics and electronics sections that were separate

   Bergstrom are integrated in the base plate/panel member and are distanced from the fluid lines



          90.     In Fig. 4(a) one sees a blow up of a singl

                                              is within the thickness of the base plate

          91.     This is also shown in Fig. 2 which I also reproduce below.




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         92.   as




                                        35
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          93.


          94.     Similarly, the Bergstrom specification states

   are depicted in Fig. 1, are also embedded in baseplate 1. See Ex. 21 Bergstrom 5,766,460 at Col.

   3:50-54 (One or more lines/conductors (12) for signal and power transmissions from or to

   connected modules may be arranged in the base plate (1) preferably along the flow lines (5

   Nonetheless, even though the electronics were integrated in the thickness of the baseplate/panel

   member and so too were the fluid lines (5). Although those lines were parallel or near each

   other, they would have to be embedded in different thickness of the baseplate/panel member.

   But, consistent with the prior statements of the inventors that the fluids and electronics in a

   module had to be on different sides of two different panels, the inventors did not consider

   Bergstrom to have modules with separate fluid and electronics sections or have those sections

   separated.
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          95.                                                   having electronics integrated in the

   thickness of the panel member creates a different section that is separated from the fluidics

   section, is not consistent with the file history and one of ordinary skill would not come to the

   same conclusion that Dr. Wereley did. Rather, after reading the portions of the file history I have

   discussed thus far, one of ordinary skill in the art would conclude that the accused modules do

   not have an external fluidi


          96.                                                 ectronics are a separate section from the

   fluidics does not consider at all that such an analysis fails to account for the accused devices and

   the analysis regarding them being inconsistent with the purpose of the invention. As I detailed

   previously, the patent, the inventor                                    stressed that the purpose of

   the invention was to have electronics and fluidics in distinct sections that are separated and

   sealed from each other so as to keep the fluids from wetting or damaging the electronics such as

   when fluid connections are being changed or if there is a leak. That is not the case in the accused

   devices.


          97.     As I explained above and as can been seen in the photo of the assembly procedure

   for the inject valve that I reproduced in this report, the overlay attaches to the face plate only

   with a few drops of glue. That method of attachment is not sufficient to seal the electronics



   confirm this, I physically examined at least two different modules recently, a pump module and a

   pH module with respect to the relationship between the overlay and the faceplate. I confirmed

   by looking at these physical samples that fluid that leaks from the modules would not be sealed

   from the electronics Dr. Wereley describes as being integrated in the panel member.



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          98.     To be sure of this, I also spoke to Bio-Rad employee Joe Hilario. I understand

   that Mr. Hilario has experience with and responsibility for assembly of Bio-Rad modules and is

   familiar through his experience with whether fluid can seep into and wet the electronics that Dr.

   Wereley states are integrated in the panel member. Mr. Hilario confirmed, consistent with my

   examination of the modules, that in fact leaking fluid can wet the electronics that Dr. Wereley

   describes as being embedded in the panel member. My examination and Mr. Hilario confirmed

   that there is no sealing member, like a gasket, that seals the overlay to the faceplate and prevents

   electronics from getting wet. Consistent with this fact, The Bio-Rad products do not carry the

   same classification specified by a certifying organization as the Cytiva products, with respect to

   the degree that electronics and fluidics are separated from each other.


          99.     Consequently, the actual facts related to the accused modules demonstrate that

   they are not consistent with the purpose of the invention, to separate the fluids in a module from

   the electronics and therefore, have them in separate sections where the likelihood of the

   electronics getting wet is low. This fact also demonstrates that Dr.

                                                     Dr. Wereley describes them, are not in a

   different section from the fluidics. For one of ordinary skill in the art to determine that fluids

   and electronics are in separate sections, they should be arranged and separated in such a way that

                                                             ics will not get wet if there is a fluid leak.


          100.    Yet another set of representations in the file history from the inventors that are

                                                         on that electronics integrated in the panel




                                                    38
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   member4 of the accused modules are in a separate section from the fluidics are the

   representations about the Hess reference.


              101.   The applicants distinguished the Hess reference as not having a fluidics section

   separated from a non fluidics section because the modules in Hess had an electrical connection

   coming out of the back of a module while there were fluids on the front of the module. See Ex.

                                                      must be electrically interconnected, and it

   follows that these connections are external to

   means that the bus connections cannot be internal to said boxes or internal

   the contrary, the bus connections must be external to said boxes to make sense of the description.

   Therefore, in Hess, respective non fluidics sections are not internal to any


              102.   The inventors recognized that Hess had an internal electronics sections that was

   separated and sealed from the fluidics section: See

   conceived with radioactive product processing in mind [e.g. see abstract] the need for sealing

   each box and electrically connecting each box such that liquid radioactive contamination does

   not penetrate the boxes or box electrical interconnections is very important, but results in a costly




              103.   Nonetheless, the inventors stated that Hess was inconsistent with the invention

   because although it had electronics inside a housing that was separated and sealed from fluidics,

   there was one electrical component, a bus interconnection that was external and not internal to

   said housing in Hess. See, e.g.



              4
                                                          ription of the arrangement but not agreeing
   with it.

                                                     39
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   electrically interconnected, and it follows that these connections are external to said boxes and

                                                    e inventors, the electrical connections had to be

   at the back of the boxes. Id                                    ation, bus connections [in Hess]

                                                 no other place for them if the boxes are stackable

   and fit side by side


          104.    Below, I have reproduced an exemplary figure from the Hess reference (Ex. 22).

   In Fig. 2 below one of ordinary skill in the art can see that the system has fluid components on

   the front of the boxes, while the bus connections that the inventors described are on the opposite

   side and cannot be seen.




          105.


                                                   40
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          106.

          107.    In this arrangement, one of ordinary skill in the art would see the bus connections

   at the back of the boxes, purple arrow, would be on the other side of at least two walls from the

   fluidics, which are indicated with a red arrow. Even with this two wall separation, the inventors

   said the arrangement was inconsistent with their invention. There is no way to square this

   representation about Hess, with Dr                                  cs integrated in the panel

   member are in a separate section from the fluidics in the accused modules. The electronics in

   Hess are on the other side of two walls from the fluidics, not right next to them as in the accused

   modules, yet the inventors said this was not separation and not its invention because there was a

   single electrical component that was not inside the housing even though there were many other

   electrical components inside the housing.

          108.    The inventors further stressed why this type of arrangement was not its invention.

   Not only did the inventors consider that their invention had to have the fluidic and electronic


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   components of a module separated, such that there were distinct and separate fluidics and

   electronics sections in the module, but the separation had to be accomplished in a particular way

   which is inconsistent with

          109.    Even if one of ordinary skill in the art would assume, contrary to the facts, that

   electronics integrated in the panel member of the accused products somehow separated them

   from the fluidics in the modules and protected them from getting wet, this is not consistent with

   the invention as the inventors represented it to the Examiner. The inventors unequivocally

   stated, over and over again, that any protection of electronics of a module had to consist of

                                                                    being protected in the same way

   and in the same structure as all

          110.    The inventors described the collective protection of the electronics of a module of

   the invention as follows in distinguishing it from Hess in Ex. G at 1414-1415:




          111.




                                                   42
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         112.
                                        43
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          113.    At best, (which I do not agree with) what Dr. Wereley describes as electronics

   integrated in the panel member to create a section distinct from the fluidics section would be an

   example of individual protection of fluidics from electronics in each module that the inventors

   distinguished their invention from over Hess. Such individual protection does not provide the

                                the inventors said was necessary in their invention. In other words,

   the electronics integrated in each panel member of each module in the Bio-Rad accused modules

   and system are not protected from the fluidics by being inside a housing that protects them all.

   Rather the integrated electronics that Dr. Wereley points to are each protected individually.

          114.    A person of ordinary skill in the art read

   would recognize that if in Hess, a single electronic cable exiting the back of a module, in which

   the cable was spaced apart from the fluidics at the front of the module by at least two walls and a

   much greater distance than the electronics in the Bio-Rad accused devices are distanced from

   the fluidics, did not constitute a distinct section that was separated from the fluidics section, then

   neither does what Dr. Wereley calls the electronics integrated in the panel member of the

   accused modules.

          115.    For these reasons, the accused devices do not have an external fluidics section.

   Similarly, the subsequent elements that I will discuss in the following paragraphs relating to the

   non fluidics section and the separation of the fluidics from the non fluidics by a panel member

   and the non fluidics section being internal to the housing and separated from the fluidics by a

   liquid handling panel when the module is inserted into the housing are also not met.

                  2.

          116.

          117.    The NGC System does not infringe this element because the NGC System does



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   detailed with respect to element 1(e) in the priorr paragraphs, which I incorporated
                                                                           incor        herein, each of

   the Bio-Rad accused modules contain either LED lights, a display or both that are visible to the

   user and on the same side of the panel member as the fluidics. The pump modules also have

   electronic switches on the same side of the panel member as the fluidics. They also contain

   electronics such as a PCB and ribbon line in th                          e assembly documents

   cited and that are exhibits to this report. These are all part of the non-fluidics section and cannot

   simply be considered a separate section from the electronics that are inside the housing.

          118.     In paragraphs 118- 126 Dr. Wereley concludes that there is a non fluidic section,

   one that he believes does not have fluidics, by pointing to electronics inside the housing. But, as

   discussed previously, Dr. Wereley does not at all consider the File History. As I discussed

   previously regarding element 1(e), when the file history is examined, one of ordinary skill in the

   art can only come to the conclusion that there is not a non fluidics section in the accused Bio-Rad

   modules.

          119.     For example, the Hess reference certainly had electronics that were sealed in a

   box and separated from the fluidics that were outside the housing and on the front face visible to

   the user. See                                             s conceived with radioactive product

   processing in mind [e.g. see abstract] the need for sealing each box and electrically connecting

   each box such that liquid radioactive contamination does not penetrate the boxes or box electrical

   interconnections is very important, but                                See Figs. 2 and 4 reproduced

   above from the Hess reference showing the fluidics.

          120.     Nonetheless, as shown in the previous element, the inventors stated Hess was

   distinct from their invention because there was a single electrical component, a connector

   between modules, that exited from the back of each module. The inventors considered that



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   single electrical line to be part of the non fluidics section of each module and not separated from

   the fluidics of each module.

          121.    There is no way to distinguish the arrangement of Hess and the arguments the

   inventors made regarding there being electrical components not separated from fluidic

   components in the Hess modules from the arrangement in the Bio-Rad accused modules. Each

   of the Bio-Rad modules has electronics that are not inside the housing, just like Hess. Therefore

   the Bio-Rad modules do not have a non fluidics section.

          122.    Further as discussed with element 1(e), it is not proper to call the electronics in



   either the electronics inside the housing or the fluidics outside the housing. For example, as

   discussed previously, with respect to the figures of Bergstrom that I reproduced above showing

   the flow channel 5 and the electrical lines 12, the Bergstrom reference has electronics and

   fluidics integrated in a baseplate structure, yet the inventors did not consider them to be distinct

   sections that were separated. Moreover, the inventors stated that for electronics and fluidics to

   be in separate sections, they had to be on opposite sides of a at least tw

   panel member and the liquid handling panel. Ex. G at 1451. There is no way for this to be true

   and the Bio-Rad accused modules to meet the claim limitation.

          123.    As I discussed previously, I do not believe the overlay is the panel member.

   Thus, the electronics that Dr. Wereley states are

   the overlay and on the same side of the panel member (faceplate) as the fluidics. Moreover, even

   if one considers the overlay and the faceplate as being a single unit that is the panel member, the

   fluidics and electronics are still not on opposite

   liquid handling panel and the panel member as the inventors stated they must be. Ex. G at 1451.



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          124.    For all these reasons and those discussed with respect to element 1(e), the three

   accused Bio-Rad liquid handling units do not have a non fluidics section.

                  3.


          125.

   the fluidics section from

          126.    The NGC System does not infringe this element because the NGC System does

                                                   te the fluidics section from the non-fluidics

                                                     of the prior two elements for this element. In

   summary, the electronics in the housing are not a separate non-fluidics section from the

   electronics Dr. Wereley describes as integrated in the panel member.

   with the arrangement of Bergstrom, does not create separate sections. There is no way to square

   the representations the inventors made about Mourtada, Bergstrom and Hess with respect to

   separation, with the arrangement in the Bio-Rad accused modules that have electronics adjacent

   to and on the same side of the panel member as the fluidics. At a minimum, the electronics that

   Dr. Wereley describes as being integrated in the panel member are the fluidics in the Bio-Rad

                                                        the panel member as the inventors said they

                                                        of Fig. 10 illustrates that fluid and electrical

   parts are adjacent                                )(emphasis added).

                  4.                                          comprises a liquid handling panel
                          with at least four component receiving positions arranged in a two
                          dimensional array and adapted to receive said interchangeable
                          modular components such that, when inserted, the fluidics section is
                          external to the housing and the non-fluidics section is internal to the


          127.

   handling panel with at least four component receiving positions arranged in a two dimensional

                                                   47
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   array and adapted to receive said interchangeable modular components such that, when inserted,

   the fluidics section is external to the housing and the non-fluidics section is internal to the



          128.    I have discussed why this element is not met with respect to my discussion of

   elements 1(e), 1(f) and 1(h). I incorporate those discussions fully for this element.

          129.    The NGC System does not infringe this element because the alleged housing lacks

   the underlined portions of the claim element:

   component receiving positions arranged in a two dimensional array and adapted to receive said

   interchangeable modular components such that, when inserted, the fluidics section is external to

   the housing and the non-fluidics secti

          130.    In summary, the failure of proof for this element is most easily demonstrated with

                                   ussion of the Hess reference. As discussed with respect to

   elements 1(e) and 1(f), in the Hess reference, each module had electronics sealed in a box and

   fluidics visible from a side that one can consider the front of the box. The inventors pointed out

   that what the examiner was considering the modules also had a single electrical connection

   exiting the back of the box. See e.g., ¶¶ 107-112 herein. For this reason, they concluded that

   Hess did not have a non fluidics section internal to said housing and a fluidics section external to

   said housing. There is no way for one of ordinary skill in the art to distinguish the arrangement

   in Hess that the inventors said was outside the scope of their invention with the arrangement in

   the accused modules. In the accused modules, there are electronics outside the housing. Those

   electronics cannot be a section that is distinct from the electronics that are inside the housing,

   just like the single electronic connection in Hess was not distinct from the electronics contained

   in the sealed boxes. Because the electronics inside the sealed boxes in Hess, that the examiner



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   considered a housing did not constitute a non fluidics section that was internal to said housing

   when inserted, one of ordinary skill in the art could not also consider the electronics that Dr.

   Wereley considered to be embedded in the panel member to be a non fluidic section that is

   distinct from the electronics that are inside the housing in the Bio-Rad accused modules.

          131.    Therefore, Dr. Wereley has failed to meet his burden to establish the existence of

   this element in the accused fluid handling modules.

                  5.
                          includes a dedicated cpu unit allowing the interchangeable modular
                          component to independently perform operations in response to


          132.                                                                  rchangeable modular

   component includes a dedicated cpu unit allowing the interchangeable modular component to

   independently perform operations in response to instructions ove

          133.    The NGC System does not infringe any cl

   alleged interchangeable modular component

   interchangeable modular component to independently perform operations in response to

   instructions over the sy

          134.     In particular, Dr. Wereley, at paragraphs 160-170 of his report where he

   discusses this element, has not established and met his burden of proof that each module acts

   independently to perform operations after receiving instructions over the bus. First, I do not

   believe that Dr. Wereley has used the proper

   independently. Second, I do not see proof under the definition that he does use that each of the

   accused modules acts independently of other modules.

          135.    Dr. Wereley interprets th

   independent of other modules. See Wereley ¶167. But that is not how one of ordinary skill in


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   the art would interpret that limitation. The specification gives two alternatives for control. First

   it describes the master control unit communicating with each module over a bus and those

   control signals issued by the MCU controlling the modules. See

   above, the chromatography system may comprise a master control unit 40 arranged to

   communicate with all modular components e.g. 1-26 over a system bus 42 such as a CAN-bus or

                                   , something other than a CPU on the module would instruct the

   module what to do. The control function could be carried out by for example a particular

   voltage/current that would make a pump operate at a certain rate. (e.g., A high signal makes the

   motor operate at one rate and a low signal makes it operate at another rate).

          136.    Alternatively, the specification indicates that each module could also have a CPU

   that would allow the module to independently perform operations in response to instructions

   over the bus. See                                            modular component is provided with

   a dedicated CPU unit allowing the component to independently perform operations in response

   to instructions over the BU                                      art would not read that alternative

   to do nothing more than take the signal that the master control unit has sent and forward it. For

   example, if the master control unit sent out a signal that would deliver a certain voltage or

   current to a module to make it operate at a certain level (e.g., A high or low signal), one of

   ordinary skill in the art would not read the specification to mean that the CPU would take an

   instruction and merely forward it to another device to create that same current or voltage or

   simply translate that instruction into a different format.

          137.    Rather, one of ordinary skill in the art would understand the passage in the

   specification relating to the independent operation of the CPU to mean that a signal is received

   from the master control unit and then the CPU does something above and beyond what that



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   signal indicates and what the MCU would have done on its own, something that is independent

   of the signal the MPU sent.

           138.   One example of that would be the function described for the 2040 instrument

   which I detailed in my invalidity report. In the 2040, the burette modules have a CPU located

   directly on them. The 2040 User Manual indicates that the burette modules have very precise

                                                        increments. To maintain such precise control,

   one of ordinary skill in the art would recognize that the burette module, using its CPU is

   independently monitoring the flow value and constantly making adjustments to ensure the set

   value is being maintained. In that situation, the CPU on the burette is operating independently of

   the master control unit which would have only sent the original instruction for what the initial

   parameter should be.

           139.   Given that the specification describes the back to back situations where either:

   1)the Master Control Unit controls the operation of the module, and contrasts that with 2) the

   situation where the CPU independently controls an operation of the module in response to an

   instruction from the MCU, one of ordinary skill in the art would not understand the independent

   control to be control that is independent of what is occurring in other modules as Dr. Wereley

   does.

           140.   Contrary to what Dr. Wereley concludes at paragraph 167, the mention of the

   MCU and the fact that the MCU needs to send instructions would not lead one of ordinary skill

   in the art to interpret independently to mean independent of other modules just because the CPU

   must receive some signal from the MCU.



                                                                           As I explained in the



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   paragraph above relating to what the 2040 burette module does, just because a CPU receives an

   instruction from an MCU does not mean that functions carried out by the CPU cannot be

   independent of the MCU command.

          141.    There is no reference in the specification to modules communicating with each

   other in relation to the control function. Rather the two embodiments in the specification that are

   directed to this limitation relate to the MCU controlling the module, or the CPU on the module

   receiving a signal from the MCU and then acting independently of the MCU in carrying out

   some function on the module.

          142.    I do not see anything in the testimony that Dr. Wereley cited that leads to a

   different conclusion. First, Dr. Wereley cites the testimony of Mr. Iovanni who testified that

                                                                                       See Wereley ¶

   168.

                                                                                    It is fully

   consistent with the definition I have put forward.



                                                   Moreover, as I explain below, one of ordinary

   skill in the art would not look to the Bio-Rad accused product to determine how to interpret the

   independent limitation in the patent, a limitation created by a different company related to a

   different system.

          143.                                          ley cites also does not support his

   construction of this element of the claim. All that Mr. Bland testified was that in the accused

   system,                                                                                . Id. at ¶

   168, pages 108-109. But, that does not mean that is what the claim term in the patent means.



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   That would be like saying that a car that can maintain its speed independent of a driver pressing

   the accelerator pedal, defines the meaning of a claim in a patent written about a different car that

   says the car operates independently of operator control. Independent of operator control could

   certainly relate to an autonomous driving system, not simply cruise control. One needs to see

   how the term is used in the patent, not some application outside the patent. There is no way to

   link those facts to determine the meaning of the claim element. I understand that the element of

   a patent claim must be interpreted in light of what is disclosed in the specification, not with

   reference to an accused device. If the latter was the method of interpretation, than one would

   always interpret the claim with the way the accused product worked and there would always be

   infringement of every patent.

          144.

   do not act independently of the instructions from the MCU. As Dr. Wereley put in his report,




                     Id. at ¶168 p. 108. This testimony indicates

                                                                            not that it is operating

   independently.

          145.      I understand that Bio-Rad identified its understanding of the independent

   requirement in its non-infringement contentions . See e.g., ROG Response 6 supplemented on

   May 22, 2020. By choosing not to address this construction at all in his opening report, I

   understand that neither Dr. Wereley nor Mr. Vukicevic can raise it either one of their responsive

   reports.




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          146.                                              were correct, that independent means:

                                    rations be independent from the operations of other modules



          147.     First, I have reviewed the report of Mr. Vukicevic who allegedly studied the

   source code to show that it operated in a way consistent with the claims. I do not find that what

   he states in his report establishes that. For example, nowhere in his report does Mr. Vukicevic

   state that the Master Control unit issues commands over a bus to a CPU on each of the accused

   modules that then uses those commands to control the operation of the module independently of

   other modules . The closest he comes is in paragraph 5, but that paragraph does not say that

   commands travel over a bus and control each of the accused modules independently of other

   modules

          148.     After identifying a number of file names, which I do not think prove anything

   about the existence of the disputed element, Mr. Vukicevic states that




                                                 oves nothing with respect to the element.




                      He also says nothing about the claimed bus or any requirement for

   independence.

          149.

                                                               This does not indicate that the claim



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   limitation is being used. It does not identify what is sending the signals, how they are being sent

   and to what on the CU.

           150.    So, nothing that I see in Mr. Vukicevic

   devices function in the manner claimed. In fact, in the next few sentences, Mr. Vukicevic states



                                     establish that the MCU is sending the commands, over a bus to

   the CPU on each module. Nor does it establish that each CPU is acting independently from the

   CPU on any other module as Dr. Wereley interprets the limitation.




           151.                                              this element also does not establish the

   existence of this element in the accused device. Thus, Dr. Wereley has failed to meet his burden

   in his opening report.

           152.    In particular, nothing in paragraphs 160-

   that the CPU on each of the accused modules is receiving signals over a system bus that then

   cause it to carry out operations on the module. Moreover, nothing in those paragraphs of Dr.

                                    ny signals that the CPUs receive are from the MCU which is the

   only description the specification contains for where the signals must be coming from. See Col.

   7: 54-67, Description of Fig. 8 Dr. Wereley nowhere in his report identifies where the signals are

   originating from. Thus he has failed to meet his burden to establish this element. Additionally,

   see next element. Further, the separate computer that a user of the Bio-Rad accused devices uses

   to input information and which contains the user interface is not the MCU as described in the

   specification. Rather, it is a distinct control co



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   comprises a system controller 46 for communicating with internal and external components and

                                        . Indeed, having a master control unit outside the housing

   would also be inconsistent with how the inventors distinguished Hess during prosecution, as it

   would require a bus outside of the housing.

                  6.
                               automatically identify interch

          153.                                                                   er control unit is

   arranged to automatically identify

          154.    The NGC System does not infringe any cl

   alleged master control unit is                          matically identify interchangeable modular

                                                       Wereley cites at paragraphs 171-174 shows that

   this element is not met. Rather than showing that the MCU automatically identifies an

   interchangeable modular unit, the testimony of Mr. Bland that Dr. Wereley cited shows that

                                                                                  See e.g., Wereley at ¶

   171.

          155.    The NGC Instrument guide also does not establish that the MCU identifies each

   interchangeable module that inserted into the machine. All the guide says

   a unique electronic ID that enables the system to recognize its function when the module is

   placed into the bay. For example, the system can distinguish between a sample inject valve

   module and a sample inlet valve module even th                                                     See

   Wereley at ¶171.



                       . Id.




                                                      56
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          156.    But the fact that the system identifies a module does not mean the element is met.

   The system is composed of multiple elements. The claim element, however, is very specific.

   The MCU is the component in the system that must identify the module inserted into the

   housing. The fact that the identity may be passed on to the MCU at some point after it is

   identified by some other component of the system does not satisfy the element. One of ordinary

   skill in the art would understand identify to mean the component that makes the identification,

   not any component that later receives the information. This is consistent with the specification

   which states it is the MCU which makes the iden                               on modules. Col. 8: 8-

                                                         ponent modules are automatically identified by

   the master control u nit, whereby they may be moved essentially freely between different

   positions. Moreover, the master control unit may be arranged to provide said information to

   Chromatography control software whereby experimental setup and planning may be

                                                         ordinary skill in the art that having one device

   in a system identifying a module is different from that device passing that identity on to other

   devices in the system as occurs in the accused system.

          157.                                                   t that shows that Plaintiff has met its

   burden of establishing the existence of this element. In paragraph 8 of his report, Mr. Vukicevic




   is not even sure if this is the case. Second, nothing in this sentence or in any other part of Mr.

                                                 U, which identifies the modules as the claim

   requires.




                                                    57
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          158.    Therefore, Dr. Wereley, Mr. Vukicevic and Plaintiffs have failed to establish the

   existence of this element in the accused devices. .

                  7.
                          least one pump, at least one sensor unit and at least two fluid control
                          valves of different configurations, of which at least three of the pump,
                          the sensor unit and the fluid control valves are interchangeable


          159.    For the reasons stated previously the sample inject module and the two system

   pump modules are not interchangeable modular components because the interchangeable

   modular components of claim 1 need to have the fluidics and non fluidics sections of elements

   1.e and 1.f as well as the separation requirements of elements 1 (h, i, j) and the independent

   operations requirements of element 1.k and identification requirement of 1(l) which the sample

   inject module and the two pump modules do not have as described previously which I

   incorporate herein. The same is true for the other fluid handling modules that Dr. Wereley

   identifies as alternatives to the pump and inject valve for this element.

          160.    Further, with respect to the UV module that Dr. Wereley relies on to satisfy this

   claim element, he identifies a sensor unit, but neither the Bio-Rad single or multi-wavelength UV

   detectors qualifies as interchangeable modular units that can satisfy this element because neither

   has the required fluidics and non fluidics sections, a panel member for separating those sections,

   and a liquid handling panel for separating those sections, nor does either satisfy the requirement

   that the electronics be internal to the housing when inserted.

          161.    One of ordinary skill in the art reading the file history, specification and claims

   would conclude that the Bio-Rad single and multi-wavelength detectors are not interchangeable

   modular units as required by the claims. In fact, the inventors addressed this very type of

   component and unequivocally stated that such a detector did not come within the claims of its

   invention.
                                                    58
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           162.    In distinguishing the Bergstrom reference the inventors pointed to the detector

   module 10 as not being within the realm of its invention. See Ex. G at GEHC 1450. In

   particular, the inventors first said:




           163.

           164.    The Bergstrom specification at Col. 7: 3-11 describes that the detector module can

   be based on pH, UV, IR, conductivity, capacitance refractive index, etc.:




           165.

           166.    The Bio-Rad UV modules have both a UV detector and a conductivity detector on

   them as can be seen in the images below along with Fig. 10 from the Bergstrom patent:


                                                   59
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         167.                         .




         168.




         169.




                                          60
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             170.   Further images of the Bio-Rad UV and conductivity detectors are attached as an

   exhibit to this report.

             171.   The inventors made it clear and unequivocally stated that a detector, such as a

   single or multiwavelength detector which Dr. Wereley has accused of satisfying this element

   cannot.

             172.   The statements were so clear that ev

   recognized that the UV detector had electronics on the same side of the panel member as the

   fluidics section. That testimony is reproduced below:




             173.




                                                    61
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                                     9155




         174.



                                        62
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          175.   In fact, Dr. Scandella testified at p. 48 of his deposition that the UV module,

   which was exhibit 41 to his report contained electronic components on the same side of the

   panel member as the fluidics.




          176.

          177.   I reproduce Fig. 41 along with Dr. Scande

   short paragraph from his report describing the figure below:




          178.

                                                  63
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          179.    Given the statements of the inventors, the testimony of Dr. Scandella and the

   images of the UV and conductivity detector, one of ordinary skill in the art could not conclude

   that the UV/Conductivity modules have: fluidics and non fluidics sections, that they have a panel

   member that separates the fluidic from non fluidic sections, that they have a liquid handling

   panel that separtes fluid from non fluidics, that the non fluidic electronic section is internal to the

   housing when inserted into the respective cavity of the housing. I have confirmd in

   conversations with Joe Hilario that each of the Bio-Rad UV/Conductivity modules (eg single and

   multi-wavelength) have electronics outside the housing and on the same side of the panel

   member as the fluidics section. For example,

                                           . . For at least all these reasons, the UV/Conductivity

   module cannot meet this claim element. I did not see any other sensor unit that Dr. Wereley

   relied on to meet the sensor limitation, but even if he did, all the sensor units that Bio-Rad can

   use in the accused systems contain the same arrangement as the UV/Conductivity modules.

   There are electronics that are part of the modules that are on the outside of the housing and on

   the same side of the panel member as the fluidics. Thus, such sensor units would not meet the

   limitations of the claims for the reasons already described previously for the liquid handling

   units. Moreover sensor units such as the PH detector contain additional electronics that are part

   of the module, external rather than internal to the housing and on the same side of the panel

   member as the fluidics. The PH detector has an electrode that is placed in contact with fluid and

   is part of the module. Thus the PH detector module cannot meet this limitation of claim 1 or the

   limitations of claim 5 below.




                                                     64
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          180.    Many of the subsequent claims contain the same limitations and whether or not

   specifically stated, the arguments made thus far are specifically incorporated and become part of

   the argument for the subsequent limitations as well.

                  8.                                             rises a pH electrode that is


          181.    Claim 5 depends from claim 1, and requires that the recited liquid

                                                      electrode that is exte

          182.    I have discussed why this element is not met with respect to my discussion of

   element 1.e. and the last element discussed above for claim 1(m). I incorporate those discussions



                  9.                                            t two fluid control valves include
                          an injection valve, a column valve with integrated pressure sensors, a
                          quaternary valve, an inlet valve, a sample inlet valve, a pH valve, or


          183.    Claim 6 depends from claim 5, and require

   valves include an injection valve, a column valve with integrated pressure sensors, a quaternary

   valve, an inlet valve, a sample inlet valve, a pH valve, or

          184.    I have discussed why this element is not met with respect to my discussion of

   element 1.e. and the other elements of claim 1. All of the fluid handling modules in the Bio-Rad

   accused devices are structured in the same way as the pump and inject valves I discussed with

   claim 1 and cannot meet the elements of that claim for the same reasons. Further, as discussed

   above with regard to element 1(m) all of the sensor units or modules used in the Bio-Rad

   accused devices have the same general structure. In addition to the types of electronics identified

   for the fluid handling units, all the sensor units have further electronics outside the housing

   which are used to perform the sensing function.



                                                    65
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                  10.                                            ode is connected to a pH valve


          185.    Claim 7 depends from claim 5, and requires th                        is connected to



          186.    For the reasons stated previously with respect to the claims discussed already, a

   pH valve with an electrode attached in the Bio-Rad accused products cannot infringe.

                  11.                                              cludes an integrated flow cell for


          187.    Claim 8 depends from claim 7, and require



                  12.                                            two fluid control valves include an
                             injection valve, a column valve with integrated pressure sensors, a
                             quaternary valve, an inlet valve, a sample inlet valve, a pH valve, or


          188.    Claim 15 depends from claim 1, and requires

   include an injection valve, a column valve with integrated pressure sensors, a quaternary valve,



          189.    For the reasons stated previously with respect to the claims already discussed, any

   of these modules in the Bio-Rad system cannot meet the limitations of this claim. .

                  13.


          190.

   fluidics section from a

          191.    I have discussed why this element is not met with respect to my discussion of

   element 1(e) through 1.h. I incorporate those discussions fully for this element.

                  14.
                             panel with two or more component receiving positions adapted to
                             receive said interchangeable modular components such that, when

                                                     66
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                          inserted, the fluidics section is external to the housing and the non-
                          fluidics section is in

          192.    See corresponding element of claim 1 which I incorporate herein. Element

                  15.
                          includes a dedicated CPU unit allowing the interchangeable modular
                          component to independently perform operations in response to


          193.                                                                     modular component

   includes a dedicated CPU unit allowing the interchangeable modular component to

   independently perform operations in response to instructions ove

          194.    I have discussed why this element is not met with respect to my discussion of

   element 1.k . I incorporate those discussions fully for this element.

          195.    In summary, a person of ordinary skill in the art would not read this limitation to

                                                          s nothing more than take the signal that the

   master control unit has sent and forward it. For example, if the master control unit sent out a

   signal that would deliver a certain voltage or current to a module to make it operate at a certain

   level (e.g., A high or low signal), one of ordinary skill in the art would not read the specification

   to mean that the CPU would take an instruction and merely create that same current or voltage or

   simply translate that instruction into a different format.

          196.    Rather, one of ordinary skill in the art would understand the passage in the

   specification relating to the use independent operation of the CPU to mean that a signal is

   received from the master control unit and then the CPU does something above and beyond what

   that signal indicates and what the MCU would have done on its own, something that is

   independent of the signal the CPU sent.

                  16.
                          at least one pump, at least one sensor unit, and at least two fluid
                          control valves of different configurations, of which at least two of the

                                                     67
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                            pump, the sensor unit, and the fluid control valves are


         197.

  accommodate at least one pump, at least one sensor unit, and at least two fluid control valves of

  different configurations, of which at least two of the pump, the sensor unit, and the fluid control



         198.    I have discussed why this element is not met with respect to my discussion of

                                                   ose discussions fully for this element.

                 17.        Dependent Claim 22

         199.    Claim 22 is analogous to dependent claim 5. See VII.A.8.

                 18.        Dependent Claim 23

         200.    Claim 23 is analogous to dependent claim 6. See VII.A.9.

                 19.        Dependent Claim 24

         201.    Claim 24 is analogous to dependent claim 7. See VII.A.10.

                 20.        Dependent Claim 25

         202.    Claim 25 is analogous to dependent claim 8. See VII.A.11.

                 21.


         203.

  fluidics section from a

         204.    I have discussed why this element is not met with respect to my discussion of

  element 1.h. I incorporate those discussions fully for this element.

         205.    The NGC System does not infringe this element because the NGC System does

                                                    te the fluidics section from the non-fluidics

                                                        elements [1.e] and [1.f] for this element. In

                                                   68
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  summary, the electronics in the housing are not a separate non-fluidics section from the

  electronics Dr. Wereley descri

  with the arrangement of Bergstrom does not create separate sections. There is no way to square

  the representations the inventors made about Mourtada, Bergstrom and Hess with respect to

  separation, with the arrangement in the Bio-Rad accused modules that have electronics adjacent

  to and on the same side of the panel member as the fluidics. At a minimum, the electronics that

  Dr. Wereley describes as being embedded in the panel member are the fluidics in the Bio-Rad

                                                         the panel member as the inventors said they

                                                         of Fig. 10 illustrates that fluid and electrical

  parts are adjacent                                  )(emphasis added).

                 22.
                         panel with at least four component receiving positions arranged in a
                         two dimensional array and adapted to receive said interchangeable
                         modular components such that, when inserted, the fluidics section is
                         external to the housing and the non-fluidics section is internal to the


         206.

  handling panel with at least four component receiving positions arranged in a two dimensional

  array and adapted to receive said interchangeable modular components such that, when inserted,

  the fluidics section is external to the housing and the non-fluidics section is internal to the



         207.    I have discussed why this element is not met with respect to my discussion of

  elements 1(e), 1(f) and 1(h). I incorporate those discussions fully for this element.

         208.     The NGC System does not infringe this element because the alleged housing

  lacks the underlined portions                                     ing comprises a liquid handling

  panel with at least four component receiving positions arranged in a two dimensional array and


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  adapted to receive said interchangeable modular components such that, when inserted, the

  fluidics section is external to the housing and the non-fluidics section is

         209.    In summary, the failure of proof for this element is most easily demonstrated with

                                  ussion of the Hess reference. As discussed with respect to

  elements 1(e) and 1(f), in the Hess reference, each module had electronics sealed in a box and

  fluidics visible from a side that one can consider the front of the box. The inventors pointed out

  that what the examiner was considering the modules also had a single electrical connection

  exiting the back of the box. See e.g. ¶ 91-93 herein. For this reason, they concluded that Hess

  did not have a non fluidics section internal to said housing and a fluidics section external to said

  housing. There is no way for one of ordinary skill in the art to distinguish the arrangement in

  Hess that the inventors said was outside the scope of their invention with the arrangement in the

  accused modules. In the accused modules, there are electronics outside the housing. Those

  electronics cannot be a section that is distinct from the electronics that are inside the housing,

  just like the single electronic connection in Hess was not distinct from the electronics contained

  in the sealed boxes. Because the electronics inside the sealed boxes in Hess, that the examiner

  considered a housing did not constitute a non fluidics section that was internal to said housing

  when inserted, one of ordinary skill in the art could not also consider the electronics that Dr.

  Wereley considered to be embedded in the panel member to be a non fluidic section that is

  distinct from the electronics that are inside the housing in the Bio-Rad accused modules.

         210.    Therefore, Dr. Wereley has failed to meet his burden to establish the existence of

  this element in the accused fluid handling modules.

                 23.                                      terchangeable modular component
                         includes a dedicated CPU unit allowing the interchangeable modular
                         component to independently perform operations in response to



                                                   70
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         211.

  component includes a dedicated CPU unit allowing the interchangeable modular component to

  independently perform operations in response to instructions ove

         212.    I have discussed why this element is not met with respect to my discussion of

                                                   ose discussions fully for this element.

         213.    In summary, a person of ordinary skill in the art would not read this limitation to

                                                         s nothing more than take the signal that the

  master control unit has sent and forward it. For example, if the master control unit sent out a

  signal that would deliver a certain voltage or current to a module to make it operate at a certain

  level (e.g., A high or low signal), one of ordinary skill in the art would not read the specification

  to mean that the CPU would take an instruction and merely create that same current or voltage or

  simply translate that instruction into a different format.

         214.    Rather, one of ordinary skill in the art would understand the passage in the

  specification relating to the use independent operation of the CPU to mean that a signal is

  received from the master control unit and then the CPU does something above and beyond what

  that signal indicates and what the MCU would have done on its own, something that is

  independent of the signal the CPU sent.

                 24.
                         least one pump, at least one sensor unit and at least two fluid control
                         valves of different configurations, of which at least two of the pump,
                         the sensor unit, and the fluid control valves are interchangeable


         215.    For the reasons stated previously the sample inject module and the two system

  pump modules are not interchangeable modular components because the interchangeable

  modular components of claim 1 need to have the fluidics and non fluidics sections of elements

  1.e and 1.f as well as the separation requirements of elements 1 (h, i, j) and the independent
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  operations requirements of element 1.k and identification requirement of 1(l) which the sample

  inject module and the two pump modules do not have as described previously which I

  incorporate herein.

         216.    In summary, with respect to the UV module that Dr. Wereley points relies on to

  satisfy this claim element, he identifies a sensor unit, but neither the Bio-Rad single or multi-

  wavelength UV detectors qualifies as interchangeable modular units that can satisfy this element

  because neither has the required fluidics and non fluidics sections, a panel member for separating

  those sections, and a liquid handling panel for separating those sections, nor does either satisfy

  the requirement that the electronics be internal to the housing when inserted.

         217.    One of ordinary skill in the art reading the file history, specification and claims

  would conclude that the Bio-Rad single and multi-wavelength detectors are not interchangeable

  modular units as required by the claims. In fact, the inventors addressed this very type of

  component and unequivocally stated that such a detector did not come within the claims of its

  invention.

                 25.                                         further comprises a pH electrode
                         that is external to the housing, and wherein the pH electrode is
                         connected to a pH valve formed as an interchangeable modular


         218.    Claim 30 depends from claim 27, and require

  a pH electrode that is external to the housing, and wherein the pH electrode is connected to a pH

  valve formed as an intercha

         219.    I have discussed why this element is not met with respect to my discussion of

  element 1.e and claim 5. I incorporate those discussions fully for this element. Therefore, the



         B.


                                                   72
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                 1.
                         side of the housing unit a plurality of receiving positions, each
                         receiving position adapted to receive the modular fluid handling units
                         therein such that a fluid handling section thereof is on the external
                         side of the housing unit, the receiving positions being arranged in a


         220.

  housing unit a plurality of receiving positions, each receiving position adapted to receive the

  modular fluid handling units therein such that a fluid handling section thereof is on the external



         221.    I have discussed why there is not fluid handling section in the accused products

  with respect to claim 1 of the 420 paten which I incorporate fully herein.

                 2.
                         a CPU for independently performing fluid control operations in


         222.

  unit . . . includes a CPU for performing fluid control operations independently irrespective of the



         223.    See discussion for corresponding element of claim 1 of the 420 patent

  incorporated herein.

                 3.
                         performing fluid control operations independently irrespective of the


         224.    See corresponding element of claim 1 of the 420 patent incorporated herein.

                 4.                                             adapted to accommodate at least
                         one pump, at least one sensor unit and at least two fluid control valves
                         of different configurations, of which at least two of the pump, the
                         sensor unit, and the fluid control valves are freely arrangeable




                                                  73
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         225.    Claim 7 depends from 6, and requires

  accommodate at least one pump, at least one sensor unit and at least two fluid control valves of

  different configurations, of which at least two of the pump, the sensor unit, and the fluid control



         226.    I have discussed why this element is not met with respect to my discussion of

  claim 1 and element 1.e and dependent claims

  discussions fully for this element.

                 5.                                            adapted to accommodate at least
                         one pump, at least one sensor unit and at least two fluid control valves
                         of different configurations, of which at least two of the pump, the
                         sensor unit and the fluid control valves are arranged as modular fluid


         227.    Claim 8 depends from 1, and requires

  accommodate at least one pump, at least one sensor unit and at least two fluid control valves of

  different configurations, of which at least two of the pump, the sensor unit and the fluid control

  valves are arranged as modul

         228.    I have discussed why this element is not met with respect to my discussion of

                                                     patent. I incorporate those discussions fully

  for this element.

                 6.                                        two fluid control valves include an
                         injection valve, a column valve with integrated pressure sensors, a
                         quaternary valve, an inlet valve, a sample inlet valve, a pH valve, and


         229.    Claim 9 depends from claim 8, which in turn depends from claim 1, and requires

                                              clude an injection valve, a column valve with

  integrated pressure sensors, a quaternary valve, an inlet valve, a sample inlet valve, a pH valve,




                                                   74
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          230.    I have discussed why this element is not met with respect to my discussion of

                                                     patent. I incorporate those discussions fully

  for this element.

                  7.                                         c liquid chromatography system
                          further comprises a pH electrode that is external to the housing unit,
                          and wherein the pH electrode is connected to a pH valve arranged as


          231.    Claim 13 depends from claim 1, and re

  chromatography system further comprises a pH electrode that is external to the housing unit, and

  wherein the pH electrode is connected to a pH valve arranged as

          232.    I have discussed why this element is not met with respect to my discussion of

                                                     patent. I incorporate those discussions fully

  for this element.

                  8.                                            includes an integrated flow cell


          233.    Claim 14 depends from claim 13, and requi

  integrated flow cell for in-lin

          234.    I have discussed why this element is not met with respect to my discussion of

                                                     patent. I incorporate those discussions fully

  for this element.

                  9.                                 fluid handling section of the modular fluid
                          handling unit is sealed from an internal side of the housing unit when


          235.    Claim 21 depends from claim 20, and require

  the modular fluid handling unit is sealed from an internal side of the housing unit when fitted in a

  receiving position of



                                                  75
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         236.    I have discussed why this element is not met with respect to my discussion of

                                                 ose discussions fully for this element.

         237.    The NGC System does not infringe this element because the NGC System does

                                                  te the fluidics section from the non-fluidics

                                                       elements [1.e] and [1.f] for this element. In

  summary, the electronics in the housing are not a separate non-fluidics section from the

  electronics Dr. Wereley descri

  with the arrangement of Bergstrom does not create separate sections. There is no way to square

  the representations the inventors made about Mourtada, Bergstrom and Hess with respect to

  separation, with the arrangement in the Bio-Rad accused modules that have electronics adjacent

  to and on the same side of the panel member as the fluidics. At a minimum, the electronics that

  Dr. Wereley describes as being embedded in the panel member are the fluidics in the Bio-Rad

                                                      the panel member as the inventors said they

                                                      of Fig. 10 illustrates that fluid and electrical

  parts are adjacent                               )(emphasis added).

                 10.                                           that is external to the housing
                        unit, and wherein the pH electrode is connected to a pH valve


         238.    Claim 24 depends from claim 6, and requires

  the housing unit, and wherein the pH electrode is connected to a pH valve arranged as a modular



         239.

                 11.                                             includes an integrated flow cell




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         240.    Claim 24 depends from claim 24, which de

  pH valve includes an integrated flow ce

         241.    I have discussed why this element is not met with respect to my discussion of

                                                      patent. I incorporate those discussions fully

  for this element.

                 12.                                       fluid handling units include two
                        double piston pumps, one injection valve for injecting a sample onto a
                        column connecting a flow path of the liquid chromatography system,


         242.    Claim 26 depends from claim 6, and requi

  include two double piston pumps, one injection valve for injecting a sample onto a column

  connecting a flow path of the liquid chroma

         243.    I have discussed why this element is not met with respect to my discussion of

                                                      patent. I incorporate those discussions fully

  for this element.

         C.

                 1.                                        least two of the interchangeable
                        modular components in a housing unit comprising at least four
                        component receiving positions arranged in a two dimensional array,
                        so as to allow for modification of the liquid chromatography fluid flow
                        path among the at least four in

         244.    Dr. Wereley has not shown that this element was met. I understand that in order

  to infringe this claim, which is a method claim the steps claimed need to have been performed.

  Additionally, they need to have been performed in the United States and after the 590 patent

  issued on January 18, 2017. I see no such proof

         245.    At paragraphs 491-507, Dr. Wereley states that he has seen videos of people

  changing modules. But he does not establish in his report where this alleged changing is


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  occurring, and he does not establish the date on which the alleged changing occurred. Further he

  does not establish that the fluid flow path actually changed. I understand that this element

  requires that fluid be flowed through the system and that the path be different than the path that

  existed before the change. I do not see evidence of that in Dr

         246.                                              stimony from Mr. Chapman at ¶ 501, that

  Bio-Rad changes the modules on customers machines approximately             of the time does not

  establish infringement of this element. First, the testimony from Mr. Chapman stated that he

  guessed changes were made in         of the occasions where he was present helping customers.

  That does not mean that Mr. Chapman is present at 100% of customer sites and thus his guess of

       equates to      of Bio-Rad customers performing this operation. Second, Mr. Chapman did

  not testify that the times where he was present and customers made changes were done in the

  United States and after January 18, 2017. Last, Mr. Chapman did not testify that the fluid flow

  patent changed. Moving a module to a different position does not necessarily change the flow

  path. For example if one has two pump modules, module one can be placed where module 2

  was, and a new pump can then be placed where module one was.

         247.    Additionally, Dr. Wereley cites as proof the fact that Discover machines are

  shipped with no modules in them and then are populated with modules. But placing a module in

  a machine with no modules does not satisfy the claim. Rather, modules must be taken out, and

  the flow path in situation one and situation two, (the interchanged modules) must be different.

  That is not possible when the first situation had no flow path at all because it had no modules.

                 2.
                         modular components comprises a CPU unit for independently
                         performing fluid control operations in response to instructions from a
                         system controller when installed in a component receiving position of




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         248.                                                                  the at least four

  interchangeable modular components comprises a CPU unit for independently performing fluid

  control operations in response to instructions from a system controller when installed in a



         249.    The NGC System does not infringe claim 1

  least four interchangeable modular components comprises a CPU unit for independently

  performing fluid control operations in response to instructions from a system controller when

  installed in a component receiv

         250.    I have discussed why this element is not met with respect to my discussion of

                                                  those discussions fully for this element.

         251.    In summary, a person of ordinary skill in the art would not read this limitation to

                                                         s nothing more than take the signal that the

  master control unit has sent and forward it. For example, if the master control unit sent out a

  signal that would deliver a certain voltage or current to a module to make it operate at a certain

  level (e.g., A high or low signal), one of ordinary skill in the art would not read the specification

  to mean that the CPU would take an instruction and merely create that same current or voltage or

  simply translate that instruction into a different format.

         252.    Rather, one of ordinary skill in the art would understand the passage in the

  specification relating to the use independent operation of the CPU to mean that a signal is

  received from the master control unit and then the CPU does something above and beyond what

  that signal indicates and what the MCU would have done on its own, something that is

  independent of the signal the CPU sent.

                 3.      Claims 2 and 3, Flow path shortened



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          253.    None of the evidence that Dr. Wereley cited shows that even if modules are

  interchanged, the flow path is shortened. The same is true for the evidence he cited for claim 3.

  Thus, he failed to meet his burden on these claims.

                  4.      Claims 10 and 12

          254.    Dr. Wereley has not met his burden to establish infringement of these claims.

  While he says the steps claimed could be done, he points to nothing where these steps were

  actually done in the United States after Jan. 18, 2017. That is what is necessary to establish

  infringement of this method claim. For this reason, he has not met his burden to show

  infringement.

                  5.                         comprising a CPU that allows independent fluid control
                          operations in response to instructions from the main controller when
                          installed in the component receiving position of the housing unit

          255.                                              o interchangeable modular fluid handling

                                   allows independent fluid control operations in response to

  instructions from the main controller when installed in the component receiving position of the



          256.    I have discussed why this element is not met with respect to my discussion of

                                                    ose discussions fully for this element.

          257.    In summary, a person of ordinary skill in the art would not read this limitation to

                                                         ng more than take the signal that the master

  control unit has sent and forward it. For example, if the master control unit sent out a signal that

  would deliver a certain voltage or current to a module to make it operate at a certain level (e.g.,

  A high or low signal), one of ordinary skill in the art would not read the specification to mean

  that the CPU would take an instruction and merely create that same current or voltage or simply

  translate that instruction into a different format.

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         258.     Rather, one of ordinary skill in the art would understand the passage in the

  specification relating to the use independent operation of the CPU to mean that a signal is

  received from the master control unit and then the CPU does something above and beyond what

  that signal indicates and what the MCU would have done on its own, something that is

  independent of the signal the CPU sent.

                  6.                                           ing unit that includes a plurality
                         of component receiving positions, each component receiving position
                         being adapted to receive the at least one interchangeable modular
                         fluid handling unit, and placing at least one additional
                         interchangeable modular fluid handling unit in one of the component


         259.     While Dr. Wereley states that the elements of these claims could be done, he does

  not cite evcidence showing that the expansion housings were used. Nor does he show any use in

  the United States after January 18, 2017. He has therefore failed to meet his burden to establish

  infringement.

                  7.                                     matic identification by the liquid
                         chromatography system upon placement in a component receiving


         260.     I do not agree with Dr. Wereley that the CPU does need to do the identification.

  In any event, the testimony that Dr. Wereley cites and his conclusion about infringement of this

  claim are inconsistent with the conclusions he reached in corresponding claims of the 420 patent

  where he stated that the MCU was doing the identification. I incorporated the arguments I made

  with respect to that claim. Moreover as with the other claims in this patent he has not shown that

  the method was actually performed in the U.S. at the proper time.

                  8.                                      erchangeable modular fluid handling




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            261.   Dr. Wereley has not provided any evidence showing that this step was performed

  in the U.S. at the proper time to establish infringement. Therefore he has failed to meet his

  burden of proof.

            D.

                   1.     The NGC System Does Not Infringe
                          Least Because it Lacks Several Elements in Claim 1 from Which it
                          Depends

            262.   Claim 9 depends on claim 1. I note that



  patent.

                          (a)      Element [1.v]: an external fluidics section

            263.

            264.   I have discussed why this element is not met with respect to my discussion of

                                                 those discussions fully for this element.

                          (b)      Element [1.vi]: an internal non fluidics section

            265.   I have discussed why this element is not met with respect to my discussion of

                                                 those discussions fully for this element.

                          (c)
                                   fluidics section from th

            266.

  to separate the fluidics secti

            267.   The NGC System does not infringe claim

  member arranged to separate the fluidics section from the non-fluidics

            268.   I have discussed why this element is not met with respect to my discussion of

                                                   ose discussions fully for this element.


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          269.    The NGC System does not infringe this element because the NGC System does

                                                   te the fluidics section from the non-fluidics



  for this element. In summary, the electronics in the housing are not a separate non-fluidics

  section from the electronics Dr. Wereley describes as embedded in the panel member.

                                                    Bergstrom does not create separate sections.

  There is no way to square the representations the inventors made about Mourtada, Bergstrom and

  Hess with respect to separation, with the arrangement in the Bio-Rad accused modules that have

  electronics adjacent to and on the same side of the panel member as the fluidics. At a minimum,

  the electronics that Dr. Wereley describes as being embedded in the panel member are the

  fluidics in the Bio-Rad accused modules, which                               the panel member as

  the inventors said they must be. Ex. G at

  that fluid and electrical parts are adjacent                               )(emphasis added).

                          (d)
                                  handling panel with two or more component receiving
                                  positions adapted to receive said interchangeable modular
                                  components such that, when inserted, the fluidics section is
                                  external to the housing and the non-fluidics section is internal


          270.                                                            herein the housing

  comprises a liquid handling panel with two or more component receiving positions adapted to

  receive said interchangeable modular components such that, when inserted, the fluidics section is

  external to the housing and the non-fluidics

          271.    The NGC System does not infringe claim 9

  housing comprises a liquid handling panel with two or more component receiving positions

  adapted to receive said interchangeable modular components such that, when inserted, the


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  fluidics section is external to the housing and the non-fluidics section is

  as claimed.

          272.    I have discussed why this element is not met with respect to my discussion of

                                       tent. I incorporate those discussions fully for this element.

                          (e)
                                  component includes a dedicated CPU unit allowing the
                                  interchangeable modular component to independently perform


          273.                                            rein each interchangeable modular

  component includes a dedicated CPU unit allowing the interchangeable modular component to

  independently perform operations in response to instructions ove

          274.    The NGC System does not infringe claim 9 at

  interchangeable modular component includes a dedicated CPU unit allowing the interchangeable

  modular component to independently perform operations in response to instructions over the



          275.    I have discussed why this element is not met with respect to my discussion of

                                                    ose discussions fully for this element.

          276.    In summary, a person of ordinary skill in the art would not read this limitation to

                                                         ng more than take the signal that the master

  control unit has sent and forward it. For example, if the master control unit sent out a signal that

  would deliver a certain voltage or current to a module to make it operate at a certain level (e.g.,

  A high or low signal), one of ordinary skill in the art would not read the specification to mean

  that the CPU would take an instruction and merely create that same current or voltage or simply

  translate that instruction into a different format.




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         277.    Rather, one of ordinary skill in the art would understand the passage in the

  specification relating to the use independent operation of the CPU to mean that a signal is

  received from the master control unit and then the CPU does something above and beyond what

  that signal indicates and what the MCU would have done on its own, something that is

  independent of the signal the CPU sent.

                 2.                                              de is connected to a pH valve


         278.    Claim 26 depends from claim 12, and recites



         279.    I have discussed why this element is not met with respect to my discussion of

                                              e those discussions fully for this element.

                 3.                                             include[] an integrated flow cell


         280.    Claim 27 depends from claim 26, and further



         281.    I have discussed why this element is not met with respect to my discussion of

                                              e those discussions fully for this element.

         E.

                 1.
                        section from the non fluidics section and for attachment of the
                        modular component to a component position of the liquid handling


         282.                                                   nged to separate the fluidics section

  from the non fluidics section and for attachment of the modular component to a component




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          283.    The NGC System does not infringe claim

  member arranged to separate the fluidics section from the non fluidics section and for attachment



          284.    I have discussed why this element is not met with respect to my discussion of

                                                  ose discussions fully for this element.

          285.    The NGC System does not infringe this element because the NGC System does

                                                   te the fluidics section from the non-fluidics



  for this element. In summary, the electronics in the housing are not a separate non-fluidics

  section from the electronics Dr. Wereley describes as embedded in the panel member.

                                                   Bergstrom does not create separate sections.

  There is no way to square the representations the inventors made about Mourtada, Bergstrom and

  Hess with respect to separation, with the arrangement in the Bio-Rad accused modules that have

  electronics adjacent to and on the same side of the panel member as the fluidics. At a minimum,

  the electronics that Dr. Wereley describes as being embedded in the panel member are the

  fluidics in the Bio-Rad accused modules, which                               the panel member as

  the inventors said they must be. Ex. G at

  that fluid and electrical parts are adjacent                               )(emphasis added).

                  2.
                          the panel members are arranged such that the fluidics sections are
                          external to the housing and respective non fluidics sections are


          286.                                          quid handling panel of the housing and the

  panel members are arranged such that the fluidics sections are external to the housing and

  respective non fluidics sections


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         287.    The NGC System does not infringe claim

  handling panel of the housing and the panel members are arranged such that the fluidics sections

  are external to the housing and respective non fluidics sections are intern

  claimed.

         288.    I have discussed why this element is not met with respect to my discussion of

                                     tent. I incorporate those discussions fully for this element.

                 3.


         289.    Element [16.j] requires that                               ections are internal to the



         290.    I have discussed why this element is not met with respect to my discussion of

                                                those discussions fully for this element.

                 4.
                         components includes a dedicated CPU unit allowing each of the
                         interchangeable modular components to independently perform


         291.                                          h of the interchangeable modular

  components includes a dedicated CPU unit allowing each of the interchangeable modular

  components to independently perform operations

         292.    The NGC System does not infringe Claim

  each of the interchangeable modular components includes a dedicated CPU unit allowing each of

  the interchangeable modular components to independently perform operations in response to

  instructions over th

         293.    I have discussed why this element is not met with respect to my discussion of

                                                  ose discussions fully for this element.



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          294.    In summary, a person of ordinary skill in the art would not read this limitation to

                                                          ng more than take the signal that the master

  control unit has sent and forward it. For example, if the master control unit sent out a signal that

  would deliver a certain voltage or current to a module to make it operate at a certain level (e.g.,

  A high or low signal), one of ordinary skill in the art would not read the specification to mean

  that the CPU would take an instruction and merely create that same current or voltage or simply

  translate that instruction into a different format.

          295.    Rather, one of ordinary skill in the art would understand the passage in the

  specification relating to the use independent operation of the CPU to mean that a signal is

  received from the master control unit and then the CPU does something above and beyond what

  that signal indicates and what the MCU would have done on its own, something that is

  independent of the signal the CPU sent.

                  5.                                         includes two double piston pumps,
                          one injection valve for injecting sample onto a column connecting to
                          the flow path of the liquid chromatography system, a UV monitor,


          296.    Claim 28 depends from claim 16, and further requires that the system recited there

                                                        n valve for injecting sample onto a column

  connecting to the flow path of the liquid chromatography system, a UV

          297.    I have discussed why this element is not met with respect to my discussion of

                                                  those discussions fully for this element.

                  6.                                               a pH-valve with an integrated
                          flow cell for in-line monitoring of pH levels, and a quaternary valve
                          for automatic buffer preparation and formation of quaternary


          298.    Claim 30 depends from claim 28, which in turn depends on claim 16, and requires

                                     a pH-valve with an integrated flow cell for in-line monitoring of

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  pH levels, and a quaternary valve for automatic buffer preparation and formation of quaternary



         299.    I have discussed why this element is not met with respect to my discussion of

                                               those discussions fully for this element.

  IX.    NON-INFRINGING ALTERNATIVES

         300.    I have also been asked to opine on the existence of non-infringing alternatives and

  the relative difficult in creating a non infringing alternative by modifying the accused NGC

  products. In summary, it is my opinion that non-infringing alternatives, such as the Bio-Rad

  DuoFlow, exist. That chromatography system was the predecessor to the NGC. Moreover,

  modifications to the NGC could be designed which would avoid infringement.




         302.    In this regard, Dr. Wereley has his analysis backwards. He states that not having

  a CPU on each module would result in increased cost and complexity and it is not clear that it
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  would work. Wereley at ¶ 686. This is certainly not the case. One of ordinary skill in the art

  would recognize that when CPUs were more expensive and one was trying to keep the costs

  down, multiple CPUs were shared between interchangeable fluid handling modules. This is

  evident from the Applikon 2040 which was designed in the late 1990s when CPUs were more

  expensive than 10 years later when the asserted patents were filed. The Applikon 2040 directly

                                                      expensive to have a shared CPU than it would

  be to have a CPU on every module.

         303.    Based on published data, the cost of a microprocessor decreased by between a

  hundred and a thousand-fold in the ten years between the late 1990s and the 2009 time frame

  when the asserted patents were filed. The chart published at the following site

  http://www.singularity.com/charts/page62.html, shows that cost per transistor from 1998 to

  approximately 2009 decreased by about one thousand fold. This would equate to a significant

  drop in the cost of a CPU required to perform any significant number of instructions.




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         304.

         305.    Second, it is well understood in the engineering world that a CPU is a general

  purpose device that can be programmed over and over to perform multiple different operations.

  A CPU carries out operations in response to instructions which generally exist as source code.

  When one changes the source code, which can also be referred to as reprogramming it, they

  change the operations of the CPU. Because of the way a CPU operates, there are basic

  components that one of skill in the art would understand are present in a CPU, such as an

  Arithmetic Logic Unit (ALU), that performs among other things arithmetic and logic operations,

  registers for storing values, and other memory for storing programs or other operational values.

         306.




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        309.   These non-infringing alternatives for the CPUs apply to all asserted independent

                             claim 16, and also to depende




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         310.    Dr. Wereley again resorts to a misinterpr                        s claim construction

  order and fails to account for representations in the file history, when he claims that a

  rearrangement of the connections of each module to the system bus would not result in a non-

  infringing alternative. As I discussed previously with respect to the elements relating to fluidics

  sections, non fluidic sections, and the separation of the same by the panel member and the liquid

  handling panel, the inventors unequivocally stated with respect to the Hess reference that when

  you have an electrical connection for a module to other modules or the system bus outside the

  housing, that is not the claimed invention. See File History (Claim Construction Ex. G) at 1416



  there is no other place for them, if the boxes are stackable and fit side by side as illustrated. This

  means that the bus connections cannot be internal to said boxes or internal

  the contrary, the bus connections must be external to said boxes to make sense of the description.

  Therefore, in Hess, respective non fluidics sections are not internal to any housing as

  claimed

         311.    By ignoring this very unequivocal statement, Dr. Wereley, by the mere waving of

  his hand, calls any non fluidic component which is not consistent with the claim, part of a

  separate section. But, the inve                        make it clear that one cannot do that. The

  external electrical connections, such as those to the bus are part of the non fluidics section as a

  whole. If they were not, then the way the inventors distinguished Hess would be meaningless.

  One could just as easily call the electrical connection on the back of the box, which is quite

  distant from the fluidic components, much more distant that the electrical components such as

  LEDs and the displays in the accused products, part of a separate non fluidic section. The

  inventors made it clear that was not allowable. The electrical connection at the back of the



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  modules were part of the same non fluidic section as the electrical components contained inside

  the housing in Hess. When these representations are considered, the design around that Bio-Rad

  proposed is a non-infringing alternative.




                                         . This configuration would be the same that the inventors

  said with regard to Hess did not qualify as their invention.

         312.    This non-infringing alternatives for the bus connectors applies to all asserted

  independent claims except for clai

         313.




                           . That was actually one

  to update the prior generation AKTA machines. Ex. 28, Hareland Depo Tr. at 75-77. That

  would be a relatively simple task. Last, if one wanted to make the DuoFlow more cosmetically

  pleasing, a cabinet could be built around the individual modules to make them look more like an

  integrated system. This would be akin to building a cabinet around your separate stereo

  components to make them look more like a single system.

  X.     LICENSES

         314.    I understand that, to be relevant to the assessment of damages in a patent case, a

  license must be technologically and economically comparable to a hypothetical license between

  the parties to the patents-in-suit. I have been asked to assess the technological comparability of
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  the licenses produced by Bio-Rad, and one license produced by Cytiva, in this litigation. As part

  of my assessment, I have evaluated at least the following four factors: Similarities and

  differences between the patent claims and their scope, the manner in which the claimed

  inventions are implemented and the value of th

  differences between the claimed inventions and other known means of achieving the same

  operational goals or benefits, and the relative value of other, non-patented features of the

  products into which the claimed inventions may be incorporated. In making my assessment, I

  have considered the embodiments described in the licensed patents as well as their claims.

          315.    I further understand that there are other aspects of license comparability that are

  not technological in nature. Among these are things such as license structure and the economic

  circumstances of the parties. I have not been asked to offer and I am not offering any opinions,

  or any analysis directed toward any non-technological aspects of comparability.

          316.    It has been explained to me that, to assist the finder of fact, a determination must

  be made as to whether licensed technology is sufficiently comparable to the hypothetical license

  at issue in suit. When relying on licenses to prove a reasonable royalty, alleging a loose

  comparability between different technologies or licenses does not suffice. I have been informed

  that the analysis does involve an element of approximation and uncertainty, but in order to be

  technologically comparable the technologies of the patents being considered must not be

  substantially different.

          317.    I reviewed evidence regarding all of the license agreements that I understand Dr.

  Kearl is relying on as comparable licenses in relation to determining a reasonable royalty. Based

  on my review, it is my opinion that the licenses he relies on cover patents that are technologically




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  comparable and in some cases more advanced than the technology covered by the asserted

  patents.

         A.




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        B.




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  XI.    OTHER COMMENTS

         348.    The opinions expressed in this report are my preliminary opinions based on my

  review to date of the evidence produced at this stage of the case. I reserve the right to amend or

  supplement my opinions in light of additional information or materials that may be provided to

                                                  experts or witnesses, as well as opinions that

                                  may present. I reserve my right to amend or update my opinions


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  as appropriate in response to any future developments. With this in mind, based on the analysis I

  have conducted and for the reasons set forth below, I have preliminarily reached the conclusions

  and opinions in this report.

          349.    At a hearing or at trial I may use as exhibits various documents produced in this

  case that refer or relate to the matters discussed in this report. I have not yet selected the

  particular exhibits that might be used. I may also rely on visual aids and may rely on analogies

  concerning elements of the patent                                  alleged practicing products, the

  accused products, the references cited in this report, or any related technologies. In addition, I

  may create or assist in the creation of certain demonstrative evidence to assist me in testifying,

  and I reserve the right to do so, such as demonstrations of devices and software to further support

  the positions in this report.




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         HIGHLY CONFIDENTIAL (TECHNICAL) – ATTORNEYS’ EYES ONLY




  DATED: October 21, 2020
                                         Bruce K. Gale, Ph.D.
